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                                 #:20528

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 11                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 12

 13   CHINA CENTRAL TELEVISION, a China ) Case No.
      company; CHINA INTERNATIONAL              ) CV 15-1869 SVW (AJWx)
 14   COMMUNICATIONS CO., LTD., a China )
      company; TVB HOLDINGS (USA), INC., a ) COMPENDIUM OF
 15   California corporation; and DISH          )
      NETWORK L.L.C., a Colorado corporation, ) EVIDENCE
 16                         Plaintiffs,         ) IN SUPPORT OF
                                                  PLAINTIFFS’    MOTION FOR
             vs.                                ) DEFAULT JUDGMENT
 17   CREATE NEW TECHNOLOGY (HK)                ) AGAINST ASHA MEDIA
      LIMITED, a Hong Kong company; HUA         ) GROUP INC. VOL. 2 OF 4
 18   YANG INTERNATIONAL TECHNOLOGY ))
      LIMITED, a Hong Kong company;               [[Proposed] Order; Motion For
 19   SHENZHEN GREATVISION NETWORK )) Default Judgment concurrently
      TECHNOLOGY CO. LTD., a China                submitted]
 20   company; CLUB TVPAD, INC., a California ))
      corporation; BENNETT WONG, an             ) Date: November 7, 2016
 21   individual, ASHA MEDIA GROUP INC.
      d/b/a TVPAD.COM, a Florida corporation; )) Time: 1:30 p.m.
 22   AMIT BHALLA, an individual;
      NEWTVPAD LTD. COMPANY d/b/a               ) Courtroom: 6
 23   NEWTVPAD.COM a/k/a TVPAD USA, a           ) Judge:       Hon. Stephen V.
      Texas corporation; LIANGZHONG ZHOU, )     )
 24
                                                               Wilson
      an individual; HONGHUI CHEN d/b/a E-
      DIGITAL, an individual; JOHN DOE 1 d/b/a )) Complaint Filed: March 13, 2015
 25   BETV; JOHN DOE 2 d/b/a YUE HAI; JOHN )
      DOE 3 d/b/a 516; JOHN DOE 4 d/b/a HITV; )
 26   JOHN DOE 5 d/b/a GANG YUE; JOHN
      DOE 6 d/b/a SPORT ONLINE; JOHN DOE 7 ))
 27   d/b/a GANG TAI WU XIA; and JOHN DOES)
      8-10,                                     )
 28                         Defendants.

      COMPENDIUM OF EVIDENCE
      DWT 30380692v1 0094038-000021
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  1                                     INDEX
  2                                   VOLUME 2
  3

  4   Exhibit 3
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                               EXHIBIT 3
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                                 #:20531


                                                                    Page 1

  1                  IN THE UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
  2                              TAMPA DIVISION
  3                      CASE NO.    8:16-bk-00265-KRM
                                Chapter 7
  4
         In Re:
  5
  6      AMIT BHALLA,
  7
                     Debtor.
  8      ________________________________________/
  9
10                   Deposition of: Amit Bhalla
11                   July 12, 2016
12
13
14
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25                                                              EXHIBIT 3

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                                 #:20532


                                                                    Page 2

  1       IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                      IN AND FOR HILLSBOROUGH COUNTY
  2                           CIVIL DIVISION
  3                       CASE NO. 15-CA-007979
                             Division B
  4
         In Re:
  5
         ASHA MEDIA GROUP, INC.,
  6
                     Assignor,
 7       to
 8       ANDREA BAUMAN,
 9                 Assignee.
10       ------------------------------------------------/
11                      442 West Kennedy Boulevard
                               Tampa, Florida
12                         1:07 p.m. to 4:42 p.m.
                               July 12, 2016
13
14
                          DEPOSITION OF AMIT BHALLA
15
16                           VOLUME I
17                 Taken on behalf of CHINA CENTRAL TELEVISION,
18       et al., before Kim Auslander, RPR, CRR, Notary Public in
19       and for the State of Florida at Large, pursuant to
20       Notice of Taking Deposition in the above cause.
21
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                                                                    Page 3

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  9      company; TVB HOLDINGS (USA), INC., a California
         corporation; and DISH NETWORK, LLC, a Colorado limited
10       liability company
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  1                          AMIT BHALLA
  2                  Was called as a witness and, having been first
  3      duly sworn and responding, "Yes," was examined and
  4      testified as follows:
  5                              EXAMINATION
  6      BY MR. WUKOSON:
  7             Q    Could you please state your full name for the
  8      record.
  9             A    Amit Bhalla.
10              Q    Mr. Bhalla, have you ever been deposed before?
11              A    Yes, I have.
12              Q    And when were you deposed before?
13              A    Asha Media Group, ABC, a meeting with the
14       creditors, I believe.
15              Q    Any other times?
16              A    No.
17              Q    And have you ever provided testimony in a
18       lawsuit?
19              A    What does that mean?
20              Q    Have you ever testified in court?
21              A    No.
22              Q    Have you ever provided testimony under oath
23       otherwise?
24              A    No.
25                   MS. TATE:    If I could just clarify, you did

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                                                                       Page 21

  1             Angelina.
  2                  MR. WUKOSON:    One second.            I want to finish
  3             this line of questioning.         It will be short.
  4             Q    When you were preparing for your deposition
  5      today, did you talk to anyone about your deposition?
  6             A    Just my lawyer.
  7                  MR. WUKOSON:    Okay.      This is a fine time to
  8             take a break.
  9                  (A short recess was taken.)
10                   MR. WUKOSON:    Back on the record.
11              Q    Mr. Bhalla, did you review any documents in
12       preparing for your deposition today?
13              A    I did not review any documents.
14              Q    For Asha Media; is Asha Media currently
15       operating?
16              A    No.
17              Q    What was your relationship to Asha Media when
18       it was operating?
19              A    I was 100 percent sole owner.
20              Q    Did you have any titles at Asha Media?
21              A    Business development director -- I forget,
22       actually.    But, on paper, I was president.
23              Q    Were you a director of Asha Media?
24              A    I believe my e-mail signature just said
25       business development director, or business development

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  1             Q    Did you incorporate Asha Media?
  2             A    My accountant.
  3             Q    And, to be clear, nobody else had an ownership
  4      stake in Asha Media?
  5             A    No.
  6             Q    At any time?
  7             A    No.
  8             Q    What was the nature of Asha Media's business?
  9             A    Internet marketing, primarily just for TVPad.
10              Q    What's TVPad?
11              A    It's a set-top box used for media streaming.
12              Q    What kind of media does it stream?
13              A    Programming, like channels; Asian channels and
14       other channels.
15              Q    Did Asha Media have any employees other than
16       yourself?
17              A    Just temporary staff; contractors.
18              Q    Okay.   Do you know how many temporary staff
19       Asha Media employed?
20              A    At different times or just all at once?
21              Q    Well, start with across time.
22              A    Four.
23              Q    What were their names?
24              A    One was Andre McKinley.          The second one was
25       Jocelyn; I don't remember her last name.            The third one

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  1                  (Bhalla Exhibit 7 marked for identification.)
  2             Q    Mr. Bhalla, what is Exhibit 7?
  3             A    Asha Media 2013 Tax Returns.
  4             Q    Who prepared the tax returns?
  5             A    My accountant.      I believe the company name is
  6      Smart Accounting -- I'm not sure exactly the company
  7      name -- Smart Business Solutions.
  8             Q    Smart Business Solutions?
  9             A    I don't recall the name, but I believe Smart
 10      Business Solutions sounds accurate.
 11             Q    Was this tax return filed with the IRS?
 12             A    Yes.
 13             Q    If you will reference the bottom of the first
 14      page, it appears that there is, like, whiting out on the
 15      preparer signature.      Do you know why this is whited out?
 16             A    I don't know.
 17             Q    Do you remember when the first purchase you
 18      made of a TVPad was?
 19             A    The first purchase of TVPad?
 20             Q    Yes.
 21             A    It was at the time of acquiring the business.
 22      2013; end of 2013.     July 2013 sounds about right.
 23             Q    July 2013.    Did Asha Media maintain an
 24      inventory of TVPads?
 25             A    In the beginning, when we started TVPad-2.com,

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  1             Q    Could you please describe for me the level of
  2      inventory of TVPads Shipwire would maintain on
  3      Asha Media's behalf?
  4             A    Usually they would keep 40 to 50 units at a
  5      time per warehouse.      So we usually operated two
  6      warehouses; one in Los Angeles, and one in Philadelphia,
  7      and we experimented in Chicago, but then we just
  8      acquired two warehouses.        We tried to keep the inventory
  9      above 50 approximately.
 10             Q    Do you know what time in 2014 Asha Media began
 11      shipping through Shipwire?
 12             A    I don't recall, actually.
 13                  MR. WUKOSON:     This will be Exhibit 8.
 14                  (Bhalla Exhibit 8 marked for identification.)
 15             Q    Mr. Bhalla, what is Exhibit 8?
 16             A    2014 Tax Returns for Asha Media Group.
 17             Q    Who prepared Asha Media Group's 2014 tax
 18      returns?
 19             A    My accountant, company.
 20             Q    What is the name of the accountant?
 21             A    It was Smart Business something.         I think SCM
 22      might be the actual business name, company name, but
 23      they went based on Smart something.
 24             Q    And does it appear -- is there a signature on
 25      this document?

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  1      Shipwire.
  2             Q    Before Shipwire, outside of the use of
  3      Shipwire, how did it vary?
  4             A    It would just be drop-ship.             Prior to using
  5      Shipwire, it would just be drop-ship.
  6             Q    Okay.   And at that time when it was just
  7      drop-ship, that applied equally to retail and wholesale
  8      customers?
  9             A    At the time I was drop-shipping?
 10             Q    Yes.
 11             A    I was only drop-shipping.
 12                  (Bhalla Exhibit 10 marked for identification.)
 13             Q    Mr. Bhalla, do you recognize Exhibit 10?
 14             A    I do not.
 15             Q    Have you ever seen this exhibit before -- the
 16      document in this exhibit before?
 17             A    This looks like a cease and desist letter.
 18             Q    Did you receive this letter?
 19             A    Yes.
 20             Q    And so I'll say, for the record, that these
 21      are -- this exhibit consists of actually two letters; is
 22      that correct, one dated November 20th, one dated
 23      December 19th --
 24             A    Yes.
 25             Q    -- 2014, both of them.

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  1                  Did you receive both letters?
  2             A    Yes.
  3             Q    Let's first concentrate on the first letter
  4      dated November 20th.      Did you read this letter?
  5             A    Yes.
  6             Q    And did you discuss it with anyone?
  7             A    I discussed this letter with Traverse Legal.
  8             Q    Did you discuss it with anyone other than
  9      legal counsel?
 10             A    No.
 11             Q    Did you discuss it with your wife?
 12             A    As far as -- I don't recall.            I don't recall
 13      discussing it with anybody else.
 14             Q    Earlier you stated that your wife acts in an
 15      informal capacity as board of directors of Asha Media?
 16             A    She is not a director of Asha Media Group.
 17             Q    Did you discuss this letter with your wife?
 18             A    Yes.
 19             Q    What did you discuss?
 20             A    That I received a letter --
 21                  MS. TATE:    Objection.        We're talking about a
 22             spousal privilege here.        He doesn't have to divulge
 23             what he tells a spouse.        There is a federal spousal
 24             privilege that we would assert.
 25                  MR. WUKOSON:     Okay.      My understanding is

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  1             that's not how that privilege is invoked.          Are you
  2             directing him not to answer?
  3                  MS. TATE:    Yes, I am.
  4                  MR. WUKOSON:     Okay.
  5             Q    Other than legal counsel or your wife, did you
  6      discuss this letter with anyone?
  7             A    No.    As far as I recall, no.
  8             Q    After you received this letter and read it,
  9      did Asha Media continue to sell TVPads?
 10             A    Yes.    We were in the process of seeing if this
 11      is a valid case or not, or if this is something we
 12      should be worried about.        There were conversations with
 13      Traverse Legal.
 14             Q    Looking at the second letter, December 19th,
 15      did you discuss -- well, let's start with, you received
 16      this letter, you stated.        Did you read it?
 17             A    Yes.
 18             Q    And did you discuss it with anyone?
 19             A    When I read the letter, I read it, and I
 20      believe I responded to the letter, and then the second
 21      letter which was received December 19th, I read it, and
 22      I discussed it with Traverse Legal again.
 23             Q    Did you discuss it with anyone other than
 24      Traverse Legal?
 25             A    No.

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  1             sorts of sales spreadsheets that were produced.             I
  2             would like to authenticate them.             I would like to
  3             introduce them as one exhibit, if that will work
  4             for the witness, so let's try it that way, and if
  5             it doesn't work, we can do them all as separate
  6             exhibits.
  7                  MS. TATE:    Okay.
  8                  MR. WUKOSON:     We can go off the record.
  9                  (A short recess was taken.)
 10                  (Bhalla Exhibit 17 marked for identification.)
 11             Q    The court reporter is handing you what is
 12      marked as Exhibit 17, which is separately stapled
 13      documents.    I will represent to you these were produced
 14      by you according to the following file names, which I
 15      will read independently, and these correspond to the
 16      order of the exhibit.
 17                  Those are:    Asha Media Group 2013 Sales Refund
 18      History, Asha Media Group 2014 Sales Order History,
 19      Asha Media 2013 Sales Order History, Asha Media 2014
 20      Sales Refund History, Asha Media Group 2014 Sales
 21      Wholesale History, Asha Media Group 2015 Sales Order
 22      History, Asha Media Group 2015 Sales Refund History.
 23                  Do you recognize the documents in this
 24      exhibit?
 25             A    I recognize them, yes.

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  1             Q    Who prepared these documents?
  2             A    I did.
  3             Q    How did you prepare them?
  4             A    Via Microsoft Excel.
  5             Q    What was the source of information you used to
  6      prepare these documents?
  7             A    The website export utility that we talked
  8      about earlier.
  9             Q    Did you prepare the documents in this
 10      Exhibit 17 in the same way as you prepared the document
 11      in Exhibit 16?
 12             A    I cannot authenticate that what I have in
 13      Exhibit 17 is what I sent you.            However, these look
 14      familiar to what I did send you.
 15                  Not all the documents in here are prepared
 16      from utility.      For example, the wholesale orders were
 17      just entered in manually, since there were only six
 18      wholesale orders.      However, the other pages -- the
 19      refunds were also exported via the utility.
 20             Q    When you say the refunds, you refer to the
 21      files produced as sales refund history?
 22             A    Yes.
 23             Q    And when you refer to the wholesale orders,
 24      you refer to the file produced as Asha Media Group 2014
 25      Sales Wholesale History?

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                                                                  Page 109

  1                     CERTIFICATE OF OATH OF WITNESS
  2
  3      STATE OF FLORIDA          )
                                   ) SS:
  4      COUNTY OF HILLSBOROUGH)
  5
  6                  I, KIM AUSLANDER, Registered Professional
  7      Reporter, Notary Public in and for the State of Florida
  8      at Large, certify that the witness, AMIT BHALLA,
  9      personally appeared before me on July 12, 2016 and was
 10      duly sworn by me.
 11                  WITNESS my hand and official seal this 18th
 12      day of July, 2016.
 13
 14                                    <%Signature%>
                              ___________________________________
 15                           KIM AUSLANDER, RPR
                              Notary Public, State of Florida
 16                           at Large
 17
 18      Notary #FF184913
 19      My commission expires: 1/10/2019
 20
 21
 22
 23
 24
 25

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  1                   REPORTER'S DEPOSITION CERTIFICATE
  2
  3                  I, KIM AUSLANDER, Registered Professional
  4      Reporter, certify that I was authorized to and did
  5      stenographically report the deposition of AMIT BHALLA,
  6      the witness herein on July 12, 2016; that a review of
  7      the transcript was requested; that the foregoing pages
  8      numbered from 1 to 112 inclusive is a true and complete
  9      record of my stenographic notes of the deposition by
 10      said witness; and that this computer-assisted transcript
 11      was prepared under my supervision.
 12                  I further certify that I am not a relative,
 13      employee, attorney or counsel of any of the parties, nor
 14      am I a relative or employee of any of the parties'
 15      attorney or counsel connected with the action.
 16                  DATED this 18th day of July, 2016.
 17
 18
 19
 20
                                         <%Signature%>
 21                               ___________________________________
                                  KIM AUSLANDER
 22                               Registered Professional Reporter
 23
 24
 25

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                                                                  Page 113

  1                  IN THE UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
  2                               TAMPA DIVISION
  3                      CASE NO.     8:16-bk-00265-KRM
                                Chapter 7
  4
         In Re:
  5
  6      AMIT BHALLA,
  7
                     Debtor.
  8      ________________________________________/
  9
 10                  Continued Deposition of: Amit Bhalla
 11                  July 13, 2016
 12
 13
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  1       IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                      IN AND FOR HILLSBOROUGH COUNTY
  2                           CIVIL DIVISION
  3                       CASE NO. 15-CA-007979
                             Division B
  4
         In Re:
  5
         ASHA MEDIA GROUP, INC.,
  6
                     Assignor,
  7      to
  8      ANDREA BAUMAN,
  9                Assignee.
 10      ------------------------------------------------/
 11                     442 West Kennedy Boulevard
                               Tampa, Florida
 12                       9:27 a.m. to 12:15 p.m.
                               July 13, 2016
 13
 14
                     CONTINUED DEPOSITION OF AMIT BHALLA
 15
 16                          VOLUME II
 17                Taken on behalf of CHINA CENTRAL TELEVISION,
 18      et al., before Kim Auslander, RPR, CRR, Notary Public in
 19      and for the State of Florida at Large, pursuant to
 20      Notice of Taking Deposition in the above cause.
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                                                                  Page 115

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  9      company; TVB HOLDINGS (USA), INC., a California
         corporation; and DISH NETWORK, LLC, a Colorado limited
 10      liability company
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  1                           AMIT BHALLA
  2                  Was called as a witness and, having been first
  3      duly sworn and responding, "I do," was examined and
  4      testified as follows:
  5                  (Bhalla Exhibit 20 marked for identification.)
  6                             CONTINUED EXAMINATION
  7      BY MR. WUKOSON:
  8             Q    Mr. Bhalla, have you seen Exhibit 20 before?
  9             A    Yes.
 10             Q    What is it?
 11             A    It was the Articles of Incorporation when the
 12      company was first incorporated.
 13             Q    Do you see the last page?
 14             A    Okay.
 15             Q    What is this?
 16             A    I'm not sure.      Looks like a part of the same
 17      document.
 18             Q    Well, do you see where it says it was filed
 19      April 21st, 2014, and where the other two pages read
 20      that they were filed January 4, 2013?
 21             A    Yes.
 22             Q    Does that provide clarity to you, what this
 23      document is, the last page?
 24             A    Yeah; when we incorporated the company, that
 25      was around January 2013.

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                                                                  Page 140

  1             A    Yes.
  2             Q    What is the reseller application document?
  3             A    If somebody wants to become a wholesaler, we
  4      ask them to fill that out.
  5             Q    How many wholesalers were Asha Media
  6      customers?
  7             A    Very few.    We only had six or seven orders.
  8             Q    Did you produce all of the records for
  9      Asha Media customers?
 10             A    Yes.
 11             Q    I'm handing you Exhibit 17 from yesterday.
 12      I'm just at the page of a record that we discussed
 13      yesterday.    What is this record?
 14             A    These look like a list of wholesalers.
 15             Q    Are those a list of wholesale orders?
 16             A    Yes.
 17             Q    And did you testify yesterday that these are
 18      complete?
 19             A    As far as I remember, yes.
 20             Q    Okay.   And referencing Exhibit 27 -- I just
 21      want to first reference the first record here is for a
 22      business that says Business Practice Name, Asia Bistro.
 23                  Was Asia Bistro a wholesale customer of
 24      Asha Media?
 25             A    I'm not sure if they purchased anything.

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  1             Q    Did Asha Media ever provide USB storage
  2      devices for the TVPads it sold to Asha Media customers
  3      containing TVPad apps?
  4             A    We provided apps via USB drive as a courtesy
  5      for the customers so they didn't have to log into the
  6      TVPad store and download each app.              We were doing this
  7      via a promotion, where they get a free USB drive with
  8      every purchase.     This enticed customers to buy the
  9      TVPad, versus other people selling TVPad.
 10                  (Bhalla Exhibit 32 marked for identification.)
 11                  MR. WUKOSON:     Ms. Tate, I don't believe we
 12             have any communications between Asha and its
 13             customers about the legality of TVPad.            We request
 14             production of those to the extent that they have
 15             not yet been produced.
 16             Q    Mr. Bhalla, do you recognize Exhibit 32?
 17             A    It's a communication with a customer between
 18      Abby Zhou.
 19             Q    And who is Charles Franco?
 20             A    Charles Franco is just a pseudonym that I
 21      used.
 22             Q    So this e-mail account, TVBoxPlayer@gmail.com,
 23      is that an e-mail account that you controlled?
 24             A    Yes.
 25             Q    So you were a recipient of this e-mail?

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  1             A    I do not know why.
  2             Q    Do you know why someone would change the DNS
  3      setting on a TVPad?
  4             A    8.8.8.8 looks like a local network to me.
  5      However, I cannot confirm that.             I do not know what the
  6      other number is.
  7             Q    Do you recall any other communications
  8      regarding changing the DNS settings on a TVPad?
  9             A    All customer communication was provided to
 10      you.
 11             Q    Are you aware of such communications?
 12             A    I am not aware of communication like that.
 13      Abby Zhou handled all the customer communication;
 14      majority of it.
 15                  MR. WUKOSON:      Let's go off the record.
 16                  (A short recess was taken.)
 17                  MR. WUKOSON:      Back on the record.
 18                  (Bhalla Exhibit 33 marked for identification.)
 19             Q    Mr. Bhalla, do you recognize Exhibit 33?
 20             A    Yes.
 21             Q    What is it?
 22             A    Yes.
 23             Q    What is it?     What is the exhibit?
 24             A    It is an e-mail from Charles to a customer.
 25             Q    Charles is you?

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  1             A    Yes.
  2             Q    What did you say in this e-mail?
  3             A    Hope you're having a good day.           I was given
  4      your name and e-mail address from Amit and mentioned
  5      that you were needing some information.             My name is
  6      Charles.    Pleasure to help you.          Attached is a channel
  7      guide which you can review, and there's some information
  8      about benefits of TVPad and some benefits of shopping
  9      with us.    Regards, Charles Franco.
 10             Q    And the benefits of TVPad include live
 11      Chinese, Korean, and Japanese channels; is that correct?
 12             A    Yes.
 13             Q    And the channel guide that it refers to, is
 14      that what appears on the third page of this document?
 15             A    Yes.
 16             Q    That was attached to the e-mail you sent to
 17      this customer?
 18             A    Yes.   We always question the source of this
 19      channel guide.     I cannot confirm who created it, but it
 20      was given to me by the previous owner, or my
 21      distributor.    We use it as a courtesy to help customers
 22      understand how to navigate the device.
 23                  These channels are already -- or these apps
 24      are already available on the app for them.
 25             Q    Did you ever use a TVPad?

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                                                                  Page 190

  1                     CERTIFICATE OF OATH OF WITNESS
  2
  3      STATE OF FLORIDA          )
                                   ) SS:
  4      COUNTY OF HILLSBOROUGH)
  5
  6                  I, KIM AUSLANDER, Registered Professional
  7      Reporter, Notary Public in and for the State of Florida
  8      at Large, certify that the witness, AMIT BHALLA,
  9      personally appeared before me on July 13, 2016 and was
 10      duly sworn by me.
 11                  WITNESS my hand and official seal this 18th
 12      day of July, 2016.
 13
 14                                      <%Signature%>
                              ___________________________________
 15                           KIM AUSLANDER, RPR
                              Notary Public, State of Florida
 16                           at Large
 17
 18      Notary #FF184913
 19      My commission expires: 1/10/2019
 20
 21
 22
 23
 24
 25

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  1                   REPORTER'S DEPOSITION CERTIFICATE
  2
  3                  I, KIM AUSLANDER, Registered Professional
  4      Reporter, certify that I was authorized to and did
  5      stenographically report the deposition of AMIT BHALLA,
  6      the witness herein on July 13, 2016; that a review of
  7      the transcript was requested; that the foregoing pages
  8      numbered from 113 to 193 inclusive is a true and
  9      complete record of my stenographic notes of the
 10      deposition by said witness; and that this
 11      computer-assisted transcript was prepared under my
 12      supervision.
 13                  I further certify that I am not a relative,
 14      employee, attorney or counsel of any of the parties, nor
 15      am I a relative or employee of any of the parties'
 16      attorney or counsel connected with the action.
 17                  DATED this 18th day of July, 2016.
 18
 19
 20
                                      <%Signature%>
 21                            ___________________________________
                               KIM AUSLANDER
 22                            Registered Professional Reporter
 23
 24
 25

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                                  #:20556




      dish                                    DISH Network L.L.C.
                                              P.O. Box 6663, Englewood, CO 80155 -6663
                                              303.723-1000




                                          November 20, 2014

   Via Federal Express and Email

  Asha Media/TVpad.com
  PO Box 6282
  Brandon, Florida 33 511

  411 Walnut Street
  Suite #5900
  Green Cove Springs, FL, 32043

  Email: sales@tvpad.com

                 Re:     Infringement of Programming

  To Whom It May Concern:

          I am the Senior Vice President, International & Legal Affairs for DISH Network L.L.C.
  ( "DISH "), which is the exclusive satellite provider in the United States of certain copyrighted
  television programming owned and distributed by China Central Television and its affiliated
  companies ( "CCTV "), and the exclusive satellite and "over the top" provider in the United States
  of certain copyrighted television programming owned and distributed by Television Broadcasts
  Limited and its affiliated companies ( "TVB "). On behalf of DISH, CCTV and TVB, I am
  writing to demand that you immediately cease and desist from infringing and/or contributing to
  the infringement of CCTV and TVB programs.

          As you may know, DISH is a leading provider of satellite television programming in the
  United States, with over 14 million commercial and residential subscribers. In addition to
  providing programming that originates in the United States, DISH is also proud to provide its
  U.S. customers with programming that is produced in other countries. This includes television
  content from CCTV and TVB.

          It has come to our attention that Asha Media is currently selling a set-top device known
  as the "TVpad" that enables customers to view pirated television broadcasts (played live, time -
  delayed, and on- demand) from overseas, including pirated television programming from Hong
  Kong and mainland China. We also understand that Asha Media promotes the availability of

                                                                                                       EXHIBIT




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  TVB and CCTV programming through the TVpad device. It is our further understanding that
  neither Asha Media nor any other party makes any payment to DISH, CCTV, TVB or other
  broadcasters for the use of this content, and neither DISH, CCTV nor TVB has authorized Asha
  Media or any other party to make content available through the TVpad. The unauthorized
  reproduction, public performance, display, and distribution of CCTV and TVB content in the
  United States constitutes copyright infringement under U.S. law, as does the advertising and
  promotion of the availability of-and the encouragement of consumers to access-such
  infringing content.

           It is our understanding that pirated CCTV and TVB content on the TVpad device is made
  available to your customers without authorization through an "app store," by means of
  applications available through that store, some or all of which may operate on a peer -to -peer
  basis. In light of the foregoing, we have cause to believe that the parties responsible for
  acquiring, reproducing, and transmitting pirated CCTV and TVB content on the device, as well
  as customers who purchase and use the TVpad device, may directly infringe the copyrights in
  television programming for which DISH, CCTV and/or TVB owns exclusive rights. Asha
  Media is therefore liable for secondary copyright infringement because of its involvement in the
  sale and distribution of TVpad devices, its inducement of customers to infringe CCTV and TVB
  programming, and its material contribution to the infringing activities of others. Attached hereto
  as Exhibit A is a list of applications available on the TVpad app store that provide infringing
  content and a list of the CCTV and TVB channels transmitted through those applications.
  Attached hereto as Exhibit B is a representative list of some of the CCTV and TVB programs


  whether live, time-delayed, or on- demand -is     infringing.
                                                                                              -
  that are illegally provided through those applications. Please be aware, however, that all of the
  CCTV and TVB television programming accessible through the TVpad by whatever means


           We demand that Asha Media immediately: (a) cease and desist selling TVpad devices
  that offer the applications listed in Exhibit A, or any similar infringing applications,
  through the TVpad app store; (b) cease and desist providing the applications listed in
  Exhibit A, and any similar applications; and (c) cease and desist marketing and promoting
  the availability of CCTV and TVB content on the TVpad, and encouraging consumers to
  access such content through the TVpad. Your continued infringing activity following receipt
  of this letter may constitute willful infringement.

          This letter is without prejudice to any of DISH's, CCTV's or TVB's rights or remedies at
  law or in equity, all of which are specifically reserved.

  Sine


  Chris Kue ng
  Senior V ce President, International Business & Legal Affairs
  DISH Network L.L.C.




                                                  2
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                r
                                              DISH Network L.L.C.
                                              P.O. Box 6663, Englewood, CO 80155 -6663
                                              303.723 -1000




                                          December 19, 2014

  Asha Media/TVpad.com
  ATTN: Amit Bhalla
  PO Box 6282
  Brandon, Florida 33511

  411 Walnut Street
  Suite #5900
  Green Cove Springs, FL, 32043

                 Re:     Infringement of Programming

  Dear Mr. Bhalla:

         I am writing in reply to your email of December 8, 2014, which responded to our cease
  and desist letter of November 20, 2014 concerning Asha Media's sale of the TVpad device and
  promotion of the TVpad's infringing capabilities.

         We strongly disagree with your statement that Asha Media is "only a reseller" of the
  TVpad device. In addition to selling a device that delivers pirated content, Asha Media actively
  induces and encourages customers to purchase and use the TVpad device in order to access and
  infringe copyrighted Chinese-language television programs, including CCTV and TVB
  programs. In light of these activities, Asha Media is secondarily liable for the infringing conduct
  of its customers who use the TVpad device, as well as for the infringing conduct of other parties
  streaming pirated CCTV and TVB content to the TVpad device.

          We understand that the exhibits to our prior letter may not have been attached. Therefore,
 attached hereto as Exhibit A is a list of applications available on the TVpad Store that provide
 infringing content, and a list of the CCTV and TVB channels transmitted through those
 applications. Attached hereto as Exhibit B is a representative list of CCTV and TVB programs
 illegally streamed through those applications. We reiterate that all of CCTV and TVB television
 programming streamed through the TVpad device by whatever means-whether live, time-
 delayed, or on- demand -is   infringing.

 We also reiterate our prior demands that Asha Media: immediately (a) cease and desist selling
 TVpad devices that offer the apps listed in Exhibit A through the TVpad Store; and (b)
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  cease and desist marketing and promoting the availability of CCTV and TVB content, and
  encouraging consumers to access such content through the TVpad. Your continued
  infringing activity following receipt of this letter may constitute willful infringement.

  This letter is without prejudice to any of DISH'S, TVB's or CCTV's rights or remedies at law or
  in equity, all of which are specifically reserved.

  Sinc


  Chris Kuell g
  Senior Vi President
  International Business & Legal Affairs
  DISH Network L.L.C.
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                                                                           Exhibit A

                                                                   TVpad "Live" Apps

    TVpad App and icon                                        CCTV channels                    TVB channels
    BETV HD3                                                  CCTV    1   HD (live)
         r



      1-_                 metro
      $EN ID3
    BETV II                         3                          CCTV 1 (live & replay live),
                                                              CCTV 2 (live), CCTV 3 (live
                      F
                  E                                           & replay live), CCTV 4 (live
                                                              & replay live), CCTV 5 (live
         BE               FI3                                 & replay live), CCTV 5+
                                                              (live), CCTV6 (live & replay
                                                              live), CCTV 10 (live), CCTV
                                                              11 (live), CCTV 12 (live),
                                                             CCTV 13 (live & replay live),
                                                             CCTV 14 (live & replay live),
                                                             CCTVA A.          (CCTV
                                                             fengyun soccer) (live)
   BETV 3                                                    CCTV 1, CCTV 2, CCTV 3,
         r                      '                            CCTV 4, CCTV 5 +, CCTV6,
              ç       `                                      CCTV 10, CCTV 11,
                                                             CCTV 12, CCTV 13, CCTV 14,
             --
                                                             CCTV)xLE-J          (CCTV
                                                             fengyun soccer) (all Iive)
   -W5   UW3                            (Yue Hai Shi Yi 3)                                    JADE HD, JADE (both time -
         f
         t
             -,                                                                               shifted by 12 hours)

                  -        )c




     it3
  Pin 3)
                                    (Yue Hai Kuan                                             JADE HD, JADE HD, J2,
                                                                                              JADE, PEARL, interactive
                                                                                              News (all live)



  itt ä;Af23 (Yue Hai Kuan                                                                    JADE HD, JADE, J2, PEARL,
  Pin 23)                                                                                     interactive News, JADE HD
                                                                                              (live and replay live)
     0
  £J¡t.t-_
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    516TV                                                                    TVBS (live)




   516,` V *3                    (516 Online    CCTV4 (live)                 TVBS (live)
   TV 3




   MTV                                                                      JADE HD, J2, JADE, Pearl,
                                                                            interactive News (live)
          F,\
        !A¡   ¡         r
                  11




          f




              ;figj;,       ZIA (Gang Yue                                   JADE HD, JADE, interactive
  Wan: Luo Dian Shi)                                                        News, J2, Pearl (live and
                                                                            replay live)



  .45 AIS (Yue Hai Zhi Bo)                                                  Interactive News, J2, Pearl,
                                                                            JADE, JADE HD (live)

      0

  i*.Nonline3 (Sport online3)                  CCTV 1, CCTV 5, CCTV 5 +,
                                               CCTVIA,     /.£   (CCTV
                                               fengyun soccer) (all live)

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                                          TVpad On Demand Apps

    The following app plays CCTV programming:

                 (WASU TV)




   The following apps play TVB programming:


          '    V. (Gang Yue Kuai   Kan)



    41111Roir


   44filaaV, (Gang Yue Wang Luo Dian Shi)


     Á tt        (Gang Tai Wu Xia)



     IIZI-`Y
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                                                        EXHIBIT B

                                            Representative Examples of Programs

   CCTV Program Name                                Original            Channel Application
                                                    Broadcast
                                                    Date
  Across the Straight kilDtmiV                     9/22/14             CCTV-4      BENII3
  Across the Straight 5t' mr                       9/23/14             CCTV -4     BETVII3
  Across the Straight A0;                          9/24/14             CCTV -4     BEN
  Across the Straight VOgg                         9/25/14             CCTV-4      BETVII3
  Across the Straight MOW
  Across the Straight ikiv
  Across the Straight MAW*
                                            g      9/27/14
                                                   9/28/14
                                                   10/4/14
                                                                       CCTV-4
                                                                       CCTV-4
                                                                       CCTV-4
                                                                                   516
                                                                                   516
                                                                                   516
  Across the Straight 5                 *          10/5/14             CCTV-4      516

  Around China          igl4:,111                  9/22/14             CL V-4I    BENII3
  Around China       ítì    iGpp                   9/23/14             CCTV-4     BENII3
  Around China       kilgrllo                      9/24/14             CCTV-4     BEN
  Around China       Zig-I1                        9/25/14             CCTV-4     BENII3
  Around China       ±map                          9/27/14             CCTV-4     516
  Around China       ±ì       I   0                9/28/14             CCTV-4     516
 _Around China                                     10/4/14             CCTV-4     516
  Around China       ±gip                          10/5/14             CCTV-4     516

  Art Life .Z*A.t                                 9/25/14              CCTV-3     BENII3
  Art Life L7t:}                                  10/3/14              CCTV-3     BENII3

  Echo Clear EMIV316                              9/26/14             CCTV-3      BENII3
  Echo Clear  Qprt                                10/3/14             CCTV-3      BENII3
  Echo Clear CIIM3$                               10/5/14             CCTV-3      BENII3

  Fashion Infinite   af-r         ßli             9/28/14             CCTV-4      516
  Fashion Infinite   ; Mfr-       lR              10/5/14             CCTV-4      BENII3

 Festival gala t
 I want to go to the Spring
                   .t: 9t
 I want to go to the Spring
                                                  9/28/14

                                                  10/5/14
                                                                      CCTV-3

                                                                      CL V -3
                                                                         I
                                                                                  BENII3

                                                                                  BENII3
 Festival gala jstR±Ctt

 Star Walk MYC3tI                                 9/25/14             CCTV-3      BENII3
 Star Walk RYcC                                   10/3/14             CCTV-3      BENII3
 Star Walk .1   31                                10/4/14             CCTV-3      BENII3
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   To A Happy Departure            9/22/14     CCTV -3   BETVII3


   Variety Festival .       :A     9/23/14     CCTV -3   BETVII3

   TVB Program Name                Original    Channel Application
                                   Broadcast
                                   Date

   Pearl News   t
   Come Home Love REM
                         ri19 01   9/29/14
                                   9/29/14
                                               Pearl
                                               Jade
                                                         15
                                                         15
   All That is Bitter is Sweet
   ;; m                            9/29/14     Jade      15
   Line Walker   {Attfit           9/29/14     JadeHD    14
   Big Boy's Club   RAM            9/29/14     32        14

   Pleasure & Leisure        I1    9/30/14     Jade      15
   Pearl News   t1   #*frMa        9/30/14     Pearl     15
   Come Home Love       *Cl*       9/30/14     Jade      14
   All That is Bitter is Sweet
   ;mWalker
   Line             tert
                                   9/30/14
                                   9/30/14
                                               Jade
                                               Jade
                                                         15
                                                         15
                {
   Big Boy's Club   RAW            9/30/14     J2        15

   Pleasure & Leisure AMC*         10/1/14
   Pearl News  t     *r1int
   All That is Bitter is Sweet
                                   10/1/14
                                               Jade
                                               Pearl
                                                         15
                                                         15

   tNI                                                   HIIV
                    tf it
                                   10/1/14     Jade
   Line Walker f                   10/1/14     Jade      HITV
   Big Boy's Club   R.fft          10/1/14     J2        15

   Pleasure & Leisure              10/2/14     Jade      15
   Come Home Love RR*              10/2/14     Jade      15
   All That is Bitter is Sweet
   íI15                            1012/14     Jade      14
   Big Boy's Club   RAM            10/2/14     J2        15



   Come Home Love REM              10/3/14     Jade HD   15
   Line Walker {ntfT4-* **         10/3/14     Jade      HITV
   Line Walker {S$fT * **          10/3/14     Jade
   Big Boy's Club RAS*             10/3/14     J2        15
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       A    Closer Look         g-   lM       10/6/14             inews       18

       Big Boy's Club EMIR'                   10/7/14             32          HITV

       Come Home Love RCM                     10/8/14             Jade        15
       Pleasure & Leisure 1 Iifi              10/8/14             Jade        17
       Big Boy's Club R                       10/8/14             32          15

       Pleasure & Leisure 113VX1 ik
       Pearl News         t
                      *- frV
                                              10/9/14
                                              10/9/14
                                                                  Jade
                                                                  Pearl
                                                                              17
                                                                              15

                          Additional TVB Programs available on- demand

      TVB Program                            TVB Program         VOD App.
      Chinese Name                           English name
                                             Ghost Dragon of     Plg.ti C (gang
            ILA                              Cold Mountain       yue kuai kan)

      ,. h
                                             Black Heart White
                                             Soul
                                                                 At    An (gang
                                                                 yue kuai kan)
                                                                 4 VIA (gang
      R..      CI*                           Come Home Love      yue kuai kan)

           t                                 The Ultimate
                                            Addiction
                                                                 plivfm(gang
                                                                 yue kuai kan)
                                                                     t: (gang
      Gill     T                                                 yue kuai kan)
                                                                Pl4f):Z- (gang


  !:  A203t



                i%
                                            Gilded Chopsticks

                                            Storm in a Cocoon

                                            Outbound Love
                                                                yue kuai kan)
                                                                A-`    : (gang
                                                                yue kuai kan)
                                                                PPIERA-4. (gang
  .    ?

                                                                yue kuai kan)
                                                                PItt:z- (gang
       a                                    Ruse of Engagement yue kuai kan)


  tMMA *693                                 Never Dance Alone
                                                                 AAr      (gang
                                                               yue kuai kan)
                                                               PA   'j: (gang
  V#8
  V#844fAt                                 Queen Divas         yue kuai kan)

       RAtiA,,.,
                                                               Pk   f:a   (gang
                                           Coffee Cat Mama     yue kuai kan)
                                           Return of the
                                           Tongue
                                                        Silveri;`        (gang
           11±.0431../:                                        yue kuai kan)
 fftrte                                                        AicAs (gang
                                           Brother's Keeper    yue kuai kan)
 R                 s                       Shades of Life      astatp# (gang
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 39 of 147 Page ID
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                                                                    yue kuai kan)
                                                                    Arun' (gang
     MyLady                                   Bounty Lady          yue kuai kan)

     Call 35        /Jill
                                              On The Hippocratic   AI);       (gang
                                              Crush II             yue kuai kan)
                                                                   Pk! i)     (gang
          91'Fil,g                            Will Power           yue kuai kan)
                                                                   If61):M (gang
    Wgg2 20140804                                                yue kuai kan)
                                                                   1JtA (gang
    A3E2t-T 20140805                                               yue kuai kan)

    X1)1        :g                                                 Pk lAZ
                                                                             (gang
                                                                  yue kuai kan)
                                                                  pk4fA (gang
    ;At )allgi-                                                  yue kuai kan)
                                                                  A °_v (gang
    ADD                                                           yue kuai kan)

   SUNDAYI1E.T
                                                                  Itt   ,    (gang
                                                                  yue kuai kan)
                                                                  PkfAt (gang
   f 7J) *I2                                                      yue kuai kan)
                                                                      40:4- (gang
   IMI,,IRJkC                                                     yue kuai kan)
                                                                  A tA-4- (gang
   E,      El   ,
                    X31                                          yue kuai kan)
                                                                  AtIA-     (gang
   2014FIFAEEtN 4-                                               yue kuai kan)
                                                                 pk4t S. (gang
   2014FlFAE                -   + -;   Eg                        yue kuai kan)
                                                                 pk.k'i: (gang
   ,Zìt   EgEft                                                  yue kuai kan)
                                                                 JAti#:z- (gang
   tk;ffi                                                        yue kuai kan)
                                                                  AtttlagMIR
                                            Ghost Dragon of       (gang yue wang
   IS   ['Ma                                Cold Mountain         luo dian shi )

                                            Black Heart White    (gang yue wang
   ,z.;AA                                   Soul                 luo dian shi )

                                                                 (gang yue wang
          El Og                             Come Home Love       luo dian shi )

                                            The Ultimate         (gang yue wang
                                            Addiction            luo dian shi )
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                                                      AVMIRMA
                                                      (gang yue wang
    #liglATRJ.                                        luo dian shi )
                                                      Aiti:W3y73laM
                                                      (gang yue wang
    M" RStg                                           luo dian shi )
                                                      AtNal3MIR
                                                      (gang yue wang
      4tycltf    1                                    ILK) dian shi )

                                                      444115MgV,
                                                      (gang yue wang
   .DD                                                luo dian shi )
                                                      AtiMitg:*
                                                      (gang yue wang
   Alt12.R                   Gilded Chopsticks        luo dian shi )
                                                      Pitg4KMV
                                                      (gang yue wang
   qVZ-                      Storm in   a   Cocoon    luo dian shi )
                                                      PMPIlsEtl.
                                                      (gang yue wang
   2APV.#4                   Outbound Love            luo dian shi )
                                                      MALMIIR
                                                     (gang yue wang
  WA                         Ruse   of Engagement    luo dian shi )
                                                     44g1IMMVA
                                                     (gang yue wang
  #CAMMS                     Never Dance Alone       luo dian shi )
                                                     IM'CR.
                                                     (gang yue wang
  ff tg4fat                 Queen Divas              luo dian shi )
                                                     MAlgani9,
                                                     (gang yue wang
  riiR,,.,t,.,              Coffee Cat Mama          luo dian shi )
                                                     AVIOgtDIñ
                            Return of the Silver     (gang yue wang
  tIQ_Ein!c}.2              Tongue                   luo dian shi )
                                                     AALtliittgaM
    n                                                (gang yue wang
                            Brother's Keeper         luo dian shi )
                                                     PI -tifiltfMR,
                                                     (gang yue wang
  ttirit`7X91'              Shades   of Life         luo dian shi )
                                                     PlititgikMA
                                                     (gang yue wang
  MygLady                   Bounty Lady              luo dian shi )
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 41 of 147 Page ID
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                                                    A MOM*
                              On The Hippocratic    (gang yue wang
     Call 36/1q#11            Crush   II            luo dian shi )
                                                    MICORIgiVE
                                                    (gang yue wang
     Ag%1ilt                  Will Power            luo dian shi )
                                                    AglIMVEV,
                                                    (gang yue wang
    *§Ieti                                          luo dian shi )
                                                    miximila*
                                                    (gang yue wang
    NOt%V                                           luo dian shi )
                                                    AAVItlE
                                                    (gang yue wang
     E$:6                                           luo dian shi )
                                                    AVOlgilati
                                                   (gang yue wang
    SíTizfrifJ                                     Pilo dian shi )
                                                   AginigYVER
                                                   (gang yue wang
    OZGPS                                          luo dian shi )
                                                   AlsiffitVIER
                                                   (gang yue wang
   MN AV                                           luo dian shi )
                                                   A *WWI*
                                                   (gang yue wang
   efixEl.fi É3 -T                                 luo dian shi )
                                                   A4ANKM61
   &It                                             (gang yue wang
                                                   luo dian shi )
                                                   AsJAMIEV
                                                   (gang yue wang
   L1llt4146                                       luo dian shi )
                                                   AVAAVVR
                                                   (gang yue wang
   Oti.±.Mr2                                       luo dian shi )
                                                   A4410M1
                                                   (gang yue wang
   410Mliffil/ff                                   luo dian shi )
                                                   PlaitlitME
                                                   (gang yue wang
   MRAS                                            luo dian shi )
                                                   AVNYVA
                                                   (gang yue wang
   VOAtEII                                         luo dian shi )
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                                Against the Blade of     AÁ         0    (gang tai
         IAA            7J      Honour                   wu xia)
                                                             AR (gang tai
                                Whatever It Takes        wu xia)
                                                           á  t{ (gang tai
                                A Change of Destiny      wu xia)
                                The Master of Tai         á iA (gang tal
     ±f3                        Chi                     wu xia)
                                                          Á             (gang tal
     i    F1   ttr9             Fist   of Fury          wu xia)
                               Witness to a               q             (gang tai
    Agig-                      Prosecution              wu xia)
                               Sweetness in the         M á 0   (gang tai
    elfatk                     Salt                     wu xia)
                                                          R             (gang tal
    ±14434                     Gods of Honour           wu xia)
                                                        Pli-t           (gang tai
               iff"t           Man In Charge            wu xia)
                               Heaven Sword and                  O (gang tai
           Xfi           pE    Dragon Sabre             wu xia)
                                                          á itiA (gang        tai
                na             A Step into the Past     wu xia)
                                                       A-81t0 (gang tai
  ffïi.H                      Heroes Of The Times      wu xia)
                              The Demi -Gods and         R tt{ (gang tal
          12/Á13              Semi -Devils             wu xia)
                                                       Pa-RYE (gang tal
  *AWL'                       The Condor Heroes        wu xia)
                              The Legend of the          Á          (gang tai
  gitgrAtgiS                  Condor Heroes            wu xia)
                                                         Á     4A   (gang tai
  4.1,`         REit          The Four                 wu xia)
                                                       Mt-AO (gang tal
  :Z                          Grace Under Fire         wu xia)
                              The Deer and the           Á tt{      (gang tal
  aW4 gE                      Cauldron                 wu xia)
                                                       At-A.0       (gang tal
                              Fearless                 wu xia)

  t               lik         Twin of Brothers
                                                         Á t.R (gang tai
                                                       wu xia)
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 1VP-13091041    9/23/2013    cloud        authodzenet       USD     229  N             -N Pad Store - English
                                                                              Pad Website
 NP-13101052     10/8/2013    closed       authorizenet      GBP    1075  N             -N Pad Store - English
                                                                              Pad Website
 NP-70011019     10/9/2013    complete     paypastendard     AUD   296,65 N Pad Website -N Pad Store - Chinese
 NP-13101100    10/14/2013    closed       authodzenet       USD    15.99 W Pad Website -N Pad Store - English
 WP-15101112    10/15/2013    complete     paypal_standard   USD    522.1 W Pad Website -N Pad Store - English
 NP-13101146    10/17/2013    complete     paypal_standard   USD       40 W Pad Website -N Pad Store - English
 7VP-13101177   10/21/2013    closed       authodzenet       GBP     229 W Pad Website -N Pad Store - English
 NP-13101201    10/22/2013    complete     autharixenet      USD     234 N Pad Website -N Pad Store - English
 WP-70011039    10/31/2013    complete     paypal_standard   CAD    248.6 N Pad Website -TV Pad Store - Chinese
 NP-13111163    11/13/2013    closed       authodzenet       AUD     259 N Pad Website -N Pad Store - English
 WP-13111290    11/22/2013    closed       authorizenet      USD     259 N Pad Website -N Pad Store - English
 WP-13111345    11/25 /2013   processing   paypal standard   GBP     259 N Pad Website -N Pad Store - English
 WP-13111355    11/26/2013    closed       authodzenet       USD     259 N Pad Website -N Pad Store - English
 WP-13111403    11/30/2013    complete     paypal standard   USD   241A8 W Pad Website -N Pad Store - English
 WP-13121030     12/2/2013    complete     paypal_standard   GBP   470.59 W Pad Website -N Pad Store - English
 WP-13121056     12/3 /2013   holded       authodzenet       USD    15.99 N Pad Website -N Pad Store - English
 WP-13121091     12/4 /2013   complete     authodzenet       USD     234 N Pad Website -N Pad Store - English
 NP-13121105     12/5 /2013   complete     paypal_standard   USD     224 N Pad Website -N Pad Store - English
 WP-13121106     12/5 /2013   closed       authodzenet       USD     249 N Pad Website -N Pad Store - English
 WP-13121170     12/9 /2013   complete     authodzenet       USD     224 N Pad Website -N Pad Store - English
 1W-13121204    12/11/2013    complete     authorizenet      USD     234 N Pad Website -N Pad Store - English
 WP-13121256    12/14/2013    complete     paypal standard   USD       10 N Pad Website -N Pad Store - English
 WP-13121332    12/18 /2013   complete     authodzenet       USD     224 N Pad Website -N Pad Store - English
 WP-13121390    12/22/2013    complete     paypal standard   USD     224 N Pad Website -N Pad Store - English
 WP-13121552    12/30 /2013   complete     authodzenet       GBP      116 N Pad Website -N Pad Store - English
 NP-13121587      1/1/2014    complete     authodzenet       USD      224 W Pad Website -N Pad Store - English
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   ONrN,O       4w0w      a1pR+,7a0PW WNS+aPp             KN        awrlAtrtl awH111PutP0   1P11   surto   aP0    5,   aw.MtnQ ua.tS aweN1l.1 +P07NIun037vddt4S d       pa4,rwru +P0N1u+ar^Y+WO   nlrs         .wdwRl Lunolrrylunoxp       Pa,aP,OAlO 1101.10tl
   ES01100041 NwNK               r102/1n N.puna           uay                                                     w,n          nro                              Irara PrW.rs                      r00M41
   E901100C41 Nmrn               r10L/1I Napura,          10,Y
                                                                                                                                                                                 d11D                              R                                        Pt
                                                                                                                  uary         nrp                              P+Win0A>a        d99              L11011
   E901S00LdILL Amur(            P102nI NMwaa             uaV                                                     uary         nro                              IrdA.a PuWais    d97              11lq1
   06SSZtE1.41 NmuH              rIOOn/I Kxdwee           wy                                                      M3             xNN                              rNRIra1Y1.        OSn
   EIdü 06SIZ1 NmuH
   0651i1E1.A1 NmuH
                                 r1oOI/I Nalaure>
                                 r1oUUI Rapwm
                                                          rwY
                                                          ruY
                                                                                                                  eAO
                                                                                                                  aaY3
                                                                                                                                 W.4
                                                                                                                                 x++N
                                                                                                                                                                  sr...,
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                                                                                                                                                                                                  t00-0Vd1í
                                                                                                                                                                                                  LllM1
                                                                                                                                                                                                                   R

                                                                                                                                                                                                  SllP11
   f901100LdA1 NK.,K             PtOL/I/1   Mpurm         Suy                                                     Sul            SrWnA                                              aSn           r00P/41
   PtOl100C41 NmuH
                                                                                                                                                                   IrOAWPr.Puns                                    R
                                 r1ceII     »apww         Tul                                                     fu.1           MW^A                             iaAaPwWri         OSA           WON
  WO[i00LdLL Nmun                rTOin/t NaproPa          Sul                                                     7ur1           Sr0r1^A                          MdA.a PwWl+      OSA            11d91
  010I101.A1 Nmu                 .0t/t/1    >1a1dac0      pp.(                                                                   ON                               Iawq+aM.         IM3            POPOY4L          R                                        R
  010110S-41 rnuK                Prot/Ln    Nalau+m       wr.arx                                                  arr.,          O1                               1NRIwVn          Yn3            LLl1ON
  010110...       km.            tOII Kapurw              prow(                                                   qrNlraf        O1                               rauRVWn          Yn3            S1lP)N
  1[01101.41      /um.           n0tn/t     N.plrroa      H,Y                                                     rum            an                               INNyWYr.         d11D           í000Y4í          R
   1TOI101-41 Nn.rH              t10UZI NaprwP            Nltl                                                    nro            an                                                dSD
                                                                                                                                                                  1NRyWYr.                        UPON
   110110fí41 NwNK              1t0tnn Nxaw01             NIY                                                     Nltl           an                               INNParyr.        090            S11DI1
  Z10110[dLL NKUH               1402II aaxaawo            Sw.49up1                                                fwVuOf         Nn                               1NR;+Wn.          OSA           /00.0VáÚ         R                                        R
  ZI01S01.41 NmuH               .00/UI alHarrrm           TwAT1IX                                                  TwAfr+n       Nn                               INNIw4Yle         asn           ulroN
  Z[01101dAl NaruH              Plceln artpur.           SuO.W.7(                                                 Su0AS+0I       Nn                               1NRI+Wn          asn            111PN1
  ESOISOS.AI NwH                PtOOI/t Napuroe          "hi                                                      oMN            wN                               Iara DwDuK       ,113           POOOYdM          R                                        R
  ft01101t41 Nu.rH              not/t/1 NxdrwP           ram                                                      a,SN           wN                               IaA.a P+rOtwli   11413          L1l1JX
  MITO,.          NmuH          not/t/1     NHdureP      70SN                                                     PPSN           wn                               IdA.d PuPuaÑ     11n3           L11f11
  rt01101141 Nmurf               r1oL/Z/1 Napruw         A4Rf                                                     AWN            afA                              1wNWn.           OSn            P000YdLL
  n0110Tdd        NmuH           riOO/Ut NHduau          A4Rf
                                                                                                                                                                                                                                                            R
                                                                                                                  A4MS           O.A                              IwNI+Wn          Osn            L111D1
  rtOtiOtdÚ       NKUH           PtOOI/S 0a10um          A41f                                                     ArOry          0q                               map..e           OM             S1i1011
  S101101-41 NKwH                rtOO/Ut    nap..         nn                                                      nP             oo.t                             lauNyWln.         Osn           t00Q1/d1l        R                                        R
  S10t101-dLL Amu,               r10F/LI    Napa+a>                                                               nr.            000                              swops,.           asn           L3l1D11
  slo[[ortdnL Nm1n              rt02/t/1    .1.pwae      nn                                                       nn             Oda                              uyn. INNI        asn            1111011
  910ft0i41 Nw,H                rtotnn »aro>,            TrP4+PPw                                                 AroA+aPw       Mr0                              It+atyP4n.       OSn            MOON.            R                                        R
  910110i-41 NKwH               P1oU2I alMrrP>           W    fuoA+W                                              Sw7NOOaV       pw                               laurryaon.       OSn            L11D11
  9102101-41 Nmuf               rIO2In      Rapwao       fuMroow                                                  fwA,POfV       loro                             rNRfwrfYl        OSn            1171
  LT0110n-d/1 NKwH              riot/r/1    ar.rtlwCO    u19M71                                                   oMaf            Sum1                            lWaryWn          oin            t000V4L          R                                        R
  L10n011-41 NmuH               noun        Ka1dw+       u19M71
                                                                                                                                 Sum1                             INRWnr           05r1           L111pN
  LT0110ISd/1 NrnrH             riot/r/1 NxduoO          upMf                                                     ul9laf         UnY1                             IWNI+WIn         asn            Tlla7N
  91.IOP4Aí NrnrH               1I0L/2/t NxOarot         Soarls                                                   S+ar6          So,                              iNR1r0rIn        Osn            ,000,41
  .015011dA1 NwNH               Pt00II    a>laruo0       fua4ç
                                                                                                                                                                                                                                   OL                       rt
                                                                                                                  Twrs           >uo4r                            uwryPyn.         osn            UPON                                 0
  11011011-41 Nmux              t10L/O/1 rHawa,          Way                                                      Pao.                                            1wmrW,1.         OSn
                                                                                                                                 S14í                                                             Ill1D1
  610[1011.,1 NNx               Ptotln ..ararrlaP        mA                                                       a^A            Suql                             . )NN1wyy        Dsn            rOPOV4l          R               OT                       611
  6101101-41 NKwx               P10UU1 rlpam             mA                                                       mA             Puol1                            Iau.Hc4n.        Osf1           Lll1J1
  610I1O11dA1 NmuH              ttOL/[/t a/aldwOe        mA                                                       mA             T,a1                             raua4wyn         OSA            11l1011
  OLOIT01-4L NmuH               riOL/U{ Napam            uaulÇ                                                    uPUK           o0µ                                               05n
                                                                                                                                                                  1lutrrarM.                      t00OVdLL         R                                        Pt
  OL0110S.A1 Nwwn               P10O/UI N1ar04           uOwIÇ                                                    rrarb          00M                              I.NJWrMe         OSn            Z1f111
  OL01101.A1 NmuK               HOF/U[ aiapwaa           00015                                                    wwrç           00M                              1stra.04n.       95n            T1N7N
  1LO11ardA1 ...nun             ttx/UI aRlawOa                                                                                   wA                               1au1w4Y1.         9sn           IOPOVOÚ          R                                        ti
  IIOT101-41 N.nuH              MOWS NapwPO                                                                                      u47                              IauRi,W>r.        OSn           Z11111
  1t011OI-41 NmuK               rt0t/UT N>NruoO                                                                                  r>x                              IstuaPWn.        OSfI           ulro1+
  ZLOSSat-dAl     Nmux          rtOF/OI .rapwou          1..01                                                    7yrt,          U10                              IaAa PwM1i       Osn            r9Pwdu
  ZL.SOS4t        NwruH         noVUt Na1ar^»            fu! >Ua                                                  71wW+!         Uno
                                                                                                                                                                  Wr9uNfM6Aa       osn            LLl1011
  LL01101-dAl NmuH              tloi/tI rrapuwP          7PafwN                                                   1wPea          una                              1M.d PwM11-      OSA            [11D11
  EL.TO1dLL NwNH                PIOLIn NHarwP            a4Nrr                                                    eff.           raarrl                           NwrPWnt          ONI            1,00011dÚ        R                                        ti
  EL0110K-4Al N1nrH             rSOi/O/T alaprwi         rYMu                                                     itou                                                             OSA
                                                                                                                                 WAN                              NuRPWrr.                        ul17N
  EL0110rs-dLL NmuH             r10tI/t N.lawa           >M1au                                                    a11N           Ya41                             INR4War.         05f1           L11D11
  K0I10r1-dM NKwf               PtOi/f/t al+laa+>        NN                                                       111N           rwrs                             1NRIwrIn.        dID            IOOOVdLL         SZ
  rL01IOf4l Nmu.f               riot/c/s    Nalawa,      NN                                                       4PN1           rarrs                            Nwayeyn.         06D            LLlIO11
  Kos101-41 Nn.rx               r102/UI .l.ihwo         NN                                                       tPIN            aRS                              IauulwrPrl       dSD            11l011
  R01101-41       A,wwH         rIOO/f/I NHduOa         aw.yaW                                                   .uNNraV         S,rA                             I>tw11rW1M       CIsn           r000V41          R
  SZOtsOIdAl NmuH                r10F/01 alalarrl»      awKwW                                                    ar.ryrW                                                           otn
                                                                                                                                 SxA                                                              LylM)N
  ROtt011-dAl NwHH               P102/EI NalauwP        awnuW                                                     rr.rHUW        fury                             Iauaty04Yr       a5n            111D11
  920I101-41 NruK               P102/0 Rapu.»           NW                                                        MW             .Nk                              WR1+0rM.         OSA            t007M01r4t      660                                     'SI
  SfOtIOOL4l NwwH               1to2II      Na1arP0     .N7,                                                      DN3N           NY1                              MaAa +tPwH P     OSA            KO-0Y.1          6R
  510tS001dLL     A.m.(         rSOOI/1     Nxau         ON3N                                                     Dt13N          NY1                              r.Mq P+rWÑ       asti           Z1l01
  St01100L-4l NmuH              P[0O//I NxdPa            DH1N                                                     DN3N           NV1
                                                                                                                                                                  P,.DuqilaAd      CISn           1114D1
  101-41 LEM NmuK               1.102/1n aiapuwo         w3                                                       uy3            urP                              auRlw4a1         M9             r00.0Y441        R                                        IL
  [20110.dÚ      N.nuH          r1oVEI r.prrb>          1y3                                                      Wr)             uRp                              NNIrW>r          0110           WW1
  LL0t1011-0h1   /um.           rust/Us >PO..           u1r3                                                     1r1r3           two                              e1Ryo41n         dTD            t1NDN
  .01101E-4Al Nw.,H             MOWS NxaawO             til                                                      Yf1
                                                                                                                                 TwwP                             ava.Wn           osn            r000Y.6Ú
  .0110S-4í NmuH                                        >N
                                                                                                                                                                                                                   R                                        rL
                                HOZ/C/1 >Npruao                                                                  9n              fuow3                            aua.yWYR         OS41           Z{l171
  .0150114N NwwH                MOO         1alarr+^>   3n                                                       7n              Suarty                           NNIaWnr          Osn            S11011
  6L.S01-41 Nwwn                rtot/U[ N>raao0         vast                                                     Suak            ny                               auRlwyY1.        d9D            r0a0Y.l                                                   oó1
  6L01101td01 A,wYI¡            rtOL/US Na1Sr+or        WK                                                        fuorld                                          auaxnrlr^        011D           WON
  6L0110S-41 Nmux               rIOF/Ut rrarOwa         Nog                                                       Sunk                                            HrR1Wn.          dS9            I1NON
  TOOLdAl rem NmuH
  9gITOOL-4L Nrnv.(
                                rtOO/UI aaaldum
                                not/f11
                                                        Srrn                                                                     uN                               Way.,            Osn            100-OV41
                                            KHOwa,      Sun    AN                                                fur.            urP                              suRlqyn          asn            Z!!1)N
  990SfO0CMl Nn.rf              r10Uf/I     Na1aa10P    7rT,l                                                    100             uno                              r oyy aw4        Osn            111101
  001f0t41 Nmux                 PtOi/EI KapwoP          runt                                                     Ow.             fn                               au+ryWn          05n            /000Y41
  OEOS101dAl NnwH               PiOi/UI Rrpwm           Swuy                                                     7wy             m7                               au+rlw4>r        OSA            Z11kN1
  OE.1a1dAl      N..1           tTOL/UI     nap..       Suuy                                                     Swy             m7                               axR1w41n.        OSn            111FJ1
  SE0110rIdAl NnruH             P[x/UI      Na1awN      SuaD                                                     Su.             S+rrfL                             +w+wyY         osn            r000,dÚ
  SE0110S.A1 NmuK
  ZE0110t-41 NmuH
                                            Napw01      Pua,l                                                    Iwo             Srw42                            ...MN            OSfI           L1l1D11
                                not/EI      R>Idoa      tPPrp                                                    P.taO           70wf                             auaiyoWl.        d67            POOOV4L                          T
                                                                                                                                                                                                                                                            612
  L101101tdAl Amon              rTOO/U[ .NNa+e>         tMrao                                                    Wup             4owf                             arwHK4nr         dS0            MICH                                                          0
  LE0110rSNL NmuK               PIOUfn NHdwoO           fA.rp                                                    xwp             7001                             auRlw4n          .too           1111011                                                       0
  ttattasd/LL Fumes             K02/1/1 »Nrrwa          31WN1YN                                                  3f[Y11YN        SOS                              auaxw4>r         Osf1           IOPOY4L                                                  61i
  610110141 NwwH                PIOL/Ut lalarrr>        #M11YN                                                   3nY11VN         SOS                              aoary041^        OS11           L11911
  £S0110t41 Nmurf               riot/E/1    aanpurPP    317VHlYN                                                 311YIIIYN       Sos                              auRVM^           asn            üN71
  tf0110r1dAl NmuH              PSOL/UI     Nla+^^      rrrl                                                     uN              Su>u0                            auR)wyn.         Off,           IOOOYdAI                                                 Str
  PtOttOr1dAl NnuH              KOZ/U1 KrrOUaa          un                                                       u,              frw.W                            wtyryn.          otn            Zll1O11                                                    0
  1E01101dAl Nmwf               MOM NHdraP                                                                       u.l
                                                        url                                                                      fuona                            aw.yaMr          OS11           11l101
  S[OttOK4l MN.                 Pice/Ut rlapaaP         awlf                                                     awln            SeA                              IarNtyC4ln.      OSn            WdA1 r00                                                  6K
  SEOISOKMAL     Arm.           PI02/UI ...pun          aWn                                                      auNH            rfaA                             auNOrM           asn            ulroN                                                         0
  St0fS0S.fLL NaruK             t1oUUI Napawo           tw1f                                                     .wMr            .f.A                             awtlw4Yr.        Osn            udwl                                                          0
  LE0ISOS4l Amu.                PTIX/Ut worn.*          S9aMM                                                    S+pMM           OW,                              auaryoyn         osn            t0P0V41                                                  611
  LtOtfOl41      NenuH          P10UU1 N.IdwPP          S,pNM                                                    S4aNM           an6                               auRlw4n         ON,            Z1ir011
  10t4A1 LEM Ntnun              PIODUS NHdwPP           Sr.'a1aM                                                 RAMS            Oa4S                             N011Wr1r         asn            51101I
  TSOtf0141 NmUn                t10O/fI     NHOwPP      AwY                                                      Au.             n10                              awrPWn           Osn            r000vdu
  .0110141 NR.rx                r[EK/Ut MINN.           lnry                                                     Aury            000                              auarlW1^         05n            u1D1
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  T[DfSOt41 AM.(                1100UI arapruW          Aury                                                     AruV            Wirrt                            auxlwV>r         OSA            11l1D11
  6E01101[dAl Nn.+x             P10L/UI pHdwa           ua41                                                     uY7             Ml                               auRyaMr          OSn            PO0Wd41          6R
  610110td11 N1nun              PTOO/UI ialatrba        ours                                                     ua41            m1                               NR1aM.           otn            L111p1
  ówct0t-dLL NmuH               P100U1 NapawP           w47                                                      u+A7            Mrl                              Wn auNF          osn            T1f1.N
  O.OIiOt4l NwwK                P107./U1   .,apwoo      eWl                                                      a.0             Mvl                              NR1rPrine        Otn            t000Yd11
  0101tOT-4! NmuH               noUUt      +IelalaP>    au                                                       ayl             MVL                              INNPWnr          ain            Z11011
  OM110IdLL NnrrH               rIOUEI alapuroa         >^41                                                     a141            M4í                              NRPWrn.          OSn            1111.1
  t10tsOTdÚ   Armuni            P10L/U1 NxdurP>         .+w111                                                   .vy1RW          way                              N0./.dPwWrr-     On             roo-wau          6R                                      ti
  SI0t1011dAl AwnuH             MOOT KIaru»                                                                      +wRw            wal                              PrPuIr1dMd       049            Lí11D1
 Sr0tS0I-4Al Arn.rH             Kor/UI .anWroo          .W1111.                                                  rarfftw         rwl                              MdAW   PwWñ      ay7            t111D11
 [asaN rat L NmUx               rIOL/UI >I>Iawa          Srne1pu11                                               TrPO1Pr+N       wn                                PnW>rfldAM      OnV            KPOY4t
 ZrolsOi-dLL NmuK               PSOL/f/t Naldae>        fuoolpW11                                                                wn
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 MHO... A,n.rx                  r1Oi/US Na10rWA         T+^a14e                                                  T+eo1PuN        wn                               PwwN-IwAAa       am             [1l1711
 Et0IS0s-d/LL Naw,H             rtOUfl     Na1na00      >poi                                                     wr              oN                               INA.a PRPU.w     OSA            1000YdM          R
 ff01[OS-4/LL NmuK              not/Ut     Nalduw0      37f                                                      swr             c1I                              IdAadPwPUNr      asn            Ly1M1
  ft0110141 NmrH                ri0i/UtNapwoa           1P1                                                      laaf            011                              1aAW PwPrwñ      OSn            t11D11
 St01101.A1 NmuK                r10UEn alldrrwo         Srf                                                      Surs            Purry                            S+.aVPrW1        OEw            1000Y.
 1.1..1 SKR      NanuH          nor/Us >I>pwa,          Sws                                                      furs            Sr13                             wawa,            an,            LLl17N
 S1011014I NnNK
 S01-41 9r01 NmuK
                                not/E/1    ors*.        Surs                                                     rrrs            S4ef                             auaHWn.          CIrW           i11d1
                                1t0F/UI    sta7aawo     ufFNd                                                    unlad           011                              auRyPNn          ah             100O/4l          R                                       Or
 91011O1.A1 NwwH               PtOO/UI Nalarr+0>        wrNa                                                     W1-Nd           01                               1+ar1+PN^        019            Lll1D1
 9g110S-OA1 NrnuH                                                                                                                                                                                                                                               0
                               P102/E/t alapww          ufTNd                                                    W}IN            011                              aVNyWYI.         Oq             11NDII
 LI0ISOS41 NKwH                1t000  Napwal            AfON                                                     AIPN            TN                               awnq4,           asn            t00'OYdAI
 L101101-41 NmuH               PtODU[ Kapwoa            AYPN
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 LronOtdAl NKwH                 r10i/f/I   alepu+PO     A4o1                                                     ,Ilrll          TN                               auRPwl^          CISA           Sll191
 Tr0S/0I.A1 Nmun               PiOL/UI     >lapa.       a1                                                       aI              40                               auaar+Wn         Osn            r00OY41                                                  NL
 PW1S01dAl NKUx                 PIODUE rMprOaP          a.l                                                      a.f             W                                auNyW».          asA            ulr1
 YI0110141 Nmux                 rl0i/UI aaxarwa         aN                                                                       w                                st,R7r0Mt        OsEI           T3l1D11                                                       0
 6K110t41        Amore(         r1oF/US    .pwa         'OUP                                                     +PÚ.11          SuoM                             auarlwWr         GSA            100aVdAl         R                                       6K
 610.S0S4l Nmrn                not/UT aapuaa            ,q1aN                                                    +Nae11          fuoµ                             auarwNYR         OSA            Z111D11
 6t0II0S-dLL Arw.rH            PtODUt nNdtoa            ,pMN                                                     +oaaH/          fwM                              1wwrlwYn         Osn            11l1011
 LTOtt00LdAl Nmwf              PTOL/UT Nalauoa          up                                                       u0              r1IYM                            auaO+PWrr        Osn            toOOYdLL                                                 611
 L1301100L-41 NmuK             rTOL/UI NalauroP         up                                                       up              DNYM                             lstrNlwrP^e      asn            L1l10/1
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 Lpt100L4Al N.uH               not/rit     NaldrxoP     up                                                       up              9NYM                             .uRlrWn.         oSn            11l1J1                                                        0
 OSO11014LL Nm+x               riOL/U1 N1aatP>          MT    UN                                                 wM.11           usto                             strRlwVr1        CISn           r0POV4í          R                                       61Z
 050110I41 Naun                rSOL/fn NaldurPP         1.14.1                                                   rrP1B           ustD                             auRiwyn.         oSn            u11D1
 050110S41 AMRx                P.OL/US RqOum            ueuMS                                                    wMB             uab                              auxywn.          0Sn            Sll1.N
 IS0110K-dM A,wun              1t02/fn Napuw            rrNtf                                                    NPf            SuPM                              NRlwtryrr        Osn            IWOYdLL          R                                       1191
 15011Ot4AI Aunun              PIODUI NspwoP            .oPf                                                     run,           ArPM                              warp,.           osn            L111011
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 iS0110i4Al      Auw+n         MOWS NapurW              .0P1                                                     wrPf           SrroM                             auRydOnt         Osn            i1lMJ1                                                        0
 LSOSt01S-Ml Aunun             K02/f/t     Kap.=                                                                 uy             NA                                P+.WH+"I.dA.d                   rl'0O/4l         R
 LS0I10I.A1 NmuK               1102/F/T    Napum        w!
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 LS01101-41 NmuK               'sou,       Nalarrm                                                                               nIA                              IaAa PwDuH+      osn            11l101
 ESOIiOKMl Amur(               DWI Pt      aaalarraa    Aarnls                                                   1wPW1           ^il                              1dA.d P+Ww       Osn            rOOO,dü          6R                                      6PL
 ESOIS01-41 N.nux              t102/E/[                 /aims                                                    awauy7
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 fSOISOKMl NKUH                110L/E/I    N.pum        harms                                                    1rraPUSS        ^f1                                               Osn            S1lMH
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                                                                                  M14011534       January         1/29/2014 compete       Flora          Tran        GB     Flora      Tran        GB   authontenet           USD    HGIFT2                0       0          0
                                                                                  TVP- 14011534   Amery           1/29/2034 complete      Fiona          Trim        G8     Flors      Tran        GB   authalzenet           USG    HGIFTl                0       0
                                                                                  /VP14011535 January              2/3/2014 compete       Mth.Y          OGJ         1M    MGG.w       Choi        1M   autronzenel           USO    TVPAD-004        259      10        249
                                                                                  Ts/P14011535    January             2/3/2014 compete    Anthony        Choi        HA    Antrpny     Choi        1M   euthonunet            USO    HGIFT2                0       0
                                                                                  1VP34011535 January                 2/3/2014 compete    ÑGhony         Choi        1M    Anthony     ChGG        1M   authorize.            USO    HGIFTI                0       0
                                                                                  TW. 14013536 January                2/3/2014 complete   Hue            Jiang       AU    Hue         Jiang       AU   authorittnet          USO    TVPAD004         259      10        249
                                                                                  IW- 13011536 January                2/3/2014 complete   Hua            Jiang       AU    Ha                      AU   authorizenet          USO    GUAB2                 0
                                                                                                                                                                                       Jiang
                                                                                  M44011536       January         2/3/2014     compete    Hua            Jiang       AU    Hue         JIG         AU   authoritenet          USG    HGIFTI                0
                                                                                  T4,14011537 January             1/29/2014    compete    Geres          Fats        VS    Gen.        Fong        US   ...tenet              USO    TVPAD -AC-001   15.99         0   15.99
                                                                                  TW14031539 January              1/29/2014    compete    Chime          Hu          AU    Charlie     Har         AV   wypa!standard         USD    MAD-004           259     10        249
                                                                                  M14011539 lanuery           1/29/2014        compete    CNAIe          Har         AU    Cherie      Her         AU   Paypal sunderd        USD    AGAFTI                0
                                                                                  M1Á011539 Unuary                1/29/2014    compete    CNIIie         Har         AU     Chime      Har         AU   paypal sandard        USO    HGIFT7                0
                                                                                  M14011540 /emery                1/29/2013    complete   Raw«.M         Lee         US     Raymond    Lee         US   nHhaltenet            UGO    MAD -004         2S9      10        249
                                                                                  M140iiS4O       January         1/29/2013    compete    Raymond M      Lee         US     Raymond    Lee         US   avtkorizenet          USD    HGIFT2                0       0
                                                                                  M.iAOii540      January         1/29/2014    compete    Berm./     M   lee         US     Raymond    Lee         US   autIrltenet           USD    HGIFTI                        0
                                                                                  M14011541       January         1/29/2014    compete    Sanshee        Gleng       GB    Sans.       Glens       GB   P.Pal Standard        GBP    MA0-004          259      10        24
                                                                                  M- 14011541     January         1/29/2014    compete    Sanshee        Gems        GA    Sanshtt     Gierig      GB   ayal       standard   GBP    HGIF12                0       0
                                                                                  1VP- 14013541   January         1/19/2014    comokte    Senfher        Glens       G8    Samsun      Gier,       GB   wypa!standard         GBP    HOFT1                 0
                                                                                  M14011.2        January          2/3/2014    compete    WA             Chan        GB    Wei         CNn         GB   .Indofront            GBP    MAO-004          259      10        24
                                                                                  M14011542 Tanury                 2/3/2034    compete    WA             Chin        G8    WA          Chan        GB   atehoritenet          GAP    HGIF12                0       p
                                                                                  M14011542 January                2/3/2014    compete    WA             Chan        GB    WA          Own         GB   .uthecinnet           GBP    HGIFTI                        0
                                                                                  M1A011543 lanwry                2ß/2014 complete        4                  All     AU    U           ten         AU   authorizenet          ASO    MAD-004          259      10        24
                                                                                  M- 1AD11543     January         2ß/2014 compete         U              ten         AV    LI          ten         AU   authattenet           USO    HGIFT2                0       0
                                                                                  M- 14011543     January         2/3/2014 complete       U              ran         AU    U           men         AU   ...tenet              USD    HGIFTI                0       0
                                                                                  M14011544 lamary                2ß/2014 complete        JON            CHEN        G8    AN          CHEN        GB   .ulhAUzenet           GBP    MAD-004          259      20        23
                                                                                  M14011544 emery                 2/3/2014 complete       JON            CHEN        GA    KIN         CHEN        GB   authorizenet          GAP    HGIFT2                0       0
                                                                                  M140115a4 Amery                 2/3/2014 complete       ION            CHEN        GB    JUN         CHEN        GB   aweAAtenel            GBP    HGIFTI                0       0
                                                                                  M- 14011545     la nary         1/29/2014 compete       Deed           um          AU    David       sun         AU   iswpet_sardaA         USO    MAD -ACO04      15.99             35.99
                                                                                  M- 14011546     January      2/3/2014        compete    lent,          eu          AU    cry         ea          AU   awhorl:err«           ASO    MAD4004          25       10        249
                                                                                  M14011546 January            2ß/2014         complete   lemy           a           AU    Ivry        ea          AU   atehonzenel           USD    HGIFT2                                   0
                                                                                  M14011546 Tanury             2 /3/2014       complete   le.            a           AU    levy        to          AU   authontenet           USD    HGIFT1
                                                                                  M14013547 January            2 /3/2014       complete   Foo            Tun         NO    Boo         Tun         NO   awhatenet             USO    TAPAD -004       25       10        249
                                                                                  M14011547 Tanury             2 /3/2014       complete   Foo            Tun         NO    Foo         Tun         NO   awhontenet            ADO    HGIFT2
                                                                                  M- 14011547     Unwary       2ß/2014        complete    Foo            Tsan        NO    Foo         Tun         NO   awhoritertet          USD    HGIFTO                        0          0
                                                                                  M14013548       January     1ß0/201A        compete     DuonB          Truay       US    Ducey       Truong      US   authorizenet          USO    MAD004           25       15        24<
                                                                                  M.iCOii548      January     1
                                                                                                               /30/2014       compete     Duong          Tryon,      US    Duong       Truong      US   authorltenet          USO    HGIFT2
                                                                                  M14011548       January     1ßO/2014         compete    Wang           Truces      US    Duo,        Two,        US   authorizenet           USD   HGIATI
                                                                                  M- IOU11549     January     1ß0/2D14         compete    Dareel         Tong        VS     Daniel     Tong        US   .roe! seand.rd        USD    TWAD.004         25       1
                                                                                                                                                                                                                                                                         24
                                                                                  M14011549 Mum,/             1ß0/2014         compete    Dowel          Tong        US     Daniel     Tory        US   payeal sAnda d        UGO    HGIFT2
                                                                                  M14011549 January           Iß0/2014         compete    argil          Tong        US     DarGN      To          US   Peypal seand.rd       U50    IaGIFT1
                                                                                  M- 13011550     January     1/30/2014       compete     Simon          Lo          US    Simon       to          US   authaltenet           USD    MAD-004          25                 24
                                                                                  139,14011550 January        1/30/2014       compete     Simon          Lo          US    Simon       to          U5   authainnet            U50    HGIFT2
                                                                                  M- 14011550 Fn.ry           1ß0/2014        compete     álmaf          Lo          US    Simon       to          US   .whaIAenel            USD    NGIFT3
                                                                                  M44011551       1.   Nary    2/3/2014        compete    Jason          Kuk         CA    lafpn       Bole        CA   atmhontenet           CAD    MAD-004          25       1         24
                                                                                  M- 13011551                  2ß /2014                   Jason          Kuk         CA    Jason       Kuk         CA   euthodnnet            CAO    HGIFT2
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                                                                                                  January                      compete
                                                                                  M.14031551 January             /3/2014
                                                                                                                  2           compete     Jason          Kuk         CA    Jason       Kuk         CA   eunpnunet             CAO    AGIFTI
                                                                                  M1401I552 January               2ßR014 compete          Bitland        Theakston   142   Richard     Theakslon   NZ   authorizenet          USO    MADOxM           25
                                                                                  MI4012552 Mount                /3/2014
                                                                                                                  2
                                                                                                                              complete    Riduq          Theabton    N2    Richard     TheakitoA   Nt   aumoritenet           U50    NGIF12                              2490
                                                                                  M.iAOiI552 January             /3/2014
                                                                                                                  2           complete    Rldurd         Theakston   NZ    Richard     Theakston   NZ   authontenet           USO    NGIFTI
                                                                                  M14011553 lanwry            1/30/2014       compete     avid           Foe         US    avid        Fob         US   euthorltenet          ASO    MAD-004          25                 239
                                                                                  M- 14011553     January     1ß0/2O14        compete     avid           Fee         US    David       FAA         US   author/tenet          VSO    HGIFT2                                   0
                                                                                  M- 14011553     unwary      Iß0 /2014       compete     avid           F.          US    avid        Fok         US   euthor tunet          USO    HGIFTI
                                                                                  M1A013555       January     1/30/2014       complete    Yuen           Har,        AU    Rebaas      Lo          AU   aHsa!stsnderd         AUD    MAO.00A          25       1
                                                                                                                                                                                                                                                                         249
                                                                                  M1401155S       January     1/30 /7)74      complete    Yuen           Nang        AU    Rebecu      to          AU   ayp.isandard          AUD    AGIFT2                                   0
                                                                                  M36011555       January     1
                                                                                                               /30/2014       carpet.     Yuen           Hart'       AU    Rebecca     Lo          AU   aAa!standard          AUD    HGIFT1
                                                                                  M- 13011556     January     1/30í2014       canOlete    Ful            lee         GB    Fw          lee         MY   paypal sundard        USD    MA6VIRT-003                          12
                                                                                  M- 14D31557     /emery       2/3 /2014      compete     WV             OIN         NZ    WO          CAN         N2   authontenet           USO    MAD -003         25                 2.
                                                                                  M- 34031557     /emery       2/3/2014       complete    WEI            OIN         N2    WEI         ON          NZ   authorizenet          USO    HOIFTZ
                                                                                  M14011557 Amery                 2ß/2014 complete        WEI            GIN         NZ    WO          qN          NZ   .00IOAunet            USO    HGIFIi                                   0
                                                                                  M70011133 Anus,              1/3/2014       complete    VA             LUC         CH    W           LUC         Oz   authontenet           USO    MAD-004          25                 730
                                                                                  M70011133 January            2/3/2014       compete     W              TUC         CH    V.          LUC         CH   authorizenet          USO    HGIFT2
                                                                                  M70011133 January            2/3/2014       complete    Ve             LUC         CH    Ve          LUC         W    awnorinnet            USD    HGIFTI
                                                                                  M14011558 Unary             1/31/2014       compete     YOwhung        Kim         US     Youdtung   Kim         US   awroIAMt              USO    MAD -004         25                 24
                                                                                  M- 14011558     /snowy      1ß1/2014 compete            YoA.ung        Kim         US     Toudung    Um          US   c.oin..t              USD    HGIFT2
                                                                                  M- 14011558 Unary           1ß1/2014 compete            Youchung       Kim         US     Yeudwng    Kim         US   atehoritenel          USD    AGIFT1
                                                                                  M14011559 January            2ß/2014 complete           Aromen         LA          NL    Out'.       Ly          NL   auttonzenet           ASO    MAD -004         25                 24
                                                                                  M14011559 lanwry                2/3/2014 complete       Doyen          lt'         NL    Guyer       Ly          NL   authontenet           USD    HGIFT2
                                                                                  M14011S59 lanwry                2ßß010 compeer          Galen          Ly          NL    Auyen       Ly          NL   atdwntenet            USO    HGIFTI
                                                                                  M1401ü60 emery              1   /31/2014 compete        June           park        US    now         Park        US   aut.itenet            USD    MAD-00A          IS                 24
                                                                                  M34011560       January     1ß1/2O14 compete            June           park        US    June        park        US   VJUNCeiumt            USD    HGIFT2
                                                                                  MIA011560       January     Iß1/2014 compete            June           park        US    lore        Park        US   awbrltenet            USD    HGIFTI
                                                                                  M- 14013561     January      2ß/1014        compeer     Hew            Chin        GB    Slew        Chit        GB   awhAIIAIMt            ASO    TAPAD-00A        25                 24
                                                                                  M14011561 lamary             2/3/2014       compete     Slew           Chin        OB    Stew        QM          GB   authorizenet          AUG    HGIFT2
                                                                                  M1A011S61 January            2ß/2014        complete    Slew           Chin        GB    Stew        Chin        GB   authorizenet          UGO    HGIFTI
                                                                                  MIAO11562       January      2ß/201A        compete     Terry          Ho          G8    Terry       Ho          GB   awhorltenet           GBP    TWAT..           25                 24
                                                                                  M- 13011562     January      2ß/2014        compete     Terry          Ho          GB     Terry      Ho          GB   awhaitenet            GBP    HGIFT2
                                                                                  M-14011562      Jan.,           2ß/2O14     complete    Terry          He          GA     Terry      Ho          G8   a...net               GBP    HGIAi
                                                                                  M44011563 anwry             1   /31/2014    compete     Lind.          low         US    Linda       Lew         US   p.     I   standard   USD    MAD..-001       15.99             15.99
                                                                                  M- 14011564     January         2/3 /2034   compete     Karen          Wong        NZ    Karen       Wong        NZ   AOMripnet             USO    MAD-004          24                1705
                                                                                  M14011564 January               2/3/2014    compete     Koren          Wo,         NZ    Karen       Wong        N2   awhoriAIAet           ABC    NGIFT2
                                                                                  M44011564 Umary              2ß/2014 compete            Karen          Wo,         NZ    Karen                   N2   authorizenet          U50    14GIFT1
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                                                                                  M14011565 January           1ß1/2014 compete            Vincent        Chan        U5    V:Kent      Chan        US   Paypal standard       USG    MAD-00A          25                 24
                                                                                  M- 1401565      Mowry       1ß1/2014        compete     VimOAD         Chan        US    Knurrt      Chan        U5   Paypal sunderd        USG    HWFT2
                                                                                  M- 14011565     Unary       1ßl /2014       compete     Vincent        Chen        US    Vincent     Chan        US   peyal standard        USO    AGIFTI
                                                                                  M- 14011566     January     1/31 /2014      Complete    rikang         lino        AU    yikary      loo         AU   aye!sandard           USO    MAD-004          25                 24
                                                                                  M14013566 lanwry            1ß1/2014        compete     I4kans         hno         AU    Wks.        Iteo        AU   peypal standard       USO    HGIFT2
                                                                                  M14011566 Ian.,             1ß1/7014        compete     Akan,          Hap         AU    ytkat,      Tao         AU   Payalstandard         UGO    AGIFTI
                                                                                  M14011567 February              2/1/2014    complete    Paul           Lee         US     P.O        lee         US   awhonzenet            USO    TAPAD004          259               24
                                                                                  M- 14011567     iAbwry          2/1 /2014   complete    Paul           Lee         US     Peul       Lee         US   authontenet           USD     NIFT2
                                                                                  W1,14011567     F. ua,          2/1/2014    compete     PDG            lee         US     Paul       Lee         US   authontenet           USO    .F11
                                                                                  M100)1568       February        2/3/2014    compete     Kw             Man         GB     Kau        Men         GB   aw+aiDMt              GBP    TAPAD-004         259               24
                                                                                  M13011S68 February              2/3/2014    compete     Kw             Man         G8     Kw         Men         GB   authonunet            GOP    OOFT2
                                                                                  M14017568 Febary                2/3/2034    compete     Kau            Man         GB     Kw         Man         GB   au0pnunet             GBP    HOF/1
                                                                                  M14011569 February              2/4/2014    complete    Weibtao        Liao        US    Welp.o      Liao        US   au prize et           USO    MAD -AC04       15.99             15.99
                                                                                  M- 14011570     February        2/3/2014 compete        GSA            Tw11        FR    Guy         THAI        FR   awhalunet             USO    MAD-004           259               249
                                                                                  M- 14011570     February        2/3/2014 complete       Guy            Taal        FR
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                                                                                  M- 14011570     February        2/3/2014 complete       Guy            THAI        FR
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                                                                                  M- 10.711571    February        2/1/2014 dosed          O              Uaty        GB    Caroline    Uans        GB   Psypa!startend        VSO    MAD00d            259               249
                                                                                  M14011571       February        i/I/2014 dosed          G              Long        GB    Caroline    Uang        GB   ayal  sterd.rd        USD    HGiFT2
                                                                                  M- 14011571     February        2/1/2014    dosed       O              /lane       GB    Cardin.     /tens       GB   paypal     s.rdard    USO    1AGIFTI               0                  0
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                                                                                  7,14021143 febrary           2/8/2014     complete     Wen               So           US    Wan           So          US    anal         standard   USD    TWADOW           259        20    239
                                                                                  TW14021143 February          2/8/2014     corp.te      Wan               So           US    Wan           So          US    playa! standard         US0    HGI12
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                                                                                  19.14021143 February         2/7/2014     complete
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                                                                                  T9.14021147      Fabrary      2/8/2014 comprete
                                                                                                                                         Wei               Chen         PA    Wei           Cone        PA    ayal         standard   USD    TWAD-004         259              249
                                                                                  79.14021147      February     2/8/2014 complete        Wei               Chen         PA    Wei           Cling       PA    aye! st        nderd    USO    HGIF12
                                                                                  TVP.14021147 February         2/8/2014 complete        Was               Chen         PA    Wei           Cline       PA    ayal         standard   VSO    HCAFFI
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                                                                                  TWI4021148 February           2/8/2014 complete        MIHSM             Wong               MelIsea       Wong
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                                                                                  T,14021149 FWrary             2/9/2014 complete        Duong             Trvong       US    Duong                                                   USO
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                                                                                  1,- 14021150 February         2/8/2014 complete        Penn              U            AU    Payne         U           AU    wYa!ilanderd            USD    TWAO.O04          259             24
                                                                                  TAP.14021150 F.uary            2/8/2010 complete       Payne             U            AU    Payne         U           AU    aTaIftanderd            USD    HGIFT2
                                                                                  T,140211S0       February      2/8/2014 complete       Payne             U            AU    Payne         U           AU    aYa!standard            USO    NGIFTI
                                                                                  T1.14021151      February     2/8/2014 complete        honpom            Jana         US    hongnam       lang        US    ayal}andere             USD    TWAD-004          259              25
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                                                                                  TW14021151 February           2/8/2014 Tmplete         hartem            fang         US    hansm                     US                            US0
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                                                                                  T9.14021156 February         2/10/2014 complete        Poh.Yee           Wan          GB    PohYee        Wan         GB    ...tenet                GOP    TVPAD-004         259              25
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                                                                                  7914 02115 6     February    2/10/2014 complete        Poh -Yee          Wan          GB    Poh -Yee                  GB                            GOP
                                                                                  TW14021157 February          2/10/2014 complete        Ping              Yip          G8    Ping          HHp
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                                                                                  TW- 14021157 February        2/10/2014 cornplete       Ping              Yp           GB    Piny          Yip         GB    authontenet             GBP    HWR2                0
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                                                                                  TW140211S8 February           2/9/2014 complete        Mlsolun8                             Mi0ojung
                                                                                  1W.14021158 FTbruery          2/9/2014 complete        Mlaolume          Ou           US    Miaojunó
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                                                                                  TW.14021159 February         2/10/2014 complete
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                                                                                                                                         Gustavo           Chan         US    Gustavo       Chan        US    luthodtenel             USO    HARO -006         375              37
                                                                                  1,.14021160 Febary           2/11/2014 Innpate
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                                                                                  T9.14021160 February         2/1112014    corn..       Gustavo           Chan         US    Gustavo       Chen        US    audwritenet             USD
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                                                                                  T,.14027161 Febr.ry          2/10/1014    complete     Carne             Wong         AU    Urne          Wae
                                                                                                                                         Alan              Chen         CA    Alan          Chan        CA    WyPel standard          USD    TWAD,AC-004      35.99           15.99
                                                                                  79.14021162 February          2/9/2014    compete
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                                                                                  T,- 14021163     February    2/10/2014    amplele      llyung            Ksn4         US    gyan.         Kan,        US    aATTIOI zenet           U50     1,ÁD-004         259
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                                                                                  1,14021163 Tebrury           2/10/2014    complete     /hryry            Karg               gyug          Karg
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                                                                                  1,14021164 Feb..,              2/9/2014   wrrole0      Jack              Chen         AU    leck          Chen        AU                 stsndaTd   USD
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                                                                                  1,70011142 F.rary            2/10/2014    mnpe.        Yunfel            Gap          AU    YAGA          Goo         AU    authoneenet             USO
                                                                                  7,- 70011142 FTSary          2/10/2014    complete     Yudet             Gao          AU    HAY/A         Gae         AU    ....net                 USD     HGIFT2                 0
                                                                                  7,44021166 febrary           2/10/2014    complete     Su -Pak           Ho           GB    Su-Pak        Ho          GB    authortzenet            GBP     7,ÁD-004         259              359
                                                                                                                                         Su Pale           Ho           GB    SiuPek        Ho           GB   authontenet             GOP     HGIFT2
                                                                                  TAP. 14 0 2 116 6 February   2/10/2014    oamplete
                                                                                  1,-14021167 febrary                                    Carolyn           Tory               CrdFn         Tice        AU    sIAhalttnet             OTO     TOAD-004         259              249
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                                                                                  1,14021168       February    2/10/7014    complete     Ping              Tang               Ping
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                                                                                  00.14021169 February         2/10/2014    =replete     Soong                                Soong
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                                                                                  1W- 14021170 febrary         2/10/2014    complete     ji                                   Ji                                                      USO
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                                                                                  T,.14021173 February         2/10/2014     compete     Chl               1st          CA    Chl           Ise          CA   asehorizenel            USD     HGIFT2                 0
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                                                                                  T9. 14021175 February        2/10/2014     compete     Wllliem           Chen         AU    William       Auen         AU   eudmiarot               AUD     1,ÁO-004          259             259
                                                                                   19.14021175 Fexary           7/10/2014    complete    William            Dan         AU    William        Chan        AU       sudpntenet           AUD    140T2
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                                                                                   7,14011176       February    2/10/2014    compete                        Trsp,       GB                               GB                            SUP
                                                                                  1,.70011143 February          2/10/2014    amplen       NENG              TAN         US     NENG          TAN         US       aye!standard         USO    79ÁD -004         259              259
                                                                                  1,.70011143 February         2/10/2014     compete      NENG              TAN         US     NENG          TAN         US       Peya!standard       USO     HGIFT2
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                                                                                   1,44021178 February         2/10/2014     compete
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                                                                                  1,- 14011179      February    2/10/2014    compete      genAUU            thing       US     Anhui         Zheng       US                            USD
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                                                                                   1,14021181       February   2/10/2010     complete     Jhpong            Un          CA     ante,         Un          CA       IGOFOItenet          CAD    HG112               0
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                                                                                   1W- 14021182     February    2/10/2014    complete
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                                                                                   0P-14021185 February         2/10/2014    compete      í1H               KW          US     Ho            Om          US       4uFhalnnet           USD    HGIFT2
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                                                                                   71. 14021191     February   2/L1/2014     compete          Rosa          Kwan        GB     Rost          Kwan        GB       auUprin     et       GBP    1,ÁD-004          259              259
                                                                                   1VP- 14021191 February                                     Rose          Kwan        OB     Rose          Kwon        GB       authontenet          GBP    HAf12                  0
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                                                                                   1,14021192 Feb.-,           2/11/2014     complete         Trong         lH          01     Tton,         Ly          CH       ...Lem               USD    1940-004          259              259
                                                                                   11.14021192 February        2/11/2014     complete         T.   «        Ly          04     Trong         11,         CH       authriztnet          USD    051172                 0
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                                                                                   T9. 14021196 fe5Ary         2/11/2014     compete          Helen         Iren        AU     Helen         Iran        AV       IRISOlzenet          USD    HGIFT2
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                                                                                   79. 14021321 Februry          2/20/2014       complete           OKSO            LEE
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                                                                                   79.14021321 February          2/20/2014                          OKSU
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                                                                                   105. 14021323 February        2/20/2014       complete                           tong                                                                                                               0             0
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                                                                                   TVP- 14021323 February        2/20/2014       complete           rkhard          tang         GB         richrd       tang                                                                                    SO
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                                                                                    T9. 14021324 februery         2/20/2014                                                                                                                              USD     HGI512                 0            0
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                                                                                   705. 14021324 February         2/20/2014 complete                                 Yang
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                                                                                   T14071325 febrwry              2/20/2014      complete           Ming             Chen                    Ming                                                                                                    0
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                                                                                    TOP-14011326                  2/20/2014      complete           Lary             JO           AU         Lucy        An
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                                                                                    T9. 14021327 febrwry          2/21/2014      complete           WH               UI                                                                                                                 0            0
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                                                                                    7914021327 February           2/21 /2004     complete           WH               LOI
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                                                                                    70514021328 February          2/21/2014      complete           Xingtl           ZOO          US
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                                                                                    10514021328 February          2/21/2014       1050050           Xing1            Zhu                     Xcngli
                                                                                                                                                                                                                        CA        authoriara t           USD     TO   PAD-000     259                10
                                                                                                                                  complete          JUN              SANG         CA         JUN         TANG
                                                                                    TOP7G.112SO February          2/21/2014                                                                                                                                      HGIFT2             0
                                                                                                                                                                                                                                  authorizer..                                                       0
                                                                                    T9-70011150      February     2/21/2014       eon*.             JUN              TANG         CA         JUN         TANG           CA                               ASO
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                                                                                                                                                    Nan              Them                    Nan         Them           DE        0479+1    sande.       USD
                                                                                    T9. 14021329 February         2/21/2014 dosed                                                 DE
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                                                                                    705.14021329 February         2121   /20.     dosed             Nan              Thant
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                                                                                                                                  complete          Slmm             Cloy         US         Simon       Cloy
                                                                                    79.70011151 February          2/21/2014                                                                                                                                      HOFT2                  0            0
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                                                                                    19.70011151 February          2/21/2014       complete          Amon             Choy                                                                                                          259               10
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                                                                                    79.14021330 February,         2/21/2014       compote           Yee              CMng         US                     Chang
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                                                                                    105.14021330 February         1/21/2014       compote                            Chang                                                                                       1WÁ0-004          259               20
                                                                                    IYrP-14021331    February     2/21/2014       complete          k.               hyun         SG         kW          N,             SG        aAOOTIOTnet
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                                                                                    79.14021331                   2/21/2014       complete          Om               holm         SG          kw          hyw           SG
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                                                                                    7914021332       February     2/21/2014                                                                                                                                      10500.004         259               20
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                                                                                    79.70011152      February      2/22/2014      col nRece         loh                  Yu        NO         Tory
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                                                                                    19.70011152      Fcbfwry      2 /22/2014      complete          fah                  Yu                   Toryy
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                                                                                    TVP14021338 Februety          2/23/2014 compote                                                                                                                              00012                     0             0
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                                                                                    T9.    14021338 tebuary       2/23/2014 complete                                                                                                                                               219               10
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                                                                                                                                   m                2Nrong               Wu        US         2N0ong      Wu                US     aut.innel             USO     TOPAD -004
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                                                                                    10544021339 February          2/23/2014       complete          SNdne                Sing                             Sing                                                                                           0
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                                                                                    79.14021339      February     2/23/2014                                                                                                                              USO     TWA6004           259               10
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                                                                                    TW70011154       February     2/23/2014       compete                                                                                                                                                  0             0
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                                                                                    7970011154       February     2/23/2014       compote            Yvonne              Mak                  Stoney
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                                                                                    TVP14021341 February          1/23/2014       complete           Joey
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                                                                                    79.14021342 febrwry           2/23/2014                                                                                                                                       001102                   0              0
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                                                                                    1VP- 14021342    febrwry      2/23 /2014 complete                                                                                                                                              259
                                                                                                                                                                                              mills                                authodzenet            USO     T05Á0-004                          SO
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                                                                                    79.14021348 febrwry           2/23/2014       complete           Fuk                                                                                                                              0                   0
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                                                                                    19.14021349 February              2/23/2014                                                                                                                                   061102                    0                0
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                                                                                    79.14021349 February              2/23/2014   complete            Enoch              Chung                                                                                                         259               20
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                                                                                    705.14021351 February             2/23/2014                                                                                                                                   HGIFT2                 0                   0
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Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 60 of 147 Page ID




                                                                                  790.14021369 February             2/24/2014 deed              T.,                     ,WANG     US    Yea,          ,WANG      US    asl9arlsenet        USD    TVPAO-004      2S9            259
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                                                                                  TVP-1A021370 February             2/24/2014        complete   Sandy                   Wong      AU    Sandy         Wong       AU    Anhoneenet          AUD    HGIFT2          0               0
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                                                                                  799.14021371 February             2/24/2014        complete   Nevi                    Tang      AV    Nah           Tang       AU    sulhoitenet         USO    HGIFT2          0
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                                                                                  TW-36021376 February              2/25/2014        complete   Tian                    Tang      AU    Tian          lang       AU    pays!sundard        USD    HGIFT2          0
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                                                                                  790.14011377 February             2/25/2014        complete   Krim                    lee       US    Kahn          Lee        US    paypal sundird      USD    HGIFT2           0
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                                                                                  190. 14021378 February            2/25/2014       complete    GUIYONG                 CAI       FR    GUIYONG       CAI        FR    authaltenet         OUR    HGIFT2          0               0
                                                                                  799- 14021379 February            2/25/2014       complete    David                   Chu       US    ChM           Chu        US    autheeitenet        USO    TVPA0 -004     259            259
                                                                                  TW- 14021379 February             2/25/2014       complete    David                   Chu       US    David         Chu        US    tuthorìtanet        USO    HGIFT2          0
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                                                                                  7W- 14021380 Febr.,               2/25/1014       complete    lawn                    Lee       AU    Jason         Ne         AU    authoi7enet         USD    HAFTO           0
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                                                                                  1W- 14021381 February             2/15/2014 complete          Samuel    pole Chess,   Chu       TH    Samuel        Chu        TN    authaitenet         USO    1471FT2         0
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                                                                                  799.14001382 Februa,              2/25/2014  complete         Pei                     Tang      GB    Pel           Tang       GB    payal sterdacd      GBP    HGIFT2          0               0
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                                                                                  71.14021383 February              2/26 /2014complete          Vivan                   ly        AT    VHlan         Ly         AT    aulholnnet          USO    HGIF72          0
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                                                                                  TW14021391 February               7 /26/2014      complete    WA                      Mang      US    WA            Meng       US    ...tenet            USO    HGIFT2          0
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                                                                                  1W- 14021390 February             2/26/2014 complete          Ellen                   then,     142   Ellen         :hang      NZ    AnhorAe.t           USO    HGIFT2          0               0
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                                                                                  1W- 14021394 February             0/07/2014  complete         loste                   Leung     US    Jose          Leung      US    auto @ants          USO    HGIFT2           0
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                                                                                  TW-14021399 February              2/27/2014       complete    Wiry                    Ng        NI    Wing          Ng         NL    paypal standard     USD    HGIFT2           0              0
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                                                                                                               y                                                                                                                                                                  0
                                                                                  799.14001402      Febr.,          7/77/2014       complete    Shure,                  Fen,      AU    Seear,        Fee,       AU    brainy.             USD    TWAD-004       259            259
                                                                                  TW- 14021402 February
                                                                                  TW- 14021404 February
                                                                                  WO. 14021404 February

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                                                                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                                                259
                                                                                  1W- 14011405 Febeuuy              2 /28/2014      template    MIN                     HUANG     GB    MEI           TANG       G9    broM°.              GBP    TWAD004        259            259
                                                                                  1W- 14021405 O.Moory              2/23/2014       complete    MIN                     HUANG     GB    ME!           TANG       GB    bralntr.            GBP    H119T2           0
                                                                                  790. 14071406 February            2/23/2014       complete    kWngwok                 Yo o      CA    kyungsook     Yoon       CA    brainy.             USD    TWAD-004       259            259
                                                                                  TW- 14021406 February             2/23/2014       complete    kyungsook               Tome      CA    kyung..       loon       CA    M3AS.t              USD    HOIFT2          0               0
                                                                                  TW- 14021407 February             2/28/2014       complete    NW                      2hao      GB    Hui           790        GB    bahn.               GBP    TWAD-004       259            254
                                                                                  TVP-14021407 February             7 /28/2014      complete    HW                      Zheo      GB    H.I           Zhao       GB    bralnuee            GBP    NWFT2           0
                                                                                  190.14021408      F3A7I      V    2/28/2014       complete    Erle                    Ho        GB    Ede           Ho         513   peyal 1Fandard      GOP    TWA. -004      259            259
                                                                                  1W- 14021408 February             2/23/2014 complete          AU                      Ho        GB    Erie          Ho         GB    .opal surdard       GOP    NGIFT2          0
                                                                                  199.14071410 0.           teary   2/28/2014 complete          Hog                     NA        US    Hong          Nie        US    p.yOa!sardard       USD    TWAD-004       259            259
                                                                                  TW- 14021410      Febr.,          2/28 /2014 complete         Hong                    NH        US    Ha,           NI*        US    pay.l standard      USO    HGIFT2          0
                                                                                  190. 14021413 February            2 /28/2014  complete        SNBeru                  Kam.      US    SMgeru        Katsina    US    brainy.             USO    1WA0.004       259            259
                                                                                  1W- 14021414 February
                                                                                  7W- 14021414 February
                                                                                                                    2/28/2014       complete    MOU                     IP        VS    MOU           IP         US    .y.!     stan00rd   USO    1WAO.004       259            229
                                                                                                                    2/28/2014       complete    MOU                     IP        US    MOU           IP         US    My.l staraard       USO    N61FT2           0
                                                                                  TW-14021405 February              2 /23/2014      complete    Peter                   Huai,     AU    Peter         Huang      AU    pay.! staMard       USD    TWAO.004       259            259
                                                                                  FUR. 14071415 February            2/23/2014       complete    Peter                   Huai,     AU    Pater         Hur,       AU    .ya!s.Mard          USD    HGIF12           0
                                                                                  T99. 14021416 Marty                 3/1/2014      complete    ADRIENNE                LOU       GB    ADRIENNE      LOU        GB    bal..               USD    WOAD-004       259    20      239
                                                                                  79014021416 March                   3/1/7014      complete    ADRIENNE                LOU       GB    ADRIENNE      LOU        GB    Wainer.             USA    HCUA2            0        0
                                                                                  TW. 14021418 Mardi                  3/1/2014      complete    C.K.                    Wu        NL    OK.           Wu         NL    .y.!staMatd         USD    TAPAD -004     250    10      490
                                                                                  190. 12021418
                                                                                  0W- 14021421 March
                                                                                                    klar.             3/1/2014
                                                                                                                      3/1/2014
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                                                                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                                 259    10
                                                                                                                                                                                                                                                                                  0
                                                                                                                                                                                                                                                                                249
                                                                                  íW14021471 March                    3/1/2014      complete    Anita                   U         AU    An.           U          AU    brainy.             USO    HGIFT2           0
                                                                                  T1.      14021422 March             3/1/2014      complete    emit                    Our,      US    arme          yang       US    Wainer   9          USO    TWA0-004       250    10      490
                                                                                  TW14000420 March                    3/1/2014      complete    anno                    Our.      US    anno          Gang       US    barntr.             USO    HGIFT2           0        0     0
                                                                                  TAN- 14021423 March                 3/1/2014      complete    d.ryck                  Tsar,     US    dery<k        Tsar.      US    b intree            USO    TOAD -004      259    10       249
                                                                                  190. 14021423 March                 3/1/2014      template    derlei                  tsar,     US    deryck        Tsar.      US    braintr.            USO    HG1012           0        0     0
                                                                                  P/P.14020425 Met.                   3/3/2014      complete    Leary                   ING       FR    teal,         ING        FR    brahlR.             FUR    TVPAO-004      250    30      490
                                                                                  TW- 14021425 Meech                  3/3/2014      complete    Lean,                   ING       FR    9098          ING        FR    bremste             EUR    HGIFT2           0              0
                                                                                  7W- 14021426 Moth                   3/3/2014      complete    like                    LI        AU    51k.          U          AU    Orono.              USD    TWAD-004       259    10       209
                                                                                  799. 14071426 March                   3/3/2014 complete       9ke                     LI        AU    Ylke          U          AU    Winne<              USD    HGIFT2           0        0     0
                                                                                  TW- 74031010 March                    3/3/2014 complete       HW                      2947      GB    Hal           Zhao       lE    brainy.             GOP    TVPAD-004      259    15      244
                                                                                  999. 34031010     Asch                3/3/2.14 complete       HW                      Zheo      O8    Hsi           2.o        It    ...tree             GBP    HGIrt2           0        0
                                                                                  7W- 14031011      Air.                3/3/2014 complete       khan                    wel       48    vielen        wel        GB    brainy.             USO    TWAD004        259    10      249
                                                                                  TW- 14031011      Mar.                3ß/2014 complete        When                              GB    viva.         wet        GB    brainy.             USD    HGIFT2           0
                                                                                  TW- 14011012 March                    3/3/2014 complete       Aulen                   Huang     FR    lullen        Hear,      OR    brausee             EUR    TWAD-004       250    10      490
                                                                                  TIN- 14031012 March                   3/5/2014 complete       Alien                   Heamg     FR    Tull.                    FR    brainy.             EUR    HGIFT2           0              0
                                                                                                                                                                                                      thong
                                                                                  799. 18031014 March                   3/2/2014 complete       Mevac                   MU        FR    Mau.c         MU         FT    .spa! sta.ard       EUR    TWAD-004       259    15       224
                                                                                  TW- 14031014 Ahr.                     3/2/2014    complete    MaMac                   MU        FR    Mautac        MU         FR    .y.l   s.Mard       EUR    NGIFT2                    0     0
                                                                                  190. 14031015 March                   3/3/2014    complete    VI                      Lu        US    YI            Lu         US    brain.<             OSO    TWAD-004       259    10       249
                                                                                  TW- 14031015      Mar.                3/3/2014    complete    el                      Lu        US    Yi            Li         US    brat..              USO    NGIFT2           0        0
                                                                                  TVp- 14031016     Mar.                3/3/2014    complete    GRI                     Ly        CA    Ohl           Ly         CA    ...tree             CAD    TAPAD-004      259    ]S       244
                                                                                  TW1A031017 Mardi                      3ß/2014     complete    Ovist .er               Esau      GO    Christopher   Essaa      IS    .aintree            GBP    TWAD-004       259    10       249
                                                                                  7W- 14031017 March                    3/3/2014    complete    Christooher             Essu      GB    Christopher   Essex      GB    bralntr.            GBP    H1002                     0     0
                                                                                  TW- 14031018 March                    3 /3/2014   complete    MIM                     Na        US    MIM           Na         U5    brolnO.             USD    TVPAD004       259    10       249
                                                                                  7W- 14031018 March                    3/3/2014    complete    Minh                    Ha        US    MIM           Ha         US    braAR.              USD    Holm             0        0     0
                                                                                  T1.      14031020 March               3/2/2014    complete    Kie                     BEN       FR    Kla           BEN        FR    .y.l standard       EUR    TOAD-004       245    10      1215
                                                                                  TAP- 14031020 March                   3/2/2024    complete    Ma                      BEN       FR    Kh            BEN        FR    .spa! s.ndard       OUR    HGIFT2           0        0
                                                                                  T   P.   14031024 March               3/2/2014    complete    NIA                     KV        AU    DOA           SU         AU    .y.l tu.xd          USD    IY9AD-004      259    10       249
                                                                                  190. 14031024 March                   3/2/2014 complete       FIDA                    00        AU    rum           OU         AU    .Taal    standard   USO    HGIFT2           0        0     0
                                                                                  T99. 14031005 March                   1/3/2014 complete       Chunwe1                 Ma        US    Chumvei       M.         US    branntree           ASO    TWAD-004       259    10       249
                                                                                  1W- 14031025 March                    3/3/2014 complete       Churn.'                 Ma        US    0SUnwel       M.         US    brain..             U50    00072            0        0     0
                                                                                  TW- 14037026 Marth                    3/2/2014    c0m0.t.     Michael                 Chow      US    Michel        Mow        US    .Y.!standard        USO    WPAD-004       259    10       049
                                                                                  TW- 14031001 Mardi                    3/2/2014 complete       Michel                  Chow      US    Mhtael        Chow       US    .y.l sun4ard        USO    NGIFT2           0        0     D
                                                                                  TW- 14031027 Marty                    3/2/2014 complete       Hwa                     Soon      AU    Hwa           Noon       AV    .Taal sundsrd       USO    19940004       259    10       2.9
                                                                                  1W- 14031027 March                    3/2/2014 complete       14103                   loan      AU    HNa           loon       AU    .ypal sundetd       USD    HGIFT2           0        0
                                                                                  TW- 14031028 March                    3/3/2014 complete       EA.                     Sun       US    EAth          Sun        US    ...tree             USO    TWAD-004       259    10       249
                                                                                  1W- 14031028 March                    3/3/2014 complete       Eó.                     Sun       US    Edith         Sun        U5    brans.              USD    HGIFT2           0        0
                                                                                  1W- 14031029 Meech                    3/3/2014    e0mdete     BIN                     U         AU    BIN           U          AU    brs.ts.             USO        TAPAD004   259    10       249
                                                                                  1W-14031031       Mar.                3/3/2014    complete    Timmy                   tar,      GB    Jimmy         lang       GO    00.lntree           USO    TWAD-004       259    10       249
                                                                                  TVP7A031032 Mar.                      3/3/2014    complete    Loraine                 O'Mara    GB    torsi.        O'Mara     GB    wl.!s.Mard          GBP    T
                                                                                                                                                                                                                                                       PAD-004    250   10       490
                                                                                  7W-14031033 March                     3/3/2014    complete    Andy                    SIR       MY    AMy           SIN        MY    brain.              USO        TPA.-004   259    10       249
                                                                                  TW- 14031034      Mar.                3/3/2014    compile     MM                      CRU       SE    VIM           CMu        SE    bralnee             OSO    TWAD-004       259    10       249
                                                                                  11.14031035 March                     3ß/2014 complete        RY                      TANG      GB    IVY           TANG       GB    049.0 sRMard         GBP       TWAD-004   259    10       249
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 61 of 147 Page ID




                                                                                  1.14032057 Mer.             3/4/2014    complete    WO           Pang                DK    Wei               Pang                DK        brántree                      1,4D-004      259           10           249
                                                                                                                                                                                               Pun                 A         bralnue2                      1WAD004       259           10           249
                                                                                  1,14031059 March            3/4/2014    compete     Sarah        Pun                 US    Calme
                                                                                                                                                                             Ce11M             Pun                 JP        braln0.                       422Fí2          2            2             0
                                                                                  1W14031059 March            3/4/2014    compete      Sarah       Pun                 US
                                                                                                                                                                                                                                                                                       10           249
                                                                                  TW14031060 met.             3/4/2014    compete
                                                                                                                                      Jason        Fung                V5    Jason             Ftmg                US        brain.                        TWAD-004      259
                                                                                  íP14031060 Mar.             3/4/2014    compete     Jason        Fung                US    Jason             41.ry               US        balm.                         HGIFT2          0            0             0
                                                                                                                                                                                                                   GB        braintree             GBP     1,ÁD-004      259           10           249
                                                                                  íH14091061 March            3/4/2014 compete        Shaman       LI                  GB    Shsmhan           LI
                                                                                                                                                                                                                                                                                        0             0
                                                                                                                                      Shaman                           GB    SMmhan                                G8        bain0.                        1401912         0
                                                                                   ,
                                                                                                                                                   LI                                          U
                                                                                  T,14031061 M,Nis            3/4/2014    complete                                                                                                                                                     10           490
                                                                                                                                                                                                                             bamuee
                                                                                  T- 14031062        March    3/4/2014    complete    Yau          Lee                 GB    Yau               lee
                                                                                                                                                                                               lee
                                                                                                                                                                                                                   G9
                                                                                                                                                                                                                   G8        OW,.
                                                                                                                                                                                                                                                           TWAD-004
                                                                                                                                                                                                                                                           HGIFT2
                                                                                                                                                                                                                                                                         250
                                                                                                                                                                                                                                                                           0            0             0
                                                                                  1,14031062 March            3/4/2014    compete     Yau          La                  G9    Yau
                                                                                  1,.14031063 March           3/4/2014    complete    Andrew       Wong                US    Andrew            Wag                 US        brain..                       TWAD-004      259           10           249
                                                                                                                                                                                                                                                           HGIFT2          0            0             0
                                                                                                                                      Andrew       Wort'                     Andrew            Wong                US        braln0ee
                                                                                  T,14031063 Mar.             3/4/2014    complete                                     US
                                                                                             Mar.
                                                                                  TW- 14031064                3/4/2014    compete     Angie        Chao                US    Angle             Cau                 US        .909.                         F,Á0-004      259           15           244
                                                                                                                                                                                                                             brántree                      441472          0            0             0
                                                                                  1,- 14031064       March    3/4/2014    compete     Angle        Chao                US    Angle             Chats               US
                                                                                  1,-14031065 March           3/4/2014 compete        hng          Yong                NL    ling              Yong                NL        bony.                 EUR     TWAD-004      259           10           249
                                                                                                                                                                                                                                                           HGIFT2          0            0             0
                                                                                                                                                                                                                             bratntree
                                                                                  7,14031065 Mar.                                     ling         Yong                NL    494               Yong                NL
                                                                                                              3/4/2014    compiete                                                                                                                                                     10           249
                                                                                  1,     /4031066 March       3/4/2014    competa     Howard       tran                US    Le,               Mang                US        borino.
                                                                                                                                                                                                                             bralntr02
                                                                                                                                                                                                                                                           TWAD -004
                                                                                                                                                                                                                                                           HGIFT2
                                                                                                                                                                                                                                                                         259
                                                                                                                                                                                                                                                                           0            0             O
                                                                                  7,14031066 Mar.             3/4/2014    compiete    Hawand       tan                 US    Lel               121,                US
                                                                                                                                                                                               Mok                                                         OWAO-004      259           10           249
                                                                                  T,- 14031067       March    3/4/2014    complete    Jdl,o        Mok                 AU    Jeffrey                               AU        paypal_surdard
                                                                                                                                                                                               Mok                 AU        PayPL     eeeard              HGIF12          0            0             0
                                                                                  1,-14031067 March           3/4/2014    compete     Jeffrey      Mok                 AU    Jeffrey
                                                                                                                                                                                                                                                                                       00           249
                                                                                                                                      Mee                                                      Wog                           payee! standard               1WÁ0. 004     759
                                                                                  7,-14031068 March           3/4/2014    compete                  Way                 US    Mee                                   US
                                                                                                                                                                                                                                                                           0                          0
                                                                                                                                                                                                                             paypa! tandard
                                                                                                                                                                                                                                                                                            0
                                                                                                                                      Mee                              US    Mee               Wang                US                                      HCO72
                                                                                  1,14031068         March    3/4/2014    complete                 Wog
                                                                                                                                      L            CUI                 US    lene              Cai                 US        bentrec                       1,40004       359           30           249
                                                                                  1,14031071         March    3/4/2014    campate
                                                                                  7,14031071         March    3/4/2024    compact     Mee          CUI                 US    Nose              CUI                 US        balms.                        140F72          0                0         0
                                                                                                                                                                                                                                                           TWAD-004                    10           249
                                                                                  1,14031072         hatch    3/4/2024    campale     MW           Wan                 08    MI                Wan                 GB        paypa! standard                             259
                                                                                                                                                                                                                                                                                            0
                                                                                  1,- 14031072       harsh    3/4/2014    complete    Mui          Wan                 08    Mil               Wan                 GB        cova!aundad           USD     HG1972              0                      0
                                                                                                                                      h                                AU    O                  PENG               AV        breinuee              USO     í,A0.004      259            10          249
                                                                                  TOP-   14031073    Mar.     3/4/2014    complete                 PENG
                                                                                                                                                                                                                                                                                            0         0
                                                                                                                                                                                                                             Wain.                         HGIFT2              0
                                                                                   ,                                                  T            PENG                AU    T                  PENG               AU                              USO
                                                                                  7,-14031073        Made     3/4/2014    complete                                                                                                                                       259                        249
                                                                                                                                                                                               CNu                 AU        bremee                AUD     TWA                          SO
                                                                                  T14031074          March    3/5/2014    complete    Jem0         Clem                AU    Jenny
                                                                                  T,- 24031074       March    3/5/2014    compete     Jenny        044                 AU    Jenny             Chits               AU        bsinN                 AUD     001412              0            0         0
                                                                                                                                                                                                                   OS        /minuet               USO     7,412-004     259            10          249
                                                                                  T,14031075 March            3/4/2014    cornet.*    Alicia       Chong               US    Allila            Chong
                                                                                                                                                                                                                                                                                            0         0
                                                                                  1,14032075 March            3/4/2014    compete     Alive        Chong               US    Altea             Chong               US        balm,.                USD     HGIFT2              0
                                                                                                                                                                                                                                                   VSO     IWAD-004      250            10          490
                                                                                  TW- 14033076 March          3/5/2014    compete     NoSury       lee                 SK    Hodung             Lee                SK        braimree
                                                                                                                                                                                                Lee                SK        baintree              USO     001002              0            0         0
                                                                                  1P- 14031076 March          3/S/2014 complete       HMSury       Lee                 SK    HoSung
                                                                                                                                                                                                                                                           T,AO-004      250            10          490
                                                                                                                                      Panty        Wong                US    Pony               WOn,               US        braInOee              VSO
                                                                                  1,14031077 021409           3ß/2014 complete                                                                                                                                                              0         0
                                                                                                                                                                       US                       Way                          brántree              USD     001íT2              0
                                                                                  1P14031077 larch            3 /5/2014   complete    Poky         Wong                      Pang/                                 US
                                                                                                                                                                                                                                                                                        20          239
                                                                                  1,24031079 Mach             3/5/2014    complete    Woman        Lo                  GB    Wing               Lo                 GB        Pypal sandard         GOP     14400-004     259
                                                                                                                                                                                                                                                                               0            0         0
                                                                                  1,14031079         March    3/0/2014    compete     Waiman       LU                  OB    Wing               La                 GB        paypal 1tandard       GOP     1461402
                                                                                                                                                                                                                             PYpa!sandard                  TWA0004       259            30          249
                                                                                  T,-14031080        March    3/5/2014    compete     ling         Li                  US    liry               U                  US                              USD
                                                                                                                                                                                                                                                                                            0         0
                                                                                  1P-14032080 March           3/5/2014    complete    11r.         LI                  VS    11íg               U                  US        paypal standard       USO     HGIFT2              0
                                                                                                                                                                                               Shen                US        brains.               USO     100404304     259            ]0          249
                                                                                  1,.14031081 March           3/5/2014    dosed       Card         San                 US    Cool
                                                                                                                                                                                               533                 US        bakitree              USO     HGIFT2          0                0             0
                                                                                  TW- 14430081 March          3ßR014 doted            Cod          Shen                US    Carol
                                                                                                                                      sdrkn        au                  US    acri.                                 US        bramtree              050     T,Á0-004      259            10          249
                                                                                  T,14031082 Mont.            3/5/2014    compete
                                                                                   ,                                                                                                                                         brainy.                                                        0             0
                                                                                  T,.14031082 March           3/5/2014    compete     edtan        au                  US    add.               au                 US                              USO     HGIF72          0
                                                                                  114031083          March    3/5/2014    compete     Salk         Ng                  AU    Salk               Ng                 AU        brain.                USD     T,Á0.004      250            10          740
                                                                                  T,14031063 March                                    Salk                             AU    5ák                Ng                 AU        brelnu.               USD     HGIF12              0            0             0
                                  #:20588




                                                                                                              3/5/2014    compete                  Ng                                                                                                                                               239
                                                                                                                                                                                                Park               US        baro..                USO     7,Á0U04       259            20
                                                                                  7,.14031084 March           3/5/2014    complete    Han Bum      Perk                OS    Han Bum
                                                                                  7,-14031084 March           3/5/2014    complete    Han Bum      Park                US    Han Bum            P.M                US        bem0.                 USO     LIG1f12             0            0             O
                                                                                                                                                                                                                             brAMree                       TWAD-004      259            SO          249
                                                                                  1,14031085 March            3/5/2014 complete       john         1.                   US   jOhn               Ae                 US                              USO
                                                                                                                                                                                                                             brán0«                        061412              0            0             0
                                                                                  9,14031085 March            3/5/2014 compete        john         la                   US   10.                lee                US                              USO
                                                                                                                                                                                                                                                                         259            10          249
                                                                                                                                       Ero                                   Erk                Auya,                        aánuee                050     TWAD-004
                                                                                  1P. 14031086 March           3/5/2014 complete                   Auya,                US                                         US
                                                                                  7,14031086 Mo.               3/5/2014 complete       Eric        AWang                US   Erk                Auyang             US        balm..                050     0G1FT2              0            0             0
                                                                                                                                                                                                                                                           TVPAD4104      259           1S          244
                                                                                                                                                                             pene               Pu                 AU        brainoa               USO
                                                                                  íV -14031087 March          3/5/2014 complete        Irene        Ytu                 AU
                                                                                                                                                                                                                                                                                            0             0
                                                                                  1,14031087 hands            3/5 /2014 compete        Irene       014                  AV   Be.                Pu                 AU        baInO.                USO     3451372             0
                                                                                                                                                                                                                                                           1WAD-004       259           10          249
                                                                                  0,14031088 Mares            3/5/2014 complete        William     weng                 US   VANNem             wog                US        Pawal }tsndard        USO
                                                                                                                                                                                                                                                                               0            0             0
                                                                                  1,- 14031098       March    3/5/2014 complete        William      wag                 US   Willem             coy                US        Pwel sandard          USO     1401372
                                                                                                                                                                        98                                                   Wont!.                        TOPAD-004      259           15          244
                                                                                  1,14031069 March            3/5/2014 complete        Gangli       Lary                     Gangyl             Wry                GB                              USO
                                                                                                                                                                                                                                                   USO     HOI372              0            0             0
                                                                                  TO- 24031089 March          3/5/2014 compete         Gar,y1       Liang               GB   Gan.'              Uan,               GB        bamtree
                                                                                                                                                                                                                   AU        baintrae              USO     1WA0-004       259           10           249
                                                                                  M14031090 March             3/5/2014 compete         SI           Wang                AU   51                 Wang
                                                                                  9,14031090 Merch            3/5/2014 compete         Si           Wang                AU   Si                 Wang               AU         brenta.              USO     HG1372              0            0             0
                                                                                                                                                                                                                                                                                        10           249
                                                                                  TOP- 14031091      Mods     3/5/2014 claaod          Neyun        Pm                  N2   Naps.              Kim                N2         brain.               VSO     1V0Á0 -004     259
                                                                                  1W-14031091 March           3/5/2014 dosed           Nay.         Kim                 N2   Nagar              Cm                 NZ         Warm.                USO     HGIFT2           0               0             0
                                                                                  1W- 24031092 March          3/5/2014 complete        Sky          2490                NZ   SkY                                   N2         balm.
                                                                                                                                                                                                                              bal                  USD     T,Á0.004       259           20           239
                                                                                  í,14031032 Mar.             3/5/2024    compete      Sky          2490                NZ   Sky                2490               N2         balnuo               USO     HGIFT2              0         0                0
                                                                                  1,- 14031093       March    3/5/2014    comete
                                                                                                                          comp
                                                                                                                                       Frederick    Yu                  US   Frederick          Yu                 US         pa.
                                                                                                                                                                                                                               yp        sandard   USO     TWAO-004       259           20           239
                                                                                                                                                                                                                                                                                            0             0
                                                                                  0,14031093 March            3/5/2014    complete     fredeOrk     Yu                  US   Frederick          Yu                 US         paypal standard      USO     0GIF72              0
                                                                                  7,- 14031094       March    3/5/2014    complete     JI           Shen                AU   li                 Shen               AU         bra0.                AUG     TVPAD004       259           20           239
                                                                                                                                                                                                                              492ín0.                      0GIFT2              0            0             0
                                                                                  1,14031094 Mar.                                                   Shen                AU                      Shen               AU                              AUD
                                                                                                              3/5/2014    compete      JI                                    11
                                                                                                                                                                                                                                                                                            10       249
                                                                                                                                                                        US                      Un                 US         b4lnoee              USD     TWAO-004       259
                                                                                  TW- 14031096 March          3/5/2014    compete      Fang         Un                       Fang
                                                                                   1W- 14031096 Morel         3/5/2014    complete     Fang         Lin                 US   Fang               Un                 US         brain..               USO    HGIFT2              0            0             0
                                                                                                                                                                                                Nes                GB         brain,.              GAP     1P40-004       259               10       249
                                                                                   1,14031097 March           3/6/2024    compete      Chatktte     Ives                GB   0,.,Á9e
                                                                                   T,-14031098 Mar.           3/6/2014    compete      Newts.       Lac                 CA   Newton             Lac                CA         ...tr.                CAD    15000.049      259
                                                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                                                            10
                                                                                                                                                                                                                                                                                            0
                                                                                                                                                                                                                                                                                                     249
                                                                                                                                                                                                                                                                                                          0
                                                                                                                                       Newton                                Newton                                           ',minuet                     001372
                                                                                   7H14031098 Mar.            3/6/2014    compete                   Lac                 CA                      Lac                CA                               CAD
                                                                                   íW14031099 March           3/6/2014    compete      Julie        Lau                 GB   ldk                Lau                G8         ,entra                GBP    T50AD004       259               10       249
                                                                                   1,14031099 Mach            3/6/2014    compete      Arlie        Lau                 GO   tua                LOU                GB         ben.                  GBP    H601'2              0            0             0
                                                                                   1,14031100 Mar.                        compete      9101         BIAN                NZ   SKb                MAN                NZ         brein0ee              USD     1,40004       259               SO       249
                                                                                                              3/6/2014
                                                                                   T,-14031101 Mar.           3/6/2014     compete     Bruce        W                   US       Brun               le              US        Wánoee                USO     TWA..         259               10       249
                                                                                   1P-14031101 March          3/6/2014     complete    440.         te                  US       Brun               Le              US        bánU.                 USO     1451372            0            0             0
                                                                                                                                                                                                                                                            TWAD-004      259               10       249
                                                                                   1W14031102 March           3/6/2014     complete    Judy         L.                  CA       Judy               Lee             CA        paypa! stendero       USO
                                                                                                                                                                                                                                                                                            0          0
                                                                                                                                                                                                                              PYP! sand2rd          USO     HGIFT2             0
                                                                                    ,
                                                                                   1,14031102 Mer.            3/6/2014     compete     Judy         Lee                 CA       Judy               Lee             CA
                                                                                   114031103 Men.             3/6/2014     complete    Y.,          LN                  US       Tooling            lei
                                                                                                                                                                                                    Lel

                                                                                                                                                                                                                    US
                                                                                                                                                                                                                    US

                                                                                                                                                                                                                              brain..
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                                                                                                                                                                                                                                                    USD
                                                                                                                                                                                                                                                    U50
                                                                                                                                                                                                                                                            TWAD-004
                                                                                                                                                                                                                                                            HGIFT2
                                                                                                                                                                                                                                                                          259
                                                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                                                            30
                                                                                                                                                                                                                                                                                            0
                                                                                                                                                                                                                                                                                                     239
                                                                                                                                                                                                                                                                                                          0
                                                                                   TOP- 14031103      March   3/6/2014     complete    'fading      Lei                 VS       Ysollry
                                                                                                                                                    lam                 NL       009                am              NL        pay4l standard        OUR     TVPAD -004    259               10       249
                                                                                   1,14031104 Mar.            3/6/2014     complete    john
                                                                                                                                                                                                                    NL                   sanded     EUR     HG1972             0                0         0
                                                                                   1,14031304 Mo.             3/6/2014     complete    john         lam                 NL       john               AN                        peyp2l
                                                                                   TOP- 14031105      March   3/6/2014     complete    dwid         060                 AU       daNd               orbo            AU        brain.                USO     TWA0-004      259               20       239
                                                                                                                                                                        AU       david              da0                       Wántree                       001312             0                0         0
                                                                                   T,-    14031105 Msrch      3/6/2014     compete     d.id         Mao                                                             AU                              USO
                                                                                                                                                                                                                                                                                            10       249
                                                                                                                                                                        US                          Cho             US        braintree             USO     TWAD-004      259
                                                                                   1VP- 14031106   March      3/6/2014     compete     Lenny        Cha                          Jenny
                                                                                                                                                                                                    Cho             US        ba1Mree               VSO     HGIFT2             0                0         0
                                                                                   7W14031106         Mat.    3/6/2014     complete    Lenny        Cho                 US       Jenny
                                                                                   1,14031307 March           3/7/2014     conokte     Natale       Yau,                GB       Natalie            'feu,           CB        bainy.                GOP     TVPAD-004     259               10       249
                                                                                                                                                                                                                    GB        brainee               GOP     HGIR2              0                0         0
                                                                                   T,14031107 Mat.            3/7/2014     complete    Natale       Yeury               GB       Natalie            Yeung
                                                                                                                                                                                                                                                            104Á[W04                        10       249
                                                                                   1,14031108 Ms.             3/7/2014     complete    T            Ma                  O9       Fl.a               gran            GB        brán0.                USO                   259
                                                                                                                                                                                                                              braintree                                        0                0         0
                                                                                   TW- 14031108       Mar.    3/7/2014     complete    T            Ma                  GB       flou      '
                                                                                                                                                                                                    'Iran           GB                              USO     s51FT2
                                                                                   140. 14031109      Mar.    3/7/2014     complete    JOHN         C000                US       JOHN               040E            US        brain..               USD     TWA0004       259               10       249
                                                                                                                                                                                                                                                            HGIFT2             0                0         0
                                                                                   1,14031109 MWC.
                                                                                   í14031110
                                                                                    W                 Merda
                                                                                                               3/7/2014 compete
                                                                                                               3/7/2014 complete
                                                                                                                                       JOHN
                                                                                                                                       William
                                                                                                                                       William

                                                                                                                                                    CHOU
                                                                                                                                                    Lee
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                                                                                                                                                                        Ge
                                                                                                                                                                                 JOHN
                                                                                                                                                                                 William
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                                                                                                                                                                                                                              Waintree
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                                                                                                                                                                                                                                                                          259
                                                                                                                                                                                                                                                                               0

                                                                                                                                                                                                                                                                                            SO
                                                                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                     269
                                                                                                                                                                                                                                                                                                          0
                                                                                   TW14031110         Mar.     3/7/2014    complete                 Lee                 GB                          Lee             GB
                                                                                                                                                                                                                                                            TVPAD004      259                        249
                                                                                   TW14U31111 March            3/7/2014    complete    3240.8       Cheg                Ni       Famine             Cary            NL        brsinlr.              EUR                                     SO
                                                                                   7,14031111 Mar.             3/7/2014    compete     0240ng       Cher,               NL       Fanprg             Chary           NL        4-9ßt3.               EUR     1401417            0                0         0
                                                                                                                                                                                                                                                            1,40-004                        10       249
                                                                                   T,14031113 Mar.             3/7/2014 complete       Garry        Cho                 AU       Garry              Cho             AU        payee! standard       USO                   259
                                                                                    ,                                                                                                               Cho             AU                   eandand    USO     HGIFT2             0                0         0
                                                                                   TOP-14031113 parch          3/78014 campate         Garry        Cho                 AU       Garry                                        paypal
                                                                                   1- 14031114        March    3/78 014    complete    Cindy        Cheung              US       Cindy              Che   n,        US        bainy.                USE,    1,A000ß       250               10       740
                                                                                   TOP.   14031114    Mar.     3/7/1014    compete      Cindy           Chung           US       Gndy               Cheta,              US    brain..               USO      NGIF12                0            0             0
                                                                                                                                                                                                                               breIn7.                                                      05       485
                                                                                   0.24031115
                                                                                    39        Mla.             3/7/2014    complete     Frank           L.              US       Frank              Lee                 US                          USD      TWAD-004     250
                                                                                                                                                                                                    Lee                 US     baIntree             USO      HGIFT2         0                   O             0
                                                                                   7,14031115 Mar.             3/7/2014    compete      Frank           Lee             US       Fate
                                                                                                                                                        SU              US                          9u                  US     branoee              UOU      TVPAD-004    259               10       249
                                                                                   0W- 14031116 March          3/7/2014    compete      YIU                                      Raymond
                                                                                   10. 14031116       March    3/7/2014    complete     YlU             9G              US       Raymond            Stu                 US     Wány.                000      HGIFT2                0            0       0
                                                                                   TW- 14031117       Ate.     3/7/2014    complete     Moe             LEE             FR       Andre              LEE                 FR     bá nuee              EUR      TAD-004
                                                                                                                                                                                                                                                              W           259               SO       249
                                                                                   1W14033117         Ms.      3/7/2014    compete      Andre           LEE             FR       Andre              LEE                 FR     ban..                EUR      HGIFT2         0                0                0
                                                                                                                                                                                                                                                             TWAD-004     299               10       249
                                                                                   T,- 14031118 Mar.           3/7/2014    compete      soldo           rajade0ison     FR       sobfo              alaofetrlwn         FR     bamTree              EUR
                                                                                                                                                                                                                                                                                                0             0
                                                                                   1,14031118 March            3/7/2014    compete      soldo           rejaolNS,LUT    FR       wkfo               x290023 isen        FR     baints.              EUR      HG1312                0
                                                                                   1,- 14031119 March          3/7/2014    compete      01NG            LVO             AU       C8NG               LVO             AU         balta*               USO      TVPAD-004    259               10       249
                                                                                   0W- 24031119 March          3/7/2014    complete     0NG             LUO             AU       OING               LAU                 AU     hairee               000      HGIFT2                0            0             0
                                                                                                                                                                                                                                                                                            10       490
                                                                                   TVP- 24031220 March         3/8/2024 cUTp.ta         Scanna          Caw,            68       Swats              Cautg               GB     boot,.               OSO      TWAO-004     250
                                                                                   T,- 14031220       March    3/8/2014 complete        Suanne          Che,            Ge       Susanne            Chetng              GB     barnee               USD      HGIFT2                0            0             0
                                                                                                                                                                                                                                                             1,40004                        SO       249
                                                                                                                                        5and1           Um              AU       Sandi              Um                  AU     PyPI sandard         AVO                   259
                                                                                  6E1           OL       65L        9004YdA1      tln3    wepuusjMAM                1N         wel            u4oj      1N           wel               uyo¡    a:al0u., bTOZ/9t/E        WW1 Oii[EObldLL
                                                                                  0             0        0             L1d!ON     d80          aanwtp               80        uoc0            AX,Iu     B9          uooe           AX,!u       alai0u.. pIOZ/Ot/E        w+eW ESZ[E011dAl
                                                                                  69Z           OT       652        DOOOtldAl     dB0          aluuluQ              90        uoo0            A%,ry     89          vood           AX,W        alaldu.l ptOZ/i[/f        w+9W ELLCEObIdLL
                                                                                  0             0        0             ZUION      OSn     weWniIMAM                 ntl       oetlt         nooelX      AV          o9W           noon/        91apW0, pfOL/p1/E         W+<W     ZI2CE091dLL
                                                                                  642           OL       652        DCOdHdAL      OSn     wpuuiIMAM                 ntl       oey+          noovI%      ny          2eys          nooe!X       tNpu.,      9f0U9[/E      WwW LtL[E071-dAl
                                                                                  0             0        0             LUtOH      QSn        +aau!nq                çn       9unt0            uonA      Sn         h^4J           euuonA       alap.rot 9T02/91/E        W+tW [tZ[E09I-dA!
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                                                                                  691           OS       6SL        9OOOtld01     OSn               a9nwuq          Sn       9untq          wt+onA      Sn         hny)           auuonA       nal0u.a 070L/bS/E         W+et4 1tL4E091dLL
                                                                                  o             0        0             iütON      OSn               aanuwp          AV       Su,            weill!M     ntl        hny)          w<91!M        aiapu..  bT02/Dt/E        4>wW OTZLEO9TdAl
                                                                                  66Z           Ot       6SZ        90POYdAI      OSn               >anupp          ntl      A+ntq          w1!IVA      ntl        hnHJ          we,911M       alapu..     91pL/DT/E     W+W O1ZfE09ldAl
                                                                                  0             0        0             Z1ilOH     OnY               aauu!ep         2N            +K          h!A       ZN             nS              hH,     aiapual     110Z/OTTE     4wtW 60Z[EODIdLL
                                                                                  64Z           Ol       65L        90POYdA1      Onp               aanY!ep         ZN            sK          9.IA      ZN             ^S              8u!A    1í+180+o, P1o2/9T/E       W+eW 602[EO4tdAl
                                                                                  0             0        0             LüIOX      QSn     wM.ni leoAM               çn       n!t0             WtO       Sn          nay)           Wt0         $Nu.,       4102/DT/E     W+eW BOL[EOptdAl
                                                                                  601           Oi       65L        >00OtldAl     CSn     wrD.n+ ¡raAM              çn       noyJ             We0       Sn          ^ayJ           Wt0         ltapuo> p10L/9T/E         mum BOL[E09T-d0!
                                                                                  0             o        o             L1iVJH     OSn               +auu!n9         Sn          wl%             H+f     Sn           wl%               1Nf     aia!du.a 9i0L/9i/E        W+r,4 LOL[ECCI-dAl
                                                                                  6Ei           OZ       6SL        i0trotlaAl    OSn                   uup         Sn          wl%             HN      Sn           wIX               llaf    ai+pu+o. alOZ/01/E        Wuí4 LOLLEO9SdAl
                                                                                  0             0        0             21lVN1     OSn     wrµniIMAM                 1N        92mX           wltl3      lN          XoAt%         wlrl3        alapuo> pTOL/OT/E         4>+rW 90Z1fO9S-dAl
                                                                                  942       i   çt       6S2        70DCVd.1l     QSn     wrlwniIMAM                1N        Ip+a%          wf+13      1N          1pv.%         w1913        aiapua> 9[OZ/tl/E         w+eW 90ZCEO4L-dAl
                                                                                  0         L   0        0             Zü!IMt     d80               aanuNp          BO         u9W              +r9     g0          uaW              +ea       aiapua, 9[02/9T/E         WuW      SOLL   tart -dA(
                                                                                  06D           01       OSE        90POYdAI      OBO               sanuNp          BO         uew              u9      110         uM                  +ea    uay2um 710Z/11lE          W+sW S02[£07[-dLL
                                                                                  0             0        0             iülOH      O$n               aanup+q         AY      +DnY+d            w!p3      ntl       rM9^i            a!113       eteeum      rSOZ/tT/E     W+eW pOL[fOpi-dLL
                                                                                  69L           01       65Z        900.OYdLL     OSn               +1nuN+9         ntl     >P^7^f            wQ!3      nY        epmini           eir!3       syapunt 71O0/91/E         4>+>sY   pOZ[E09i-dAl
                                                                                  0             0        0             Z1310N     OSn               aaAU!>ig        Sn          ad            u4^s      Sn            oAd              uyaf    oiapY..     DTOL/9V£      W+tiY    EOL[EC9t.
                                                                                  964           OI       O52        KO-0101       Oçn               +oawuq          Sn          .Ad           utps      Sn            oAd           ...Pr      alapu.a pLCL/9i/E         w+t:Y EOZ[£C9tdAl
                                                                                  0             0        0             ZUIOH      tln3              aanupp          1N        unp              )IIG     1N          WO             u   Mn      al%0u.> 7TC2/91/E         w+eW     tOi[£CttdAl
                                                                                  972           SS       6SZ        90POYdAI      Un3               aanuNp          1N        uetp             1110     1N          91^O           uaAn                pTOZ/91/f         !{>+eW   20L[fC41dAl
                                                                                  0             0        0            2U10[t      OS                aanulep         V)        heA               ael     bJ          BuaA               ao(     Ls'.
                                                                                                                                                                                                                                               aNlOUa, DtOZ/41/E         W+CW tOL1£C9I-dAl
                                                                                  6D2           OI       652        MPOYd11       OSn               wnu!ep          q         heA               ael     V)          9ueA               M(      uepw0.9[02/90/f           w+eW tOL[EC9td/LL
                                                                                                0        0              tü1711    OnY     wepuui IMAM               nY          hn             xalY     ny           Bun               xaltl   lapWD, píCi/9t/E          W+WI OOii£CD[-dAl
                                                                                  69L           OI       65L        40POtldAI     Ontl    D+Wuui IMAM               nY          Hun            »Itl     ntl          Sun               x+ltl   +Npuo, ptOL/9t/f          W+rN OOL[EC9i-dAl
                                                                                  0             0        0              LLlIOH    05 il   ensure ¡eàlM              }H       Nf1CA               Nn     }H          Nf10A               Nn     wapu.. p[OZ/FSlE          4,+rN 66T1E09tdA(
                                                                                  69L           Ot       652        9009tld01     OSn     wepuni IvdAM              %N       NnG                 Nn     XM          Nf10A               Nn     aNpu.. 9[OZ/ES/E          W+4Y 66t1E0ttd/LL
                                                                                  0             0        0              LLi10H    OM                a>nuN+g         Sn           wn            i'+es    Sn            tun              %uf     wapua> p[CS/ET/E          W+e'N    %tTfOridA1
                                                                                  692           OS       652        900OYdAL      OSn               aauulep         çn           wn            9>af     Sn            wn               Xu¡     alapua, b10Z/ES/E         W+aN 861[fObSdAl
                                                                                  0             0        0              Zü10X     Ontl              »nulap          ntl          s+l            u+%     ntl           wl               u%      al+pua, p10Z/Et/E         W+K4 L61T£091dAl
                                                                                  69L           O[       65L        400OtldAl     OnY               aanupp          ntl          t+1            ua%     AV            aal              II:     ¡FOE,       btOLFT!£      W+9ri L61T£09[dAl
                                                                                  0             0        0             ZüMH       Oçn               MnuNp           ntl       9uom               tDd    AV          9uoM                IM     uepu.,      DIOZ/ET/E     4aeW 961TEODI-dAl
                                                                                  066           OI       OSL        b00'OYMI      05n               +auultp         nY        9uws               W      {ip         9uoM                /sd    alapww      DTOZ/ET/£     W+9ri    %lt£Or[d01
                                                                                  0             0        0              LüMJN     OSn               aaaultp         Sn          uy)             oW      Sn           uNJ               oW      a»pu..      pfpL/Ei/E     W+RN 56iiE0p4dAl
                                                                                  64L           01       65L        900-OVdAI     OSn               aaAUlap         Sn         uNJ              oW      SA           u!yJ              or*     olaeuo, 9f02/Eí/£         4>++n SbttFObtd01
                                                                                  0             0        0              IliOÚH    OSn               aa+wvp          8O       W.N              u.!Wtl    80          41>oN          upoY        ipu.,       fTOZ/ET/E     W+eV1    E6StfOptdAl
                                                                                  69Z           OI       652        WO.Otld11     QSn               aa+w!ep         BO       WaN              ulg2tl    8fl         41/2N          .9211       aNp...      91Ot/fT/f     WNW £6S1EODl-dA!
                                                                                  o             0        0              Zü10H     OSn     wtpuns'IMAM               BO           aW       u+alweW       BO            oW        unyweW         u+puo, b10ZlEL/E          wuW Z6SIEObldA!
                                                                                  9aZ           ST       65L        t90btldAl     QSn     DArlwuilMAM               B9           ow        u+yweW       80            oW        uM1wrW         aTalOu.. p10Z/£S/E        V>+ew L6S1EOpTdAl
                                                                                  0             0        0              LL1MN1    tln3              MAU!ep          Si         +>VJ     spwudy+ee¡       PS         eWJ       spwuft+eN        aapuo, 910UEI/E           tP+ti'7 I6SLEOpldAl
                                                                                  6r2           0T       65L        900HdAl       tln3              aanule p        tld        eatl)    sp,uuduraf       Si          eayJ     spwudusas        aN    ua,   910L/ES   E   4>+tW I6SLEODtdA!
                                                                                  0             0        0              ZUOON     MA                aanu!ep         1N           9!10             'A     1N          ueW                 X}    +upu.,      91CL/Et/E     W+eW 065tEo7tdLL
                                                                                  69Z           ot       65L        9WCYdAI       OSn               aaAU!ep         1N           9l:O             'A     1N          0eW                 }X    a1+eu..     piOL/ET/E     4N4Y O6i[E09i-dAl
                                                                                  0             o        0              Zü10N     OSn               aanuNp          Y7    >uif9toyl        henu.5       Y7     auoA9ualA        Burnugç        a:epu.a 9tOL/ET/E         W+eW     66[[E041-dAl
                                                                                  6EL           00       652        f00OYdAl      OSn               a+nuluq         YJ    PUMA,            henWw,       YO     auo+IBtialn      9urnuro5       aiopwo, 9[OUEI/E          woe 69i[E09t-dAl
                                                                                  0             0        o             ZüION      OSn               »aulrp          Sn          X+sd       upipueH      Sn           sad        wnB.sH         aiapu.,     9[OZ/ET/E     NMI H8TLE0D(dAl
                                                                                  6EZ           K        65L        b00-OtldA!    OSn               wnulW           SO          ilud       uelgueH      Sn           9nd        WnBUeN         aiapua> 0[CZ/ET/E         w+tW 88T[fC01-dAl
                                                                                  0             0        0              ZUMJH     OSA               >a+wl9p         Sn             9          IWI4t     Sn               II       lyi!ys       alapu.> DLOZ/E1/E         yaArW LBL[£CDLd01
                                                                                  6DL           OI       652        900-OHdAI     05n               aanunp          SO             9          !4,NK     Sn               !I        NOW         napum       Di02/ET/E     W++I4 LBL[E09SdAl
                                                                                  0,            0                                                   aanulug                        n                                                           ai+eY.,
                                  #:20589




                                                                                                         0              2Ú!9N     OSn                               Sn                      Yay.95      Sn              Il        uaWA15                   9TO2/Ei/E     WwW 98SLECri-dA1
                                                                                  6aZ           OT       65L        fOOCtldA1     OSn               aanulu0         Sn             n        uw,ws       Sn              n         +41+K                    0t02/E7/E     wwW 98L[E09t-dAl
                                                                                  0             0        0             2LfMN      OSO     welwniIMAM                30       hm%            u1wPtl       3O        hmX            ulwntl       uapuoa 9tOZ/ETlE          w+tW SBtLEO7LdAl
                                                                                  069           OS       OSZ        b00OtldAl     OSn     wepuryiNdAM               30       9um%           uMUPtl       30        hmX            u1wPtl       Fri
                                                                                                                                                                                                                                               alapu.a btCZ/ETlE         w+eW SBT1fO9[dAl
                                                                                  0             0        0              MON       d80     wrwniIMAM                 90          ^A              ++W     80              nA             LW      alaptw> ptOZ/Zt/£         W+tiY D91TE09(dLL
                                                                                  6DZ           01       600        900OHAAI      dB0     wWYUile0Ae8               80             ^A           uW      80              ^A             s+ri    1apa.> 110ZRt/E           W+eW P6I[E04L-dA1
                                                                                  0             0        0              LüMJH     1M3               aanulu0          31      11>t+^tl         t1Hp        31       INSSntl          sN         lapwo,      p10Z/ET/E     W+eW 1St [FC9[eAi
                                                                                  ópi           OS       65L        YOPOtldAI     tln3        aAUlrp                 31     II+tHttl          +P4J        31       IIa+Q+tl         sIHJ       1epu.a      p[OL/ES/E     W+tW Z81[EOO[-dAl
                                                                                  0             0        0              LüNNI     tln3    PNlwniIMAed               1N      Hu^+try             rX       iN       hnay)                  e}    alapwo, VIOL/ZITS         W+r;V t81t£09[dAl
                                                                                  9pZ               Si   65L        1'OOOtldAl    tln3    w9DurlfIrdAed             1N      Hun+y)               e%      1N      9unwt)                  r}    a1ap.., p(0Z/LS/E         wNW      1910£00[001
                                                                                  0                 0    0              LUIOH     OSn               aanu!uq         5n        Huaw               iro    Sn          h+W                 Ps          Pawn   9TOL/LTEE     w+eW 08tt£O9fd01
                                                                                  61Z               0[   6SL        90PCYdA1      OSn               aanWe+q         Sn        9uaW               Pls    5n          haW                 re          DatoP p[OZ/ZI/£       AIM O811E071dAl
                                                                                  0                 0    0              L1ilOH    OSA               a.nulsp         $n           ^V2        u+!INM      Sn            nyt         ut!p+M       Npu., mum's               .ANN 6L1t£00ld.1
                                                                                  6DZ               Ot   650        90ff0Hd+LL    OSO               aalwluq         Sn           ^4Z        u+!tlM      Sn            NZ          .eillaM      lapww 410L/Il/E           y,ItW 6Lttf0bl-dLL
                                                                                  0                 0    0              LLitOH    OSA     wrot+nsjMAM               Sn            nK             uel    Sn             ^K               uH     $puo.       b10UiT/E      ipieri 8LS1EODl-dLL
                                                                                  60Z               OT   65L        f00Otlbü      OSA     P+eputriIeOAM             Sn            ^K             uH     Sn             nK               uel    aulauo> 9tOL/LS/E         W+aW 8LTLE09ldAl
                                                                                  0                 0    O              2UIOH     oto               wawu9           Sn            !tl        APueW      Sn             M          Ap+rri       $pwoa       9tCL/LS/E     4u9/Y LL1TE091dAl
                                                                                  6pL               0[   65Z        f00OYOAI      OSn               aaAWep          çn          lel         ApwW        5n             In         Apurri       alaidu.> 91CL/Lt/E        w+eil LLSSEODIdAt
                                                                                  0                 0    0              2ü,OH     OSA               >anu!uq         çn         uatp              ^ç     Sn          uWJ                  ^S    aiapua, 910Z/ZT/E         4,+rN OLO[fObldAl
                                                                                  óbi               OT   65Z         b00dNA11     OSn               ...log          Sn         uatp              liç    Sn          u>yJ                 nç    alapua) b10ZRi/E          W+WY OLOtfObt-d,l
                                                                                  0                 0    0              21fI0H    d9O               >anwep          BO        9uesti          +Ilen4    BO          heyt           I(m4        a:apwoa D102/2i/E         qurW SSS[EOptdAl
                                                                                  GPO               OS   65L         9CP0Yd/LL    d80               aanurtp         B9        8uryt           ollm4     80          he4s           MIm4        sieeun. vL0LR1lE          WuW 55t[E0DT-dAl
                                                                                  0                 0    0              LUIOH     190               aat9uq          90            ^n       +uYONN       M              nil                 1   alapwoa pi02R1/E          tl>wW 9LT[E09S-dAl
                                                                                  069               OT   Oçt         70OOtldLL    a80               aaaulrp         B9            nn       wualnA       BO             nAl                I    alap!uo> bLCL/LSlE        w+etY 9LS[EOridLL
                                                                                  0                 0    0              LüIOH     OSn               wau!rp          Sn            !4             un¡    Sn             Ih               tnf    wald0.,  pT0UL1/E         W+tW     SLilEC4id0l
                                                                                  6p[               OT   65L         pOPOH6A1     OSn               aaau!rp         Sn            N)             uy     SO             IrJ              unf    alapwoa 0[OL/LSlE         W+eW SLTtE.TT-dAL
                                                                                  0                 0    0              L1fI0N    05n               aanulep         AW          MaH           ua4J      AW           rAAH           vet0       alapua> b[CZRT/E          W+ríY bLl[[CDt-dAL
                                                                                  69L               OT   65L         tC0OtldU     OSn               aa,wep          AW          entH          uNJ       AW           tniN           ury)       alapu., bT02/Lt/E         W+vfY bLS[FC9LdAl
                                                                                  0                 0    0              2ülOX     Ontl              aaaíNtp         nY           unç          lant29    11tl          unç         1+NAB        Npu.>   0[OU[S/E          WNW ZCT(EC7idAl
                                                                                  SPI               0[       65t     pOP0YdA1     Ono                aanuluq        ntl          unç          MY.B      Al            unç          NNAB        +wpuo, 9IOZ/1t/E          W+eW ZLS[E091-dAl
                                                                                  0                 0                             OSO                               ntl      9uttp            oeVq      ¡1p        hetq            ov!tq       olapv., D[OL/[S/£         WuVt     1L11í09td/LL
                                                                                  69L               0[       652
                                                                                                             6oSZ    DObOtld01    OSn          ,+Puni               ntl      hetp             orytp     fly        hetp            w!tp        oiapu., 9fOZ/[[/E         4>+rW SC15E09SdAl
                                                                                  0                 0        0          iUIOH     OSA                               2N          uyo¡            Wtl     ZN           Wol            typ        +lapua, 4102/It/E         WuW OL1T£00[-OAl
                                                                                  6pZ               OL       65L     DOPOtl0A1    OSn                               2N          u4of            NV      IN           uyof              tyY     Rapu.,      p102/IS1E     W+   N   OG1TECiS-dAl
                                                                                  0                 0        0          ZUIOH     Un3     :"'"E::11::".:'1:17":71    38       w911B         uaq.N        19         w9N8         1+aq.N        aNpu..      910Z/1T/E     W+eW 691Tí09[dAl
                                                                                  64Z               0[       652     o00OYdM      tln3               >aau!ep         38       w911B         uaq.N        38         +a9X8        1wg.N         aiapuo> 4I0Z/iT/E         WWI 691[£Ot'[dAl
                                                                                  0                 0        0          ZUIOH     OSO                >.nuNp         nr            nn          wK        no             en              wK      a:aNu.. 01CZ/1T/E         W++W C91Lf00[aAl
                                                                                  69Z               0[       652     9009tldA1    OSn                +enupp         nY            nn            we5     AV             nil             w95     ....OW., PURA             W+eW     C91[fOb[dAl
                                                                                  0                 0        0           ì1fI0H   any                aanwep         AY           o05             u1X    fltl          eoç               uIX    aupuo> DtOL/iT/E          WuW 9911EOpl-OAl
                                                                                  69L               0[       65I     vOPOtldAI    env                aanWrp         ntl          ooç             u1X    f1tl          2Dç               lit     e1ap0., D10i/[t/F        W+rV1    99t[EOpl-dAl
                                                                                  0                 0        0          LüIOH     OSn     pAepYels jMAM             Sn            IM        A3ltl0K     Sn             IM        A319015        +lap0.t tTOZ/11/E        W+rW     59i[EOpidAl
                                                                                  69L               OL       6SZ     p0?OVdAI     OSn     wepugiIMAM                5n            IM        A37tlDK     Sn             IM        A31tlaK       uepuo> pTOLRT/E           WNW      S9i[E04tdAl
                                                                                  0                 0                             OSn                >anulep        çn           ^M           MPM       Sn            MH           eAPH         alapu.. 9tC2/LTlE        w+eW 99i[EObidAi
                                                                                  6bL               0[       652
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                                                                                                             6o      p004tldA1    osn                aanulep        çn           +NH          vAyY{     Sn            IisH         MPH         alapu.> p[OZR7/f          wwW p95(E09idAl
                                                                                  0                 0        0           2ülskl   OSn                aanu!e.        çn         9V0{        uouat+d      Sn           Btrod       t.swNO        alapuaa 9[OZ/Lt/E         WtW E9T1f09i-0A1
                                                                                  6D2               OS       6R      DOPOYdA!     CKn                >uw!ep         Sn         9uq         ua+n+d       Sn          BYOd         t+oswied      nepwm   D[OL/t1/E         WuW E9i[E09T-a/LL
                                                                                  0                 0        0         Z1f10H     OSn                saaWt+9        Sn        9un1              >+Itl   çn          9una1              NV      else...     pIOZ/SS/E         L9[[E09t-dAl
                                                                                                                                                                                                                                                                         W+eIN
                                                                                  Apt               o[       65L     D00-OtldAl   OSn                aanuluq        Sn        8uno1             >alY    Sn          hnal               >+Itl   olopwe> b[CU[I!E          LOAM Z9LT£Or5-du
                                                                                      0             0        0           LUION    dB0     wpuui IMAM                RD           w,r7            1^A     80           msl               !^A     a1ap.., D[0Z/[t/E        w+sW 19StEC4[dAl
                                                                                      6b2           OS       65Z     b000tldAL    dB0     Op   j/       IMAM        B0           ntrl            PA
                                                                                                                                                                                                 1M      BO           me,               in      aiopw0, 9SOLRi/£         w+etY 19SIFC9I-d0l
                                                                                      0             0        0           iülON    d80     wta.us IMAM               80             ^n                   80             ^n              ueNS    i111dua1 la        Tit    W+tW 091t£09L-dAl
                                                                                      69Z           OT       65Z     b00-OtldAl   d80     wtwarledAM                8O             nn          uryç     80             nn              0e45    alapu., ri0vit/E          WuW 09S1t0TTdAl
                                                                                      0             0        0           ZüNN1    OSn                aauwep         V]            1        nusP++d       t0            vat      awe0fud        edpu.> 9I0Z/lt/E          WuW 65STE09L-dAl
                                                                                      6bZ           OT       652     D00OYdAI     OSn                aanulep        V7            a1       awaRUd        tlJ           1a1      ewspnld        $pu.,       910Z/1T/£     WuVt 6511EOrtdA1
                                                                                                             0           IüMH     Ot0     wrpuni ledAed             V7          9ueA         M+HN        VJ          heA          Mypf         asapti.. pt0i/t[/E        W+tW     95S[E04tdAl
                                                                                       1Z
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                                                                                      6o            0[       65Z     b00OtldLL    017     Pwp+ni ledAM              VJ          9YeA         M+Ha¡       YO          9ueA              AIA     alapwo> 9f0L/1T/E         4v+ YIN 85StE09S-d/LL
                                                                                      0             0        0           LüMJN    OSO                wawep          SA           oh           uMnb      çn            eel          uMnb        uapua,      ptOL/tt/E     ,P. PIN 9STLEOpi-dAl
                                                                                      E9Z           OT       65L     DOOCYdAI     oin                aaAUNp         çn           ow           uaA+1p     Sn           09u          uaMD        uspum ytOL/tT/E           WuYI 9S1tE0b1dAl
                                                                                      0             0        0           ZUIOH    d80                aanulap        BO            1a1       aWl>A       9fl            PO        nluqaA        alapiA.a pTOZ/tt/E        W+tri    9S1(E0b(dA1
                                                                                      6bL           02       65i     900-0Yd1l    8!10               11nWep         90            ía1       o,wlaA      80             íi1       e>!w!aA       >:apu., b[OL/(TlE         wlalY f501£0bt-dAl
                                                                                      0             0        0           2U19N    d80                +AWep          BO            9e1       h+1wA       99             +e1       BYna+A        aupu.> 0[CZ/T7/E          W+tW ESS[EObldAl
                                                                                      6b2           OT       6SZ     9000HM1      d89                aanu!ap        99            aal       Buta+A      80             Nl        hna1A         alapua, p[OZ/[t!E         W+eW E51[E0b7-dLL
                                                                                      0             0        0           iü!OH    d90                wAU!rp         Al         9uoal             +9     Al          9uD+l              1i      wapua, p40U0t/E           W+eW     LSitE0Dt-dAl
                                                                                      6EZ           OZ       6SZ     9000tl0/LL   d90                anY!ep         Bg         huH               s+X    87          Buo+l              +X      $eu.,       D[OZ/Ot/E     W+eW LST[E09T-dAl
                                                                                      0             0        0          ZüION     OSn                aaau!uq        ntl          ueO         wlpW       Ay            uAl         w!pW         alopuot v[OZ/OS/í         W+eW SST[EC9[xVLL
                                                                                      6D2           OL       652     9000tldA1    OSn                eaau!u0        ntl          ue0         wllops     ntl           u01         wpori        +:alOwo, pTCi/OT!£        wuW SS[LEObtdAl
                                                                                      0             0        0           Z.U.     any                >anupp         np        Buonl          ApV¡N      ny         Bu201          AV1AW        aiapww 9100/0T/E          4w+tY OStIEOpt-dLL
                                                                                      69Z           OT       652     400OtldAl    OfIY               wnuNp          AV        8YOn1           A911AW     ny         hNtl          MOW          q+pu.,      pTOZ/OS/E     W+eW OSt[EC9tEAL
                                                                                      0             0        0          2ülON     OSO                wnwtp          AV       M!NeH             t>tof     ny       MyOrN            uWf         alapu.,     9102/OS/E     W+eW 6r[[FCST-dA!
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                                                                                  5.14031296
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                                                                                                          3/20/2014 compete
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                                                                                  NP- 14031299 March      3/20/2014 complete      Hogan      Ho         GB    Hogan         Flo         58   bromnot              GBP    5ÁD-004       259   10        249
                                                                                  5- 14031299 March       3/20/2014 complete      Hogan      Ho         GB    Hogan         lib         GB   brine.               GBP    HG1FT2         0    0           0
                                                                                  NP14031300 Mardi        3/20/2014 complete      Bambang    Tun.       10    Bambang       YuHYta      ID   brain.               USD    TVPAD-004     259   10        249
                                                                                  Tw14031300 Mardi        3/20/2014 complete      Bombane    SidNte     ID    Mmbong        Yuutlta     ID   bralnlree            USD    HGIR2          0     0
                                                                                  5.14031301 Mardi        3/20/2014 complete      Yee        Chu        AU    William       Chu         AV   brai.
                                                                                                                                                                                               n.                 AUD    TVPAD-004     259   10        249
                                                                                  5.14031301 Mardi        3/20 /2014 complete     Yee        Chau       AU    William       Chu         AU   brainy..             AVD    HGIFT2         0     0          0
                                                                                  5.14031304 Marty        3/20/2014 complete      Fen        Su         NZ    Eule          Su          NZ   bromine.             5S0    T4ADON        245    0       1215
                                                                                  SVP- 14031304   Mardi   3 /20/2014 complete     fang       Su         NZ    Fang          Su          NZ   brain.               USO    HGIFT2         0     0
                                                                                  TVP14031305 March       3/20 /2014 ynplele      Wirme      Liu        GB    Winne         Liu         GB   bran..               GBP    TWAD-004      259   10        249
                                                                                  5.14031305 Mardi        3 /20/2014 complete     Win.       Liu        GB    Win.          Uu          GB   bromine.             GBP    HGIFT2         0     0
                                                                                  NP14031306 March        3/21/2014 compete       14Y        kin        US    lay           leim        U5   ['remote             USO    1W1LD00A      259   10        249
                                                                                  5. 14031307
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                                                                                                          3/21/2014 complete      Done..                OB    Dongmet       Tunke       GB   brainee                                    0
                                                                                  TW- 14031308 March      3 /21/2014 compiete     Leak,      Tsang      G8    leafing       Tsang       GB   brainy.              GBP    7V1Á1004      259   10        249
                                                                                  514031308 Mardi         3/21/2014 compete       Luling     Tsang      G8    Lea,          Tsang       GB   Waimea               GBP    HOFT2          0     0
                                                                                  TW70011157 Marty        3/21/2014 complete      Lei        Gab        NZ    Lei           Wo          N2   braintree            USC    5ÁD004        259   10        249
                                                                                  5.70011157 March        3/21/2014 complete      Lei        Gee        NZ    Lei           Wo          N2   brims.               USC    HGIR2          0     0
                                                                                  TVP- 14031244 March     3/21/2014  compete      price      rya        US    ludo.         rya         US   ...tree              USO    550054        259   20        239
                                                                                  5.  14031244 March      3/21/2014  complete     Janice     lid        US    ladce         du          US   bann..               USO    561012         0     0
                                                                                  TW- 14531309 March      3/21/2014  complete     THANG      Remi       FR    THANG         Remd        FR   bralnuae             USD    TVPAD -004    259   10        249
                                                                                  TW14031309 Mardi        3/21/2014    complete   SHANG      ARG        FR    THANG         Reml        FR   NNrwee               USO    .F72           0     0          0
                                                                                  1W. 14031310 March      3/21/2014    complete   ...awn     Tan        AU    Booryan       Tan         AU   bnlnuee              SSD    7V1Á0.004     259   10        269
                                                                                  5.14031310 March        3/21/2014    complete   Booryuan   Tan        AU    B0aewn        tan         AV   ...tree              USO    .FT2           0     0
                                                                                  TYP- 1403131.1 Mardi    3 /21/2014   complete   RONNIE     LAW        US    RONNIE        LAW         US   beine.               USD    NPANOW        2S9   10        249
                                                                                  TW14031311 March        3 /21/2014   complete   RONNIE     LAW        US    RONNIE        LAW         US   Neinire              USO    HGIFT2          0    0          0
                                                                                  TW7C0I11S8 Mardi        3/21/2014    complete   Miryóe     Han        AU    Mkngge        Han         AU   payoal standard      USO    NPAD4104      259   10        249
                                                                                  570011158 Marty         3 /21/2014   complete   Mingge      Han       AU    Mingge        Han         AV   paypal standard      USD    KIM            0                0
                                                                                  570011159 March         3/21 /2014 complete     Yonggen    Sue        US    DtAIEN        U           US   brakwee              USD    TVPAD-004     259   10        249
                                                                                  5.70011159 Mar.         3 /21/2014   complete   Yanggen    Sue        US    DISHEN        U           US   bran..               USD    HGIFT2         0     0          0
                                                                                  5.14031314 March        3/21/2014    mmpkte     CHEN       ye,.       MY    CHEN          YEOH        MY   breimini             USD    5ÁD -004      259   10        249
                                                                                  S14031354 March         3/21/2014    complete   CHEN       SPOSI      MY    0ÆN           YE.         My   brainy.              USD    1.072          0     0          0
                                                                                  TVP1403131S March       3/21/2014    complete   Mak        Mldisel    SG    Mak           Michael     SG   brainy..             USD    NPAD-004      2S0   20        730
                                                                                  1W14031315 March        3/21/2014    cond.      WAS        Michael    SG    Mak           Michel      SG   brAntree             USD    HGIRI          0
                                                                                  71:031316       March   3/21/2014    competa    Kallb      StaAl      AU    Kazuo         Suzuld      AU   brain.               USD    74ÁD-004      259   10        249
                                                                                  TW- 14031316 March      3/21/2014    complete   Kazuo      Stateci    AU    Kazuo         Suzuki      AU   tannin..             USD    HGIFT2         0
                                                                                  51.14031317 March       3/22/2014    complete   Kp         lo         US    Ky5           lo          US   brain.               USD    NPAD-004      259   10        249
                                                                                  TVP14031317 Nardi       3/22/2014    complete   KY.        lo         US    Kyu           lo          US   brairwee             550    HGIFT2         0     0          0
                                                                                  5.14031318 March        3/22/2014    complete   L          long       NL    L             Tang        Al   brain..              USO    15150-004     259   SO        249
                                                                                  5.14031316 March        3/22/2014    cornd.te   t.         Tene       NL    L             Tang        NL   brainy.              USD    HGIFT2         0                0
                                                                                  5.14031319 March        3/22/2014    complete   HY         Lu         VS    Hy            W           US   balms.               USO    550-004       259   10        249
                                  #:20591




                                                                                  NP- 14031319 March      3 /22/2014   [andate    Hy         Lu         US    Hy            W           US   brainy..             USD    HGIFT2          0    0
                                                                                  TW14031320 Mordi        3 /22/2014   complete   long       ha         US    /0018         As          US   belnur.              USD    750504704     259   10        249
                                                                                  5.14031320 March        3/22/2014    complete   long       SR         US    joug          h           US   bran..               USD    HGIFT2          0    0          0
                                                                                  74.70011160 March       3 /24/2014   complete   CUh00e     Ku         AU    O 1ORF5       Ku          AU   beinte..             ASO    7VPAD-004     259   10        249
                                                                                  5.70011160 March        304 /2014 complete      OUh00e     AS         AU    085510        AS          AU   braln5ee             AUD    051012          0    0
                                                                                  5.14031321 Mardi        3 /24/2014   compete    Dan?       Law        AU    POROS         taw         AU   paypa!stataderd      ASP    5ÁD -004      259   SO        249
                                                                                  NP- 14031321    Mar.    3/24/2014    complete   Doo.        Uw              Donny                          paya!standard        AUD    HGIR2
                                                                                                                                                                                                   l
                                                                                                                                                        AU                  Law         AU                                               0    0
                                                                                  5.14031322 March        3 /24/2014   complete   rut        then       GB    rut           th en       G8   pagutandard
                                                                                                                                                                                                  s               GBP    7V1Á0004      259   SO        249
                                                                                  5.14031322 March        3/24/2014    complete   N          chn        GB    sui           den         GB   Payal standard       GBP    HGIFT2          0    0
                                                                                  NP14031323 Mardi        3/24/2014 compete       Lien       Mal        US    lien          chi         US   brain.               USO    MADVIC-004   29.     0       19.99
                                                                                  5.14031324 March        3/24/2014 complete      Maubc      MU         FR    M.N.          MU          FR   ayPal standard       EUR    MAD-004       245   15       1210
                                                                                  5.14031324 March        3/24/N14 complete       Maw.       MU         FR    Maut.         MU          FR   paypa! standard      EUR    .F12            0    0
                                                                                  5.14031325 March        3/24/2014    compete    Stella     Wong       NZ    Stella        Wong        NZ   brain..              U50    MAD-004       2S9   SO        249
                                                                                  NP.14031325 March       3/24/2014    complete   Stella     Wong       NZ    Stella        Wong        N2   brain..              USO    .012            0    0          0
                                                                                  514031326   March       3/24/2014    compiete   NeriBK     Clam       AU    Meng          Wem         AU   brain..              USC    WPAD -004     259   10        249
                                                                                  M14031326 March         3/24/2014    complete   Hens       .am        AV    Hang          Warn        AU   boina..              USO    HO012           0    0
                                                                                  5.14031327 Mardi        3/24/2014    complete   rdIM       tat        US    rdlln         tat         US   aypa!standard        USO    MAO-0M        259   SO        249
                                                                                  5.14031327 Mar.                                 rdlln      ut
                                                                                                          3/24/2014    complete                         US    rollirr       tat         US   aya!   standard      USD    HGIFT2          0
                                                                                  1W- 14031329 Mardi      3 /24/2014   complete   Lo         Man        AU    Le            Man         AV   braInuee             USD    MAD-004       259   SO        249
                                                                                  5- 14031329 March       3/24/2014    complete   La         Man        AU    Lo            Man         AU   brainy.              USD    HGIR2           0        0
                                                                                  514031330 Mardi         3 /24/2014   complete   AUko       AUSLAUF    01    AU.           Ba     m.   CH   ay.lstendard         USC    5ÁG004        2S9   SO        249
                                                                                  514031330 March         3/24/2014    complete   A11ko      B.umle     CH    Aklko         Were.       OI   wypa!std     nderd   USO    HGIFT2          0        0          0
                                                                                  5.14031331 Mar.         3/24/2014    complete   Odi.r      SUNG       FR    Older         EUNG        FR   bninaee              EUR    MAD-004       245   IS       1455
                                                                                  514031331 Mardi         3/24/2014    complete   bider      SUNG       FR    Oldie,        SUNG        FR   blamer.              EUR    HGIFT2          0        0
                                                                                  5. 14031332     Mardi   3/24/2014    completa   Alex       Ly         GB    Alex          Ly          GB   balm.                URO    MAO-004       259   10        249
                                                                                  5. 14031332     March   3/24/2014    canete     Alex       Ly         GB    Akx           Ly          GB   bran54e              USD    HG1012          0        0
                                                                                  5.14031333      Mardi   3/24/2014    compiete   Angela     Shin       SG    Angela        Shan        SG   bony.                USD    T4Á0.004      259   IS        244
                                                                                  5. 14031333     March   3 /24/2014   complete   Árgeu      Shin       SG    Arytla        Shin        SG   brantree             USD    HGIfT2          0        0      0
                                                                                  5.14031334 Mardi        3/24/7014    complete   Louie,     Ping       US    Lode,         Ping        US   bran...              USD    NPAD-004      259   10        249
                                                                                  5.14031334 March        3/24/7014    complete   Louie.     Piing      US    lode,         Piing       US   bran.*               USD    HGIR2                    0
                                                                                  570011161 MVO           3/24/2014    complete   2MYV       W          US    2NIYU         YU          US   brain.               USO    MÁ0-004       259   10        249
                                                                                  5. 70011161 Mar.        3/24/2014    owned.     NOV        YU         US    ZMYU          YU          US   bromine.             USD    HGIR2           0        0      0
                                                                                  514031335 March         3/14/2014    tendete    Strano     LI         US    Smarm         U           US   balm.                USD    MAD-004       259   10        249
                                                                                  1VP14031335 March       3/24/2014    compete    SHena      U          US    Sirene        U           US   braid,.              USD    HGIFT2                   0      0
                                                                                  5.14031336 March        3/24/2014    completa   Sam        Wong       US    Sam           Wong        US   brainy..             USD    TWAN004       259   20        239
                                                                                  5.14031336 Mat.         3/24/2014    complete   Sam        Wong       US    Sam           Wong        US   bralnree             USD    HGIFT2          0        0      0
                                                                                  5.   14031337 March     3/24/2014    complete   11aMin     Chen       US    as Min        Chin        US   bainv.               USO    MAD -004      259   15        2.
                                                                                  M. 14031337   March     3/24/2014    cond.      Whim       Chen       US    WM.           Chen        US   brNnree              USD    HW012           0        0      0
                                                                                  5.14031338 March        3/14/2014 complete      Pedro      Leery      GB    Pedro         leery       GB   papal stendxd         GBP   5ÁG004        259   15        2.
                                                                                  5.16031338 Mar.         3124/2014 complete      Pedro      Leung      GB    Pedro         Leung       GB   payaa! standard      GBP    HGIFT2          0        0          0
                                                                                  74.14031341 Merch       3/24/2014    complete   Edmund     Leung      US    Edmund        Leung       US   paws! standard       U.     T4AD-004      259   10        249
                                                                                  5.14031341 Mar.         3/24/2014    complete   Edmund     Leung      US    Edmund        Leary       US   patrol standard      USO    HGIFT2          0        0          0
                                                                                  5.14031342 March        3/24/2014    candele    Kan        Uu         US    Kum           Uu          US   brainy.              USD     MAD-004      259   10        249
                                                                                  5.14031342 Mardi        3/24/2514    complete   Kin        Llu        US    Kun           Uu          US   bruMree              USO     HGIFT2         0        0
                                                                                  5.14031343 Mardi        3 /24/2014   complete   YA         Wong       VS    YA            Woe         US   brainy.              USD    MAD-000       259   10        249
                                                                                  M- 13031343Mardi        304/2014     complete   Ylk        Wong       US    Ydk           Woe         US   brain..              USC    .FT2            0        0          0
                                                                                  T4.140313Ú March        3 /24/1014   compete    PlISO      Wan        U5    Pay.          Wan         US   brain..              USO    59ÁD-004      259   10        249
                                                                                  5- 14031344     March   3/24/2014    complete   Petrick    Wan        US    Patrick       Wan         US   balm.                 USD   HGIFT2          0        0
                                                                                  514031345       March   3 /24/2014   complete   Varian     Mao        US    Vivian        Mao         US   bralnuet              USD   59ÁD.004      159   10        249
                                                                                  514031345       March   3 /24/2014   compite    %iilan     Mao        US    Vivian        Mao         US   brain.                USD   HGIR2           0        0
                                                                                  5. 14031346 Mardi       3/24/2014    complete   heasun     long       VS    Edward        Chan        US   bnIntrea             USD     7450.04      259   15        244
                                                                                  FOR-14535516 March      3/24/2014    complete   heesun     IOC        US    Edward        Chan        US   .Inf.                 USD   HGIFT2          0        0          0
                                                                                  5- 14031347 March       3/24/2014    tonda.     JEON       5ONOON     SG    /EON          DOHOON      SG   brainy.               USD    54.04        259   10        249
                                                                                  5. 14031347 March       3/24/2.014   candee     /EON       15.505 i   SG    IEON          COHOON      SG   brainy.               USO   .FT2            0        D
                                                                                  514031348 Mardi         3 05/2014    complete   Tae        CHO        AU    Tae           0110        AU   brain..               USD    NPAN004      259   10        249
                                                                                  74.14031348 March       3/25/2014    complete   Tee        CHO        AU    Tue           040         AU   bratnette             USD    .F72           0        0          0
                                                                                  7414031349 Mardi        3 /24/7014   c.d.       MIdwel     Damiden    VS    Wheel         Demuhn      US   brainy.              USD     5ÁD-004      2.    10        490
                                                                                  M- 14011349     March   3/24/2014    oomph.     Michel     Damuhen    US    Mk..          Damiden     US   balmyee               USD    HGIFT2         0
                                                                                  5.14031350 March        3 /25/2014   complete   Gary       Zhou       US    Gang          Zhou        U5   brain..               USO    T50Á0.004    259   10         249
                                                                                  TW- 14031350 March      3/25/2014    complete   55+6       thou       US    Gang          Zhou        US   bulgur.               55D    HCH012         0        0
                                                                                  514031351    March      3/25/2014    compete    Shan       Tran       Cie   pl ow     a
                                                                                                                                                                            SARG        GB   pawal stendNd         U50    5Á0-0D4      259   1S        244
                                                                                  T14051351 March         3 /25/2014   Rompete    Khan       Tran       G8    ...Hi         Mang        OB   aye! standard         USD    .FT2           0                   0
                                                                                  5.14031352 March        3 /25/2014   complete   Haan       Nguyen     NO    Hon           NM..        NO   brainy.               USD    TWA..        250   10        490
                                                                                  14.14031352 Mardi
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                                                                                  74.14031354 March       3/25/2014    complete   MIdelle    CHEUNG     FR    Mich.         CHEUNG      FR   awal      standard    USD    MAD004       259    10        249
                                                                                  5.14031354 March        3/2S/2014 compete       Micah.     CHEUNG     FR    Michelle      01EUNG      FR   Pawel standard        U50    HGIR2          0        0
                                                                                  5.14031355 March        3/25/2014 complete      sdey       inn        US    aHS.y         Span        US             hupend      USO    T4Á0404      259        0     249
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                                                                                                                                                            AU    Sun          hung      AU    bombet               AUD    TVPAD-004     250       10
                                                                                  1W- 14031377 Mlarch       3/26/2014 complete       Sue/        Dung
                                                                                                                                                 ZNng                                          bralnua                     HGIFT2          0
                                                                                  TVP10031377 Much                                                                             Dung                                                                 0
                                                                                                            3/26/014 complete        SurY                   AU    Scary                  AU                         AUO
                                                                                  TVP70011163 March         3/26/2014 complete       Carla            o     GB    Carla        Coo       GB    propel scaMard       GBP    IWAD-004      259       10
                                                                                                                                     CAN         Coo        GB    Carla        Cao       GB    aYpal sundx0         GBP    BOlITO          0        0
                                                                                  IVP.70011063 Mardi        3/26/2014 complete
                                                                                                                                     .name       AINon      AU    China,.      Allcds    AU    bralmy.              USD    11A0-004      209       10
                                                                                  TVP.14031378 March        3/26/2014 complete
                                                                                  1W- 14031378 Marsh        3/26!2014    complete    Chinarah    Alimtt     AU    Chinarah     Alkdt     AU    halm.                USD    HG012           0        O
                                                                                  1W-14031379 Mar.          3/26/2014    compete     Peter       Tang       CA    Peter        lang      CA    bamra                CAO    TOPA0.004     259       15
                                                                                                                                                                                         CA    brainuae             CAO    HG.F1Z          0        0
                                                                                  11.14031379 Mardi         3/26/2014    compete     Peter       Tang       CA    Peter        lang
                                                                                                                                                            68                                 PYM1 scaMard                15PADO04      200       10
                                                                                  11.14031380 Mar.          3/20/2014    compete     Kam         Ng               Kam          Ng        GB                         GOP
                                                                                                                                     Kam                    GB    Kam          Ng        GB    aQM1 scaMard         GBP    .GIF02          0        0
                                                                                  TVP- 14031380 MMrdr       3/26/2014 compute                    Ng
                                                                                                                                                                                                                           71ÁD004                 10
                                                                                  TVP-14031381      Mar.    3/26/2014 compete        ping        wang       NZ    pug          wang      N2    b.iaven              VSD                  259
                                                                                                                                                                                               beamba                                               0
                                                                                  1114031381 March          3/26/2014 complete       ping        wane       NZ    pat          wang      NZ                         USO    H01FT2          0
                                                                                                                                     lohn        Chun       US    John         Chan      US    balQQ.               USD    TVPAD.004     259       10
                                                                                  7110031382 March          3 /26/2014 compete
                                                                                  75.14031382 March         3/26/2014 compete        John        Chan       US    ahn          Chan      US    banua                US0    HGIFT2          0        0
                                                                                  TW- 14031383      Mar.    3/27/2014 comdere        AmQQY       Chan       AU    Antony       Chen      AU    burro.               AUD    71ÁD004       259       10
                                                                                  TVP- 14031383     March    3/27/2014 compote       AM.(        Chen       AU    Antony       Chun      AU    bim..                AUD    HOIFT2          0        0
                                                                                  T1.14031384       Mx.     3/27/2014 complete       DimIM       Desodt     BE    DIm101       Desalt    BE    beten.               OSO    71AD-004      259       10
                                                                                  T1. 14031384 MAN                                   00000       Oesodt     BE    00001        Desalt    BE    beobet               USD    141172          0        0
                                                                                                             3/27/2014 complete
                                                                                  TW414031385 March         3/27/2014 compete        *AINm       dsson      SE    wiillam      dual      SE    MYMI suMxd           USO    TVPAD-034     259       15
                                                                                                                                     Woman       Lo         GB    Sau          to        GB    Mypal sandard        GBP    TWAD034       219       20
                                                                                  TVP- 14031386     March   3 /27/2014 compete
                                                                                                                                     Waimun      Lo         G8    Sau          to        GB    MYa1 stAnsard        GBP    HGIIT2          0        0
                                                                                  TW14031386 March          3/27/2014 compote
                                                                                  7W- 14031387      Mar.    3 /27/2014 corneal       Rs:         G5         NZ    RW           Gun       NZ    baintr.              USO    TOPA0.0Q4     259       10
                                                                                                                                                 Guo        NZ    Mal                          balntree                    010012                   0
                                                                                  1W-14011387       Mar.    3/27/2014 comp.e         R4                                        Gsso      NZ                         USD                    0
                                                                                  75.14031388 Mar.          3/27/2014 compute        lohn        Uu         US    lohn         Uu        US    balm.                USD    TOPAD-004     259       20
                                                                                  TVP14031388 Mx.            3/27/2014 complete      lohn        Liu        US    Ido          Uu        US    Maim.                OSO    HC4FT2          0        0
                                                                                  TOP/0031109 Mar.           3/27/2014 console.      ClQAW&      CNn        NZ    O     ,Wal   CNn       NZ    MYMI m   !ilord      USO    1VPA0-0   0   259       10
                                                                                                                                                                                                                                                    0
                                                                                  1W-14031384 March          3/27/2014 compute       ChnWA       CNn        NZ    ChsmWe       Uten      NZ    MYMI sundarB         USD    HGIF72          0
                                                                                                                                     leck        Cho        NZ    Jack         Owe       NZ    balntrw              AUD    TWAD-00x      259       10
                                                                                  1W-14031390 March          3/27/2010 complete
                                                                                  TW-14031390       Mar.     3/27/2014 compete       lack        Cho        NZ    1aá          Chu       NZ    /mint.               AUD    HGIFT2          0        0
                                                                                                                                                                                                                           IVPA0.004               15
                                                                                  TVP.70011164 Mardi         3/27/2014 compete       TAN         UN         US    TAN          UN        US    MYpa1    st.dxd      USD                  259
                                                                                                                                                                                                                                                    0
                                                                                  TW70011164 March           3/27/2014 compete       TAN         UN         US    TAN          UN        US    aYMI standard        050    BOlIT2          0
                                                                                                                                                                                IN             MYMI standard               71ÁD-004                20
                                                                                  7VP.14031391      Mar.     3/27/2014 compete       John        lam        NL    Jim                    NL                         EUR                  259
                                                                                                                                                 Nm         Nl                 ON              aYMI staMArd                HG1012          0        0
                                                                                  15P.14031391 Menh          3/27/2014 compete       John                         Jim                    NL                         CUR
                                                                                  PA,14031392 Much                                   Fixa        Tran       GB    Fide         Teen      GB    balntra              VSO    QWAD004       259       10
                                                                                                             3/28/2014 complete
                                                                                                                                                 Tran             Flora        Tran            ',minuet                    00072                    0
                                                                                  11.14031392 Afar.          3/28/2014 complete      Flora                  GB                           GB                         USO                    0
                                                                                  1-
                                                                                  1W-14031393
                                                                                     14031393       Mx.      3/28/2014 compete       Hm          Wong       US    Hin          Wog       US    braintra             050    70400.004     250       10
                                                                                  71.14031393 Mar.          3/28/2014 compete        Bin         Wong       US    BM           Wag       US    bawa                 USO    141172          0        0
                                                                                              Mar.
                                                                                  TVP- 14031394             3/28/2014 complete       LEE         HUNGNO     OM    LEE          HUNGNO    OM    balntra              USO    15 PÁ0004     259       10
                                                                                  TVP14031394 Mar.          3/28/2014 compete        LEE         AUNGN0     OM    LEE          HUNGNO    OM    bamtree              USO    HGIFT2          0            0
                                                                                                                                                                                               ayal                        IWAD.004      259       10
                                                                                  1W- 14031395 March        3/28/2014    tonsil.     David       La         GB    David        Lm        00             sandard     USO
                                                                                  1W-14031395 March                                  DVid        LS         08    David        W         GB    MYP2I scandxd        U50    AGOT2           0        0
                                                                                                            3/28/2014 compete
                                                                                  TW-140313% March          3/28/2014 compete        OU          Lee        US    Chi          lee       U5    balntra              USD    TWAD-004      259       10
                                                                                  15P-14031396 March        3/28/2014 compete        O           Lee        US    CM           Lee       US    balntra              USD    HGIFT2          0        0
                                                                                                                                     HAU         CHEN       US    HSI0         CHEN      US    bahnet               USD    15PÁ0-004     250       30
                                                                                  TVP.14031397 Mann         3/28/1014 compete
                                                                                                                                                                               CHEN      US    bainvee              USA    10012           0        0
                                                                                  TVP.14031397 Mar.         3/28/2014 c.dote         151U        CHEN       US    11510
                                  #:20592




                                                                                  TW-14031399 March         1/28/2014 campen         Raymond     Chn        AU    Raymond      Chan      AU    MYM! auM ard         AUD     .4
                                                                                                                                                                                                                           7ÁD-004       259       10
                                                                                                                                                                                                                           A01152          0        0
                                                                                  11.14031399 Mar.          3/28/2014 complete       Raymond     Chan       AU    Raymond      Chan      AU    MYMI aandard         QUO
                                                                                  11.14031400 Mar.          3/28/2014 compete        Ake         Kwan       US    Al.          Kwan      US    ...wee               USD    TOPAD -004    259       10
                                                                                                                                                                                                                                                    0
                                                                                  Tá.14031400 March         3/28/2014 compete        Allee       Kwan       US    Al.          Kwan      US    baiUUB0              050    001112          0
                                                                                                                                                            Ni                                                             TVPAOWA                 10
                                                                                  1VP70011165 March         3 /28/2014 compute       Ruby        YEUNG            Rub/         YEUNG     NZ    MYM!scaMard          AVD                  250
                                                                                                                                                 YEUNG      NZ                 YEUNG     NZ    MYM!sundard          AUD    HGIET2          0            0
                                                                                  TW.70011165 Manh          3/28/2014 compete        Ruby                         Ruby
                                                                                  11.14031401       Mar.    3 /28/2014complete       omy         N          US    ammy          ha       US    MYM!scaMard          USD    í10O-004      259       15
                                                                                                                                                 ha         US                  N                                   050    HG072                        0
                                                                                  1W- 14031401 March        3/28/2014 compote        Amy                          mU                     US    Myml_standard                                   0
                                                                                                                                                                               xie             bralnua                     TWA0.004      259       10
                                                                                  1W- 14031402 Mar.         3/28/2014    complete    Jason       Ne         NZ    Jason                  N2                         USO
                                                                                                                                                                                                                           AG072               0        0
                                                                                  15.14031402 Mar.          3/28/2014    compete     Jason       Na         NZ    Hsx0         ale       NZ    Drohaa               050
                                                                                  114.14031403 Mar.         3 /28/2014   compute     Ying        L.         OB     Ong          U.       GB    banua                GBP    10900.004     259        10
                                                                                                                                                            68                                 bralnua                                     0            0
                                                                                  NP.14031403 Mar.          3/18/2014    compete     Yin,        Lee               Ying         Lee      GB                         GBP    1401012
                                                                                                                                                                                               braintra                    TWAD-004      259        10
                                                                                  1VP.14031404 Mar.         3 /28/2014   compute     TAI         GANG       US     TAI          MANG     US                         USO
                                                                                  TW-14031404  Mar.                                  TAT         OANG       US     TAI          DANG     US    bralnua              050    HGIFT2              0        0
                                                                                                            3/28/2014    compete
                                                                                                                                                                                               baimme                      71ÁP004       259       15
                                                                                  1W- 14031405 Mar.         3 /28/2014   compete     Xuging      ZNng       US    %aging       ZNng      US                         USO
                                                                                  75.14031405       March   3/18 /2010 complete      Xtging      /hang      US    Xugirg       ZNng      US    brainlree            050    041172              0        0
                                                                                                    March                            Fako        Te1ch             Falko       Teich           M19a1 sandend               7VPADO04      259        10
                                                                                  M.14031406                3 /29/2014   canOlete                           DE                           DE                         BUR
                                                                                  7W- 14031406 March                                 Fake        Town       DE     FaMO        Tech      DE    MYMI sandard         EUR    141172              0        0
                                                                                                            3/29/2014    complete
                                                                                  11.14031407 Mar.          3 /28/2014   compete     Hob         Chu        US     Holt        Gu        US    Watt..               OSO    TVPADO04      209        10
                                                                                                                                     Hic         ON         US     Hic         Chu       US    braAUoo              USO    00001               0        0
                                                                                  TVP14031407 March         3 /28/2014   complete
                                                                                                                                                            08                                 aBPal sNNUArd               TVPAD004      259        10
                                                                                  71. 14031408 Mar.         3/29/2014    compete     MR5         UM                MRS          UM       GB                         GBP
                                                                                                                                                                                                                                                        0
                                                                                  1VP-   14031408 March                              MRS         UM         GB     MRS          UM       GB    MYPal sandard        GBP    HGIFT1              0
                                                                                                            3/29/2014 compete
                                                                                                                                                                                               balnUZO                     TO   PADOUA   250        10
                                                                                  1W-14031409       Mar.    3/19/2010 compete        fawn        stephens   US     mine         hung     US                         USO
                                                                                  1VP.14031409 March        3/29/2014 compete        fawn        atephens   US     meng         borg     US    bamra                USA    HGIFT2              0        0
                                                                                                                                                                                                                           1VPA0-004     259
                                                                                  71.14031410 Mar.                                                                              laug
                                                                                                                                     B   AUlI    Leu ng     US    Sidney                 US    brAntr1              USD                             10
                                                                                                            3/29/2014    compete
                                                                                  154.14031410 March        3/29/2014    compete     Sidney      Leung      US    Sidney        Leung    US    bahnet               USD    HGIF72              0        0
                                                                                  150.14031411      Mar.    3/29/2014    complete    Mabel       Nash       AU    Mabal         Nash     AU    brainy.              USD    700Á0O04      259        10
                                                                                  15P.14031411      Mar.    3/29/2014    compete     Mabel       Nash       AU     Mabel        Nash     AU    Manua                USD    AGOFIO              0        0
                                                                                  IAN- 14031412     March                            Man         cNn        US     Man         dun       US    MANUee               USD    IWAO -004     259        10
                                                                                                            3/29/2014    compete
                                                                                                                                     Man         cMn               Man         than            tminU.                                          0        0
                                                                                  1W- 14031412      Mar.    3/29/2014    compete                            US                           US                         USD    0411T2
                                                                                   1V4.1Á031413 Mann         3/31/2014    compete    William      Barg       US    William      kort     US    ayml sandard         USD    7WA0O04        259       10
                                                                                   100.14031413 Mar.                                  WOIMm       liana      US    William      Gart     US    MAOZ! starderd       USD    1GIFT2              0        0
                                                                                                             3ß1/2014     complete
                                                                                   TW.14031414 MaMS          3/31/2014    compete     Arta        Ng         US    An.          Ng        AS   bralntre             USO    TVPAD-004      259       10
                                                                                  TOP.14031414      Mar.    3/31/2014    complete    Anca        Ng         US     Anita        Ng       US    brain!!.             USD    141172              0        0
                                                                                   109.14031415 Mar.        3ß1/2O14      tonpure     BA.,        OUBO      ID     BansaaNQ     Yusnlu
                                                                                                                                                                                Yusnlu
                                                                                                                                                                                         ID
                                                                                                                                                                                         ID
                                                                                                                                                                                               aypa! suMxd          U50    TOPAD -004
                                                                                                                                                                                                                           HGIf12
                                                                                                                                                                                                                                          150
                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                    Z0
                                                                                                                                                                                                                                                        0
                                                                                   T09.1Á031015 March       3/31/2014     compete     8101200    Yusnca     ID     Bamban8                     MYMI sundard         USO
                                                                                                                                                                                               B.Ya1 standard                                       10
                                                                                   TW14031417       Mar.    3ß1/2014 compute          Wo         Cent       PA     Wei          Ceng     PA                         USO    IOPUO-0Q4      250
                                                                                  1W- 14031417      MA.     3ß1/2014 compute          WOO        Cog        PA     WA           Cans     PA    ayal       sundxd    AIA    041172              0        0
                                                                                                                                      Andrew     Tan               Andrew       Tan      NL    braiBUet             010    75000-004      259       10
                                                                                  TOP-   14031419   Mar.    3ßU2014 complete                                NL
                                                                                                    Mar.                             Andrew      Tan        NL     Andrew       Tan      NL    !amino.              OSO    HOIFT2                       0
                                                                                   Tá.14051419              3151/20/4 compute
                                                                                   144.10031421     Mar.    3ß1/2014 eampxe           get        wort       US     get          wort     US    heIntree             USO    TWA..          110       10
                                                                                                                                                                                               Mahon.                      1401F12             0        0
                                                                                  TW- 140314Z2      Mar.    3/31/2014 compete         pt         wont       US     tit          wog      US                         USO
                                                                                                                                                                                               bamv.                        7WÁ0004       009       10
                                                                                   TVP.14031423     Mar.        3ß1/i014 compete      Yimme      U          US     Omine        U        US                         USO
                                                                                                                                                                                                                                                        0
                                                                                   TVP-14031423     Mar.    3151/1014 compute         YmAB       LI         US     Ylming       U        US    bakesee              USO    041172              0
                                                                                                                                                                                               bayQree                                              10
                                                                                   709- 70011166    Mar.    3ß1/2O14 compete          Baulee     Poon       NZ     Beatrix      Poon     NZ                         USO    TOPAS-004      259
                                                                                                                                      BeaUke     Poon              Beatnx       peon           balntra                                                  0
                                                                                   TVP.70011166 Much        3/31/2014 comet.                                NZ                           NO                         USO    1141172             0
                                                                                                                                                                                                                           7WÁ0.004
                                                                                  11.70011167 Mar.                                                          US     Rene         HUM      US    belmtree             USD                   259       10
                                                                                                            3/31/2014 compete         Cheap      Tung
                                                                                  71.70011167 Mar.          3ß1/Z014 complete         CheonB      Tsang      US    tan          Hong     US    brainy.              USD    MGIF12              0        0
                                                                                  1W-14031424 Mar.           3ß1/2O14 compote         Geoffrey   Lee        AU     Geoffrey     Lee      AU    bra..                USO    TVPADOM        259       ZU
                                                                                   1V014031424Mar.           3/31/2014 compete        Godfrey    Lee        AU     Geoffrey     La       AU    bran.                USD    1400072             0        0
                                                                                   11.14031425Mar.                                    lea,       Sonya      CA     Lee.         Sonya    CA    MYM! scaMard         USO    TWAD-004       259       20
                                                                                                             3ß1I2014 compete
                                                                                                                                                                                                                                                        0
                                                                                                                                      La,                   CA                           CA    PY.        sandard   USD    AMPIO               0
                                                                                   7W- 14031425 March
                                                                                  T-
                                                                                   W 1x031426       March
                                                                                                             3/31/2014 compete
                                                                                                            3ß1/Y014 complete         Sam
                                                                                                                                                 Sonya
                                                                                                                                                 Wag         US
                                                                                                                                                                   Lee,
                                                                                                                                                                   Sam
                                                                                                                                                                                Soya
                                                                                                                                                                                Wong     US    bu lnU   .           USD    TIRAD -004
                                                                                                                                                                                                                           H6172
                                                                                                                                                                                                                                          259
                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                    20
                                                                                                                                                                                                                                                        0
                                                                                  TVp. 12031426     March                             Sam        Werg        US    Sam          Wong     US    bainUea              U50
                                                                                  7.10031417
                                                                                   00        Mar.
                                                                                                            3/31/2010 eCenple.
                                                                                                            3/31/2014 comp
                                                                                                                       complete       Sam        Wo ng       US    Sam          Wong     US    Ma.                  USO    TWADO04        259       10
                                                                                   7114031427       March    3/31/2014 complete       Sm          Wog        US    Sam          Wag       US    brans.               USO    HGIFT2             0        0
                                                                                   TW-14031428 Mar.          3ß1/2O14 compete         Traver      Wog        NZ    Troves       V/org     NZ    brain.               USO    TOPA0-004     259           10
                                                                                                                                      Trevor                       Tresor       Wong      NZ    brantree             USO    041172             0        0
                                                                                   15P.1.31418 Mar.          3ß1/2010 complete                    Wog        NZ
                                                                                                                                                                                                                                                        10
                                                                                   15P-14031429 Mar.         3/31/2014 compete        MaMng       Song       AU    Melyug       Sag       AU    p0yM!standard        USO    TVPADO04      259
                                                                                                                                                                                                                                                        0
                                                                                   1VP-14031419 Mar.         3/31/2014 complete       McMrg       Song       AO    Malye,       Song      AU    MYM!standard         USO    HGIFT2             0
                                                                                                                                      Nathan      01W              Nathan       Dam             aypal sunder0        050    7VPAD-004     259       10
                                                                                   15P14031430  Mar.         3/31/2014 complete                              AU                           AU
                                                                                                                                                                                                                                                        0
                                                                                   7VP.1AO31430     MIAr.                             Nathan      Dam        AU    Nathan                 AU    MYaL scaMard         USA    HO072              0
                                                                                                             3ß1/20l4 compete                                                   BOON
                                                                                   75.14031431      Mar.     3ß1/Y014 couple.         Ka          NO         US    Ka           Ng        US    brainy.              USO    TVP4D-004     259           15
                                                                                   7VP.14031431     Aar.     3/31/2014 cond.          Ka          Ng         US    Ka           NB        US    baintr.              USD    HGIFT2             0        0
                                                                                   1W- 14031432                                                                                                                             TYPAD-004     259           10
                                                                                                    Mar.     3ß1/Z014 compete         Kwok        CNn!       US    Kwok         Chang     US    brains oo            USO
                                                                                   TW- 10031432 March           3/31/2014 compete     KwoIt       Chang      US    Kwok         Owns      US    brain.               000    16I0T2             0        0
                                                                                   1W-14031433 Mar.              0/1/2014 complete    Hip         Fig        GB    Hip          fo rt     GB    betrar.              GBP    TYPAD004      259           10
                                                                                                                                                                                tong            bralmree                    100002                      0
                                                                                   1W- 14031433 Mar.             4/1/1014 tpnplete    Hp          Fong       GB    Hip                    GB                         GBP                       0
                                                                                                    Mar.         4                                LIM        GB                 UM        GB    bWmua                USO    TVA0004       259           SO
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                                                                                  Tw- 14031453 Awl            4/1/2014    complete    Due           TAnh          SE     Duc         TOM           SE     Braintree             USD    ,PAD -004                             249
                                                                                  TVP14031453 A pr)           4/1/2014    complete    Duc           Trish         SE     Due         TOM           SE     Braintree             USO    1101172           25:
                                                                                                                                                                                                                                                          0        0           0
                                                                                  WP.14031454 Aprl            4/1/2014    complete    Steg          Yeoh          AU     Sung        Yeah          AV     paypal itandacd       USO    TVPAO- AC4104    29.99      0        29.99
                                                                                  TVP70011169 ApA             4/1/2010    complete    10408E1       IHANG         FR     0140B0      DUNG          FR     Braintree             USD    TVPAO.004          250      10        490
                                                                                  NO.14041010 Apri            4/1/2014    complete    On            Du            AU     On          Du            AU     p.YPestandard         USD    TVPAO004          259       10        249
                                                                                  TW. 14041000 ApA            4/1/2014 complete       On            Du            AU     On          Du            AU     pope!standard         USD    14GIF12             0       0
                                                                                  1vO.1A041011 Awl            4/1/2014 complete       sp.           then          IE     spio        than          IE     Braintree             EUR    14ßO.004          250       10        4.
                                                                                  TW.14041011 Awl                                                   than          O                  Man                  brainuee                     HWFTI               0                   0
                                                                                                              0/1/2014 complete       spka                               SP.                       IE                           OUR                                0
                                                                                  TVP1A001012 Aprl            4/2 /2014   complete    SI.mPo        Poo           MP     SumPo       Poon          MP     Breimet               VSO    74ßD-004          259       10        2.
                                                                                  TO- 14041012 Apri           4/2/2014    complete     SurnPo       Pooh          MP     SumPo       Poon          MP     Braintree             VSO    HGIF12              0       0           0
                                                                                  NP- 14041013 Aprl           4/2/1014    complete    AN            BANG          GB     ON          BANG          GB     Braintree             GBP    TVPA0-004         259       10        249
                                                                                  TW14041013 Api               4/2/2014   complete    AH            BANG           G8    IN          BANG          GB     Braintree             GBP    OGIFT2              0       0            0
                                                                                  TVP14041014 ApA              4/1/2014   complete    Cyril.        Moron,         US    Cyrille     Morello       US     Braintree             USO    NPAO.004          250       10        740
                                                                                  NP14041014 ApA              0/2/2014    complete    Cy.ile        Morel).        US    C.Ila       Morelle       US     bramuee               USO    HG022               0       0
                                                                                  TW- 14041015 ApA            4/2/2014    COMMte      Hullel        Liu            US    Hulid       Liu           US     00000..               V50    TOAD- 004         259       30        249
                                                                                  TW- 14041015 Apf            4/2/1014    complete    Hdlel         Uu             US    Hulld       Ute           US     MalnM       O         USO    HG1FT2              0       0            0
                                                                                  T.
                                                                                  O 14041016       April      4/2/2014    complete    SHIM          CHIU           US    SHIN        ORU           US     balms.                USO    1WAD-004          259       20        239
                                                                                  TVP-14041016 April          4/2/2014    complete    SHIN          C19U          US     SHIM        OW            US     Braintree             USO    HGIFT2              0       0
                                                                                  TVP14U41018 Apo             4/2/2014    canplete    Chen          Qwch           NO    Clan        Ouech         NO     bralnbee              USD    TOA0-004          259       10        249
                                                                                  W1,14041018  April          4/2/2014    complete    Chen          Qwch          NO     pen         Qwch          NO         U   O             USO
                                                                                                                                                                                                                                U      1410012             0       0            0
                                                                                  TVP-   14041019 April       4/2 /2014 complete      Cherlone      Ives          GB     Cherlone    Nos           G8     Minnaee               GOP    TAPAD -004        209       10        249
                                                                                   TVp- IA041019 Apra         4/2/2014    complete    Charlotte     Ives          GB     Marlette    foes          GB     bra..                 GOP    HGIFT2              0       0
                                                                                   TVP14001020 ApA            4/2/2014    complete    Jennifer  r
                                                                                                                                                    Wort'         US     Jennifer    Wo            US     Braintree             USA    TVPAO.004         259       10        249
                                                                                  1W- 14041020 Aprl           4/2/2014    complete    leayler       Wong          US     Jennifer                  US     ó,.U000               USO    HGIFT2              0       0            0
                                                                                                                                                                                     Wong
                                                                                  M   14041021 Apri           4/2 /2014   complete     k Wn *,      Woy            US    Jennifer    Weng          US     Braintree             U50    IVPAD-004         259       10         249
                                                                                  71.14041021 AMI             4/1[2014    complete    Jennifer      Wong          VS     Jennifer    Wong          VS     Malcom                USD    HG1FT2              0        0           0
                                                                                  1W- 14041022 Apri           412/2014 complete       WA            pang          PA     Wei         C.            PA     paypalmmtad           USD    TOAD-004          259       30         229
                                                                                  1W- 14041022     A.         4/2/2014    complete    Wel           Ceng          PA     WA          Ce,           PA     P.yoo surderd         USO    HGIFT2              0        0
                                                                                  7434041024 Apri             4/2/2014    complete    Sunny         Chan          US     Sunny       Can           US     breilwe*              USD    74ßD004           259       20         239
                                                                                  TVP.14U41024     Apri       4/2/2014    complete    Sunny         Chan          US     Sunny       .en           US     Brelrl0ee             USO    HGIFT2              0       0            0
                                                                                  74.14001023 Ape             4/2/2014    complete    Dell          Dal           US     Yech        Dal           US     Braintree             USO    TAPAO004          259       15         244
                                                                                  1W-14041023 AMI             4/2/2014    complete    1.1           DU            US     Yadi        Dal           US     Malnvee               USD    HGIFT2              0       0            0
                                                                                  1414041025 AMI              4/2/2014    comelete    Robert        Tang          AU     Robert      long          AU     paypel HaM.rd         USO    1VPADO04          250       10        490
                                                                                  IW- 14001025 Apri           4/2/2014    complete    Robe0         Tang          AU     Robert      lang          AU     paygl standard        USO    HG1E12              0       0
                                                                                  TO- 14041026 AMI            4/2/2014    complete    10001         LEE           US     LOON        LEE           US     Braintree             USO    71ßO004           259       10        249
                                                                                  PN14041026 Apl              4/2/2014    complete    JOON          LEE           US     1000        LEE           US     breineree             USD    HGIFT2              0       0            0
                                                                                  W
                                                                                  T14041027  Aprl             4/2/2014    complete    Jahn          Franklin      AU     Jon         he.                  Braintree             USD    TWA..
                                                                                                                                                                                                                                       TWA               259       10         249
                                                                                  1VP14041027      APO        4/2/2014    complete    John          Funk fin       AU    l0M         FronkAn       AU     Braintree             USD    001012               0       0
                                                                                  TAP- 14001018 Aura          4/2/2014    corngete    H ud          Hsu            AU    Huel        kw
                                                                                                                                                                                     H             AU     palm suUdard          AUD    TOPAD-004         219       10         249
                                                                                  NPI40410113 Aprl            4/2/2014    complete    HIHI          Hsu            AU    HWI         Hsu           AU     pa0Wl standard        AUD    IW1E72               0       0
                                                                                  1W- 14041029 Apri           4/2/2014    complete    Kelvin        Kong           NZ    Kelvin      Kong          NZ     palpel standard       USD    TOAD-004          259       20         239
                                                                                  T1. 14041029     Apra       4/2/2014    complete    KeMn          Kong           NZ    Kelvin      Kong          NZ     paypal sundard        USD    HG1012               0       0           0
                                                                                  TAP- 14041031 Aprl          4/2/2014    complete    Ztol          mum           AV     Zur:        Inun          AV     POPPO       sundard   USO    T4ß1-004          259       10         249
                                                                                                                                                                  AU     24                                                            HG0T2                0       0
                                                                                  1VP. 10041031 APO           4/2/2014    complete    Ztai          Mon                              mean          AU     pay.! sandard         USD
                                                                                  TW- 70011170 ApA            4/3/2014    complete    Rey           Shen           NZ    Ray         Shan          N2     balntree              USD    TAPAD -004        259       10         249
                                  #:20593




                                                                                  TO.70011100 Apri            4ß/2014 complete        Ray           Shan           NZ    Ray         Shan          NZ     Brain..               USD    1401002              0       0
                                                                                   4.
                                                                                  714041032        Aprl       4/3 /2014 compl ete     George        Yu            AU     Geoge       Yu            AV     paypal standard       USO    TOAD-004          259       15         244
                                                                                  TW14041032 Apri             0/3/2014 complete                                                                                                                             0
                                                                                                                                      George        Yu             AU    George      Yu            AU     pays!sundard          USD    HGIFT2                       0
                                                                                  TVIs14041033 Apt            4/3/2014 complete       b2Iyoy        de            US     balyong     ere           US     Braintree             USD    TVPADAC-004      29.99       0       29.99
                                                                                  TUP70011171 April           4ß          complete
                                                                                                                            mplete    ZHIYU         YU             US    211IYU      YU             US    braAtree               USD    1VPAD-004         259      10         249
                                                                                  TOP-   70011171 Apr:        0/3/2014 complete       2HIYU         YU             US    ZHIYU       VU             US    Bra..                  USD   1.1UFT2              0       0
                                                                                  0w- 140,41034    A.         4n/2014 complete        John          Pear.          US    John        Pagano         US    2VPa!sundard           USD   TOAD-004           259      20         239
                                                                                  700.14041014     Apri       4/3/2014 complete       lohn          Pero.          US    loll        Perauo         US    Paypal      wndard     USO   HGIFT2               O       o           0
                                                                                  P4,14041016 Apri            4ß/i014 complete        LAl           YEUNG          G8    W           YEUNG         GB     paypal sundard         GBP   WPAIO04            250      10         490
                                                                                  1w- 14041036 Aprl           0 /0/2014 emplet.       lAl           YEUNG          GB    fA1         YEUNG         GB     paypal_sandard         GBP   HOFF?                0       0              0
                                                                                  100.70011172 Apt            dß /2014 co
                                                                                                                        complete      B0            U              NZ    BO          U              NZ    Malnvae                USO   TOAD-004           259      10         249
                                                                                  TW- 70011172     Apr1       4/3/2014 complete       80            U              NO    00          Ls             N2    braanvee               USD   HGI172               0       0
                                                                                  TW- 14041039                4/3/2014 complete       Woo.
                                                                                                                                      Woo,.         Lee            SG    Wollig.     Let           SG     Braintree              USD    TVPAD -004        259      10         249
                                                                                  0P14041039 Apri             4ß/2014 complete        WDOng.        Lee            SG    W.M.        L..           5G     baimlee                USD   HGIFTZ               0       0
                                                                                  TW14U41040 ApA              4/3/2014    complete    Alen          TANG           G8    AAn         TANG          GO     peypel su ndard        GBP   TAO-0UA
                                                                                                                                                                                                                                        W                 259      20         239
                                                                                  1VP14001040 ApA             4/3/2014    complete    Alen          TANG           08    Alan        TANG          GB     payp.l suMerd          GOP   001072               0       0
                                                                                  WP. 1A041041 AMI            4/4/2014    complete    Koh           Un             OB    Koh         Un            GB     Braintree              USD   NPAOAC-004       29.99       0       19.99
                                                                                  T4.140410Á2 Apri            4/4/2014     compete    UmgCong       U              AU    O1ngCOng     LI
                                                                                                                                                                                                    AU    paypa! suMard          USD    WOAD-004          259      10         249
                                                                                  T4.14041042 Aprl            4/4/2014    complete    0V     Cong   U              AU    UNyCO,       U             AU    paypel sunderd         USD    HGIFT2                 0        0
                                                                                  1W- 1A041043 Apri                                                                                   Um                                                                  259
                                                                                                              4/4/2014    complete    Chun-0n       Lam            AU    Chun-On                    AU    IU0MI standard         AUD    1OAD-000                   10         249
                                                                                  TVP14041043 Awl             4/4/2014    complete    Chun-On       Um             AU    QluVOn       Um            AU    Pd/Pal sandard         AUD    011012                 0        0          0
                                                                                  1VP.70001170 Aprl           4/4/2014    complete    YirgCheh      II             FR    pngOJeh     Ja
                                                                                                                                                                                                    FR    Braintree              OUR    NPAD-004          259      10         249
                                                                                  iw. 70011173     Aprl       4/4/2014    complete    YI,CNeh       11             FR    Yin80.4eh   11             FR    bfelmree               EUR    HMFT2                  0        0          0
                                                                                  1W- 14041OÁ4 ApA            4/7/2014    complete    Mn            Hague          GB    Mn           Hague         GB    peypal Handard         GAP    IWAD-0OA          259      10         249
                                                                                  TVP.1AO41044 Awl            4/7/2014    complete    Mn            Hague          GB    Mn           Hague         GS    gygl        Handled    GOP    0111012                0        0
                                                                                  TV114041020 ApA             4/4/2014    complete    Frankle       lhel           SE    Frankie     Thai           SE
                                                                                                                                                                                                          Braintree              USD    TAPAD-004         259      10         249
                                                                                  Tw14041046       APO        4/4/2014    complete    Franke        1.             SE    Franke      Thal           SE    balmr.e                USO    HG1FT2                 0        0
                                                                                  TO-14041047      APO        4/4/2014    complete    Paul          scMng          US    Paul                       US    Braintree              USD    TOAD-094          219      10         249
                                                                                                                                                                                     s.chang
                                                                                  71.14041047 AMI             4/4/2014    complete    Peal          seheng         US    Paul        locheng        US    bralntree              USO    HGIFT2              0           0          0
                                                                                  71.14041003 Apl             4/4/2014    complete    J
                                                                                                                                          VNA   n   Hirn«          AU    D.P..        Hung          AU    O.opal      Pand.d     U50    TWAO-004          259      20         239
                                                                                  ND-14041048 ApA             4/4/2014    complete    lingJyn       U     oo       AU    ling.,.      Huang         AU    payp.l sUMard          USD    001102                 0        0          0
                                                                                  TVP- 10041009 ApA           4/4/2014    complete    OVA           Burns          GO    O.           Burns         0B    Braintree              GBP    TVPADO34          259      SS         241
                                                                                  1W- 14041049 ApA            4/4/2014     complete   ChB           Burns          GE1   Chris       Bums           GB    Braintree              GBP    01002                  0        0          0
                                                                                  M- 14031340      APO        4/4/2014    complete    hog           She0           OB    Ting        Shelf          G8    Braintree              GBP    TVPAD004          259      10         249
                                                                                  11.14031340      APO        4/4/2014    consolers   Virg          She0           18    Ting        Shelf          GB    Braintree              GBP    011FT2                 0        0
                                                                                  71.14041050      APO        4/4/2014    compere     GuengV.o      An             US    Gong."      An             US    Braintree              USO    TWA.,                      10         249
                                                                                  TW14041050       ADO        4/0/2014    complete    GangHao       lln            US    GuangWO     Nn             US    Brain0ee               USO    011012                 0        0          0
                                                                                  T1.140U1051 ApA             4/4/2014    epmpi.te    Tanll         IMV            CH    TAW         Zhen«          CH    balneree               USD    TVPAD004          259      10         249
                                                                                  TO. 14001051 Apl            4/4/2014    complete                                 CH    Tlanli                     CH    Braintree              USD    HGIF72                 0        0
                                                                                                                                      Tianjl        2Mng                             ZMng
                                                                                  TVP14041052      All        4/4/2014    complete    Hufente       Chem           AV    Succor      Chan           AU    Mairar..               AUD    7VPAD-004         259      10         249
                                                                                  TVP14041052      ApA        4/4/2014    complete    Susanna       Chan           AV    Susanna     Chan           AU    Braintree              AUD    HGIFT2                 0        0
                                                                                  71.14041053                             complete                                                                                                                -04     259
                                                                                                   ApO        4/4/2014                Joanne        Ng             CA    Joanne       Ng            CA    wvpalstandard          USD    TOPAD                      10         249
                                                                                  Tw- 14041053     Apra       4/4/2014    complete    femme         06             CA    Joanne       Ng            CA    gygl sundard           USO    011102                 0        0
                                                                                  Tw- Iß0,41054    ApA        4/4/2014    complete    Katy          Steam          CA    Kam -0p      Snore         CA    braln0ee               CAO    T1AD004           259      10         249
                                                                                  TAP- 14041054    ApA        4/4/2014    complete    Katy          Steam          CA    Kam -POV     Som           CA    MaPPee                 CAO    HG072                  O        0
                                                                                  700.14047055 ApA            4/4/2014    complete    Tan           hurt'          TH    Tan          wog           101   Montrose               USO    TVPAD-004         2S9      10         249
                                                                                  74.14041055 Apt         f   4 /4/2014   complete    Tan           hung           TH    Tan          hung          IH    balnuee                USO    OUtIT2                 0        0
                                                                                  NP14041056 April            4/4/2014    complete    John          Um             US    lohn         Um            US    balm...                USD    T00AD4J04         259      10         249
                                                                                  NP1AOd1056 Apil             4/4/2014    complete    lohn          Um             US    loll         Um            US    Braintree              USD    HGIFT2                 0        0          0
                                                                                  7W- 140ß1o57 AMU            4/4/2014    complete    Kin           Charm          US    Kin          [Mami         US    Wypa! standard         OW     TWAD -004         259      10         249
                                                                                  1W- 14041057 April          4/4/2014    complete    Kin           Chan           US    An           OV.m          US    Peyed standard         USD    011012                 0        0          0
                                                                                  100.14041058     Aural      4/4/2014    cormpl.te   OU-dVng       Mao            US    yt.Chng      oU.o          US    Perpa! sandard         U50    71ßD-004          259      10         249
                                                                                  TO.14041058      April      4/4/2014    complete    VlPAVng       c,0            VS    Yu-Ming      duo           US    gyp.) sUMard           Ill    01002                  0        0          0
                                                                                  74.70011174      April      4/4/2014    complete    wt.           ONG            AU    YUAN         PING          AU    Beintee                AUD    NPAD-004          159      10         249
                                                                                  70.70011174      Apll       4/4/2014    complete    WAN           PING           AU    VUAN         PING          AU    Braintree              AUD    14GIFT2                0        0          0
                                                                                  TVP10041059      April      4/4/2014    complete    Men           d.vid          RE    Man          davd          RE    Braintree              USD    NPAO004            259     10         249
                                                                                  1W- 14041059     AMIL       4/4/2014    compote     Man           davld          RE    than         davit         RE     bralnvee              USO    011012                 0        0
                                                                                  1W- 14041060     401I1      4/4/2014    complete    Richard       Ho             Al    Richard      Hui           Al     bralnuee              U50    TOAD-004           259     10         249
                                                                                  700.14041060     April      4/4/2014    complete    Rlcherd       HA             GO    Rldard       ]lei          G8     brntree               USO    HGIFT2                 0        0          0
                                                                                  7O.14047061      AOVO       4/4/2014    complete    LEE           Einmanuelle    FR    LEE          Emmarpelk     FR     bailee
                                                                                                                                                                                                              W                  EUR    NPAD004            259     10         249
                                                                                  0P14041061 April                                    LEE           Emmanuelk      FR    LEE          Emmanuelle    FR     brainyee              EUR    RUIFT2               0          0
                                                                                                              4/4/2014    complete
                                                                                  N1,14021062 April           4/4/2014    complete    Ibrahim       Jame           SG    ROM          Young         SG     brainy.               USO    TAPAD-004          219     20         239
                                                                                  TAP- 14001062 AprO          4/4/2014    complete    Ibrahim       Joanna         SG    Heidi        Yeung         1G     Braintree             USO    HGIFT2                 0        O
                                                                                  TW. 14041063 Apil           4/5/1014    complete    A.M.          Dog            AT    A.MUoi       Dueng         AT     paypa! sundald        USD    NPAO004            2S9     10         249
                                                                                  1VPI0041063 Apil            4/5/2014    complete    A.M.          Duong          AT    A-Mtol       Duong         AT     peypel suM.rd         USO    HGIFT2               0          0          0
                                                                                  TVP10041064 April           4/8/2014    complete    *Oka          lau            PE    Mica         Au            PE     baintae               USD    NPAD-004           259     10         249
                                                                                  TW- 14041064 April          4/8/2014    complete    *Aka          Au             PE    dike         Au            PE     Braintree             USD    001012                 0        0          0
                                                                                  0P10041060 April            4/7/2014    Fomplete    lernt'        Chung          SR    Jenny        Chung         SR     Braintree             USD    TVPAO-004          250     10         490
                                                                                   TVP14041066 April          4n/2014 complete        Jenny         Chung          SR    Jewry                      9i     Braintree             USD    051112                 0        0
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                                                                                  TW- 14041313 Aprl            4/222014 complete       Mu/s"                              Mujun
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                                                                                  702.14041313 Apti            4/22/2014 compete       Mryun                              Mujun
                                                                                                                                                                          ho                        GB     Braintree                       1W4O -004        259           10           249
                                                                                  TW 70011192 Apd              4222014 caop/ete        ho            Tang           G8                 Tang                                        GOP
                                                                                                                                                                                                    GB     b0Mtre9                 080     HGIFT2             0           0              0
                                                                                  PM- 70011192 Apr i           4/22/2014   complete    ho            Tang           G9    ho           Tang
                                                                                                                                                     Yu             GB                 Yu           GB     paypal standard         GOP     T    PAD-004     259           10           249
                                                                                  /W44043314 AP,       I       4/22/2014   compete     Mrs                                Halyig
                                                                                                                                       Mrs           Yu             08                 Yu           GB          Opa! standard      GBP     HGIFT2             0            0             0
                                                                                  T0214041314     Apd          4/22/2014   0022090                                        Haight{                          O
                                                                                                                                                                                                           bNntree                 USO     TVPAO-004        259           10           243
                                                                                  TW.14041300     API          4/22/2014   compete     Sun    You,    Lee           US    Sun          Lee          US
                                                                                                                                                                                                           Inmuee                                                          0             0
                                                                                  TW- 14041315    Apt          0/22/2014   caner..     SMTeeng        let           VS    Sun          Lae          US                             USO     í407F72            0
                                                                                                                                                     Seem           US                 Sues         US     brelnuee                USO     TWAD-004         250           10           490
                                                                                  1W- 14041316    Awl          4/22/2014   compete     Stephen                            Stephen
                                                                                  TOP- 14041316 Aprf           4/22/2014 compete       Ste..         Seem           US    Stephen      Sues         US     bam99                   USO     HGIFT2             0           0              0
                                                                                   12014041319 API                         temples     Ton            Uu            GB    Tong         Uu           GB     BMntrea                 900     TWAD-004         259           15           244
                                                                                                               4/22/2014
                                                                                                                                                      Uu                               Uu           GS     bra0tree                440     HGIFT2             0            0             0
                                                                                   7W-14041318 Apr l           4/22/2014   eanpete     Tong                         GB    Tong
                                                                                   7W-14041319 API             4/22/2014   template    Tao            Lote          DE    Y.           Lde          DE     Brennsee                EUR     í000.D-004       259           10           249
                                                                                  70244041319 Apr i            4/22/2014   compete     Yeo           take           DE    Y.           I4ke         DE     WMnvee                  OUR     HGIFT2             0            0             0
                                                                                  1W-14041320 Aprl             4/22/2014   complete    David          Chia          00    Davki        OUA          G8     brMnvee                 USO     NPAD-004         259           S0           249
                                                                                                                                                      Chu                              Chu                 b9imtree                                           0            O              0
                                                                                  TOP-14041320    Aprl         4/22/2014   comp..      David                        08    David                     GB                             USC     HGIFT2
                                                                                                                                       tae                          US    Joe          Clung        US     Braintree               USO     TWAO-004         259           10           249
                                                                                  TW-70011190 Apn              4/22/2014 comp
                                                                                                                         complete                     Cheng
                                                                                  TW70011193 Agri              4/22/2014 compete       109            Cheng         US    lee          Chang        US     Braintree               USO     00012              0            0             0
                                                                                                                                                                          Yolanda                   AU     b.MtOI                  USO     TWAD004          259           10           249
                                                                                  102.14041321    Al.          422/2014 complete       Udanda         Urg           AV                 Ung
                                                                                                                                                                                                                                           .0T2               0            0             0
                                                                                  1W- 14041321 Apr l           4/222014 coo4.te        Yolanda        Urg           AU    Yolanda      Ung          AU     braMtree                USO
                                                                                                                                                                                                           ón009                   AVE,    T2AD-004         259           10           249
                                                                                  T02- 14041323 Apr            4/22/2014 compete       009909         than          AU    01'4190      2hang        AU
                                                                                                                                                                                                    AU     Braintree               AUD     HGIFT2             0                          0
                                                                                  1W-14041323 AV l
                                                                                                                                                                                                                                                                           O
                                                                                                               4/22/2014 compete       Oingeing       Zhen          AU    01n41n       Zheng
                                                                                                                                                                                                    US     Braintree               USO     7WA0-004         259           SO           249
                                                                                  202.70011394 ApA             4/22/2014 conplate      Tornom{        hung          US    Tam,win      hung
                                                                                                                                                                    US                                     bal.Se                  USO     0WFT2              0            0             0
                                                                                  002.70011194 Apl             4/202014 compete        Tae,wln        hung                Tonwie.      hung         US
                                                                                                                                                                    US                                     Braintree               USO     TWAD004          259           10           249
                                                                                  TW- 14041324 Apr             4/22 /2014 compete      Myung          Lae                 Myun         Lee          US
                                                                                                                                                                                                           Braintree               USO     744072             0            0             0
                                                                                  702.14041324 Apr             4/222014 compete        MYUng          La            US    'Awns        lee          US
                                                                                  TOP-70011195 Apt             4/22/2014 canplete      K:arlgxhO9     Wang          AU    /rangwhO9    Wang         AU     Braintree               USO     TVP40-004        259           10           249
                                                                                                                                                                                                                   *.
                                                                                                                                                                                                           Braintree                                          0            0             0
                                                                                  20270011195 API              4/22/2014 canoes        01/11,..9      Wang          AU    Oiangehong   We,          AU                             USO     HG.F12
                                                                                                                                                                                                               n                   USO     TVPA0004         259           10           249
                                                                                  1W- 14041325 Am              4/22/2014 compete       Kenny          Tan           SG    Kenny        Tan          SG
                                                                                  T02.14041325 API                                     Kenny          Ten                 Kenny        Tan                 Braintree               USO     HGIF12             0            0             0
                                                                                                               422/20/4 complete                                    SG                              SG
                                                                                                                                                                                                    AU     Braintree               USO     TWA0.004         259           S0           249
                                                                                  7W í4041326   PIA            4/21/2014 complete      JAKE           LEE           AU    JAKE         LEE
                                                                                                                                       !AXE           LEE           AU    JAKE         LEE          AU     Braintree               USO     00022              0            0             0
                                                                                  202- 14041326 Ape l          4/22/2014 compote
                                                                                  T02. 14041327   API          423/2014 complete       Nickolas       T             AU    Ntekdas      T
                                                                                                                                                                                                    AU     brain.*                 AUD     7W40-004         259           10           249
                                                                                  7044041327 AP ri             4/23/2014 canp90.       Notdes         T             AU    IAAoAs       T            AU     Braintree               AUD     HGIFT2             0            0             0
                                                                                  7074041328 Apn               4/232014 con.te         HA-TNen        M.            NL    Hol-mio,      Man         NL     0Nla! staAard           USD     TTAO-004         209           20           239
                                                                                                                                       Nd -TNen       Man           NL    Hol.Thien     Man         Nt     paypal sta0Mar4         USD     HGIFT2             0            0             O
                                                                                  702.14041328 April           4/232014 complete
                                                                                  7014041329 Aprl                                                                                       Kw.                Braintree               USD     TWAO.004         259           19           249
                                                                                                               4/232014 c0npkt9        Allee          Kwok          US    AHCe                      U5
                                                                                  TOP- 14041329 Apri           4/23/2014 compete       Alice          KwOk          US    Alice         Kwok        US     Vein..                  USD     HGIFT2             0            0             0
                                                                                                                                                      LY            CH                              CH         brainyee            USD     TWAD-004         209           10           249
                                                                                  TW- 14041330 Apt             4/23/2014 compete       Kh11WY                             KhMty         LY
                                                                                  TW14041330      A.           4/23/2014 cempAO        KhsitY         LY            CH    Xherty        LT          04     VA..                    USD     HGIFT2             0            0             0
                                                                                                                                                      hwa ng        US    surge.       cho          US     Val..                   USD     TOPAD-004        259           10           249
                                  #:20597




                                                                                  1W-14041331 Aprl             423 /2014 comp
                                                                                                                         complete      you
                                                                                                                                                                                                           bnainvee                USO     HGIFT2             2            0             0
                                                                                  1W-14041331 Apti             4/23/2024   tonplan     you            hwang         US    wngmin       Mo           US
                                                                                                                                                      FAN                              FAN          CA     Brntree
                                                                                                                                                                                                           Braintree               USD     TVPAO-0O4        259           10           249
                                                                                  TW-700111% Apd               4/23/2014
                                                                                                                  3/2014   complete    WEIZHONG                     CA    WEIZHONG
                                                                                                                                       WEIZHONG       FAN            CA   WEIZHONG      FAN         CA         Braintree           USO     04602              0                0         0
                                                                                  TV- 70011196 AO              4/23/2014   compete
                                                                                                                                       lee                                'heron        0íC29                  bainua              GBP     TWAD004          259           20           239
                                                                                  202. 14041332 Aptl           4/23/2014   complete                   chop          GB                              GB
                                                                                  TW- 14041332 And             4/23/2014   complete    Ire            dar{          GB    'heron        Nag         GB         Braintree           GBP     HGIFT2             0            0             0
                                                                                                                                                      Wan                 Oulstine      Wan         US         paypal standard     VSO     TWAO-004         259           10           249
                                                                                  T0,14041333 API              4/23/2014   compete     Christina                    VS
                                                                                                                                       CMisOne        Wan           US    CBrIUI ne     Wen         US         paYPaL   Ttandard   USA     HGIFT2             0            0             0
                                                                                  T02.14041333 API             4/23/2014   complete
                                                                                  1W- 14041334 Aprl            423/2014 dosed          YentI%         Clou          VS    Y9nChang      Nu          US         brainvee            VSO     TWAD-004         259           10           249
                                                                                                                                                                                        Chu         US         BraOeee             USC     HGIFT2                 0            0         0
                                                                                  TW- 14041334 API             4/23/2014 dosed         Y9NCMng        Chu           US    YenChang
                                                                                                                                                      AM            AU                  AM          AU         peywl standard      USO     TWAD-004         ONO           10           249
                                                                                  202.14041337 API             423/2014 compete        Kenny                              Kenyy
                                                                                                                                       Kenrw          AM            AU    Kerry         AM          AU         Payw!standard       USD     HG1112                 0        0             0
                                                                                  202.14041337 Aprf            4/23/2014 compete
                                                                                  T-
                                                                                   W 14041338 API               4/23/2014 complete     5440E9         YE            US    SHAOEN        YE          US         Braintree           USO     NPAD-004         259           IS
                                                                                                                                                                                                                                                                            0
                                                                                                                                                                                                                                                                                       244
                                                                                                                                                                                                                                                                                          0
                                                                                  702.14041338 API             423/2014 compete        SHAOEN         YE            US    SHAOEN        YE          US         Braintree           USO     HGIFT2                 0
                                                                                                                                                                    AU    DAM                       AU         beam.               AUD         TWADC04       259          15            244
                                                                                  TV- 14041339 Api             4/23/2014   complete    ULLA           thong                             21ang
                                                                                                                                       Oilln                        AU    Olim          Zhong       AU         BraIneee            AUD         HGIFT2             0            0             0
                                                                                  202. 14041339 API            4/232014    compete                    0h0ng
                                                                                                                                                                    92    Ryan          lang        402        A4404.              USO         TWAO.004      259          10           249
                                                                                  702.16041340 Apri            ¿/23/2014   complete    Ryan           lang
                                                                                                                                                                                                                                                                  0            0             0
                                                                                   20214041340 API             4/23/2014   compete     Ryan           lug           NZ    Ryan          /ang         402       bralntree           USO         HGIFT2
                                                                                                                                                      Chen          AU                  Chen        AU                             USO         TVPA0004      259          SO            249
                                                                                  202.14041341 Aprl            4/24/2014   compote     Uly                                LILO                                 040041_4049404
                                                                                  TOP- 14041341    API         4/24/2014   c4Tplete    Alo            Chen          AU    Lily          Chen        AU         p.90al standard     USO         061912             0            0             O
                                                                                                                                                                                                                                   UNO         TWAO.004      259          10            249
                                                                                   W0.14041343 Agri            4/24/2014   campete     Yee            Ling          US    Andy          Law         US         plo.1_standard
                                                                                                                                                                                        Law         US                standöd      USO         009012          0               0             0
                                                                                   202- 14041343 API           4242014 tempere         Yee            Ling          US    Andy                                 Peyp41
                                                                                   7.P041344
                                                                                     -í6           API         4/24/2014 <om0          Raymo
                                                                                                                                       Raymond        Wang          US    Raymond       Wang         US        brain.               USD        TWAO-004      259           10           249
                                                                                                                                                                                                               brelmr.              USD        140F12             0            0          0
                                                                                   1W-14041344 Apr i           4/24/2014 canoes        Raymond        Warp          US    Raymond       Wang         US
                                                                                   TW14041345 Aprl             4/24/2014 complete      ROY            CHAN          GB    ROY           O            GB        b,4   0.e            GBP        TWAD-004      259          20            239
                                                                                                                                                      CHAN          GB    ROY           CHAN         GB        Braintree            UIT        ANLFT2             0            0             0
                                                                                   702.14041345 API            424/2014 compete        ROY
                                                                                   TW- 14041347 Awl            4/2S/2014 complete      Christina      then          US    Kate             Lee       US        Braintree            USO        TVA..         259           SO           249
                                                                                                                         complete      Christina      Chen          US    0209             Lee       US        Br10094              USO        TWAD004            0            0             0
                                                                                   202.14041347 Aptl           4/25/2014
                                                                                   TW-70011197 Apl             4/24/2014   canpcte     00E90          LOU           AU    OIFENG           WO        AU        brain.               USD        TWAD-004      259           10           249
                                                                                                                                                      WO            AU    OlEENG           LOO       AU        brains TT            UNO        HGIFT2          0               0             0
                                                                                   20270011197 Apr i           4/24/2014   complete    01FENG
                                                                                                                                       &I                                 &I                                   brelnOee             USD        TWAO -004     259           10           249
                                                                                    W
                                                                                   T1A041348   A PI            4/24/2014   complete                   Du            NO                     Co        NZ
                                                                                   TW14041041 API              4/24/2014   complete    &i                 Du        NO    &I               Du        NO        brain.               USD        Ham             0               0             0
                                                                                                                                                          ME        AU    YELU                       AU        breint               USD        TWAD-004      259           10           249
                                                                                   2Wí4041349 Apr              4/24/2014   complete    VELU                                                101
                                                                                   TOP- 14041349 API           4/242014    cemoLete    YELU               KII       AU    YELU             NE        AU        bollo.               USD        00072              0            0              0
                                                                                                                                                                                                               bralnOee             GEM        TWA0-004      259           10           249
                                                                                   TVP- 14041350 Apr           4/252014 complete       Wagner             Law       GB    Wagner           Law       GB
                                                                                   7W- 14041300 Aprl           4/25/2014 can0909       W41040             Law       GB    Wagner           Law       G8        brainy.              GBP        HGIFT2             0            0              0
                                                                                                                                       DA0G               Tan       GB     WAd             Tam       08        0ain2ee              GBP        TYPA0-004     259           10           249
                                                                                   702.14041351 API            4252014 complete
                                                                                                                                                                                                               Braintree
                                                                                   TOO.   14041353 AP,         4/25/2014   can*.       WvW                Tom       GB    David            Tam       GB                             GOP        HG1002             0            0              0
                                                                                   TW.70011198 Apd             4/25/2014 compete       Mn                 R          7W    *it             X         TW        00.100,99            USO        1WAD004       250
                                                                                                                                                                                                                                                                  0
                                                                                                                                                                                                                                                                           10
                                                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                                                        990
                                                                                                                                                                                                                                                                                              0
                                                                                   TV-70011190 Aprl                                    Mg                           Tw                     ji        iW        Braintree            USD        X07072
                                                                                                               4/25/2014 compete                          %                33 x9
                                                                                                                                                                                                               brelouo              USD        TWAO.004      259           IO           249
                                                                                   1W- 14041352    Apt
                                                                                                   A           4/25/2014 compete       Long               2hang     OK    Lo    ng         Zinn      OK
                                                                                   70214041352     Apd         4025/2014    compete    1.4                Zinn       DK    long            Zinn      DK        brsinoee             USD        HGIFT2             0            0              0
                                                                                                                                                          GUO        NL                    GUO       NL        00/10014             EUR        TWAD-004      259           10           249
                                                                                   TW70011199      Apr         4/252014     compete    T                                   T
                                                                                   TV-70011199     Apd         4/20/2014   420n0ete    T                  GUO        NL    T               GUO       NL        Ventre<              EVR        HGIFT2             0            0              0
                                                                                                                                                                           &o                                                                                250           10           490
                                                                                   202.14041353    Ali         4/25/2014   compete     &C                 Lei        US                    Lei       US        Braintree            US0        TWAO-004
                                                                                   T0244041353     Aprl        4/25/1014    compee     &o                 Le         US    &o              Lel       US        Vainest              USD        HGIFT2             0            0              0
                                                                                   202.14041354 Apl                         compete                       Shirley          Chen&           Slwley    US        Brai000              USD        TVPAD-004     259           IS           244
                                                                                                               4/25/2014               Clan,                         US
                                                                                                                                                                                                                                                                  0            0              0
                                                                                   TVP- 14041354 Apt       l   4/25/2014   compete     Cheng.             Shirley    US    Cheng.          Duda,     US        brelo0ee             USD        H0í021
                                                                                                                                                                                                                                               TWAO-004      259           10'          249
                                                                                     I41355
                                                                                   TW40            API         4/25/2014     o
                                                                                                                            compete    Gillian            Ten        MY    Gillian         Tan       MY        Braintree            USO
                                                                                                                           compete     UIillan            Tan        MY    Gllllen         Tan       MY        br.ntree             UND        HGIFT2             0            0              0
                                                                                   T02.14041355 API            4/20/2014
                                                                                   202.14041356 AMI            4/25/2014    coopAte    CN                 Ch.,       US    Chl             Cheun     US        Valnvee              VS O       TWAD-004      259           10           249
                                                                                                                                                                           0,1                                 Braintree            U50        HGIFT2             0            0              0
                                                                                   TVP14C41356 Awl             4/23/2014    complete   Chi                among      US                    Ooleg     US
                                                                                                                                       Andrew                        AU    Andrew          Hi4       AU        p.ypa!OIOA40d        AUD        TLPAD-0OC     259           10            249
                                                                                   TW14041357 Apr              4/25/2014    compete                       0111
                                                                                   002.14041317 Awl            425/2014 compete        Andrew             Hill       AV    Andrew          1419      AU        payo.!standard       AUD        HG10T2             0            0              0
                                                                                                                                       KAI                GUO        AU    RAI             GUO       AU        Braintree            USD        TWAD-004      259           10            249
                                                                                   TM- 14041356 API            ¿/25/2014 «anpete
                                                                                                                                       KW                 GUO        AV    KA/             GUO       AU        Braintree            USD        HGIFT2             0            0              0
                                                                                   TVP4A041356 API             4/252014 complete
                                                                                                                                       Erle               Clan       AU    Eric            Chou      AU        ba0tree              USO        TWAD-004      259               10        249
                                                                                   TVp14041359 Apr              425/2014 compete
                                                                                                                                       Erle               Chu        AU    Eric            Chen      AU        bn1Vee               USO        14GIFT2            0            0              0
                                                                                   T02.14O41359 API            425/2014 compete
                                                                                                                                                                                           Chan      GB        Braintree            GBP        TOAD-004      259               15        244
                                                                                   102.14041360 API            4/26/2014 complete      WA                 Chen       GB    Wel
                                                                                                                                                          Chen       G8    Wei             Cain      GB        Braintree            GBP        HG1FT2             0            0              O
                                                                                   T0214041360 Aprl            4/26/2014 complete      WA
                                                                                                                                        Ukwcn             KIm        US    Lilo..           Krrrr    US        Braintree            USD        TWAOAC-003   29.99              0       29.99
                                                                                   TW14041361 Aprl              4/25/2014 cemp0te
                                                                                                                                                                                                               bra0Mree                        0WAD-004                        10        249
                                                                                   702-24041362 Apr             4/26/2014 complete      Decode            Wog        US    Brenda          Wag       US                             USO                      259
                                                                                                                                                                           Brenda                              breintree                                              O        0                 0
                                                                                   7W44041362 APL               4/262014 000949íe       Brenda            Wong       OS                    Wag       US                             USD        í401F72
                                                                                                                                       KM                 Cu         92    Kai             CA        NZ        Braintree            USO        0VPAD-004     259               10        249
                                                                                   100.14041363 Apr:            426/2014 4an0ete
                                                                                                                                                                                                               Braintree            USD        H0072                  0        0              0
                                                                                   70.14041363 Ap,              4/26/2014 tankte       KA                 Cal        NZ    KA              CA        NZ
                                                                                   TW- 14041364 April           4/26/2014 comp<te      VINEN              YUNG       CA    NVIEN           YUNG      CA        bnmtree              USD         TWAO.004     259               10        249
                                                                                                                                                          YUNG       CA    WIEN            YUNG      CA        Braintree            USD        4001002                0            0             0
                                                                                   TW- 14041364 AIM             4/16/2014 complete     VMEN
                                                                                                                                       2Ha0               0.00an     G8    2Hen            Tao0an    GB        0YPa!standard        GBP        TOPAD-004     259               10        249
                                                                                   0VP-14041365       Api       4/29/2014 compete
                                                                                   TW14041365 API               4/29/2014 ca0pete      ZHen               090Ha0     GB    Men             0.OHan    GB        Oawal standard       GRP        HGIFT2                 0            0             0
                                                                                                                                                                           MO                        US         44a00æ              UNO         TAPAD-004    259               10        249
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                                  #:20598


P8E10091-dAl 10011       0100/C0/9 0104000           000          on9            )3     000e110     a^Pun       )3     000e/1               OSO     000000Á1       650          0L

PSE00001dA1 I01V         .02/00/0      0.0.,         W)           0n9            03     uW)1110     un ,:ny     73     000u1w               Os0     MICH             0              0        "600

98EI00014A1 104tl        PI02/80/9     11a100n0      A104         014            S0     M01.        04          ,0     0001/0'5             050     000.000A1      000          OT


9E1D0010/1      IPdV     0000/00/0     a/0000        A,uOH        off            Sn     AnMI        0H          Sn     0001/5               000     2111911          0              0        "060

LBEt000i-4IAL 10d0       0I00/9Z/9     10010100      001^0        101            nI     ONnntl      049         0tl    OnuNw                ono     000-00101      600          OT           66L

GBE10041dAL     110d0    0/00/80/0     010pu10a      u!/00V       x19            00     P1ntl       N9          0V     01.w                 any     211.             0              0
                                                     0005         335            00     MS          335         00                          050     000-00001      650          OL           6EL
11e£40P/dAL     1100     p100/80/9     0115.01                                                                         60000035'04410
                                                                                                                                                                     0              0            0
88£0000t-00L    wdV      P100/80/b     ...Iwo,       eYVS         33S            AV     00Ví        33S         00     10A0p,ePOns          OSA     2UIOH
06£1000I4A1     I00tl    P100/80/10    00.4.         10100        u19            h      11110       009         NO     000000               050     P00.0041Ú      650          01

06E/o91-dAL     IOdtl    0100/02/1, 0/1000/          0100         u19            V)     01.3        049         V)     000011110            OSO     2131011           0             0         'VW

[6E[0C040AL     1110V    PI0Ú6U9 1/0000,             009          90,00          31     /0/Y        Wa          31     scot..               050     000-00001      600          OT            6DZ

[6E[00011A1     1040     0102/62/0 01.10.n1          0.9          900^1          31     000/        uoP         31     M0410'5              050     213/D0            0             0            0

                                                     000110       ,,1a01         ZN     1a11N0      ua*1        2N     00w1109              000     P00900AL       6S2          I             6DL
£6E[9C91-ML 10d0         010L/80/0 01510.00
E6£TtCDidA1 1!.V         91Ú8L9 alauna               1W41           Ino          25     .10.P.      tame        26     Ou/1                 OSO      013D             0             O0           0

06£I9001-41A1 1000       0100/00/0 //*10n,           0000.09      luoM           85     Mum,        900M        90     ae0055               480     W000dAt        652          01            602
                                                                                 89     nA00a19     700M        99     00,w0w               080     2UIOH             0          0               0
96£19O9T-dAl    111dtl   0000/00/9     010/000,      M00a09       000M
56£1900IdAl     10000    0102/00/0 01110w/,          '1019         0000008       30     7u09        ulf         30     9   *0010,           9A3     00Ctl00l       65Z          OT

56£1P0910A1     1100V    9102/80/I a/apw0a           'w09          00000/9       30     9u19        .f          30     0an.0,q              tlf13   ZU10H             0             0         '600
                                                                                 ZN                                    000.001              050     P00900101      652                        600
96E1404IdAl I1a0         9100/92/4 00001na           Puns         fun(                  lun5        1004        211                                                             OT

96E100D[0A1 11d0         9700/82/9     ///la         Suns
                                                     au040e01
                                                                  Roof
                                                                  004)
                                                                                 ZN     lon5
                                                                                        .W11W
                                                                                                    ,0(5
                                                                                                    ux0
                                                                                                                25     .0:00000
                                                                                                                       I0Á01500001s
                                                                                                                                            050
                                                                                                                                            000
                                                                                                                                                    01310H
                                                                                                                                                    P00,000A1      652
                                                                                                                                                                      0
                                                                                                                                                                                OL
                                                                                                                                                                                    0
                                                                                                                                                                                              6bL
                                                                                                                                                                                                 0

L6ETDOaT-0A1    10dV     9000/110/0/M000,                                        0V                             AV
26E1P01.I.4.1   IPdO     PiCUHi/ 0/000,              aw40eW       0043           A0     M1W1W       0xro        0V     N4.0á P+tw01+        050     0131DH            0          o               0
                                                     ds                                             M3110       0V                          OS0     000'000A1      650          01            600
86£00001dÚ 1000          0/02/8L/9 1.0000,                        M31H7          AV     dS                             0,..1.0-11164.1
86E1001(1.4LL I140       9000/7Z/P     01a.u.        dS           M31H)          00     el          M3110       n0     /e00P,epo01t         OSn     2UIDH             0             0            0

66E0D001d/LL IPdtl       0102/62/0 001/0.0a          50009        900M           07     0.0019      l.OM        07     1000000              OSA     000'0tldA1     600          OL            set
66EIDOPI41AL UbV         0100/62/9 ,/a/4.a,          Mwp          700M           VD     Auua71      A,OM        V)     0004N/1              050     2/00!0            0             O


                                                                                 90     n01                     89     100011011            090     000.O00Ú       652          OI            600
OODIDOb10A1 áV           O100/60/0 1/1140n0          0101         0006                              LimA
0001000[-41A1   PdV      0002/61/9     011/0.        ny,          M ua           80     n1          uaM         89     .000,                099     0101911           0             0


/0911041001 00           01rydu.0I0U60/r             N1p1019      M,.9           so     A1Wu119     A+18        SO     0w1q                 050     D00-0006I      650          OI            602
                                                                                                                       0iwl0/1              050                       0             0
[ODID00[0AL á0           0100/60/D     0100..        NOqw!9       Aa8            50     A0.51019    A1+08       50                                  0001000

00PC9OPtdA1 00tl         alap0nl0/02/62/9            Awn(         on             80     Au.         041         8D     000004               080     000-0Y001      652          01

                                                                  00             99           Au    ^0          99     010010(0             099     0111911           0             0         "61,0
00010001'4A1 000         0102/60/0 /000010,          50000
EOO100y0Ú       0010     0000/60/P ,lapina           005          111W           89     u/B         ,/W         80     a00u10w              /80     000-004Ú       000          00

E041900tdAL >etl         0102/60i0 0100.000          u09          ,001           89     0108        ueW         BD     00009
                                                                                                                        10'                 480     2111014           0             0         "06t0

                                                     INP          ml             80     1049        nn1         89     011u10'9             asn     D00-0YdAl      650          OL
9CO[POP[-001    1/TV     PT00/60/9 6/0000o,
D00I900t0A1 04tl         0102/60/D 010luna           IN9          n001           90     0049        ^^1         90     a00./5               OSn     L19DH             0             0         '6a




                                       010001.*0111d(00,
5000109/dAl 010          0102/60/0 11500001          uml          901x0          So     u^11        SuxO        Sn     0.0'0                050     90000001       650          01            600

SOPI4CDI'001 udtl        0100/60/P 100wea            0.1          PuxO           5n     0011        1043        SA     1000005              050     2/1.              0             0           0

90DI40DIdAl 00
 9001009I-001 I000
                         010Ú6Z/9      /..n,         7007-00
                                                     10100..
                                                                  7umH
                                                                  900
                                                                                 so     50.9.110
                                                                                        90M10
                                                                                                    Poleo
                                                                                                    7H
                                                                                                                So     440o1/q              050
                                                                                                                                            O50
                                                                                                                                                    000.0tl0A1
                                                                                                                                                    211.
                                                                                                                                                                    652
                                                                                                                                                                      "
                                                                                                                                                                                01
                                                                                                                                                                                    0
                                                                                                                                                                                              6SL
                                                                                                                                                                                                  0
                         0/00/62/0 /0!d0>                                        SA                             50     /1
8091PC91-dA1    1+0V     0100/60/0 011.0.,           ,1L          nu,            SA     211         nu,         Sn     IPOArd   w000ni      Oin     b00-0tldAL      650         01            6PL
                                                                  0A             50     11          010         Sn                          OSO     ZUIDH             0             0           0
9001900tdA1 P01          0100/62/1 01//0000          1L                                                                10pu014-e0A0
LOPI90Pt41 VM            PtOZ/6ÚD      0/1000        3,0W         AgOP(          50     10W         A/INW       Sn     00.e0                0S0     000-00dN        052         01            06D

LODIPODIdA! loV          0102/60/9 /.p.0na           1,0W         AWI0W          5n     1/0/        Ao1N00      sn     000../1              OS0     23110H            0              0

                                                                                 10     0a0xp                                               050     000-00411       650         01            6Pz
6001000141      111V     0100/60/P 0100010,          .10047       Sun                               l00         VD     10Md we000'i
60P1DODT4LL Vdtl         O10U6Uo       1...0,        PN)          Sun            V,7    10N)        MO          0)     /WAeOwapu01i         COO     ZL31DH            o              0            0

                                                                  05u00                 0M1W        wgON        00     00u10/1              any     000'00001       6SC         01
0101000/4LL 0dV          0100/60/9 00000,            10M100                      OV

                                                     IN,I00       wnoN           AI     NMIW        M,ulue/     no     00uN,5               ono     ZLiM)0/           0              0        "602
01PIP0P1dA! I,atl        0102/62/9 a10pun,
114IDOb1dA1 Pdtl         9100/00/11 01000000         900,         000)           00     900         0000        00     /0041105             OSA     00000000        650         Ot

llbi90014A1 Pdtl         0102/00/0 0/11000,          luto         0043           í1V    OCA         ux0         AV     000./1               am      LU101(            0          0            '600

LTDIDO9T41 Ibtl          9102/00/9     .000,         90!A1.H      0M             V)     90011       nm          h      0nule/1              O07     D00-areni       650         OS            6DZ

010000010AL Ndtl         9100/00/9 011000,           9u1AMH       ^M             V7     90/100      not         V)     OuuN,g               OVO     WM                0              0            0

EI0/0OndAL      Wdtl     9100/OÜP 010000,            4401         0040           50     Lenkt       00411       Sn     000Iw                050     10000Y401       600         01            6bL
                                                     4001         wryN           5O     4001        100415      501    11.0../1             050     01319H            0          0
El4TDOb1.1AL IoV         0100/0E/1, 0,0000D,
                                                                  0M             80     7009        0M          89     01101001                     00090001        600         01            600
0I0100410000L 0tl0       0/000010T02/00/             11009                                                                                  OSA
                                                                                                    nm                 a0'004               osn     unDN              o              0            0
0I010001061 4dtl
0I0L001010Al 94Y
                         PICO/0ÚP >010401
                         0[02/00/9 41,1.0
                                                     8uo71
                                                     w1I111M
                                                     00811M
                                                                  ^M
                                                                  Lion.
                                                                  uooW
                                                                                 8D
                                                                                 SO
                                                                                 SA
                                                                                        7009
                                                                                        wqlllM
                                                                                        .01011M
                                                                                                    l..
                                                                                                    0000/
                                                                                                                99
                                                                                                                50
                                                                                                                50
                                                                                                                       wr00nC10400
                                                                                                                       w0p0011{100/0
                                                                                                                                            050
                                                                                                                                            000
                                                                                                                                                    10000YdA1
                                                                                                                                                    21/19H
                                                                                                                                                                    602
                                                                                                                                                                      0
                                                                                                                                                                                01
                                                                                                                                                                                     0
                                                                                                                                                                                              6PL
                                                                                                                                                                                                  0
S14040P1001 PdV          0100/00/9 11/00000
                                                                                        94/1        W                                               000OVdAl        OSZ         01            06P
91DIDODt-am 0dV          P/00/00/9 1/0/0000          1u01         u0             ZN                             215    w111.11/9            OSO
919[90Pi-001 1>eV        0/0Ú0í/P 01000.,            9.011        uy             ZN     2001        0Y          2N     0n.0/1               OSO     ZUIDH             0              0

                                                                  ^n             00     u0n45 1     ^0                                      050     D00-0tldA/      65Z         0[
Li9tW9TdAl !,etl         0100/00/9     .1.p.01       P00n45                                                     ntl    10Aed w0Pu0ri
                                       1/4w0a                     nn             01     9uP^4$      nn          no     w/P0n%10M0           050     21310H            I              O         '6100
c1oI0C9CMl 00V           P102/oí/P                   Pu5n4$




                                                     09,
8/OIOC9[-601    00tl     0100/00/0     0/00.n>       01           no             50     04          04)         50     011000,0             050     00000001        652             Or         602
819[0o9[dAl /eV          0100/00/b     000000        01           t//)           SA     ry          n4)         SA     aanul0'q             osA     iUIDN                0           0            0

                                                                  001                               001         05     >an.e/1              050     000-00d01       650             01         6DL
6t9I9O01001 0dN           PIO2/1/5     0/0/00.4.     900                         ON     1u!á
6191900/-dAl 001          0100/1/5     11100001            A      1              1N     Peo         >/i         111    00.0'1               aSn     0111.1               0           0

O0919C010Al                                                           on         30     8wwm0       011                000001               05n     >00-0Y001       OSZ             00         060
                Ptltl      010U9/5     470pum        A,numD                                                     3V
                                                                                 3V                                    a00uI1/1             OSO     LUIDH                0           0            0
0290000idA1 10dV          010Ú9/S 01.1oa/            90000mD          011               90/0000     011         3V
                                                                  9u^N)                 00          90^047      15     10000w               003     000.004A1       650         01            6PL
120/000T001 0dI           D2/1/5 PI 0/a0.0,          0H                          114

                                                                                                                       01/010'4/            803                                      0          0
101000014A1 000           00/1/S DI 0.1d10Da         015          1004)          ON     CH          eunx0       1N                                  013M7H            0

iLOT0C01-dAl I,M          olor/T/S n010u04.          n,-0001      R0o4)          30     OWIW        9unn,       30     0,01.                050     000904A1        652         01            640

000TD0D1dAl Inb           P100/1/S /0/000/           mPU101       Pun4)          30     ^10I01      90nó        30     1.001e4              OSO     21309H            0              0          0

E010100010Al lotl         0T00/I/5 //0000=           ,/IOM        9u119          111    HUM         9010        1N     >a11u10'g            000     000-0V001       650         01            ó0i

E010001-dAl P.V           0100/1/0 1.00o,            ,yleM        9.19           15     ,/I0M       90119       1N     w5
                                                                                                                        >/10'               OSA     ZUIDH             0          0                0
                                                     oeN          uN0            nV     neH         taco        0I     00uW0                OSn     900atldA1       652         00             602
DLOTPOPI-dAl 0d11         P102/1/S a10/0um
0L9tDCDTN0 PdV            Plot///S     0000.         0011         04)            0V     0r4         ux0         0V     00/u0,q              OSO     2111011           o              0            0

52P1v001dA1 INN           0102/0/5 03000.0           00H109       ^1d            AIN    00011/9     ,ord        A01    10M4 0000050         050/    000.000001      652         01

00y9071dA1 IoV            0102/1/0 //0id.,o0         n0H9:a9      a/d            AIN    nLH1N9      a0ed        API    1501,071-00.41       OSO     L1319H            0          0
                                                                                                                                                                    65L         01
                          0102/1/5 014m                                                                                 a0nw/,g
                                                                  u.0            SA     1011000,    001(        50                          OSO     000OV001                                   6PZ
202I1002,A! I/V                                      1409,,00
000110020A1     11dV      9TOZ/I/0      1.0u0        IN9010A      WIl            SA     'Woo,       AN          ,A     6111!19              OSn     210DH                O           0

90bTDOt-dA1.              0102/1/5 01//00=           u!u4.H       04,            Sn     uiw0.n1     01p         50     /000/,0              0501    0000Y001        650             OI         6bZ

90DT001(10AL
                I>dtl

                I/tl                   ,Id.
                          9000/I/0 (00,(00,00000     uf44um       o4/            ,n     uDu9un1     C4,         50     ...A                 aso     011.
                                                                                                                                                    00090dA1
                                                                                                                                                                      0              0
2LD1>ODTdAL     VOV       0102/I/S a/pum             AWA/5        8o1H           co     A*0W5       7ueH        S0     0000'0               05n                     6SZ             01         6DL
                                                                                 co
                                                                                 Sn                             5n     0000,005             050
L0D1POD10.01    1,tl0     D/02/I/5 01a0.0            A/5
                                                     Ay,,,,,      Puro                  A00Pts                                                      01310H               0           0            0

80PC000T0Ú !,dY           0100///5 01W0.W            S0n05        u0M            Sn     9^a5        u0M         SO     00M,!/1              050     000.00dA1       650             01         6DL
                                                                                                                                            osn                          0           0           0
80010001001 udV           9100/0/5     ai0..0,       90na5        u0M            Sn     Anas        u0M         Sn     0Onu1001                     211NJN
                                                     0VHNYA9      9110112        0V     0050109     0N0112      0V     00010/1              000     0009YdA1        652             01         6bL
6001vO91-0AL    !,dtl     PT00/1/S 0/000000/
600[D09TdAt I1,00         P100/1/S la, 0i01m         ON0NV00      95002          0V     ONINtl09    00/002      nV     000140,1             OS0     0141014              0           0            0
                                                                                        Ho1                                                                                                    6bi
13E0100Dt-4A1 Pdtl        0100/1/S 0/1d00a           n4d          n011           10                 9LiOn0      L0     j00A0P,rpuns         9A3     000004AL        650             OT


0E0[90Ot-dAL 000          0002/1/0 01000.=           n4d          non            10     404-01      9uOn0       ltl    j0dA0¡uepunl         9n3      011M7H              0           0

                                                     01           T010o00011     O5     07          InA880.A0   DS     004005               050/    900-00dA1       652             01         6DL
06000001-0AL ArW          0102/1/5     0100u10,
IE9I00016LL               0100/1/5 /a0.0m           aal.          OV.21uM10      DS     aal         InAOIuMH    DS     00nuN/1              4150    L131OH               0           0            0
                AOtY
01005014dAl               0100/1/5 010pua,           0ow3         u!0            80     001013      0010,       80     10010w0Pu01-         089      1000.0041n1    600             01         6PL

010I51D[d/1
                A101

                Aryl      PIOZ/1/S     1a1
                                        1.           3   00W      0000           80     0o013       Lialo       89     10/10 wNwnt          490      21119H
                                                                                                                                                     P00-0,M1       650
                                                                                                                                                                         0           0
                                                                                                                                                                                    0I         6SZ
110[50D[-0A1 Ae01         0100/0/0     010pu14.      010001       0u1011         AV     00000       9um0        0V     00010041             0511
110I501.41A1 MW           00/1/0 DI    011p10oo      0weo(        7omH           AV     0u0q        1u0nN       0V     0n.ew                050      2U1DH               0           0

                                                     u0010(       IMO            03     01500       HV/0        Si     01100(1               OSO     a000VOVdAI    6660        951           40'80
20015091dA1 AeW            00/1/5 PI   00010000,
0001500[dA1 AeW           0102/1/0     01/10000/     Lix00f       000)           93     010400      NWO         OS     /0000/0               4100    000-0VdA1      60e       00'01          KS.
01015001dAl A0W            0000/I/S    0101d1+4.     00/41        NtlH7          NO     u040í       NYH)        Si     00000                 OSO     01310H              0           0

E[OTSOPIdAl A0W           b/00/0/S 000100o0          u0i(5            wow.       ON                 o/uN        ON     0050 w.0001i          050     000-0VdAl      650             0/
EIOIS001dAl     AeW       0I0Z/Z/5 0101.0,           000(9            u0w04      ON
                                                                                        050(41
                                                                                        u00(q       um.         ON     Ie0At0    ,..0,       on      21319H              0           0         '6100

P10150171-0A1   Agin      910Z/US      WO..          A400/5           0H         50     00100/5     .H          Sn     00.0w                 050     000.004AL      050             00         060

P10150e1-dAl AtW          P10L/ÚS      ...co         0u10a/S          CH         SA     91110//5    01.1        Sn     011o111011            OSn     0111DH              0           0

51015001áA/     MW        et00/2/0 0>0000o           HVm              ON         89     0001111M    ON          90     0000'q                090     000OV4AL       600             OL         6DL

                                                     HIM              DN         80     001111M     05          90     /0001e0               080     LL31DH              0           0                0
510[004[0A1     Á01N      otOUZ/S 001000,
                                                                      wa^9       90     nK          Suel        90     00100w                d8D     000-00001      600             S[         Doi
910150P101A1 MlN          Dí02/1/5 0/a0.w            01001404)
9101500I-dAl AW           0/00/0/0 0100000           0040000047       1u018      80     005         9001        90     0,/00/1               d99     213014              0           0

                                                                                                                       0nu11/1                                      65L             OL         6PL
2.101500100L A01N         /01u.9/OL/L/5              000              M8         0V     101(        nA9         0V                           05O     P00-0V/AL
                                                     00                          f0     /0          n0                 aa0uluq               050     P009YdA1       650             OC          600
81005Ob10A1 Ae01          OI00/2/5 1014.m                             ^I1                                        SO
8101500T-4A! A.W          0010.0/00/2/5              01f              011        S0     aff         nn           sn    e0.a/1                OSA     013e0H              o           0

61015041-4At Ae.          o/02/0/5     0101010oo     NW               wen        SA     NW          .e1          5n    01341t/1              OSO     9009YdA1       650             SI          9D2

61015001dAL AeW           P100/2/5     /e0.=         I01              .y         S(1    INN         wy           50    0n.1/1                OSO     0U1OH               0           0                0

                                                                                                                                                     0009V0Ú        OSL             01         O60
OLOt$Obld01 AaW           eT00/0/5 DxoP              0393             37110      5A     0393        331tV        SA    100110010-040400      OSO
OZOCSObl001 ewe           D100/2/S POOP              0391             300V       SA     O383        370V         Sn    IedAO wepuns          OSO     e1319H              0               0

12010Ob10AL AeW           P[Oi/US      wrydum        otflun.5         1          10     .(JInaS     01           tl7   IdArd w0Oni           OSA     0000tl0LL      O5L             Ot

t20t5000-0A1 Ae01         00/0/5 DI    a/apww        oUl0na5          01         b      .fluw5      a1           /p    IadAW p,epOnr         OSO     Z13190              0               0

200150V100L A.W           0101/0/S     .1a.u,4.      00010            u119       9H     uotf        00           OH    a.0u!0'g              050     000110/A1      650                         6bi

Z001SODtdAl     AeW       9100/0/S     /ap.0,        u01.t            w/          9H    u00e1       w!0          9H    00ui//g               050     ZUIDH               0           0
                                                                                                                                                                                    OM

E0015041-4AL MW           0100/2/5      /.p/ln,      oINN             eW          50    uINO         0Y1         Sn        cony,             OSn     000'0011       600             SI

E001500TdA1 AW            010L/US       01/p00=      wow              01          $0    .NA          CO          Sn        0>0u10'g          OS0     LU10H               0               0      :100

9Z015001-dAl 50,y         0102/2/0      a/apom       0p,0'03          0A          99     0w0nP3     N,           95        00Atd wa000/s     OSO     000-0VdM       650             0[          6P2
                                                     0we^P3                                                                                  0sn                                         0            0
0L0[SCP1-4A1    AeW       0102/US       //10.4.                       nA          08     0w0^D3     ^A           99        IOAee p,epuelí            L131DH              0
                                                     u/NH             a09         SA     400H       aeD          sA        OA.tw             OSA     00090441       000             OL          060
SZOISCP10A1 MW            0/00/0/S      //01du,a,
SLO1SC9tdAL     AaW       0/0L/L/5      01010u.,     .014             two         to     OaNH       D0           SO        //n.0w            050     2131000             0               0            0

92015a0I00l     AeW       D100/0/5 01I0+a1           0/1r0            1e10        50    ,,n/        0.0          50        0000e/1           050     P00.00dA1      050             00

9L0/SOPI4LL     AeV1      9IO2/C/S 0101d.0,          0000/            1e10        5n    0000        gv.          50        aa0u!ew           05n     LU1011              0           0          (1061,


                                                     uro              over        Ay     utol        0y          no        N0A0wepunt        00V     9009tl001      6S2             0[          6PZ
L00ISO9T-001    .IN       PTOZ/L/5 1111d.00
200150914A1                                          uro                          ny                 .0y                   ¡00000 w000n1     01V     2/30)0              0           0
                AeW       0/02/0/s a/a1O10=                           1M11               u/01                    nV
                                                                                                                                                                                    Ot
900150PT-dAl AtW          9/02/1/0 0/00/0=           un(              u0PA1f      OS     ont        u00A4        DS        //0/10'0          OSO     00091dA1       65Z                         6DL

900150D1-0Al MIN          WM 90 alapup0              un(              u00Alf      OS     un(        unoAlf       D5        00010'0           OSA     21319H               0              0             0


62015001141     AeiN      9/02/E/S      ./pu//       °01U19           011         AIN    100'C19     1001
                                                                                                    u01
                                                                                                                 AIN       0000041
                                                                                                                           O,wNw
                                                                                                                                             OSA     D00'OYdA1      65e
                                                                                                                                                                    SZ               01         fiv0

600150P1dA1     oe1N      9/0Uí/5 a1ap.»             u011119          u01         AIN    OeIWD                   MAI                         OSA                         SO              0

                                                     non              00015008                       0005008                                                                         01         6Di
0E0150140Al     AeW       9/00/1/5      01000.                                    93     ^u.5                    93        1.010wrP.nf       8113    000-00001      65Z

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                                                                                  2W14061183           June        6/8/2014     complete    WM          Kim           AU        WA
                                                                                  TIP -14061186 June               6/8/2014     compete     Kw. folg    Leung         SE        Kw.          Leung      SE        brainy.                      TVPAO-004        24S        1215
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                                                                                  TW14061188 Arne                  6/9/2024     con   .te   2.,         SW            US        Ihemg        Sui        US        bralmret                     TVPAD-004        259         249
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                                                                                  TN-14061190          Anne        6/9/2014     complete    Kahn        Ib            US        Jane         Kie        US        pamal standard               TWAD-004         259
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                                                                                  7   914 0 6119 0     June        6/9/2014     complete    Kalle       Ho            US        lane         90         US        o.yoal nanderd               X01252
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                                                                                  7VP14051191          June        6/8/2014 comptte         AmA         Leung         GB        Arnie        Leung
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                                                                                  TN-14061193 Lure                 6/8/2014     compete     Jennifer    Wong                                 Wong
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                                                                                  29414061195 Are                   6/9/2014    complete                Wong
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                                                                                  T9. 14061196 Jun
                                                                                                       June         6/9/2014
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                                                                                                                                complete
                                                                                                                                compete     Royce       Pan           AU        Rome         Pan        AU        bra..                 USO    TWAD004          259         249
                                                                                  7W- 14061196 lane                 6/8/2014    complete    Rome        Pan           AU        Rome
                                                                                                                                                                                             Pan        AU        brain...              USO    001012              0
                                                                                                                                                                                                                  brains.*                     TWAO-004         259         249
                                                                                  79.14061197 lure                  6/9 /2014   complete    Jennifer    Cho           US        leifer
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                                                                                  10P14061199 lure                  6/8/2014    complete    Eck         Cho.          SG        Eric         Chine      SG        paypai aundard        USO
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                                                                                  T59.14061Z00 June                 6/9/2014    complete    umher       Hm            US        Jennifer                US                              USO
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                                                                                  TW- 14061201 Jux                  7/7/2014    oomplea     are         Lee           US        fang                    US
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                                                                                                                                                        IP                      MOU          IP         US        bairns«               USO    TUA0.004         259         249
                                                                                  714,14061552 June                 6/9/2014    complete    MOU                       US
                                                                                  1W.14062202 Ara                   6/9/2014    complete    MOU         IP            US        MOO          IP         US        boil.«                OSO    HUET2               0
                                                                                  NP140612U3           June         6/9/2014    complete    Oxen        Johnson       US        Almon        Johmen     US        bolt.«                VSO    NPAD-00A         159         249
                                                                                                                                            4iGM        1ohnan        US        Owen         Johnson    US        balmy«                USD    00112               0              0
                                                                                  259.14061203 June                 6/9/2014    completa
                                                                                                                                                                                tee           Um        US        braimee               USD    WPAD004          259         249
                                                                                  TOP-    14061204 Jure             6/9/2014    compete     tae         Um            US
                                                                                  TVP14061204 June                  6/9/2014    complete
                                                                                                                                            tat         Um            US        tae          Gm         US        brain.                USO    001912              0              0
                                                                                  TJP1406L30S June                6/10/2014     ccmplett    Gong        Yee           MY        Gong         Yee        MY        a.m.<                 U50    TPA0.004         259         249
                                                                                                                                                                                             Yee        MY        brainy«               USD    1101/22             0              0
                                                                                  7914061205 June                 6/20/2014     complete    Going       Yee           MY        Gong
                                                                                                                                comae.      W.          xu            AU        Wet          WY         AU        b lm«                 USD    TWAD4004         259         244
                                  #:20606




                                                                                  T/P44061206 June                  6/9/2014
                                                                                                                                                                                                                                                                                  0
                                                                                                                                                                      AU        Wei                     AU        braimee               USO    051901              0
                                                                                  79.14061206 tune                  6/9/2014    complete    Wei         y..y                                 I.VLI
                                                                                  T9.14061207 Anse                  6/9/2014    complete    9ngtMung    Own           US        Sting -Ooo
                                                                                                                                                                                             Chan       US        b.ln..                USD    it/PAD-007       259         249
                                                                                                                                                                                             Chan                 bMin.ee               050    HGIFT2              0
                                                                                  TW14U61207 lure                   6 /9/2014   compete     SNng{Nung   Ours          US        .mg-Ghea,               US
                                                                                                                                                                                             NO         AU        bralmree              USO    NPAD-004          259        249
                                                                                  T14061208            June         6/9/2014    complete    0G          RIN           AU        00
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                                                                                      TW14062208 AN                 6/9/2014     complete   OK          Rlm            AU        OH          Rim
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                                                                                      TOP-14061209     ALL          6/9/2014     complete   Bai          Vu            NO        Bel
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                                                                                      TW-14061210 tun!              6/9/2014     complete   Ross         Lam           AU        Ross        am         AU         bralmr.e
                                                                                                                                                                                             Lem        AU         bnimee               AUD    001922              0              0
                                                                                      TW14061210 June               6/9/2014     complete   Ross         am            AU        Rosa
                                                                                                                                                                                             MA         GB              canard          GOP    SWA0.004          250        490
                                                                                      NP14061211              a
                                                                                                                    6/9/2014     comp*
                                                                                                                                 camp.*     Kalle        Mal           GB        Kalle                             poypel
                                                                                                                                                                                                                                               901252
                                                                                      T./P.14061211 line            6 /9/2014    comp.      Kette        M.            OB        Katie       Mal        GB         paypa! 0anard        GOP                        0
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                                                                                      íW.34061212 Arne              6/9/2014     comp..     JONGNWAN    KLN            1P        JONGHWAN    KIM        IP
                                                                                                                                            LONGOWAN     KIM           1P        lONSHWAN    KIM        IP         bainoee              USO    HG1952                 0
                                                                                      NP414062222 LUPO              6/9/2014     complete
                                                                                                                                                                                                                                               TWAD-004          259         249
                                                                                      125.14061214 con.            6/9/2014      compete    Raymond      Wong          US        Raymond     Wong       US         PeDalstandard        USO
                                                                                      TW-14061214 June             6 /9/2014     complete   Raymond     Wong           US        Raymond     Wong       US         peypal so d.M        USO    025012                 0
                                                                                      29.14061216      Lune        6 /9/2014     complete   Tsang       kirepng        NO        Tang        kinhuno    NO         b.099.               USO     TVPAO-004        259         249
                                                                                                                                                                                                        NO         baintr«              USO     .01012                0
                                                                                      7VP14062226 June             6 /9/2014     compete    Tang         kinhumg       NO        Tang        UAwng
                                                                                                                                                         HATHAUE       GE        ZHANG       NATHALIE   FR         paypal standard      USO    TWA..             259         249
                                                                                      T9-14061217      Ar ne       6/9/2014      complete   ZHANG
                                                                                                                                                                                                                             sund.rd    USD    HGIR2               0
                                                                                      T9.14061217      June        6 /9/2014     complete   ZHANG        NAI    AUE    0F        ZHANG       NATHALIS   FR         paypal
                                                                                                                                                                                                        US         braAsree             USD     TVPAO-007        259         249
                                                                                      79.14061218 war:             6 /9/2014     dosed      Steve        Tang          US        Steve       lang
                                                                                      7VP-14061218     June        6 /9/2014     doted      Steve        Tang          US        Steve       Tang       US         bra..                USD     001/22                0           0
                                                                                      199.14061219 June            6 /9/2014     complete   Pun          Zang          lE        Qum         Zha9       IE         be..«                VSO     T9AD004          259         249
                                                                                      TW.14061219 June             6 /9/2014     compete    Olen         INng          IE        C.          Lang       IS         bamb«                OSO     HGIFT2
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                                                                                                                                            K.           Tse           US        Kai         Toe        US         brainy«              ASO
                                                                                      NP14061220       June        6 /9/2014     compete
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                                                                                      29.14061220      June        6/9/2014      complete   K.           Ise           US        Kai                    US
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                                                                                      1W- 14061221 June            6 /9/2014 complete       Kelly                                Kelly
                                                                                                                                                                                                                                        USD     HGIFT2                0
                                                                                      T9. 14061221     June        6 /9/2014 complete       Kelly        Ho            NZ        Kaily       Ho         NZ         Payee)standard
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                                                                                      1W- 14061222 June            6 /912014     complete   Ke           tae           US        Ka          Lee        US         peypel HaMard        USD     NPAO-004
                                                                                                                                                                                                                                                001012                0
                                                                                      TW14061222 June              6/9/Z014      complete   Ka           lee           US        Ka          lee        US         MOP+!naMard          USD
                                                                                                                                                                                                                                        USO     TWAO-007         259
                                                                                      TU1.14061223 lure            6 /9/2014     LoPpkle    Wem,         Fang          US        W..Mng      Felg       US         paypai sandend
                                                                                      100.14061223 lure             6/9/2014     compete    Warning      Feng          VS        Wennng       Feng       US        paypal standard       USO    001022                0
                                                                                                                                                                                              He         US        brainy«               USD    TAPAD-007         259
                                                                                      109.14061224     Gr.          6/9/2014     complete   David        He            US         David
                                                                                                                                                         He                       David                            brainy«                      001012                0
                                                                                      21/17414061224   ALU          6/9/2014     oomph.     David                      US                     Ha         US                              USO
                                                                                                                                            Uu           bel                      Liu         bet        SG        bra1ntree             USO    20ÁD004           259
                                                                                      TW14061225       June         6/9/2014     dosed                                 SG
                                                                                      T9- 14061225     J.           6/9/2014     dosed      Uu           bei           SG         Liu
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                                                                                      199. 14061226 lure            6/925014 complete       Peter        WO            NZ
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                                                                                                                                                                                  Tony        0299       US        ealmree               USO    TWA0.004          259
                                                                                      109.14061227 Are               6/9/2014 complete
                                                                                                                              comp          Tory         King          US
                                                                                                                                                                                 To                      US        bamb«                 ASO    001252                0
                                                                                      09.14062227 50,0               6/9/2014 compete       Tiny         Kang          US                     Kano
                                                                                      TVP414061228     June        6/12/2014 dosed
                                                                                                                                            William      Hwang         US        William      Hwang      US        bra..                 USO    TWAO-004          259
                                                                                                                                                                       US        William      Hwang      US        bealmne               USO    HGIFT2              0
                                                                                      2\49.14061228 June           6/22/2014 dosed          William      Hwang
                                                                                                                                                                                                         AU        brainy.               USO    2WAD -004         259
                                                                                      NP14061229 Juni                6/9/2014 comp..        matthew      cram          AU        Natthew     grant
                                                                                                                                                                                                         AU        brainlr«              USO    HGIR2                 0
                                                                                      109.14061229 Arne              6/9/2014 complete      matthew      gram          AU         metthew    grant
                                                                                      10P- 14061230 luge             6/9/2014 complete      GWOOl        Kim           SG         Gyyoung     KIM        SG        ban.                  ASO    79A04004          259
                                                                                      T0.14061230 lure               6/9/2014 complete      Gyyoutug     Kfm           SG         Gyyoung     Klm        SG        bra..                 ASO    065972
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                                                                                                                                            Hew                        AU         Hew         Tommy      AU        paypal    standard    USO
                                                                                      TVP414062230 lone              6/9/2014 complete                   Tammy
                                                                                                                                            Hew          Tommy         AU         Hew         Tommy      AU        paypal    standard    USD    .FT2                  0
                                                                                      79.14061231      June          6/972014 compete
                                                                                                                                                         Gun           NL         Kan         Gian       NL        paypa! Handard        EUR    TWAD004           259
                                                                                      29.14061232      Lune          6/9/2014 complete      Kan
                                                                                      NP. 14061232     cone          6/9/2014 compete       M.           Glen          NL         Klen        Glan       NL        payq! seanda0d        ELM    1551902               0
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                                                                                      TVP14061233 June             6/L0/2014 complete
                                                                                      TVP- 14061233 Arm            6/10/2014 complete       KIAOMEI      MAI           AU         KIAOMEI     MAI        AU        balm.                 USD    HGIFT2                0
                                                                                                                                                         Kim                                  Kiln                 brainy«               EUR    T9AD-007          259
                                                                                      70.24061234 Arm              6/20/2014 compete        Kyu                        ES         Kyu                    E5
                                                                                      íV9.14061234 cone            6/10/2014 complete        Kyu         001           ES         Kyu         Kim        ES        brain«                OUR    001012                0
                                                                                                                                                                                              Ko         US        bambee                USD    TPAD -004         259
                                                                                      79.14061215 lune             6/10120M compete         Aen          Ko            US         Alan
                                                                                      TVP414061235 cone            6/10/2014 complete       Alen         KO            US         Alan        Ko         US        bail.«                USD    HGIFT2                0
                                                                                                                                             Ake                                                                   Waimea                050    NPAD-007          259
                                                                                      TW- 14061237      cone        6/10/2014 clot.                      Chan              US     Alex        Clan           US
                                                                                      1W- 14061237 June             6/10/2014 dosed          Aka         Chen              US     Alex        Chen           US    bnim«                 USO    001252                 0
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                                                                                                                    6/10/2014 4...se         briars      kfm               US                                US                          USO
                                                                                      1W- 14061238 Arne
                                                                                                                                             Man         Um                US     briars      Um             US    balnbee               USO    H411902                O
                                                                                      20.34061238 June              6/10/2014 compete
                                                                                                                                             Thoma       Ou                US     Thomes      Ou             US    braintree             USO    7VPA0004          259
                                                                                      79.34061139 June              6/30/2014 complete
                                                                                      IVP-14061239 June             6/10/2014 compete        Thomas      Ou                VS     Thomas      Ou             US    a.m«                  USD    001922                 0
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                                                                                       -141240          June        6/10/2014 complete                   an                OB          r
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                                                                                      29414061240 June                                       nu          en                GB     111f        an             GB
                                                                                                                                             an          Chen              US     Len         Own            US    bain°«                USO    TWA0.004          259
                                                                                      29414061241 June              6/10/2014 complete
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                                                                                      2VP-14061241      June        6/10/2014 complete       an          Chen              US     Lan                                                    USO
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                                                                                      1VP- 14061242     June       6/10/2014 complete        Sam         Hwang             AU     Sem         Hwang
                                                                                                                                             Sam                           AU     Sem         Hwang          AU    bra1MP«               ASO    HO.R2                  0
                                                                                      79.14061242 Jure             6/10/2014 compile                     Hwang
                                                                                      1W-14061243       June       6/10/2014 complete        duo         tang              US     duo         ding           US    brainy.               USD    TTAD004           259
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Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 88 of 147 Page ID
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 0001401 E801 MM                0000/9I/L 1194500     011.4099           O           50    3400199     n          50    01051901             050    014100                       0      0
 090ILOS'TdAl 1100              0I00/L1/L 105000      n8                 1n7         90    49          on7        8D    190Aed PI.PSnÌ       d80    000-CAMAL                   6S2   OT
 1roLtL00IdLL MM            0100/01/0 90a0u.,         n9                                               on,
                                                                         on0         8D    1208                   8D    I0A9 Plpuni          430    Z54171                       0      0
 s1I0001-MI.         AIM    0002/91/0 91.455,         ux                 Su04        sn    5!3         fin,       sn    10nwe5               0511   00009401                    652   01
 s/LIL00T-W          AIM    000U91/0 naps.,           uX                 9ug         S0    u1X         INN        SO    1010109              050    014100                       0      0
 98210101401 1100           811/91/0 901101.,        1111000             9u1         09    111.110     1500       ny    ....nut              050    >0009001                   651    01
 9101201I401 HAI            0100/9110     nap100     610m                hen         AV    swum        awn        ny    w0LV9                can    2131091                      0      0
 01012C81-dLL NN            e100/91/0 .sapins>       iel                 1nW         SO    Itl         IW         S0    wnue19               050    10000404                   650    01
 L/ZT[09Id1          API    P10Z/97/2     1ap1M,     101                 1019        SA    ley         10W        50    anWq                 050    201170                       0     0
 80ZI0001-d/LL ATf          PICO/91/L 1a41400        I01001V5            9N          ZN    I010A005    9N         09    11nulog              050    90009d.LL                  650    St
 882I0091-40, NN            1100/91/0     0la01100   11A0.4015           90.         021   122ryvd4$   SN         ZN    a01199               GSA    Z0010H                       0      0
 61010001dA1 AI10           0102/97/0 .1900.,        My1199w1unW         u.0         DS    ,1nW        uaA        DS    ...en                155    000-09401                  650    OT
 610I00917Al         A9y    9100/97(0 1apL00         1n111199u01unW      wA          0$    unW         000        O5    004u1oq              050    014IOH                       0      0
 0S01L011401 AIN            9000/00/0 919905.,       suu40(              !mi)        97    wuea        6s0        9D    P9P511nedA62         099    000094M1                   650    OI
 O5ZT000t-au HM             000//07/0 91014101       61npr               1040        90    mom         PO         9D    19Aw P.W14-          d97    2111DH                       o      o
 1511C00t0A1 NN             0500/0010 a46u1a>        9unotA              ua1ó        50    9M9p.A      01.0             11/15199             OS0
                                                                                                                  SO                                00009M1                    652    OT
 ISZI0081401 HM             01001[[/L 011,0.0        959100A             LaW         50    Sum,        11s40      50    ..4un01              050    ZLldi                        o      0
 05210001401 MM             0100/01/0 1100500        '001                0000       SO     411         WO,        Sn    000099               05n    900-09001                  650    OT
 05210007dA1 NN             0102/0I/0    00000       '911                5000       SO     '111        vas        50    w0We19               050    1001DH                       0      0
 £51000016A1 Alnf           0100/01/L a1.16MM,       09.a9               91N4       S0     a80a90      8u,        s0    8800019              050    00009dM1                   601    OL
 £500L001-d/LL AIN          pt02/0I/0 slash..        a9ma7               hoy        SA     s9.a0       9u,        Sn    9a4uloq              050    013100                       0      0
 00210000004 HM             0102/01/0    1617400     151.0               85854      211    .6v0        SLmy       09    1101019              500    00009001                   650    01
 052T00pIdAl AIM            8000/01/0    9401100     1.190               90601      ZN     I9prA       911W       29    0100.19              009    Z00M)N                       0      0
  55010001d04        AIM    010Z/01/0    9191411m0   850)                00119101   0Y     Suo)        uy8lnn     O9    anwtg                050    C0009dA1                   650    OT
  552700017Al        AIM    010Z/01/0    .1M9.,      9220)               0n910,     09     NO)         0l4101     09    940195               OSA    ZL3171                       0      0
  9S210011dLL        001    0102/07/0    01a0Ln>     7,ef                A1aAA      SA     1Pal        awn        Sn    ...lost              050    L000YM1                    650    01
  95270011-dA!              0700/01/0     .430000    9>40
                     AIM                                                 919M       50     919(        04.M       50    w40.9                050    00001                        0      0
  052ILOV0-401       AML    0000/01/0     alap1.,    Apt.                01,1        50    mum,        oaial      5n    00409J9              OSO    9001/19dA1                 652    01
  05OI0001001        10N    0102/11/0     .100u.,    .ueW                w.N,        SO    1018        urie,      50    10100019             1s0     01300                       0      0
  852ILOPTdAl        AIM    0102/L1/0     9190000    oX                  nW          Sn    00gI        nW         50    664u.g               0H0     000-0940,                 650    C[
 852ILC90dA1         NN     0102/11/0    91a410,     oX                  na         Sn     0x          nW         50    wnu0g                050    01301                        0      0
 651I[691-d04        A91,   0102/07/0    010411M,    13MN0(              MA         0V     9M900       nM         A9                         050    00009dLL
                                                                                                                        P9pLni1400                                             650    Ot
 65010001-dAL AIn,          9102/07/0    a1a6u0,     13M501              AM         ny     13MN0X      nu         ny    1840MP.P10t          oso    O540H                        0      0
 091I000I-401        A9I    pl0i/01/0 1a4u0,         11a                 al         AD     una         s5         00    010111oq             050    900OY011                   6SL    OI
 092T000740, Mor            OtOL/LT/L 1apu1a3        una                 mi         np     un.         993        no    90451.9              030    L130í1                       0      0
 19210001404 AIM            0I00/01/0    94400       0                   003        09     sir         M          0Y    a.4u!og              OS0    000U04A1                   650    SI
 I90TL0Ptd04 AIM            0[00/0110 91sp5.,        910                            n9     If          07         fly   ..110.9              000    2130H                        0      0
 19010091-4A1 AIM           0IO2/13I/0 616141120     unA                 000)       0V     unA         uno        0Y    1.0006   PP1ni       05n    000084A1                   650    01
 2911L00t-004 MM            0002/8II0 1apu0,         V0A                 ux0        Il0    1nA         Map        09    .0000 P1.P110ri      050    010N                         0      0
 £9110001401  MN            8IO2/6I/0 *MM.,          010                 810AA      M1     u9A9wM      9uM0       101   ..4uug               OSO    00009dA1                   650    50
 E921L0p0.401 HM            0T02/6t/L 1193000        01H                 9u0M       M,     u1ASwM      AR,        ALL   00051V19             050    ZL011                        0      0
 59ZIL001dAl 011N           0100/00/0 1a5u.a
                                                            ,
                                                                L        9510       Sn     1N1n.                  50
                                                                                                       Amp              064ue19              OSA    90000d1                    650    01
 $9210001d1 AIM             8102/SUL 1a4u0>          LI11X               9oM        SA     u1Ln0       8016       SA    90085911             010    Z0001                        0      0
 L9L1000101 AIM             OtOZ/8710    alatlu0,    A11oN11             a.p        5n     Au.Hll      9ap        s5    000u1e01             050    000O80Á1                   650    01
 L9Lt000t,
  0A             AIM        7/L 0IO2/9   Pia.,       Au,.                4) a       SA            Au   s9p        50    10101901             OSO    0110,1                       0      0
 81010001M1      AM         0502/80/0    mini.,      193109NOA           9N011      ny     053,09NOA   ONVS       ny    Idl.d pNPSn+         O0ri   10008401                   650    Oi
 89Z1L0P0dAL     AIM        0100/87/0    EMU.,       DN3100N0A           D13911     09     DN3100NOA   9NW7       ny    ledA10PapuCf         003    10010/1                      0      0
 69110091dA1     AIM        9100/81/0. 91.0100       N)                  81001      0Y     IUD         Sunt       0Y    0100e19              any    00050400                   6SL    00
 69LT000I-404    NN         0102/91/0 alapuo,        N)                  91n1       ny     no          8401       09    9100.10              any    113171                       0      0
 00010001-4A1    1
                     005    8100/81/0 0104100        4110                001        0V     OLIO        un         0V    18500 PNPUni         050    00000451                   651
                                                                                                                                                                               SZ     OZ
 SCLI[0PIdAl AIN            0102/8I/L .N31n1         4u1O                Ln         09                 1n         09                         050
                                                                                           WIO                          ndAedPxpuni                                              6o     0
 ELi1L0p1dAl NI             0102/61/0 ai16L.0        nun,                n0         ny     Mau,        00         ny    1101001              050    000O9404                   050    OL
 ELiTLOpTdAl An,            0100161/L aNpu.O         AsuMl               n0         59     A1uu111     LO         0Y    0116195              050    21300.                       0      0
 0000001TdA1 Apr            0000/61/0 91016001       Iag,IW                         50     I04101      IN         Sn
                                                                         901                                            100010 PO.Puná       000    90000451                   650    OL
 0LL1LC0T-401 N1f           8101/6100 91.0u0>        IasWiW                         50     Ia161W                 50
                                                                         9N                            8N               1.2010   P.mins      OS0    2111)0                       0      0
 5021L091dA1 AIN            0002/61/0 150uM,         y1aw1X              a1         s0     40awa3      0n         SO    00nuloq              050    000-C9dM                   650    OL
 00,100017.      AIM        0100/60/0 1i4L.>         u0X 4g5             911        50     410wa3      1a1        S0    1019
                                                                                                                         1e  a               050    211101                       0      0
 9011000IML      MM         000Z/60/0 1a10u0,        w6H        101100   0193       ON     w.1         alt,       ON    a11u199              OSA    9800U9d04                  650
 900100917.      AIM        8100/61/0 nspl>
                                        n            1a41u9H 11          .v,        ON     su6H        op,        ON    00101.19             050    013.                         0      0
 000I061.1451 AIN           00/61/0 Pt 04000.        epee,               150N011N   5n     91u09(      6wA011N    sn    00409,               OSO    p00OYd4                    650    00
 LUTL0p1-QAt AIM            9100061/[ 1ap50,         Neef                w9M111N    SO     9I19r       a9701!H    50    .anu!.1q             000    21417H                       0      0
 9001000171Al AIM            8101/61/0 9444M1        9uV                 00)        50     919         og         S5    1040.9               C50    00009001                   650    OL
 8L21[00I-dAl 14M           et0U61/0 n1pu.0          Sus                 ou,        S0     Su9         0g         5n    1011uI119            050    214100                       0      0
 60010081d1 MM              8100/61/0 1100000        9013                nM         50     91,         nm         55    9111101,             050     000019401                 652    OZ
 6LI1L001d04 MM             0100/61/0 00apu0,        9w3                 nAl        Sn                 nM
                                                                                           9ue3                   Sn    anu111g              OSA    000100                       0      0
 09110091604                                         1793                n          iii.
                 AIM        0102/61/0 /1190400                                             09399       n          0V    ...IAA               150    00009601                   650    01
 O1L0c1401
        HL       AIM        110/./61/L
                            61/L         12250,      7199                A          09     n199        n          00    aanulep              0511   0111014                      0      0
 18L12007-M1 MM              810L/6I/0 91NuM,        1IprN)                         )3                 on3
                                                                         On 011X
                                                                         u10
                                                                                           9110                   33    vans-MA.             050    ¿0000404                   650    OL
 180100017A1 Apr            /100/6I/L slain.,        1101                           O8     sol         uno        0V    140062 P1Put1*       05n    900094M1                   600    OZ
 LOL1L00I401 MM             0100/60/2 000141100,     001                 500)       59     901         510        09                         050    014009
                                                                                                                        1ed010   PMOgs                                           0      0

 E9110091401 AAM            0102/61/0 11601.,        093 00              u545       50     500113      1045       55    1101101,             050    00009401                   652    01
 L81I009t404 MM             0t02/61/L 117u.0         w13                 1155       50     9.113       u115       Sn    ..00101,             050    25410H                       0      0
 0801101,071LL Mot          8102/61/0 aNpuO,         10110               9104       11d    uoulls      Wad        114   a0u1a9               OSA    L000Vd04                   65O    01
 9611L0/1-4A1 A95           0102/61/0 1104100        WU!,                00,        H0     MOLK        N1,        Hd    anu419               OSO    2601D1                       0      0
 5B0I0001-Ml     A41        0100/0Z/0 .l1puO1        Apu.W               ni         y      ApuvW       on         YJ    0000001              050    00009401                   6S0    01
 5811[0p1001     *if        p002/02/L alpino,        Ap9eW               n7         M      ApueW       In1        V)    lanu!o9              150    0111011                      0      0
 98LTL0914A1 NM             0100100/0    MALM        NO                  nN)        SO     IO          1N10       SO    aa0u1014              059   90009401                   650    OL
 980TL00T4M1 Ant            000Z/00/0    1.4001      00)                 n0)        50     00          000        SO    104u1.p               050   214109                       0      0
 LBZ1L00tdA1 API            9100/00/0 a11pu0,        MI                  Ml         ZN     %u!I        nm         ZN    anL1.q                050   00009dA1                   Si
                                                                                                                                                                               6SO    OL
 L8L1L09T-6A1    Ap1f       0100/00/0 .0.16100       sul1                           2N     sel                    2N    10nue19              OSA
 88010O0IdLL NM             0100/O222    11101101    uI5rW09             9uoA0      h      ulsafua8    sSOM       V)    INA10PNPw1i          0Y)    000-00004
                                                                                                                                                                                 6o


                                                                                                                                                                               602    OL
                                                                                                                                                                                        0


 8801001IdLL An,            010[/01/[ 1104001        up481usa            9u0M       h      ulLO(ua8    SuOM       VO    110013P91411f        OY)    0111DH                       0     0
 681ILC0I-dA1 AIM           010Z/0110    mono,       9u40SIW             al         0V     91.A1-I1N   101        ny    I4AMP.pOrli          Orri   t0009M1                    650    0I
 60LLL00040L MM             1000/0010    alapu0,     9..A3'IW            al         ny     9u00X-!W    101        n9    PnPns'1.00M          Om     LLIDH                        0     0
 061TLCPIdA1     AII        0007./0U4    10p100      09A13M              nil        n9     O9ACM       nH         09    PNpwiflwA.o          000    90009001                   601    00
 06L1L001d/LL    Mot        0I00/0210 116400         09A13M              09         0V     OVA13M      nu         09    19A10PNpu91s         000    2001DH                       0      0
 1601[09I-4A1 HM            0100/00/4 91opuM1        093                 SuonA      35     7413                   35
                                                                                                       &10oA            1.401100             050    o0009d04                   6SL    01
 I6Z1L09IdAl     AIM        0I0U0Z/L 90ap110,        wl3                 9uonA      35     5113        %uonA      35    10ne.19              050    2141DH                       o      0
 £62I0091-4A1 MM            0I02101/1 ala01w         11I19               nmi)       50     1e11111     n10        50    IMAM0000001,         050    [0009451                   6S2    OZ
 £601000[401 AIM'           010U0UL aNpwO,           wNln                n11)       SA     ue111n      np         sn    ImA10P1aPuns         050    26010H                       0      0
 060I00017Al MM             010Z/0UL ala4u0a         Apses                                 AP0a5       mi         SO    104LI.19              050
                                                                         LA         S11                                                             p000VM,                    650    0I
 162IL0Ptd/LL MM            010U0UL 1aph0,           ApuvS               aA         50     APu.5       A          5n    p04uI9                050   ZLIDH                        0      0
 561000017A! AIM            et00/0L/L .10p14e0       9u6!A               uoS        SO     oup!A       uns        Sn    10685uq              Oso    00009261                   652    OL
 5601C01t'dA1 AIM           810UO2/L .1.10M0,        9141A               o05        5n                 5n5        50                         OSA
                                                                                           9u10!A                       a04uloq                     ZLIDH                        0      0
 962000016/11 AIM           0T01/OU[ 14900D>         13M                 13M        59                            09                         any
                                                                                           13M         13M              jedA10 PnPuelt              O0P0YdLL                   60Z    OI
 9600L00IdAl ON             L   0IO0/01 64212,       136                 13M        fri    13M         13M        ny    IaOMdP1.pun4         any    ZLIDH                        o      D

 2621209Id61 AIM            0102/0Z/L    ai044w      0Ma3                Sinn       Sn     a,aWd       N1w4,HH    sA    aanuog               05n    1.0009dLL                  65L    OZ
 L621L001d04 MM             0I0U01/L 1.901d0         oH-v3               9un91      SA     00904d      In,4,tIH   sn    w4u!e,q              oso    Z00101                       0      0
 86OIL00IdAl MM             9fOL/0L/L 02017u01       (noel               SuoM       Sn     sun.        9L.M       SA    aanulep              OSO    000430dl1                  600    OL
 86ZIL0Pl401 AIM            pt00/0UL 0l.puo0         saLOf               9uoM       SO     tauet       91a03M     Sn    11n,1Iq              055    254100                       0      0
 66O100017Al AIM            PI01/0000    laplm,      4asn                M          5n     IIA>        M          SO    a4u.1.11             OSO    000.0VdM1                  650    OL
 66L1L001dAl AIM            0100/0UL     N,400       Inn                 M          SA     IIA,        N.         50    ./45419              OSO    Z540H                        0      D
 00E10001dLL AIM            8002/02/1 alapuo,        ors                 sol        55     9n5         A0n        SO    104u1t9              OSO    0000YdLL                   65Z    OL
 00EI001td04 AIM            pl0U0Z/L alapu.,         9n5                 +001       55     ans         Ag1        îf1   »4uln,               15O    Z1310H                       0      0
 10£1[00Id04 Ant            0L0O/10/0 alalasO>       ata1a41             luny              0sa1a41
                                                                                    31
                                                                                                       Sues,      31    aanuloq              OM     00trOVM1                   OSZ    OT
 ToE1[OPt604 NN             PI02/IZ/0 1100u00        asogL               sues,      31     ..Au,       9un1             wnunlq               OSn
                                                                                                                  31
                                                                                                                                                    2LI)H                        0      0
 OOE70otIdA1 AIN            0000/12/L lalduw         LO+tO               n0         SO     uo0p        no         SO    a4.119               OSO    SfOEOP)YOYdAIEOP)YOYdAt   6660      0
 £0E1000I.0A1 0011          9TOZ/IU0 91.0000         440003              1                 41awa3
                                                                                    SA                 01         50    10n5Iq               0511   1,000YdILL                 600
 E0E1000t4A1                0I0Z/12/L NOLO,          411w.X                                4iawaX
                 A9q                                                     a1         SA                 01         50    ..114q               OSO    LL11DH                       0    of/0
 P0E10000401     Mor        0t0UI0/0 napsO,          0e1                 oll,       9D     oel         oal        8D      044LI              OSA    000-090A1                  652    0I
 p0EI000T401     API        r100/1Z/L 91a3u0,        0e1                 ul         90     otl         oa1        09    sanuln0              OSA    01.115H                      0      0
 50£IL001dA1     API        0102/[UL alsldu0>        0510                1011       SO     mild        >uLL       SA    je0010 Plepuns       050    900O9dM1                   6S0    OZ
 50E1LO0t451     AIM        p100/tZ/L aflldu.,       241d                Anl        SO     mild        au         Sn    ¡roAadPapum          a50    01110H                       0      0
 90E100P1-404 AIN           0002/£2/L aN4u0>         .61M                o5         SA     aNUM        os         Sn    ..nu09               OSO    0000094A1                  65Z    02
 90E1LOpI-4A1 HM            9SCZ/EUL     .4pu.0      16u!M               05         Sn     aNuIM       os         Sn    anulo,               OSO    L001D14                      0      0
 000100907A1 Mrs            PO02/71/L al.ldup>       IMAN)               u16        $0     IA9.N)      ua40       SO    1.040og                     v00-0Y.
 L0E1LC0IM! Nor
 80E10C0I7A1 MN
                            9I00152/0 a10pu.1
                            9102/1E/0 alapu00
                                                     oiaun)
                                                     sauutypt
                                                                         u00,
                                                                         IP.uM
                                                                                    SA     tan.,
                                                                                           s7w1140r
                                                                                                       u.40
                                                                                                       IPw'M
                                                                                                                  Sn    104u09
                                                                                                                                             OSA
                                                                                                                                             O55    rif.                       650
                                                                                                                                                                                 0
                                                                                                                                                                                      OT

                                                                                                                                                                                        0
                                                                                    01                            CI    anu.01               OSA    P70-O9dA1                  OSO    01
 80E1LC71401 NN             p10Z/00/L    .4p101      saunot              IP1wlM     OI     swuwpt      IP.uM      01    10nun9               asn    i131DH                       0      0
IIE1L0174A,      AIM        010U00/,     app.,       ua4>                042        119    ua47        roo        ne    20110019             O09    [0000001                   650    0t
TI£[0D9T-dAl NN             0100/IZ/L    map..       ua40                n42        ny     1440        n40        A9    aa4u44               WY     2131D11                      0      o
OIETLCtT-dLL N1f            01002010 Msg..,          3110Nn10            331        Sn     ueP4X       O
                                                                                                                  SO    ...mu                OSO    000.OVdAL                  6SL    OZ
OtEt[C9t-4AL HM             000Z/LUL .196u.0         3n1NM0                         Sn     uP"X                   Sn
                                                                         331                           n                a0uloq               OSO    Z13I)1                       0      0
00£ILC0I-d1 Alnl                                                         on         n9
                            P100/E2/L aNpuo>         MOAu.M                                ueMNM       on         n9    alvo,                any    L000VdA1                   65i    OS
 0IEI009I1A1 NN             p,00/00,/, annuo>        uMU.M               on         ny     AwM ue      AA         AV    wlwlalq              any    2600N                        0      0
 StEILCPT-40l AIM           0100/li/L a4pu.0         v71W                ngal       ny     eXIW        0101101    ny    anL.01               OSA    p00.OYdü                   6SZ    OT
 91£I[0P1-21A1 AIM          p1o2/IUL 91s4.>          u0AU7(              89tAA      A9     u.AUX       9,1022     A9    wlWlelg              aso    000.0VdA1                  601    OT
91E10001dAi NN              ptOUiUL a00,5.0          ueAwX               8u0M       AV     u0)uIX      9,1yA      n9    an.IV19              a50    054031                              0
LS£ILOpt-dA1 NN
LTEIC09IdA1 AMf
                            0t00/01/L lalduD>
                            01oZ/2Z/L 910040>
                                                     at,
                                                     nay
                                                                         km         11
                                                                                           nay         959M       11    aanulerti            en3    900OYM1
                                                                                                                                                                                 0
                                                                                                                                                                               6SZ    OS

                                                                              O.    11
                                                                                           e.AM        BueM       11    000u1a9              003    il31DH                       0      0
                                                     Al,                                               und
HtEiLO91ML NM               pIOZ/22/4 .11du00                            ue4d       8D     NI                     90    sann,                489    000-0VdM11                 650    Ot
HOETLCpOdnl 1W              0100/00/2 aNpu>          Ni
                                                     N1                  ud
                                                                          00        9D     NI          u.4,1      OD             aa          87
                                                                                                                                             <NM    Z1,011                       0      o
60EI0C9td        AIM        piO2/LC/L naps.,         MnM                 9u9A       Sn     nA1.A1A     9u,        5n    IedA.d 11004Pu014-   aso    p00-0Yd1                   652    OI
61EIL001404      AIM        0100/00/2 alaphn,        n9sM                BueA       Sn     MIM         9ueA       Sn    1e60ed PIOPuni       oso    Z140H                        0      0
00EI0001dA1      AIM        ptOZ/OZ/¿ aiapu0>        ua!1pM              uWqu       V)     u.nlM       uaMAu      Y)    11n5102,             OSn    000OY1M.                   650    OZ
00£I2Op142.2 HM             010Z/ZZ/2    alald5.,    5911101             ua491.1    Y.7    u.Hpf       uaAnBL     h     aa4ull,              asn    2131DH                       0      0
ILEt[Cti-dd      AIM        pIOULUL 01034.1          nM-901,             Any)       HO     IeM9wA      mom,       90    aanulep              d90    000-00d01                  600    OL
 [0EI[O01-401 AIM           01CUL0/L     1.4900      nMdWLL              mou,       00     10M-9u!A    xAlp       80    aanulexl             d90    ZLON                         0      0
ZOESLOpI-dA1 AlOr           010U00(L slspuo,         .n11u               uM         5n     1911111n    uM         Sn    0000.p               Osn    000-0Yd11                  6SO    OL
 22£t1071dAl NM             p10ULUL      1pu.,       1004>!u             uN,        Sn     Pt1P01      nip        in    10n85og              OSn    ZLON                         0      0
 ELEtLOPI-dAl MM            OICULUL 0106110,         u91.115             1143       Sn     ...on       n10        Sn    aanuloq              05n    p00OYdLL                   6S2    at
 ELETL001-dLL HM            ptoi/ZU[ 161uo,          uero»S              o4)        Sn     110/001$    np         Sn    .anulo,              OSn    054171
 50£1LO97dA1 AIM            ptOUZi/L 0111,u00        19                  9ua1       h      >n19        9ur1       y3    pA/0ns"110Aed        0511   000.0Y611
                                                                                                                                                                                 0
                                                                                                                                                                               6S0    OL
                                                                                                                                                                                        o


 52£IL0p1-dN AIM            OIOZ/02/0    .is4u0>     1M9                 8wl        97     0,018       suet       Y)                         OSn    ZLLIDH
                                                                                                                        leMA10   PepL.1i                                         0      0
90EI2001-401 AIM            8102/20/L alalowo>       958                 al         Sn     11I8        301        SA    IaCAtOPlepuns        OSn    2000YdA1                   6S0    OZ
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 89 of 147 Page ID




                                                                                  TW- 14073327 July        7/22/2014 complete         N            lung        US    he              Jung            US    brain..               USO    TVPAD004     259
                                                                                  15.14071327 July         7/22/2014 complete         M            lung        US    M               Peg             US    gage.                 USO    HGIFT2         0
                                                                                  TVP14072328 kely         7122/2014 complete         Eva          Gibney      CO    Eva             01.y            CA    óo0000                       TVPAD004     259
                                                                                  1W- 14071328 July        7/22/2014    complete      Eva          Wean.
                                                                                                                                                               CA    E.              Gibney          CA    beamteee                     00282          0
                                                                                                                                                                                                                                        7042-004     259
                                                                                  T1. 14071329 July        7/22/2014    complete      Chung        Llu         US    Chung           Uu              US    payp.I stendaed
                                                                                                                                                                                                                                        141172
                                                                                                                                                                                                           p.ypa! sund.rd                               0
                                                                                  7VP14270329 July         7/22/2014    complete      Chung        Uu          US    Chung           Uu              US
                                                                                  7W14071331 July          7/22/2014    tamOle.       wan          Yuan        Al)                   Yuan            AU    paypal standard              TWAO-004     259
                                                                                  0W- 14071331 July        7/22/2014    complete      win          Yuen        AU    wen             Yuan            AU    aye! sandard                 HGIFT2         0
                                                                                                                                                                                                                                        W0AD004      259
                                                                                  70.14071332      July    7/22/2014    closed        SNP          to          US    Ship            to              US    ad»! uandaed
                                                                                  1W- 14071332 July        7/22/2014    deed          SNP          to          US    Ship            to              US    aye!standard                 05502           0
                                                                                                                                                   Lam                               lam                   bratneu                      TSAD-004     259
                                                                                  11.14371333 My           7/22/2014    complete      120                      US    Tay                             US
                                                                                                                                                   Lam         US    Tay             Lam             US    Bemme..                      02112           0
                                                                                  10.14071333 July         7/22/2014    complete      Tay
                                                                                  T14071334                7 /23/2014   complete      tar          Lee         US    Hop             Um              US    bmInte.                      7VPA0-004     259
                                                                                                   July
                                                                                  TVP14071334 July         7/23/2014    complete      Lai          Lee         US    H.              Lam             US    Braintree                    061002          0
                                                                                                                                      Susan        Yuen        NZ    5us.9           Yuen            NZ    bralmre.                     IWA0 -004     259
                                                                                  10.14071335      July    7 /22/2014   complete
                                                                                  7114071335                                          Susan        Yuan        NZ    Susan           Yuen            NO    bralntra.                    002012          0
                                                                                                   July    7/22/2014       complete
                                                                                                                                                               US                    PadsAau         US    Braintree                    TWAO04        259
                                                                                  7014071336 Alo           7/22/2014       complete   Weedy        Pariseau          Wendy
                                                                                                                                                   Pariseau    US                    Pariseau        US    Braintree                    H01FT2          0
                                                                                  7VP14071336 July         7/22/2014       complete   Wendy                          Wendy
                                                                                                                                      Chun                     AU    Chun            Leung           AU    Braintree             AUD    TWAD-004      259
                                                                                  15.14071337 My           7/22/2014       complete                Leung
                                                                                  1174071337       July    7/22/2014       complete   Chun         Leung       AU    Chun            Leung           AU    brain..               AUD    NU2FT2          0
                                                                                                                                                                                     Ile                   bteinu.                      I PAD-007     259
                                                                                  T1.   14071338 July      7/23/2014       templet.   Samuel       Ho          AU    Samuel                          AU                          AUD
                                                                                                                                      Seemed       Ho          AU    Samuel          Ho              AU    brem9ee               AUD    NGIFT2          0
                                                                                  7014071398       July    7/23/2014       complete
                                                                                                                                      mann.        lee         US     9000.          lee             US    Braintree                    TWAO.004      259
                                                                                  7114071339       July    7/23/2014       complete
                                                                                  7014071339       July    7/23/2014       complete   manage       lee         US    manhoe          lee             US    brnntr.                      HWF1-2          0
                                                                                  7014071340               7/23/2014       complete   JAMES        WONG        US    LAMES           WONG            US    bramun                       11AD04        259
                                                                                                   July
                                                                                  11.14071340      July    7/23/2014       complete   ;AMES        WONG        US    JAMES           WONG            U5    baker.                       NG1012          0
                                                                                  T1- 1407 23 4 1 My       7/23/2014 complue          Let          Wang        US    LM              Wang            US    bran..                       TWAD-004      259
                                                                                                                                                                                                                                                           0
                                                                                  TW- 14071341 July                                                            US    Lel             Wang            US    br.InUee                     HGIFT2
                                                                                                           7/23/2014 tonplele         LM           Wang
                                                                                                                                                               US    Petri           Liu             US    brainy.                      TVPAD004      259
                                                                                  TW14071342       July    7/23ßO14 complete          Peil         Uu
                                                                                                                                                   Uu          US    Pak             Uu              US    braAUte                      NG1FT2             0
                                                                                  7014071342       July    7   /23ß014 complete       Peid
                                                                                  7544071343       July    7/23/2012 cangete          Mark         Wong        AU    Mark            Wong            Au    paopal sandard        USO    TVPAD-004     259
                                                                                  TW- 14071343 July        7/2312014 connote.         Mark         Wong        AU    Mark            Wong            AU    ayoa!standard         USO    HGIFT2             0
                                                                                                                                                               AU                    Ku              AU    trainee               AUD    TVPAD-007     259
                                                                                  71.14071345 My           7/24/2014       canpkte    Kul          Ku                OAS
                                                                                                                                      KW           Ku          AU    Kul             Ku              AU    Braintree             AUD    961912             0
                                                                                  1W- 14071345 July        7/24/2014       complete
                                                                                  TW- 14071346 July        7/24/2014       complete   Bo           Um          SE    go              Um              SE    beam.                        TWAD-004      259
                                                                                  TV.1A0723A6      July    7 /24/2014      complete   Bo           Lim         SE    60              lien            SE    brelnu.                      NG1FT2             0
                                                                                                                                                   DeGaetano   US                    0.A..     ano   US    bonuses               USD    TWAD-00A      259
                                                                                  7014071347       July    7/24/2014       Compete    Joseph                         Joseph
                                                                                                                                                   DeGaeta.    US    baeph           DeGaetano       US    BrAntree              USO    HGIFT2             0
                                                                                  7W- 14071347     1WY     7/24/2014       complete   Joseph
                                                                                  T1- 14071329 AA                                                  Clung       US    Tely            Dung            US    2Yal    sandard       USO    TWAD -004     259
                                                                                                           7/24/2014 complete         TAy
                                                                                                                                                                                                                                                           0
                                                                                  TW1A072349       July    7/24/2014       complete   Tan,         Clung       US    Tsly            Clung           US    Roo. Uadard           USD    HGIFT2
                                                                                                                                                   cho         US    bry°M           Oho             US    50190ee               USO    7VPA0007      259
                                                                                  71.14071350      July    7/25/2014       complete   byung
                                                                                  70.14071350      July    7/25/2014       complete   bossing      dS          US    byung           Oho             US    'maim.                USO    HGIFT2             0
                                                                                                                                                               US    cue             dun             US    Braintree             USD    NPA0004       259
                                                                                  10- 14071351     MY      7/25/2014       tompAte    .SUNS        Alum
                                                                                                                                                                                                                                        H02172             0
                                                                                                                                                   ch.               the             dun                   breirau..
                                                                                  TW- 14071351 My          7/25/2014 compete          ...Mg                    US                                    US                          USO
                                                                                                                                                                                                                                        IWAO -004
                                                                                                                                      Donau.                         Doran           Vincent               brain..                                    209
                                  #:20616




                                                                                  11P-1.71352      July    7/25ß014 complete                       Vincent     FR                                    FR
                                                                                  1014071352       JWY     7/25/2014 canoes.          Daeg.uan     Vincent     FR    Oongaan         Vincent         FR    Bran.                        HGIFT2             0
                                                                                                                                                                                                                                                      259
                                                                                  11.14071353      July    7/25/2014 complete         KIM          WONSEOK     AU    KIM             WONSEOK         AU    ayal      standard    USD    TWAD004
                                                                                                                                                                                                                     sundard                               0
                                                                                  7514071333       July    7/25/2014 comPAto          AM           WONSEOK     AU    KIM             WONSEOK         AU    ayes!                 USD    X25912
                                                                                                                                                                                                                                        1VPAD007
                                                                                   5
                                                                                  1.14071354 My            7R5ß     014 complete      m oo         wang        US    Aao             wan.            US    Braintree             ASO                  259
                                                                                  11.14071354 My                           complete   me*          wa0g        US    m.o              wang           US    braUUee               USO    HGIFT2           0
                                                                                                           7/25/2014
                                                                                                                                                               US    YUAN             LU             US    Braintree             250    TVPAD004       259
                                                                                  1W- 14071355 My          7/25/2014       complete   YUAN          LU
                                                                                  TAU- 14271305    My      7/25/2014       complete   YUAN          LU         US    YUAN             LU             US    balm..                USD    9551T2             0
                                                                                                           7 /20/2014                               Shen       AV    CM4I.            Shen           AU     bromtreu             USD    7WAD004        259
                                                                                  Y1.14D71356 July                         complete   Chalk
                                                                                                                                                               AU                     Shen           AU     bn1ntree             USD    HGIFT2             0
                                                                                  WP14071356 July          7 /25/2014      complete   [FUJI.        Shen             Chip.
                                                                                  1514071357 MN            7 /25/2014      complete   MA            !meta      US     MI.             buia           US     ayal     standard    ASO    1VPAD-002      259
                                                                                  1W- 14071357 My          7 /25/2014      ARABAS.    MA            bola       US     MA              bur*           US     p.oal sandard        USO    HGI912             0
                                                                                  11.14071358 My                                      Aster         hwah       NZ     lest°           Yeah           812    beagle.              USO    TVPA0-0O4      259
                                                                                                           7/25/2014       complete
                                                                                                                                                               NZ     lester          hwah           N2     bremtree             USO    HGIFT2           0
                                                                                  1W- 14271358 July        7/25/2014       complete   !ester        hwah
                                                                                  1W1.71359        July    7 /25/2014      complete   Wan           clung      US     hon             ern.           US     beam..               USO    TVPAD00A       259
                                                                                  1114071359       July    7/25/2014       complete   Wan           than.      US     hu.             dust'          US     Braintree            USO    1461072            0
                                                                                  7VP14071360 July         7 /25/2014      complete   N.107         Chao       CA     Nancy           Ow             CA     Braintree            USO    TWADAC004    29.99
                                                                                                                                                    Tan               Nlkkl           Tan            SG     brogue*              USO    TAPAD-004      259
                                                                                  7VP14071361 July         7/28/2014       complete   NIk1d                    SG
                                                                                   1W- 14071361 July       7/28/2014       complete   Nikki         D.         SG     PURRS           Tan            SG     B.Mus.               USO    HG1102             0
                                                                                                           7 /25/2014                               OM         MP     Emily           OW             MP     bramer.              VSO    TVPAD-007      209
                                                                                   10.14071362 July                        complete   Emily
                                                                                                                                                                                                     MP     Braintree            USD    00I9í2             0
                                                                                   71.12071362 July        7/25/2014       complete   EMA           Oiu        MP     Emily           Olu
                                                                                                                                                               AU    Neon             Sun            AU     Brainy.              AUD    TWAO -004      259
                                                                                   TVP1A071363 July        7/25/2014       complete   Amon          Sus
                                                                                  T1A371363        July    7ß5/2014        complete   Aeam          Stn        AU    Am               Sun            AU     ...tee               AUD    H0902              0
                                                                                                                                                                                                            bramose              USD    TSA0-004       259
                                                                                  7014071362        July   MS/2014 complete           AMY           CHEN       AU    AMY              CHEN           AU
                                                                                                                                                               AU    AMY              CHEN           AU     Braintree            ASO    HGIFT2             0
                                                                                   TVP1A071364 July        7/25/2014 complete         AMY           CHEN
                                                                                                                                                                                                            Braintree                   IVPAO004       299
                                                                                   71- 14071365 July       7/25 /2014 complete        Jim           120        HK    1NA              Lea            HK                          USD
                                                                                                                                      Jim           Lee        RK    KM               Lee            HE     Braena.              USO    HGIFT2             0
                                                                                   T1P- 14071365 July      7/25/2014       complete
                                                                                   70.14071366      July   7/25/2014       009011íe   Ste...        Booty      FR     000SAYe         Barmy          FR
                                                                                                                                                                                                            ayal Rsndard         USD    WOAD-007       259
                                                                                                                                                                                                                                                         0
                                                                                   TVP-14071366     July   7/25/2014       ccmplele   591092P0e     Bounmy     FR     StepMnt         Bourmy         FR
                                                                                                                                                                                                            aWa!stsndard          USD   HOIF72
                                                                                                                                      Ames.                          lames            Wang           92     Braintree             USD   TWAO-007       259
                                                                                   1014071367 July         7/25/2014       complete                 Wong       NO
                                                                                                                                      Amlan                    NZ     *mu             Wong           N2     WNnu2e                USD   AGIFT2           0
                                                                                   7014071367 July         7/25/2314       complete                 Wong
                                                                                                                                                                                                                                                       259
                                                                                   71.14071368 July        7/2./2014 complete         AmY           Klo        AU    Amy              Roo            AU     payal sund.rd         AVD   I1PA0.007
                                                                                                                                                    Koo        AU                     Boo            AU     aypel standard        AUD   H2FT2              0
                                                                                   7014071368 July         7/20/2014       complete   Amy                            Amy
                                                                                                                                      Peer          CMu        OB    Peter            CMu            CO     PeyH!st.nderd         USD   7VPAD-0O4      259
                                                                                   NP- 14071369 Alp        7/25/2014       complete
                                                                                   OAP- 14071369    July   7/25/2014       complete   Peter         Cheu       GB     Peter           Cluu           GB     aYa!st.ndsed          USO   leG59T2             0
                                                                                                                                                                                                            Broms..                     TAAS-007       259
                                                                                   7014071370       July   7/25/2014       complete   VW.           U          AU     21Nan           LI             AU                           USO
                                                                                   TW- 14071370     July   7   /25ß0l4 complete       Zldan         U          AU     2l.an           U              AU     aalneu                USD   HGIFT2              0
                                                                                                                                                    LEUNG             FukMmg          LEUNG          FR     brainuee              USD   WPA0-004       259
                                                                                   T0. 14071371    July    7/25/2014 complete         Ftek -Ming               FR
                                                                                                                                                                                      LEUNG                 brogue.                     HGIFT2              0
                                                                                   70 1407 13 7 1 My       7/20/2014 compete          RIA.MIng      LEUNG      FA     FukMmg                         FR                           USO
                                                                                                                                                                                                                                        TAPAD-004      259
                                                                                   70.14071372 July                                   WA            le         US     WA              Le             US     balnute               USO
                                                                                                           7/25/2014 complete
                                                                                   7114071372 My           7/25/2014 complete         Wei           le         US     Wei             Le             US     01.intr.              USO   051072              0
                                                                                                                                      kenneth       m.k        AU     kenne.          male           AU     EAV.l sund.rd         AUD   TWAD-007       259
                                                                                   1W- 14071374 July       7/25/2014 complete
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                                                                                   7014071374 July         7 /25/7014 complete        kennette      maA        AU     keenath                        AU     aypo!standard         AUA   AGIFT2
                                                                                                                                                               US                     chow            US    bralM.e               USD    YAPAD-00A     259
                                                                                   7114071375 My            7/25/2014 Complete        I11enMA6      dhow              11/05106
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                                                                                   T014070370 My            7/25/2014 complete
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                                                                                   70.14071376 July         7/25/2014 complete        WINING        OENG
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                                                                                   7114071377 July          7/26/2014 complete        LA            Zhang                             ZMng
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                                                                                   11.14071379 MY              7/25/2010 complete     ANred         Yuen
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                                                                                   11.14071381 MY              7/26/2014 complete
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                                                                                   70.14071381 LIER            7/26/2014   complete
                                                                                   7514071382 My                           complete   Kar           Mak        US     Kar              Mak            US    Braintree             USO    TVPA0-004     259
                                                                                                               7/26/2014
                                                                                   T114071110 109              7/26/2014   complete   Kar           M.         US     Kar              Mak            US    Braintree             USO    HGIF72          0
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                                                                                   IW- 14071383 July           7/28/2014   complete                                                                   CA
                                                                                                                                      Anne          Phan       CA     Anne             Phan           CA    Braintree             USO    931012             0
                                                                                   TV8-14071383 July           788/2014 complete
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                                                                                   1W- 14071384     July       7/26/2314 complete     Ying          Yuan       US     Yin6            Yuan            US    a19a! seandard        USO
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                                                                                   75.14071386 July            7/26/2014 complete     Susan.        Chan
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                                                                                   71.14071389 My              7/27/2014 complete                   Wong
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                                                                                  750.14151098 August          8/27/2014 complete       CECILIA      FONG          VE    CEOUA       FON.         VE    braintreR          USO    HGIFT2            0
                                                                                  1W14091407 August            8/27 /2014 complete      Ko+
                                                                                                                                         ho          TAN           AU    Khoon       SAY          AU    Ny2I    standard   AUD    TOPAD-004      259        239
                                                                                  1V914081407 August           8/27/2014 Complete       Omen         TAN           AU    Knoon       TAN          AU    NYNI sundard       AUD    HGMFT2            0
                                                                                  75014081408 August           8/27/2014    complete    Ky
                                                                                                                                         m           Huy..         AU    Ktny        Huynh        AU    brainy.            USO    TWAD.W4        259        249
                                                                                  TV914081408 August           8/27/2014    complete    Kerry        HWnh          AU    K.          NuyM         AU    balmsee            USO    HGIF72            0          0
                                                                                  T70011254
                                                                                   UT-                August   8/27/2014     complete   Kathy        U             OB    Kathy       U            GB    OaInOFF            USO    TAD-004
                                                                                                                                                                                                                                   W             250        480
                                                                                  AM-70011254         August   8/27 /2014    complete   Kathy        U             GB    Kathy       U            GB    bamtree            USO    Hß1072            0
                                                                                  TW14083409
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                                                                                                      August
                                                                                    P14081410
                                                                                  TYP-14081410        August   8/27/2014    complete    Ring         Yeew          AU    Ring        Ye0w         AU    brain..            USD    750ÁD-004      259        249
                                                                                  TW14081410          August   8/27/2014    campers     ULOS         Yeow          AU    King        Yeow         AU    braintree          USO    101572            0          0
                                                                                  TW- 14081411 August          8/28/2014    complete    CONNIE       WU            AU    C05451E     WU           AU    bramtree           USD    TWA..          259        249
                                                                                  0W-14081411 August                                    CONNIE       WU            AU    CONNIE      WU           AU    bralntree          USD    0GIFT2            0
                                                                                                               8/26/2014    complete
                                                                                  29 0.14081413 August         8/28/2014    complete    GUO          RUE           BE    GUO         /CUE         BE    Minty.             USD    159AD-004      259        249
                                                                                  70.14011413 August           8/28/2014 complete       GUO          OLE           BE    GUO         OVE          BE    brAnuee            950    HGIFT2            0
                                                                                  Ná.14061414         August   8 /28/2014   complete    Chick        Young         US    Chick       Young        US    brain..            USD    NPAD-004        259        249
                                                                                  TW- 14081414        August   8 /28/2014   complete    Chide        Young         VS    Chick       Young        US    brain..            USO    H51572            0
                                                                                  TW- 14081415        August   8/28/2014    compete     lion         Jun           NZ    Pan                      52    Min.               USO    7VPAD.004       259        249
                                                                                  1W- 14081415        August   8/28/2014    compete     All          sun           52    Pan         sun          N2    bnintree           VSO    HGIFT2            0          0
                                                                                  7/914061416 August           8/28/2014 complete       Jae          leong         US    lee         hong         US    payNI standard     USO    TWAO-004        259       249
                                                                                  7914061416 August            8298/2014 compete        Jae          Leong         US    Jae         Jeong        US    PFO. Standard      USO    H01FT2            0          0
                                                                                  72.14081417 August           8/28/2014    complete    Wits.        Sun           US    WIMSO.      Sun          US    p.RNL Standard     USO    TWAO.004        259        249
                                                                                  72.14081417 August           8/28/2014    RF FIRe     Wilson       Sun           US    WIMon       Sun          US    peso. st.rgard     USD    001572            0
                                                                                  TW- 14081418 August          8/22/2014    complete    Tu           hang          US    Tu          luau         US    Mlntree            USD    TWAD-004        259        249
                                                                                  A/914081420 August           8 /28/2014 complete      Steven        Y.           CA    Steven       Y.          CA    braUuee            USD    SWAT-007        259       249
                                                                                  750.14081420 August          8/28/2014 Complete       Steven       Tao           CA    Steven      Yen          CA    51.100.            USO    HGIR2             0
                                                                                  72.14081421 August           8 /28/2014 complete      IUNIYEI      WU            AU    JUNWEI      WU           AU    ó21W.              USD    TVPAD-004       259        249
                                                                                  N914081421 August            8/28/2014    complete    JUNWE        WU            AU    NNWO        WU           AU    SFAFRFe            USD    NOIF72            0
                                                                                  1W- 14081423 August          8/28/2014    complete    divia         rig          AV    elivia       K           AU    Nyw!su.ard         USD    TWAD-007        259        239
                                                                                  1W- 14081423 August          8 /28/2014   complete    Alvla         rig          AU    Ntvla        ne          AU    Nypal Standard     USO    HGIFT2            0
                                                                                  795.14061224 August          8/29/2014 comp..         Wel          Xiang         US    Wei         /Gang        US    NyN!remised        USD    TWAD-002        259        239
                                                                                  72. 14081424                 8299/2014 ca RISI.       WA                         OS    WO          Oa,          US    payo.standard      USO    HGIFT2            0
                                  #:20623




                                                                                                      August                                         Xiang
                                                                                  TW44081425 August            8/29/2014 complete       Sr.          lee           US    See          lee         US    baint m            OSO    TWAO.004        259        249
                                                                                  AM- 14081425 August          8/29/2014    complete    Sara         lee           VS    Sara         Lee         US    balm.              USO    101E72            0
                                                                                  TV914081426 August            8/29/2014 complete      Sung          Seo          US    Sorg         Soo         US    Min..              USD    TWAD-R13-004    195        195
                                                                                  799.14081427 August           8/29/2014 complete      Kelly        Mar           US    Kelly        Mar         US    buskross           USO    TVPAD004        259        249
                                                                                  TV9          August
                                                                                        14 08 14 27            8/29/2014 complete       Kelly        Mar           US    Kelly       Mar          US    baumen             ASO    102512            0
                                                                                  NP1A081418 August            8/29/2014 complete       J.9          Wong          GB    Jean        Wong         GB    brainyee           GOP    TWAD004         259        244
                                                                                  TW14081428 Augur             8/29/2014 5an0ete        lean         Wong          G8    lean        Wong         01    baineree           GOP    501FT2            0          0
                                                                                  1W- 14081429 August          8/29/2014 complete       keen..       Reso          AV    Frunoesoo   Raw          AU    busbar.            USO    TWA..           259        249
                                                                                  TW- 14081429 August          8/29/2014 compete        Froancesco   Rsso          AU    ...ors.     Raw          AU    bain.              USO    HGIFT2            0
                                                                                  75014081430 August           8/19/20.     con..       MAN          Dolma         PE    J4..        Pedeta       PE    brainy.            USG    TWfA
                                                                                                                                                                                                                                   AO7            259        249
                                                                                  1914081430 AlORS             8/29/2014    compete     M.           Pedeta        PE    MARI        P.et.        PE    balnty.            USO    HGIFT2            0
                                                                                  TW72081431 August            5 /29/2014    compete    Jue          wane          AU    tue          wane        AU    NypeI staaard      USO    TWAP -004       259        249
                                                                                  9/914081432 August           8/29/2014     tempWte    yunpng       Mu            NZ    mA-Arg      59W          NZ    busuntre           USO    TWAO -004       259        239
                                                                                  TVP- 14081432 August         6/29/2934     compete    YunJmg       2u            N2    yunitng     OW           52    bum,.              ASO    051572            0
                                                                                  759.14081433  August         8/29/2014     complete   ho.rg        kW            AU    hone        elm          AU    .Intr.             USD    TWAD-004        259        249
                                                                                  79914081433 August           8/29/2014    campet.     hon.         Elm           AU    hog          kW          AU    breirau.           USO    HGIFT2            0
                                                                                  TW14011434 August            8/29/2014    complete    SENO         PRAMOSO       ID    SENO         PRAMONO     ID    trainee            USD    TWAD-004        259        249
                                                                                  TW14081434 August            8 /29/2014               SENO         PRAMONO       ID    SENO         PRAMONO     ID    balnlree           USO    001051            0
                                                                                                                             completa
                                                                                  70.70011255 August           8 /29/2014    Compete    Michel       Wong          US    ...eel      Wong         US    Damn.              USD    NPAD007         259        249
                                                                                  TU970011255 August           8/29/2014     complete   Michael      Wong          US    Michael      Wog         US    bolo.              USO    MGIFT2            0
                                                                                  N5- 14081435 August          8/29/2014    complete    WA           Lam           58    WA           tam         GB    bNntree            085    750ÁD007        259        249
                                                                                  TW. 14081435 August          8 /29/2012    complete   Wm            lam          GB    wail         lam         GB    kealnuee           GBP    UGIFT2               0
                                                                                  150.12081438 August          8 /29/2014    compete    lack          L.           lE    eck          L           IE    NYpal   suMod      USO    15020-007       259        244
                                                                                  14914051435 Aug.!            8/29/2014    rempele     leck         L.            It    leck         L.          IE    Niw!sendard        OSO    11GIFT2              0
                                                                                  72.12081439 August           8ß0/2014     complete    Shin         Karg          US    S1ln         Kong        US    NyNI st2dard       USO    TWAO-004        259        249
                                                                                  W914081439 August            8/30/2014    congers     Shin         Karg          US    Shin         Kong        US    NYp.I standard     USO    X61972               0       0
                                                                                  750.14081440 August          8/30/2014    Canpete     louts        low           U5    Leas         Low         U5    braatr.            USO    TWA0004         259        239
                                                                                  TV0.14081440 August          8/30/2014    compete     Louis        Low           U5    Loris        Low         US    beimass            USO    HGIFT2               0       0
                                                                                  750.14081441 Auerar          5/30/2014    complete    Sung         Moon          US    Sung         Moan        US    NYpa! standard     USO    TWAO.007        259        249
                                                                                  295.14051422 August          8/30/2014    compete     SF5          au            US    Slug         Chu         US    trainee            USO    TWAO007         259        249
                                                                                  N914081442 August            5/30/2014    complete    S..           Chu          US    Sing         Chu         US     brains.           USO    HG192                0
                                                                                  295.04502445 August          8/30/514 complete        ruoNng        can          US    ruooerg      Men         US     br.AA0.           USO    IWAO -004       259        249
                                                                                  NP-1.1443                    8/30/2014 compote        rue erg       tun          US    ruOpmg       Men         US     brainy.           USO    NGIFT2               0
                                                                                  TW- 14081445
                                                                                                      August
                                                                                                      August    9/1/2014 complete       Elea          LOO          US    Ell.         Loo         US     MI..              USO    1OAORB-004      19S        595
                                                                                  750.14081446        August   8/30/2014    until.      WA           Cheong        US    Wal          Chaog       US     bnmus             USO    N0AD -AC-002   29.99      29.99
                                                                                  TVP- 70011256       August   8ß1/2014 complete        Man          Tong          AU    Man          Tang        AU     brains.           USD    TWAD007         259        239
                                                                                  7V970011256         August   8/31/2014 complete       Man           Tang         AU    Man          Tang        AU     brains.           USO    901552               0
                                                                                  7VP- 14081447 August         8/31/2014 dosed          Serene        L.           NZ    Serene       Lee         NZ     595591_55150512   USO     TWAO-004       259        249
                                                                                  790.14081447 August          8ß1/2014 dosed           Serene        Lee          52    Serene       Lee         N2     NYN!ar.Mud        USD    HGIFT2               0
                                                                                                                                        robin         tell               robin                    At     brains..                 TWAD-004        259
                                                                                  1W- 14081448 August          8/31/2014    complete                               AE                 rah                                  USD                               249
                                                                                  TW- 14081448 August           8/31/2012   compete     Sohn          tell         At    ,050.        en          At     balms.            USD     HGIFT2              0
                                                                                  155.14051449 August            9/1/2014   complete    erik          NieuvehoWJ    NL   Meng         XIS          NL    NYN!standard      USD     TWAO004        259        249
                                                                                  TW14081449          August     9/1/2014   tOmplets    Mk            Nleuvbsnt    NL    Meng         Xis          NL    NYN!Rundsud       USD     HGIFT2              0
                                                                                  N914081450          August    Bß1/2014    cFmplele    Andrew        M            AU    Andrew       M           AU     Mlntyee           USD     NPAD-007       259        239
                                                                                  72.14081450         August   8/31/2014    complete    A.lew         M            AU    Andrew       M           AV     ORATORS           USD     HOIFT2           0             0
                                                                                  N914051451          August    8/31/2014   complete    Kenneth       Lee          GB    Kenneth      lee         GB     beam.             GBP     150M0004       259        249
                                                                                  70.14081451         August    8/31/2014   Complete    Kenneth       Lee          GB    Kenneth      tee         GB     balms.            GBP     HGIFT2              0
                                                                                  72.14081452 August            8/31/2014   complete    Nelson        Ng           VS    Nebo.        Ng           US    Now!standard      USC     TN/PAD-007     259        249
                                                                                  TV1914081452 August          8251 /2014   complete    Nelson        Ng           VS    Nelson       Ng           US    Ny5a1 standard    OSO     0WF72               0
                                                                                  159.14081453 August           9/31/2012   compete     Sarah         Ho            GB    Sarah       Ho           GB    Wahnuree          OSO     79PÁ0-004      259        249
                                                                                  N914081453 August             8ß1/2014    complete    Sarah         Ho            GB    Sarah       Ho           OR    brsbm.            USO     HGIFT2               0
                                                                                  1V970011257 August            8/31/2014   compete     On            Wong          US    Yin         Wong         US    Nypal sendard     USO     TWAD007        259        239
                                                                                  7970011257 August            5 /31/2014   complete    Yin           Wong          US    Yin         Wong         US    Nyp.l st.Mard     USO     HGIFT2               0         D
                                                                                  759.14081454 August          8/31/2014 complete       Patrick       Chu           US    Patrick     Chu          US    balmsee           USO     T5Á0004        259        239
                                                                                  N9    14081454 August        8ß1/2014 complete        Patrick       Chu           US    Patrick     Chu          US    nein.             USO     HGIFT2               0         0
                                                                                  NP- 14081455 August          8/31/20. compete         Min           kim           G8    Min         kim          GB    NyN!standard      GBP     1WAD-RB-00e     195       395
                                                                                  TW14252459 August            8ß1/2014 compete         LI            2hng          GB    ll          Zneg         GB    brainee           OSO     TWAD-004       259        249
                                                                                  70.14081456 August           8/31/2014 complete       LI            Zang          GB    LI          bung         59    baleee            990     HOIFT2               0         0
                                                                                                                                                                                                         ba1n059                                  259
                                                                                  0W-14081457 August           6/31/2014    compete     Chineen       Chen          US    Cheg-len    Chen         US                      U50     TYPAD007                  239
                                                                                  759.14081457 August          8/31/2014    complete    CNng.len      Chen          US    CMng-len    Chen         US    SFSI505F           OSO    NGIFT2               0          0
                                                                                  N9140814$8 August            5/31/2014    complete    Mui           Yong          US    Mul         Yong         US    brain,.            USO    7WÁ0007        259        239
                                                                                  9VP- 120814S8 August         8/31/2014    complete    Mui           Vorig         US    Mui         Veng         US    bralnb.            USO    HGIFT2               0
                                                                                  NP14031459 August            8/31/2014 complete       Winne         yarn          US    Winnie      Tan          US    beim.              USO    SWAD004        259        239
                                                                                  T2.14083459 August           8/31/2014 complete       Wi IIS        Yen           US    Winnie      VW           US    basin.             USO    HGIFT2               0
                                                                                  TW- 14081460 August              9/5/2014 complete    Hewett        Wong          US    Carmen      Wag          US    brains.            USO    NPA0007         259       249
                                                                                  1VP14081460 August               9/5/2014 complete    Jlawen        Wag           US    Carmen      Wong         US    balnUee            USA    HGIFT2               0          0
                                                                                  TW- 14081461 August              9/1/2014 complete    Tamers        Einton        U5    Tamers         Bunton    VS    Nypal standard     USD    TWA.-004        259       749
                                                                                  TW- 14081461 August           9/1/2014 complete       Tourers       Rainen        VS    Tamers         B.A.      US    NyN! Standard      USO    HGIFT2            0
                                                                                                                                        Wei           Chua          AV    WA             onus      AU    brat..             USO    TYPA0004        259       249
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Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 100 of 147 Page ID
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     TW- 70011283 September                9/20/20014 complete      Mind               Chen        US        Mint.            Chen         US   Main.               U50    HGIFT2                         0          0
     7.14091246            September       9/20/2014    complete    Yue    -Wen        Cho,        US        TuerrWen         Cling             wyw! staMard
                                                                                                                                           US                       USO    7WÁ5-004                     259     10
     70. 14091246          September       9/20/2014    complete     Yueh-Wen          Chang           US    Yuen-Wen         Chong        US   wyw!O.,d.rd         USD    HGIF71                         0          0
     TW14091247 September                  9/20/2010    complete     D                 KI              US    D                KI           US   Marter.             USO    TWAD-004                     259     I0
     1..11091247 September                 9/20/2014    complete     D                 KI              US    D                KI           US   bette.              USO    NUOTO                          0          0
     1..14091248 Selene,                  9/20/2014     complete    T1ON               FELIX       Gf        TM               FEUX        GF    p.l9a! sundard      USD    7WÁ5-004                     259     10
     70. 14091248          September      9/20/2014     comp.       T10N               FELIX       GF        T10N             FEUX        GF    peypa! et.mdard     USD    HG1121                         0          0
     1..14091249           September      9/20/2014     complete    Dafang             Duran       US        Delano       Du.              US   b,Ul0l .            USD    7.ÁD-004                     259     20
     70.14091249 September                9/20/2014     complete    D.L,               Dann        US        Dal.ng       Dann             US   11.00,ee            USO    HGIFT2                         0          0
     1.- 14091ISOSeptember                9/20/2014     complete    Seoe               Sohn        SG        Seal         Sohn            SG    Malnull             USD    7.0ÁD-004                    259     10
     1.- 14091250September                9/20/2014     complete    .11                Sohn        SG        Seog         Sohn            SG    Malnute             USO    HGIFT2                         0          0
     1..14091251 September                9/20/2014     cornpleu    Jingle.            Sung                  lfnple       ZMng
                                                                                                   SG                                     5G    p.ywl surc4rd       USO    T0Á0-004                     250     10
     1.44091251 September                 0/21/2010   complete      neue               200'4       SG        Jingle       2Mng             SG   p. p.I_0t.maro      USD    1401013                        0          0
     7.44091252 September                 9/20/2014   complete      Chore              Kook        AE        Ch,              Kook         AE   Mamuee              USD    T09Á0-004                    259     10
     7.44091252 September                 9 /20/2014  complete      Chung              Kook        AE        Chum             Kook         AE   Wontete             USO    HGIFT2                         0          0
     1.4409121.44091253    September      9/22/2014   complete      Chu                Tram                  Chu              Tran
                                                                                                   CH                                      CH   wypel 10,4010       U50    1WAD-007                     259     20
     1..14091253 September                9 /22/2014  complete      Chu                Iran        0f                         Tran
     TVP- 14091254 September
                                                                                                             Chu                           CH   wow! 1and.rd        USO    X0012                          0          0
                                          9/22/2014 complete        Vincent           lam          AU        Vincent      lam             AU    blAnteec           USD    1WÁ0004                       250     10
  1.14091254               September      9 /22/2014 complete       Vincent           Tam          AU        0,1k00       lam             AU    brew.              USD    NGOTO                           0          0
  7..14091255 September                   9/22/2014 complete        Raymond           Aplou        GB        Raymond      Apiou           GB    Weiner.            GBP     TWA..                        119     SO
  1..14091255 September                   9 /22/2014 complete       Raymond           Ap lou       G8        Raymod       Apiou           GB    brain.             GBP    HGIFT2                          0          0
     1.- 14091257          September      9/22/2014 complete        RICHARD           HO           GF        RICHARD      HO              GF    ...wee             CUR    1.413-004                     250   859
     100.14091257 September               9/22/2014 complete        RICHARD           HO           0f        RIOIARO      H0              GF    M.mtra.            SUR    T.Á5-007                      259   3.41
     1.14091257            September      9/22/2014                 /2I01Á00
                                                     complete                         HO           Gf        RICHARD      00              GF    brew.              EUR

     .
                                                                                                                                                                          1401502                         0          0
     70.14091258 September                9/22/2014  complete       long              nfW.n        US        long         nftrsen         US    brain.             USD     TWAD-AC-003.7WA0-AC003U5   29.99          0
     114091259             5eptembel      9/22/2014  complete       Pebbf             Grover       CO        PabO         Grover          CA    Wain.              USD     TVPAOW7                      259     20
     1.- 14091259          September      9 /22/2014 complete       P..1.             Grow,        CA        Pabb         Grown           CA    bralMree           USO    00FT2                           0          0
     7.- 14091260          September      9/22/2034  complete       MA.o              SU,.         US        Mlhea            Um           US   braintree           USD    TWA0004                      259     10
     1..14091260 September                9 /22/2014 complete       MIM.
     7.44091261 September
                                                                                      Kim          US        Miles            leim         US   brain..             U50    KIM                            0          0
                                          9/22/2014 canotte         William           Op           GB        William      Op              GB    brainerte          GOP     TWAD-AC.004                29.99          0
  10044091262 September                   9 /22/2014 complete       Kwok              Oro          US        Kwok         Ong             US    braintrte          USD    1.45-007                      259     10
  T.- 14091262             September      9 /22/2014 complete       Kwok              Oro          US        Kwok         Oro             US    balnua             USD    OOlIT2                          0      0
  1..14091256 September                   9/22/2014 complete        BeN.a             Gong         US        &NU          Cho,                  Maltee
                                                                                                                                          US                       USD    IVPAD-00                      259     20
  1.. 14091256 Sept..,                    9/22/2014 complete        BeNut             CNa4         US        &NU          Odog            US    M.Inuee            USD    NGIFT2                          0
  T.- 14091263 September                  9/22/2014     complete    M                 Shim         CA        In           Shim            CA    p.yw1 sten.rd      CAD    TVPAD -AC-004                          0
  1.14091264               September      9/22/2014     complete    Fengyl            H.,          AU        fel9yl       Hung            AU    bra00..            USD    10000.000
                                                                                                                                                                                                      29.99
                                                                                                                                                                                                        259     10
  1.44091264   September                  9/22/1014     complete    Fenn,             Hung         AU        F.ngyl       Huang           AU    brainy*.           USO    14GIFT2                         0      0
  1W- 14090265 September                  9/22/2014     complete   MINXIN             HE           US        MINXIN       HE              US    Maintee.           U50    1.40-004                      259     15
  1W- 14091265 September                  9/22/2014     complete    MINXIN            HE           US        MINOIS       HE              US    bain9M             USO    HGIFT2                          0      0
  7.14091266       September              9 /22/2014    00eplet.    ChaoKuo           U.           AU        Chao-Kue     lien            AU    516nbte            010    1.Áp000                       259     10
  T.-     14091266 September              9 /22/2014 complete       CMO -Kuo          Lien         AU        CMoKUO       Uen             AU    Mont.              USD    HOFT2                           0          0
  7.70011284               September      9 /22/2014 complete       Man               ...IL        Hl        Men          01eung          NL    P.n.               USD    1.ÁD004                       259     10
  1..70011284              September      9 /22/2014 complete       Man               10204        NL        M.           thong           Nl    beintree           USO    HGIFT2                          0      0
  T.- 14091267            Sptemb.r       9 /22/2014  complete      Fong               Ton,        AU        Fong          Tu.             AV    brambe.            USD    1.ADO04                       259     10
  T.- 14091267            Se   ptember   9 /22/2014  complete      fang               Tun,        AU        Fong          Tu.m            AU    bralntree          USD    HGIFT2                          0      0
  7.14091268              September      9/22/2014 complete        Ger.               LOU         AU        Gerald        Loh             AU    wyw& sundard       USO    1.45004                       259    20
  1.14091268              September      9/22/2014 complete        Geoid              loh         AU        Genld         loh             AU    wypalJtanderd      USO    X02072                          0      0
  70.14091269 September                  9/22/2010 complete        Freak              Flury       NI        Freak         Flvy            NL    beauue.            USD    l.Á0007                       259     10
  1..14091269 September                  9 /22/2014 complete       Freak              Flury       NI        Reek          Huy                   bNnee
                                                                                                                                          NL                       USD    H.502                           0      0
  7.14091270              September      9/22/201/ complete        ChangShang         Foo         SG        Cl  She,      Foo             SG    train.             USO    TWAD-007                      259     10
  T.- 14091270 September                 9/22/2014      complete   Owns.,             Foo         SG        Cha,Seng      Foe             SG    brainy.            USD    HGIFT2                          0      0
  TW- 14091271 September                 9/22/2014      completa   WistoçUo           Tong        US        Omst0pher     Two             US    ...tree            USD    7.0ÁO-007                     259     20
  1..14091271 September                  9 /22/2014     complete   C711stopw          To           US       Christopher   Two                   bratnot.                  /0502
  70.14091272 September                  9/22/2014      owmolete   do..               Jaen         Pt       doof .ok      loon
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  T.. 14091172 Spt.                 .,   9/22/2014      complete   00np.06            loom         PL       604e0k        Ion             Pt    .Intro.            USD    HGIFT2                          0      0
  1.- 14091273            September      9/22/2014     complete    KKÑIy              Huang       US        Emily         Huang           US    Maltee             USD    7.ÁD -004                     259    10
  1W- 14091273 September                 9/22/2014     complete    EHAy                                     1.1y          Hung
                                                                                      Huang       US                                      US    brlmu.             USD    011001                          0      0
  1W- 14091274 September                 9 /22/2014    complete    909                dung                  gun           allang
                                                                                                  SE                                      5E    Malnew             OSO    1WAD-004                      259    10
  1.- 14091274            September      9/22/2014     complete    gor                Shane       5E        gun           :hang           5E    ',taint..          USO    NGIFT2                          0      0
  T.1409127S September                   9/22/2014     complete    Key.                                                   Truo4
                                                                                  Tr11eng         US        So 00                         US    b   b..e           OSO    TAAOAC001                   29.99      0
  T.. 14091276            September      9 /22/2014    compete     Bryan          Chwh            US        Bryn          Chu.h           US    bei..              USD    T.AD -004                     259    20
  TVP- 14091276 September                9/22/2014     complete    Bryan          Chwh            VS        Bryan         0        0ah    US    bamuee             USO    HGIFT2                          0      0
  7.44091278              September      9/22/2014     complete    Carolm.        5hak            GB        Cardin.       Shale           GB    brain.             GBP    7.0ÁD-007                     259    20
  7.44091278              September      9/22/2014     complete    Ceollne        5hak            GB        Care.         SMk             GB    Main.              GBP    NGIFT2                          0      0
  7.14091279              September      9/22/2014     complete    new                Hung        US        Levu          Hung                  Mateo
                                                                                                                                          US                       USO    TPA0007                       259     10
  7044091279 505322150,                  9/22/2014 complete        JAyu               Hung        VS        Jfeyu         Hung            US    oa0Mree            USD    HGIFT2                          0      0
  7..14091280 September                  9122/2014 complete        Penheng            wrang       US        noteng        weg             US    bUKlrae            USO    IWAD-007                      259     10
  1VP- 14091280 September                9/22/2014 complete        gardeeng           rang        US                      rang
                                                                                                            Ilanheng                      US    Mainure            ASO    IFGIFT2                         0      0
  T.- 14091281 Upton.,                   9/22/2014 complete        cook           cum             NO        oak           eurn            N2    Men.               USO    7.4D-004                      259    10
 1.14091281               September      9/22/2014 complete        cook           OUT             NZ        cook          cm              NZ    Mainaa             USO    1111FT2                         0      0
 7.14091282               September      9/22/2014 complete        Sao            CMn             US        000           Chan            US    bro..              USD    TWAD-004                      259    10
  70.14091252 September                   9/22/2014 compete        Woo            Chen            US        XIII          Chin            US    Maintee.           USD    010502                          0      0
  .0
  1.14091283              September       9/21/2014 complete       DevA           Kim             tat       Deal          Kim             N2    brain..            USO    1.ÁD-007                      259    20
  1W-14091233 5ptembtt                    9/22/2014 complete       David          Klm             NZ        David         Kim             NZ    brainbee           USD    NGIf12                          0      0
  1.-14091284 September                   9/22/2014 complete       JAE            KIM             SG        ME             KIM            SG    brainy,.           USO    7.40007                       259    200
  1..14091284 September                   9/22/2014 complete       /AE            KIM             50        ME            KIM             SG    Main..             USD    X61502                          0      0
 7.14091285               September       9/22/2014 complete       Cadence        Z11ou           US        Cadence       Zhou            US    wyw!surderd        USD    TAPA0007                      259    20
 7.14091285               September       9/22/2014 complete       Cad.nse        21.,            US        C.d.nc.       Zhou            US    wYwl s0ndud        USD    HGIFT2                          0      0
 0.14091286               September       9 /22/2014 complete      Lee            Yong            SG        Lee           Yong            SG    Maltee             USD    7.ÁD004                       250    00
 T.44091056               September       9/22/2014 complete       1..            Yong            SG        Ira.          Yong            SG    Wain.              USD    H61502                          0      0
 7.14091287               September       9/22/2014 complete       POJsawat       vlwnaprmhu      AU        Po3sawal      vlpartepunthu   AU    We1201M            USO    7.ÁD004                       259    10
 7.14091287               September       9/22/2014 complete       Poisawat       viparuSAIHhu    AU        Pgsawat       vipantapunlhu   AU    bamtree            AID    HGIFT2                          0      0
 1.. 14091288             September       9/23/2014 complete       meggk          chap            US        ma44U         r1Un            US    Main.              USO    TWAD-007                      259    15
 1.. 14091288             September       9/23/2014 complete       n,agg4         den             US        n,agee        Dun             US    balnuee            USD    1+0002                          0      0
 70.14091289 September                    9/23/2014 cam..          Alen           Lee             US        Alben         1.e                   brain..
                                                                                                                                          US                       USO    1.AD -004                     259    10
 1.14091289               September       9/23/2014 complete       Alan           lee             US        A1209         lee             US    Maltee             USO    14G1512                         0      0
 1.- 14091290             September      9 /23/2014 complete       Slang          Hay             US        Slfang        Harp            US    brain.             USD    1.40-004                      255    10
 1..14091290              September       9/23/2014 complete       Slang          Hog             US        SIN,          Hong            US    ba1Mree            USD    HGIFT2                          0      0
 1.- 14091291             September       9/22/2014 complete       Yuma           Cl.             CA        Yuna          Cho(            CA    wyw!sundard        USO    TTAD-007                      259    10
 1W-14091291 September                    9/22/2014 complete       Tuna           Choi            CA        Yun.          Choa            CA    wyw!stend.rd       ISO    X01072                          0      0
 1.. 10091292 Wptpb.,                     9/23/2014 complete       HUNG           FRANCK OCCUR    FR        Franck        HUNG            FR    Main.              SUR    70ÁD004                       259    20
 7.44091292               September       9/23/2014 complete       HUNG           FRANCK CHOEUR   FR        Franck        HUNG            FR    Walnull            SUR    HGIFT2                          0      0
 1..14091293 September                    9/23/2014   complete     Jenny          Duo,            GB        Jenny         Wong            GB    Mainute            GBP    TVPAD -004                    259    20
 3.14091293 September                    9/23/2014 complete        /emy           Dunne           GB        holy          Dumg            GB    W..M               GBP    H0FT2                           0      0
 1..16091294 Solore.,                    9/23/2014 complete        Mane           L.              US        Maria         Lee             Al    Mainute            USD    TWAD-004                      259    10
 T.- 14091294             September      9 /23/2014 complete       Marla          L.              US        Marla         140             US    balnOM             USD    X01002                          0     0
 7.14091295 Spten,be,                    9/23/2014 compete         Aenenne        Be..            GB        Adrienne      &Imes           GIS   Main2ree           GBP    7.ÁD-004                      250    10
 70.14091295 September                   9/23/2014 compete         Moen.          Balms           GB        Adrienne      Balms           GB    MNnPM              GBP    05IFF2                          0      0
 70. 14091296             Septembe,      9/24/2014 complete        Ma             Se-Rebel        GB        Mrs           SaRObey         GB    bainuee            08P
 1..14091296 September                   9 /24/2014    co,.        Ma             S0 -Robey       GB        Mrs           Sa.RObey        GB    Walnute            GOP
                                                                                                                                                                          TWAO-007
                                                                                                                                                                          HGIFT2
                                                                                                                                                                                                        259
                                                                                                                                                                                                          0
                                                                                                                                                                                                               20
                                                                                                                                                                                                                 0
 1..14091297 September                   9/23/2014 complete        A ly           Op              GB        Amy           Op              GB    wyw! stard.,d      GBP     WAD-004                      259    10
 70.14091297 SeOlamber                   9 /23/2014 complete       AmY            Yip             GB        Amy           Ylp                   wyw! standard
 1..14091298 September
 70.14091298 September
                                         9 /23/2014 complete
                                         9/23/2014 compete
                                                                   VIncho
                                                                   199000
                                                                                  Georg
                                                                                  Chou,
                                                                                                  GB
                                                                                                  08
                                                                                                            Wendy
                                                                                                            Wendy
                                                                                                                          CMung
                                                                                                                          ow.g
                                                                                                                                          GB
                                                                                                                                          NO    bann
                                                                                                                                                Main.
                                                                                                                                                        .          GBP
                                                                                                                                                                   USD
                                                                                                                                                                          NGIFT2
                                                                                                                                                                          TAD-007
                                                                                                                                                                           OP
                                                                                                                                                                                                          0
                                                                                                                                                                                                        259    10
                                                                                                                                                                                                                 0



 70 .14091299             September      9/23/2014     cal.
                                                        me         Polly          Tom             US        Polly         Tam
                                                                                                                                          NZ
                                                                                                                                          US    bre xl0M
                                                                                                                                                                   USD
                                                                                                                                                                   ASO
                                                                                                                                                                          X01502
                                                                                                                                                                          TOPAD-007
                                                                                                                                                                                                          0
                                                                                                                                                                                                        259    30
                                                                                                                                                                                                                 0

 1..14091299              September      9/23/2014 compete         Polly          lam             US        Poly          Tam             US    blam9M             USO    HGIFT2                          0      0
 1..14091300              September      9/23/2014 complete        Kin            Slew            US        KIn           Sew             US    bamboo             USD    TAPAD-007                     259    20
 1..14091300
 1..14091301
                          September
                          September
                                         9/23/2014 complete
                                         9/23/2014 complete
                                                                   Km
                                                                   Rhonda
                                                                                  Sew             US        Kin           Sew             US    twit.              USD    HGIFT2                          0     0
                                                                                  Yen             US        Yong          Yen             US    b.Á0..             USD    1.ÁO-004                      250    20
 1..14091301              September      9 /23/2014 complete       RI.M.          Yen             US        Yw4           yen             US    bombe.             USO    ÁS1002                                0
 T  .14091303 Sptem ber                  9/23/2014 complete        Hl u           11.             AU        Hlu           .1              AU    bro.,.             AUD    TWAD-004
                                                                                                                                                                                                          0

                                                                                                                                                                                                        2S9    10
 7VP14091303 September                   9/23/2014 complete        HA             IOU             AU        Hlu           0101            AU    brain.             AUD    HOIFT?                          0     0
 1..14091304 September                   9/23 /2014 complete       Mo             Meng            NZ        Mo            Meng            N2    bei0Hree           USD    IVPA0004                      259    10
 1W- 14091304 September                  9/23/2014 complete        Mo             Mang            N2        Mo            Meng            52    brain.             USO    HG1502                          0     0
 T.- 14091305     September              9 /23 /2014 complete      IMrggeaig      hung            AU        Zhe44M4       hung            AU    wyw!stend.rd       AUD    IWAOAC004                   29.99      0
 T.-     14091306 September              9 /23/2014   complete     &try           Koh             AU        Betty         Kph             AU    wyw! sanded        USD    TVPAD-007                     259    10
 1.44091306               September      9 /23/2014   complete     Betty          Koh             AU        &M            Koh             AU    wyw!sanded         USD    NGIFT2                          0      0
 7.14091308               September      9 /24/2014   complete     Lee            Chew            AU        L.            Crew            AU    wyw!    stranded   AUO    70ADO07                       259    10
 1.44091308               September      9/24/2014 complete        L.             Chew            AU        lee           Oww             AU    wyw!sUnderd        AUD    TWAD-004                      259    10
 1.14091308               September      9/24/2014   complete      Lee            Chew            AU        Lee           Oww             AU    wypa! sunda,d      AUD    HGIFT2                          0     0
 70.14091310              September      9 /24/2010 complete       Sew            Hog             SG        Slew          long            SG    bainOM             USD    70A0007                       259    10
 !.14091310               September      9/24/2014 complete        Sew            Hong            56        Sew           sang            SG    ,muee              USO    NGIFT2                          0     0
 7.14091311               September      9/24/2014 complete        Tun            U               US        Tun           U               US    wrote!sunANd       USD    T.Á0004                       259    10
 1..14091311              September      9 /24 /2114   complete    Tun            li              US        Tun           U               US    wyw! stranded      USO    HGIFT2                          0
 TUC14031312 September                   9/21/2014     complete
                                                            ete    Nla    lm      lute            GB        Hpa
                                                                                                             u11          LW              GB    W...               GOP    70ÁD007                       259
                                                                                                                                                                                                                0
                                                                                                                                                                                                               20
 1..14.1312 September                    9/24/2014     complete    Hu<hce         LW              GO        Huehoa        lw              18    balnlree           GBP    X1012                           0     0
 TW14091313 September                    9/20/2014     complete    Wendy          Gan             NZ        Wendy         Gan             NZ    Wain.              USD    TVPAD004                      250    10
 7.14091313 Septembe,                    9/24/1014     complete    Wendy          Gen             NZ        Wendy         Gan             NZ    baAtee             U50    NGIF72                          0      0
 T.- 14091314 September                  9/24/2014      complete   yen            Sung            US        yen           dang                  bram.ae
  .-
 170011285 September                     9 /24/2014     complete   Vkkle          Uang            US        Wide          Uang
                                                                                                                                          US
                                                                                                                                          US    baine<
                                                                                                                                                                   U50
                                                                                                                                                                   USD
                                                                                                                                                                          TWAD -ÁC-004
                                                                                                                                                                          TWAD004
                                                                                                                                                                                                      29.99
                                                                                                                                                                                                        250    20
                                                                                                                                                                                                                 0

 1..70011205 5151600/1                   9/20/2014     comp...     Vkka           Usng            US        Vkk.          barg            US    baue.              USD    HGIFT2                          0      0
 1..14091318 September                   9/25/2014     camdete     Fnedl          Georg.          US        011.519       Run             US    Statt..            USD    1.0Á5O04                      259    10
 1..14091318 September                   9/15/2014     complete    Aned1          George          US        Xujin         Run             US    b.U5.              USD    HG/T2                           0     0
 70.70011216 September                   9/24/2014     con..       UU             U               AU        OU            U               AU    payw! sanded       USO    70AD007                       259    10
 7070011256 Septum.,                     9/24/2014     complete    UU             U               AU        UU            U               AU    wyw!saÑ.,d         USD    HUIFT2                          0
 7. 14091319              September      9/24/2014     complete    5ANGIVN        AN              VS        SANUN
                                                                                                              W           AN              US    bamboo             USD    T0-0
                                                                                                                                                                           9Á07                         259
                                                                                                                                                                                                                0
                                                                                                                                                                                                               10
 7.14091319               September      9/24/2014     complete    SANGAIN        AN              US        SANGION       AN              US    WeInvee            USO    HGIFT2                          0     0
 1.-14091320 September                   9/24/2014     complete    Jchmry         Zhu             AU        10Mny         2mu             AU    wyw!sanded         AUD    IWAD004                       250    10
 1.. 14091320             September      9/24/2014     complete    Johrwy         Zhu             AU        lohnrry       Zhu             AU    wyw!standard       AUD    NGIFT2                          0     0
 1.44091322               September      9/25/2014     complete    Wo             Chan            DE        Wei           Cum             DE    Mainute            SUR    7.4D007                       259    20
 70.14091322 September                   9/25/2014     complete    Wal            Chan            Df        WO            Chen            DE    baino              SUR    101002                          0      0
 1.-14091323              September      9 /25/2014    complete    Cho            lam             GB        Chef          Lam             GB    wl9el   120220 d   GBP    1.ÁD007                       259    10
 1WP44091323              Sept..,        9/25/2014     complete    ChA            Lem             GB        O.            L.m             GB    wyw! H.ndaro       GBP    00012                           0      0
 T.-74091321              September      9 /25/2014    complete    Heidi          let             US        Hebei         lee             US    brainOM            USD    1.4D-007                      259    20
 T.- 14091324             September      9/25/2014     complete    HeMI           lee             US        Hedl          lee             US    bOlnOM             USD    061002                          0     0
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 101 of 147 Page ID




                                                                                                                                                                        AU     Paul           to          AU      Ma   Intr.                      NPAD004         259        20
                                                                                   TW14091325 September            9/15/2014 complete        Pad            Lo
                                                                                                                                             Paul           lo          AU     Pad            lo          AU      bainAee                         HGIFT2            0          0
                                                                                   TVA 14091325       September    9/2S/2014 complete
                                                                                                                                                                                                                  balmy..                                        259         10
                                                                                   T-
                                                                                    W 14091326        September    9/2S/2014 complete        this           there       A2
                                                                                                                                                                        NO
                                                                                                                                                                               ohms
                                                                                                                                                                               drye
                                                                                                                                                                                              chey        NZ
                                                                                                                                                                                                                  brainuee
                                                                                                                                                                                                                                                  TVPAD-007
                                                                                                                                                                                                                                                  HG19T2            0          0
                                                                                   TW-14091326 September           9/25/2014 complete        dvls           dory                              Meng        NO
                                                                                   TW14091327 September            9/21/2014 complete
                                                                                                                                             Pat.           CNu         NO     Patrick        CNU         NZ      bain.e<                         TWAD-007        259        10
                                                                                                                                                                                                                                                  001072            0          0
                                                                                   TW. 14091327 September          9/25/2014 compete         Pat.           CNu         NO     Patrick        Chu         NO      bramtree
                                                                                                                                                                                                                                                                  259        10
                                                                                                                                             Der.           CMm         NZ     Denis          Gins        NI      wlwl}tand.        d             MAD-004
                                                                                   TVP14091328 September           9/25/2014     comlete
                                                                                                                                                                                                                                                                    0
                                                                                   NP 14091328 UlONNA.             9/25/2014     compete     Danis          Caine       NZ     Denis          Cake        NZ      wya!surd.rd                     HGIFT2                       0
                                                                                                                                                                        G8     Ka                         GB      brántre<                        MAD-007         259        10
                                                                                   PVP- 14091330 September         9/16/2014     complete    K.             Your`                             Yeung
                                                                                                                                                                                                                                                                               0
                                                                                   NP.2.091330 September           9/26/2014     complete    Ka             Ye,         OB     11             Young       GO      balm.                           HGIFT2            0
                                                                                                                                                                                                                                                                  250        10
                                                                                    W09
                                                                                   T141331            September    9/26/2014     complete    Voila,         Chou        NL     Youhame        Chou        NI.     báAOee                          DOPAI-007
                                                                                                                                                                                                                                                                    0          0
                                                                                   7W- 14091331 Shammber            9/26/2010    complete    Your:,         Chou        NL     You.,          Chou        NL       bounce.                        00012
                                                                                                                                                                               Roel                       US      brainuee                        MAD-004         I59         20
                                                                                   1W- 14091332 September           9/26/2014    complete    RoI            LIe         SR                    Computers
                                                                                                                                             Roel           LA          SR     Roel           Computers   US      bánuee                  USD     00002             0          0
                                                                                   TVP-   14091332 September        9/26/2014    complete
                                                                                                                                                                                                          CA      Waimea                  CAD     100Á1N004       259         10
                                                                                   1M. 14091333 September           9/26/2014    complete    hung           Le          CA     hum.           Le
                                                                                                                                                                        CA                    Le          CA      loamtrae                CAD     H6012             0             0
                                                                                   100. 04091333 September          9/26/2014    complete    hung           Le                 pure
                                                                                                                                                                        NO     Trevor                     N2      Weinre                  USO     MAD-007         259         10
                                                                                   TW- 14091334 September           9/26/2014    complete    Trevor         Chang                             Chang
                                                                                   700.14091334       September     9/26/2014    complete    Trevor         C,K         NZ     Trevor         Chang       NZ      Wino.                   USD     H61FT2            0          0
                                                                                                                                                                                                          GB      brainy..                USO     MAD-004         219         10
                                                                                   TW- 091336
                                                                                        40                          9/26/2014    compete     OA e           hw llu      08     plane          Au
                                                                                                September
                                                                                   TW- 14091336 September           9 /26/2014   complex     gory           hue Ihr     GB     plane          Au          GS      brainuee                USO     .012              0          0
                                                                                                                                                                        AU     Miguel                     AU      POYa!Feindemd           USD     MAD-004         259         10
                                                                                   100. 14091337      September     9/26/2014    complete    MJdud          Lung                              Zhang
                                                                                                                                                                                                                                                                               0
                                                                                   1W- 14091337                     9 /26/2014   complete    Miguel         ZhenA       AU     Midual         thong       AU      aypal rundarg                   HGIFT2            0
                                                                                                      September                                                                                                                                                   250         10
                                                                                                                                 con pen     FAWN           Frl1Oter    AU     Robert         9deder      AU      paypal standard         AUD     MAD-004
                                                                                   TW- 14091338       September     9/26/2014
                                                                                   1W- 14091338       September     9/26/2014    P.P.        Rohem          FO.dler     AU     Robert         Fnedler     AU      NYa!standard            AUD     HGIFT2
                                                                                                                                                                                                                                                  TOPAD -004
                                                                                                                                                                                                                                                                    0
                                                                                                                                                                                                                                                                  259         20
                                                                                                                                                                                                                                                                                  0
                                                                                   1VP- 71091339 September                       complete    SemeW4i        11,         MY     SeneWel        Ting        MY      bamtree
                                                                                                                    9/26/2014                                                                                                                                       0          0
                                                                                                                                                                                                          MY      bánlree                         HGIFT2
                                                                                   1VP- 14091339 September          9/26/2014    complete    SengWei        ling        MY     SengWel        TI,                                                                 259         30
                                                                                                                                             Nail           Loo         US     Nell           too         US      brainuee                        TVPAO-007
                                                                                   TW- 14091341 September           9 /26/2014   compete
                                                                                                                                                                        US     Nell           Loo         US      Warnen.                         HGIFT2            0             0
                                                                                   100.14091341 September           9 /26/2014   complete    Neil           Loo
                                                                                                                                                                                              he                  blanko.                         7WAD -007       259         10
                                                                                   TW14091342         SW...,        10/5/2014    complete    dang           goon        US     si                         US
                                                                                                                                                                                                          US
                                                                                                                                                                                                                                          USO
                                                                                                                                                                                                                                          USO     14GIFT2           0             0
                                                                                   100. 14091342 S.2t.mbO          10/5/2014 complete        day            Soon        US     Y              lee                 Wainer.
                                                                                                                                                                                                          NO      Mainztee                VSO     TV/MO-004       250         20
                                                                                   TOP- 70011287 September          9/26/2014 complete       Ken            Tang        NO     Ken            Tang
                                                                                                                                                                        NZ     Ken                        NZ      brainy..                USO     HAFT2             0             0
                                                                                   11/17-70011287     September     9/26/2014 complete       KM             Tory                              Tang
                                                                                   NP- 14091344 September           9/26/2014 complete       lc.            Pyo         US     00M            FY0         US      aypa!suM.rd             USO     1VPAO-004
                                                                                                                                                                                                                                                  H6012
                                                                                                                                                                                                                                                                  259          10
                                                                                                                                                                                                                                                                                  0
                                                                                   IW      14091344   September     9/26/2014 c0mpkte        John           Pyo         US     lohn           Pyo         US      w0al standard           OSO                       0
                                                                                                                                                                                                                                                                  259          10
                                                                                   TW- 14091345 September           9/26/2014 complete       WAIYEE         TSANG       G8     WAIYEE         TSANG       GB      PIOOI sUMard                    TWAD004
                                                                                                                                                                                                                                                  H6FT2             0             0
                                                                                   TW- 14097345       September     9/26/2014 complete       WAIYEE         TSANG       GB     WAIYEE         TSANG       GB      paypa! stand.rd         GBP
                                                                                                                                             Davd           K.                 David          Kh          US      aural surdard           USD     MAD-C94         2SO          10
                                                                                   100. 14091346      September     9/26/2014 complete
                                                                                                                                                                                                                  paywl slard.d
                                                                                                                                                                                              Kim         US                              050     AGIFT2            0             0
                                                                                   1yre- 14091346     September     9/26/2014 complete       0.140          Kim         US     David
                                                                                                                                                                                                                                                                  259          20
                                                                                   N P- 14091347      September     9/27/2014 complete       Jmee           twy         US     km.            ISSN        US      brántree                USD     TWAD-004
                                                                                   NP- 14091327 September           /27 /ZO34 complete
                                                                                                                    9                        Joyce          0sang       US     Joyce          Vary        US      Malm.                   USO     001FT2            0             0
                                                                                                                                                                        US     yu             yrery       US      bansee                  USO     TWAD-007        259        8.96
                                                                                   T00. 14091348 September         9/27/2014 complete        yu             dare
                                                                                                                                                                                                          US      brainy..                USO     TAPAD-AC-004   29.99       1.04
                                                                                   NP 14091348   September         9/27/2014 complete        Yu             hung        U5     Yu             Seery
                                                                                                                                                                        US                                        baln0ee                         HGIFT2            0             0
                                                                                   TW- 14091348 September          9 /27/2014 corn /Pete     yu             Share              Yu             Suit'       US                              USD
                                                                                                                                                                                                                                                  IWAO.007        250          20
                                                                                   100-14091351 September          9 /27/2014 complete       Ohmer          Ilea        FR     Olivier        019         FR      wyw!suMard              USD
                                                                                                                                                                                                                                                                    0             0
                                                                                                                                                            lieu               Olivier        heu         FR      aYwl standard           U50     X01112
                                  #:20628




                                                                                   100 1409 13 5 September
                                                                                                  1                9 /27/2014 complete       06vIer                     FR
                                                                                                                                                                                                                  brain..*                USD     TWAO-004        259          10
                                                                                   TW-14091353 September           9 /26/2014 complete        Hd            Yon         OS     Waring         LI          US
                                                                                                                                                                        US                    U           US      Mainly..                USD     HGIF72            0             0
                                                                                   TW14091353 September            9 /26/2014 complete       Ad             Tan                Wenliiry
                                                                                                                                                                        US     Wen            Chen        US      bámree                  USD     TWA0.004        259          10
                                                                                   1VP-70011288 September          9/30/2014 complete        Wen            Clan
                                                                                                                                                                                                                                                  HGIF12            0             0
                                                                                   1VP-    70011288 September       9ß0/2014 complete        Wen            Chen        US     Wen            Chen        US      bain0ee                 U50
                                                                                                                                                                         US    Geomet                     US      barme.                  ASO     MAD-004         259          10
                                                                                    7VP- 14091354     September     9/28/2014 complete       ChaaNIl        Xiang                             Xiare
                                                                                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                  HGIFT2                0
                                                                                    TW- 14091354      September     9/28/2014 complete       Chown!         Xiang        US    Chaomei        Na,         US      610r0ree                050
                                                                                    1.-  14091355     September     9/21/1014 complete       Ken            lee          SG     Ken           Lee         SG      Oahu,.                  OSO     TWA...          259          10
                                                                                                                                                                         SG                   tee         SG       Wham..                 VSO     HGIFT2                0          0
                                                                                    100. 14091355     September     9/28/2014 compete        Ken            Lee                 Ken
                                                                                    NP- 14091356      September     9/28/2014 00mp 0ete      Eddy            T
                                                                                                                                                                 w       US     Eddy          lw          US      bralmsee                U50     1VPAD-007       259          20
                                                                                                                                                             Tau         US     Eddy          TM          US       bralm.1                USD     X0002                 0          0
                                                                                    1VP. 14091356     September     9/28/2014 compete        Eddy
                                                                                                                                                                                                                   brat/It/II                     MAD -007        259          10
                                                                                                                    9/28/2014 comet.         'Alan          Am           US     Yulan         Xue         US                              USO
                                                                                    WW- 14091357      September
                                                                                                                                                                         US     Yulan         Ase         US       brainuee               USD     HGIFT2                O          0
                                                                                    POP-14091357 September          9/28/2014 compete        Ydam            Xue
                                                                                                                                                                         GO     roe           Thompson    GB       aYPal standard         GBP     TWAD-007        259          10
                                                                                   TYP-1.91358   September          9/28/2014 complete       Joe             Thompson
                                                                                                                                                                                                                                                                                   0
                                                                                   TW14091358         September     9/28/2014 con9ete        Joe             Thompson    GB     la            Thompson    GB       wyw!standard           GBP     1401972               0
                                                                                                                                                                         US                   Ku          US       brainy..               USD     TOPAD -004      259          10
                                                                                   TW14091359         September     9/28/2014 complete       lommy          Ku                  Tammy
                                                                                                                                                                         US                   Ku          US       brántree               USD     HGIFT2                0          0
                                                                                   N944091359         September     9/202014 campet.         Tammy          Ku                  Tommy
                                                                                                                                             TI+omas         Lee         US     Thomes        Lee         US       brainuee               USO     MAD-004         259          10
                                                                                    000. 14091360     September     9/28/2014    complete
                                                                                                                                                                                                          US       brainuee               USO     1101;72               0          0
                                                                                    1.14091360        September     9/28/2014    complete    Thomas          Lee         US     Thomas        Lee
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 VLSIOIAIdALL    +.n,0       7t0i/9S/0l    aupu.,      4AAn               ili      sn    Mun         »t           sn    I.dASp Piepulti    OSn    P00-0YdA1                   652      OI        GAZ
 9L1T0[91dA1 sagoi70         9102/9l/01 Naldu.,        Mun                >1       SA    MAA         aal          sn    psepUnil.PMO       OSn    2UIii                            0    0           0
 60E11002d41 4W170           7IO2/9T/Ot    p.23 >,7    n              lueM         ON    Il          AuM          ON    aanuWg             Mn     0000Y441                    6S2      0[        672
 60EI1002dA1 +aWl..          A[CL/9t/0S    n/ium       A              lueM         ON    il          9u..t        ON    »4uNN              OSn    21l17H                        0       0          0
 SLTtO'19i-dA1 »gia70        7lOt/9T/Ot pepum          ool                               lot                            »nuNg
 SLStO'14t441 41010
                                                                          8uo%     3V                947X         3tl                      °Sn    L00-0VdAl                   652      it        6E2
                             7102/91/01 alapwoo        coq                7u44     3V    7of         9uo%         3tl   »qA!ng             osn    ZUtiH                            0        0       0
 9LLt0tp'1dLL +.4u0          OIOt/9T/OS mrPiO          ua%                n        Bt                             Bt
                                                                                         Aa%         n                  IAPAaP   piapuni   dBD    900)tl-0YdAI               66'6L          0   66'6L
 BLITOI9ld41 +.P170          AI02/9T/Oi mNdum          MIeS               8u0H     Atl   AIIes       1t.p1        AY                       OSn
                                                                                                                        IeWed pxpumti             POOOtldAl                   652      O[        67Z
 8LSLO1tt-d41 +.0170         /0S [OUST b amldud4       AB5                1uoH     Atl   AIRS        91.H         AY    Ieded P4.Wnti      nip    21iIDH                           0        0       0
 621I0191-dAt     +.0.0      7IO2/91/0I Napwoo         euuo.              ...Na    Sn    eu.,        ueudN,       Sn    Ieded W.Wnti       OSA    9O0.OYdA1                   6S2      02        6EZ
 6LSSOTAt-d41     4.410      9102I91/0T alalP.dt       e.uON              ueudN,   Sn    AP.N        ueudN,       Sn    ItPAAd P+eAAnti    OSn    ZUtDH                            0        0       0
 OHL'1OSVUdAl +.0770         Alii/91/C1 Nndum         M»¡             IaM          MI    .e(         1a           m     »nwe+g             OSn    200.0VdAI                   652      O[        672
 0Bt[oi01-dAL +.+770         97CL/9T/Oi atadaA»       M,r¡            PI           nr    M»(         RI           Atl   anWeN              OSn    ZUIiI                            0    0          0
 I8tt0It1d41 +a0170          4tU/9S/OS aupum           uM7u!W+uK      p74)         YD    uses       p40           V)    aanuNN             MO     400O7d41                    65t      OL        6E2
 T8S[OSOS-dAl    4.n7°       7102/91/01    upado       usK-9uIW«uK    p4J          YD    wa5        PH)           PD    apnultg            °VJ    211MJH                           0    0           0
 29titi9t-dLL 4.n70          pT0U9t/Ot     urum       A+°             AIaW         ANI   u»al5      Ao1           AN    »nuleg             °sn    P00-OtldAl                  652      Oi        67Z
 281IOSAIdLL +447.0          910i/9T/OI    mugi,       A+O            AuW           AN   u4.15      Aiial         Al    euwlrg             °sn    LllIDH                           0    0           0
 £8TI010[dA1 +a0n70          0102/Lt/OT    ampo,       PttOAW         mox»3        VB    srns9.W    A+Iana,       sn    »swleg             Mn     P009Yd41                    652      OL        6K
 E91[0'1A'1dAl rat0170       bT02/LS/Ol    NAldu,      smAeW          Nion7y       YB    4M9tW      morna,        Sn    aAnuleq            Mn     ZUItH                            o    0           0
 pB1t0191dA1 +aW17p          pIOL/9i/Oi »eIdY+D,       nAPAI%         nil          Sn    nA4.1X      nn           Sn    »nPeN              OSn    700.OYd11                   652      02        6EZ
 962L0[9I-d.1    +.0.0       41CL/91/OS    upum        n101!i(        nn           Sn    nAOe!X      nn           Sn    »nwtN              °sn    ZUpii                            0    0           0
 S8l[DIA[-d41    4.pu0       VIOL/9l/OT    nepu.,      MPM9           ANJ          nY    47M%       0N0           nY    ,eded P4eWmi       OnY    e000YdA1                    65Z      OT        GAZ
 S6T10[OTW 4.Pt70            pIO2/9I/01    alapu,      ipaAa          AaY)                          uetp          nP
                                                                                   AY    Mw%                            IedAtd PuWmï       OnY    21lIDH                           0    0           0
 98110t01d41 +.n70           OSOZ/LI/OI    N4pum       us.is          9upAPX/N      AN   utAe15      147a7M470N   MN    aa4wleN            OSn    700-0YdAI                   bSi      CL        6£L
 93TI0[0tdAl 44,70           7SOZ/LtlOt    Neldl,      w.7ç           A.aA019N     AW    uwtS        A.a7MpI,lN   AN    »+itileN           Oin    ZUp)H                            0        0       0
 LSTSOt7tdAl ngo»O           9t02/LT/OL    Nul.,       AMaM           unaA         Sn    uWM         unaA         Sn     aAnuuq            °ín    200-0Vdü                    652      0I        PAZ
 LetTOt9L-dAL sagoa70        0L02/LT/OS    .IPwia      u1AZX          w..M         Sn    u!.M        wnaA         Sn    »i1Weq             Mn     21lHHS                           0        0       0
 89210291-d41 n9o70          7IO2/21/01    lpam        l417on0        u.M9N        BD    lt°ien°     uaAn9N       BD    aa+wleN            OSA    LSO-01AdA1                  6S2      Al        672
 llilOtAi-d4L 4.010          AT02/LU/OS    eleldu.J    1e074n0        uA^9N        lit   le0aP40     aM.fN        Al    »sw,eN             °sn    ZU17H                            0        0
 0l£It002-L4l 4.0170         nuit/Lt/O[    alare,      OA4i           II           V)    Mot         II           h     aNlu,esl           Osn    700-01dAl                   652      OS        6p2
                                                                                                                                                                                                    0

 681101t1d41 +.41,0          VSCZ/Li/05    4ta1Pu,    auwn5           AM           Si    aususns    uNJ           SA    apwl.N             Mn     11000tld11                  652      Al        6A2
 681I0t4t-441 u10170         'ter/ci/os npCPiO        N.rg            uuL7         ín    ...ni      uttp          sn    aZnulAq            OSA    214I011                          0   0           0
 061i011,I4AL +a47170        7102/81/01 atapum        ml              331          AD    ml          331          !D    »nwtq              Bn3    7000VdALL                   652      Ot        6AZ
 06Tt0t91-d41 +.g.170        PI02/8T/OI NNdw04        ml                                 m1                             atnu!rg
                                                                      331          !D                331          ID                       Ail    21lIDH                           0    0          0
 161t0ttl-461    ..suo       ATOL/CS/OS NaldwbO       AIIK            90o11        BD    AIiK        Ami          GD    .aw!eN             Oli    700-0Vá11                   6SZ      0L        6AZ
 t61t0i4idAl     s.o.0       0l0ULt/OT atadu.i        AIIK            8AOn1        BD    AIIK        Ouen         9D    aanuleg            OSn    tU1tH                            0    0          0
 Z6T[OleldAi NW170           Alit/27/01 atapu.s       90!.            41           Sn    AH.         ot           SA    »nulpg             OSn    L000Ad41                    652       O        6E2
 Z62I01PI-441    +.A.0
 E6120I9l-d.l +.W70
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 E61201PldAl uW770           7102/2I/0t    npp.,      un              HAZA         Bi    AM718       t1n          BB    »nu,eN             OSn    2U1i1                         0       0          0
 961t01P1-d.l 4ago17O        9102/LI/0t    M.P..      s44°            BuNZ         Sn    siso0      9uN2          Sn    »4u144             °sn    L000YdN                     6SZ      et        6E2
 46110141.141    441,0       p102/Ll/3L    ..101,     4400            2+N2         Sn    1,3        ../2          Sn    aPnuln/            Dsn    211.                             0    0          0
 561101e1,41 7.10110         btOZ/[ilOS    papu,      tVPO            ArNt         Sn    44p0       A+NZ          5A    »nuIN1             asn    ...MM                       6S2      CZ        6E2
 5óSiti9i-dAl 4gis70         A[02/LS/OL    NZpu.7     1+00 s          NZ 9u        5n    s00 si     A+NZ          sn    >anweN             QSn    2UION                         0       0          0
 961S0Tp1-dA1 4egp»o         7t02/LS/OS    +lapa.,    op7                                9afsa
                                                                      9urM         ZN               9um           ZN    ndMd Pipumti       OSn    200-01/4AI                  652      OZ        6E2
 %11ot7TdAL      .o10        A102/21/0l    lepu.      ou              1utM         2N    nue         funi         ZN    ,.dAed NApuni      Osn    ZUItN                            0    0           0
 IOIAIdAl LOI 4a47t70        4102/LI/Ol A.IPt++i7     sa7ad           no           Sn    +mpd        no           in    »4741eN            05n    p00OVdA1                    652      01        GAZ
 L6tT01A1dA1 4AW170          Alit/LS/0S alapum        4N>d            n°           sn    1414p       Ni           Sn    aanweN              05n   2111tH                           0    0
 961I019IdAl n10170          Alit/Ll/Ol alado.,       u4p             ata          sn    u.,         PtP          sn    aanuPN              °5A   900-0VdAl                   65t      01        67Z
                                                                                                                                                                                                    0


 86I10i91d41 +agn70          Alit/21/01 alapu,        uey7            41,          sn    uatP       pl7           Sn    »nurN              05A    Illlil                           0    0          0
 661121191-dAl   ngo.0       DURAI/OS      Nepum      t1W/            9N           n,    AlPOf      9N            Mi    »AUlpg             OSA    7000VdA1                    65Z      OI        602
 66Lt0191441 +4ota°          910UBS/OS     alapu,     alpi(           AN           M     PAPI       AN            mg    aZnw.g             OSn    L1lIDH                           0    0          0
 tLEtItOL-dAl +e1p170        7102/8í/OT    emdA.,     DNVt            AnOW         B!    tNtl1      AnOw          B!    »nupN              °sn    200Otld41                   652      Ot        672
 IIAtt00LdA1 +Agp70          el0tl8T/OS alalPUdi      DNYl            A110W        B!    DNtll      Af10W         NI    »nuMp              OSn    tUIDH                            0    0          0
 00ZIOSp1-dM     n1o»°       AIOZ/8S/OI ate14W0,      olu.W           neseMl       SA    iluaW      NRwI          SA    »nuleg             OSn    7000Vd41                    6SL      OT        6AZ
 SOZIOIPIdALL    ltgol0      plCt/8T/OS slelu+o,      oMHeW           Hea.I        SA    isINV!     Pest.         SO    atnulrq            OSn    IUIDN                            0    0          0
 [0Z[0141dA1 rge17°          9102HI/PI NNru.I         .ayneW          N»20         BO    +ANUeW     Nen.O         8D    a>nuwN             dit    1000tldA1                   652      01        6AZ
 10Z[OLPIdAl .00770          910Z/8T/61    Pupo,      MayuaW          NtalO        Bt    May1»W     NtNQ          BD    »nuNN              dit    21lIDH                           0    0          0
 LT£[SOOL-dAl    s.oi-70     p102/11T/OT   Nppu.,     4Na             9uON7        39    Alpi       1u0xP         3B    IMA.d P+tpunti     OSn    Z00Jtl-0VdAl               66'6Z      0       66'62
 2oLlOt9tdAl     s.p.0       P102/BT/0l alaldu.a      AW.W            p0                            PO                  anuHN
 Z0Z10IPI-dA1    .90
                  01         p102/BI/0T woa   up      AWeW            PO
                                                                                   3V
                                                                                   3V
                                                                                         AWW
                                                                                         Apt,       b0
                                                                                                                  3V
                                                                                                                  3V    .40,1
                                                                                                                                           OSn
                                                                                                                                           Mn
                                                                                                                                                  A00OtldA1
                                                                                                                                                  t1317H
                                                                                                                                                                              O5Z
                                                                                                                                                                                   0
                                                                                                                                                                                       OT
                                                                                                                                                                                        0
                                                                                                                                                                                                 060
                                                                                                                                                                                                   0
 602I0I9T-dAl +ag0.0         OSOUQT/Ot     aupwi,     1A1             ..M          it    Bun        A.M           ig    lea/ed PitWNti     05n    7009VdA1                    652      OI        6e2
 90ZI0[pLdAl     Mou°        pt02/0U0L     eupu,      8u/í'           HaII         80    lulA        fuel         BD    /11I1114 Of        OSA    POQJYOtldAl                66.62              66'62
 502I01b1dAl     M,.3        9SOt/01/0t    mapo,      as,             nel          Sn    anus        nn           Sn    »nu/eN             Mn     0009,A1                     6St
                                                                                                                                                                                        0
                                                                                                                                                                                       OZ        6E2
 SOLt01pid41 sapiu0          0102/91/01    atapu,     arms            n.1          Sn    MnvS        nel          Sn    »nANN              °sn    2111DH                                0
 902[0I41dAl M4170           pi0t/91/0t impum         tawpf           uIl          ZN    sNi+A(      un           2N    aanutng            OSn    0OO-0YáAl                   652      Oì        6£2
 90ZLOlPIdAl +ago..          b[OZ/Bi/0[ Naltlu.a      saPe1           u11          ZN    »wn         VA           ZN    »nur.p             °sn    LUIDH                            0    0           0
 L0ZI0tPi-dA1 sa1p17°        AIOL/8[/O[ Nrydu.7       A..w            An9u         nY    4.0,                     me    »nu/.g             tSn    000OtldA1                   6S2      Ot        PAZ
 COLS010I-dAl ng4170         DI02/81l01 t7pum         Aa.w                         nV    nAOw       An9u          nV    aanuNSg            °Sn    2UIDH                            0    0          0
 80L101A1dLL 4aW17°          P10L/81/o1 NpP.l         AtM             ail          SA    AaM        4en           sn    »nAHN              Mn     P000tldA1                   652      0i        6AZ
 80t'1OIV1dLL MPt7O          7'1OL/BT/0[ MNpu.7                       tin                                         Si    »+w/eN
                                                      uaM                          SA    uaAA       oell                                   tin    ZUIDH                            0    0          0
 60210171dAl     s.7t70      PIOZ/lT/OT    Napu.      uaMOB          Huent         AV    ue.OB      lue.          AV    w+w!eq             .sn    700.0tld41                  6S2      O[        6e2
 60Ll0ietdA1 4>W170          0102/BT/OT    atapu.o    ua.PB          Asw           nt/   u..PB      Buell         AV    aanwag             OSO    2111tH                           0    0          0
 El£11002d41 4.0170          bt02/67/01 .laido,       NM             OY)           ZN    NM         OVO           ZN    »ntAtN             Mn     L000NdA1                    652      OL        6A2
 £'1E'11S0LdAl +>g0170       9102/61/02 nmaAm         NM             OV)           ZN    NM         OV)           ZN    »nuteN             OSn    2UItH                            0    0          0
 SiLIOTPidM s.7170           A102l61/01    parum      4NNa/          nn            Sn    nY.uuaf    NI            sn    PoAW PseWmti       Osn    L000V6LL                    65Z      OL        692
 OitiOip[dAL ...PO           7102/61/01    nepa+»     nlp+uef        n/l           Ni    sayuua/    nA            sn    I»Aed pNpu.Iti     °sn    2UItH                         0       0          0
 11t1019idAl +.7o10          A1CZl61/Ot    Napwio     nP3            pH            SA    n43        PH            Sn    »nuteN             Osn    P00OtldA1                   65t      01
 AlOI/61/11210171,A1
 TIZt01V[Al  70
 71£1100C441 +.4170
                               M.P.=
                    4102/61/01 nHdu.7
                                                      9+03
                                                      u
                                                                     pH
                                                                      mat
                                                                                   SA
                                                                                   Sn
                                                                                         ZAPS       PH            Sn    »nuNN              05n    2UIDN                            0    0
                                                                                                                                                                                                 672
                                                                                                                                                                                                   0
                                                                                         eA         A.Vt          Sn    aenuleq            Mn     LCOOtl441                   6S2      OZ        6EZ
 PIETt006dAL     ngi.O       9SOL/6S/Ot    Naru.,     aA              itoy[        Ni    aA         notR          SA    »i7yeq             °sn    2UItH                         0      0           0
 STZtOIATdALL sago.°                                  7ery            NS
                             p102/6T/OI alaldu.7                                   ZN    »ne        Ni!           ZN    aanu,eN            tin    900CYdA1                    652      OI        60Z
 LL2IDi7l-dAL +agil7O        Alit/6t/Ot    ldu.a      ,gY             NS           ZN    n'y        Ni            ZN    »ntntN             OSn    2UItH                            0    0           0
 E12SOl9i441 +a1o170         Pt02/6t/Ot aladum        Nll             A.X          Sn    'Al t       147%         çA    aanwtp             OSn    700-0tldAl                  652      OL        6PZ
 210171,441 Et r.ot7O        p10t/67/OS    Napu,      N/1             9w4          Sn    eu11       9ui%          Sn    »nyeN              OSn    211IDH                           0    0          0
 s1E11002d1 +ag000           710U61/0I alapuro,       Aa              M            Sn    APd        M             Sn    anteeq             °sn    200.00PA1                   652      OL        612
 5[4i'100LdM +agO170         PIOt/6T/Ot    met,       Aid             M            Sn    Aid        M             Sn    nuleq              Osn    211IDH                           0        0      0
 PtII0171d41 sa10170         9102/6TIOI    NadA,      eM
                                                                     90N2          nY    M          BuHR          ny    »nteeN             OSn    200.011dA1                  652      01        672
 9i210t91-dA1 47W770         9102/61/01    papu,      all            1u.e          ntl   aM
                                                                                                    9wW           AY    aaaWrg             Clin   2UIOH                            0    0          0
 St2i0tPt-dAl sag4170        ASOZ/OUO2     Nipum      4n+aH          nM            Sn    +NSaH      nM            SA    aanu!rp            Oín    LOOOtldAI                   65L      OL        6EZ
 SILiOIptdAl 4go77°          tl0i/OUOt     upum       n1feH          nM            Sn    +a1saH     nM            SA    »nunq              inn    Z141DH                           0    0          0
 91t[olttdA1 44ou°           pu0UO2/Ot     u/do.,     9v+s           MM            ZN    AAN        un            ZN    I>Mrd 9+aPun       OSA    L009Yd/t1                   65L      OL        6A2
 912t01P1dA1 +e9p170         7t0Z/OZ/0t    >aapu.,    hm             u+A           2N    Oum        u+i           ZN    ,edAedp4.Wnti      osn    ZUIOH                            0    0          0
 9T£11002-441    41110170    7IO2/02/0i    asap.,     eiN!aM         al            ny    e.MM       up            An    »ntgtg             °sn    400.0Yd41                   652      Ot        6P2
 91EIT00LdAl     4aW77O      A[02/oU0'1 u1dw77        HN!aM           uel          nV    rnVlM      usl           AY    eenwep             Mn     ZUItH                            0    0          0
 L3Z1ST0[dN      1g017O      bl0i/0U0I elldwii        9NIfON11       nll           AY    ONI/7NII   nil           Atl   eanulag            OSn    LOOOVdA1                    6SL      0[        67Z
 LIZSOIPIdA1     7.c170      9102/02/01    Npam       7NIItNI1       All           Me    ONIftN1I   nn            AY    te+wNg             Osn    21lIDH                           0    0          0
 81LtOTVid41     M777O       blOt/OUOL a1a14044       IGOS           qHJ           11V   HOOS       tip           AV    »nAItN             OSn    A000VdA1                    6SL      O[        602
 8ti10141dAl sgoo°           7102/02/0i    napu,      IDOS           tini          on    11005      10ap          ne    »sw!rN             tin    21lIDH                           o    0          0
 61Z10171dA1 s.p170          AtOZ/DUOL     napum      un4A           W             nY    wtPA       W             ne    ledM pseWli        osn    A000Yd41                    652      it        6pL
 6t2í01etdLL     4>4717O     V702/02/0I mapam                        No            nV               W             nY
                                                      unbA                               unoA                           1e61rd pwWrri      Osn    2U19H                            0    0          0
 02Zt0tt1-441    mol,        putt/02/O[ neld0.,       uaM9N          Wb(           30    uaA+t9N    1.107I        30    ZntgeN             OSn    7000Y141                    OSZ      OL        06e
 0tZ1tu0tdALL    4.0»O       ptC2/02/0i    nepu,      uaN9N          WIX           30    AaMBN      PDI           30    »PPeq              °sn    21ditH                           0    0          D
 T2Zi0i7[dAl     +PCOl,O     7102/TUOT     nNwa       Hunas           ae1          H9    wrcurN      41           1B    »iHAeg             OSn    P0001d41                    06Z      OZ        087
 122101P1dAl +aOOVO          V102/IZ/0I    alai.,     Hunas           aal          HB    uASU1W      o%           HB    aenytg             °Sn    ZUIDH                            0        0      0
 22210101d41 447170          AIOZ/OL/OS    A.Idwo,    N.X            n!S            Sn              nK            Sn                       .sn    900011441
                                                                                         A+wX                           ,edto pupumti                                         6S2      OZ        6EZ
 222t0[pldAl +ago1,0         p[oZ/OZ/0l la,du.O       Al.),          015           Sn    Aua%       nl5           Sn    IededP4.Punti      OSn    ZUIOH                         0       0          0
 E22t01P[-dAl lago.          pt02/02/0t melu.,        MH             uNS           Sn    BunH       usus          Sn    »nu!rN             OSn    7000Vd/LL                   652      01
 EtLt01PL-d/LL   4g010       p102/02/0t nepwa         AnH            uN5           Sn    9unH       ANIS          sn    ....non            °sn    ZUItH                            0    0        'en0
 722t0IP1dA1     M470        pl02/C2/02 napu.a        papV           A+Mt%         ZN    WepB       90pa%         ZN    wwuq               OSn    V00-0YdAl                   6S2      OL        672
 pLLtO[pi-dAl ragP17°        7102/02/0T Nepam         WepV           A+yM%         ZN    WNOB       NAPPA         IN    »i.Nq              OSn    2UIDH                            0    0          0
 52210t91dAl m40770          pIOZ/OZ/OT    napa.,     A.W            il            Si    A.W        H             Sn    IedA>O   P»Wni     °sn    t00.0YdA1                   652      OT
 52210141-d41 747»O          ptOZAOZ/Oi    alapti,    AeW            Pi            çA    AaW        >H            Sn                       °sn
                                                                                                                        IvaladOsaWNi              2UItH                            0    0        "Set
 9ZZIOtpT-d41 u47170         AtCZlOZ/OT    aippum     .OaD           BuoM          ZN    A14M       A.M           ZN    I.aaeapupunti      osn    9000tldA1                   652      OC        802
 92Zi0tpT-dAl »gp170         7iOZ{OL/OS    4.du,      NoaD           9+O.          ZN    NPat       A.M           ZN    ,HNW psepunti      OSn    LUHJN                            0    0          0
 222101SS-441    4.070       ol0i/SZlOS atald.wa      DNnH           VU            Sn    ONnH       tlnN          Sn    aenuNN             OSn    LOOOVdAl                    652      OL        6EL
 L2Z[OiptdLL ugit70          7I0Z/0U0[ meptuPJ        tNAH           VAN           Si    OHM        VAN           Sn    »nu!mq             OSn    LUItH                            0    0          0
 8221011,1441 Agm70                        lPU.a                     Sua,          Sn    auns!N,    Hum,          Sn    aanwng             OSA    P00-0..                     652      OI        6e2
 92210114.441
 622t0t4t441
                 41170
                 +a47170
                             7tOLUOS       em
                             p102/02/01 13IPU.9
                                                      Wp
                                                      u3.7s
                                                                     9uoM%
                                                                     .al
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                                                                                   fly
                                                                                         Nii44y7
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                                                                                                                  Sn
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                                                                                                                        »pWeq
                                                                                                                        »nweN
                                                                                                                                           OSA
                                                                                                                                           Otri
                                                                                                                                                  Zllp)H
                                                                                                                                                  LO00tld41
                                                                                                                                                                                   0    0          0
                                                                                                                                                                              5t                 Apt
 dAl
 6221011,1,141 +go17O                                 07.15          Mal           AY    ua.1S       .al          ni    q
                                                                                                                        .11.11:1           .sn    211.
                                                                                                                                                  H                                0   0%           0
 0E2t0t9tdn1 ago70           alpum'7'1002OZOT                        W             VJ    Bu..       W             V)    »nul.N             °sn    9000,141                    652      O[        69t
 OEZt0t9td4l     sago170     9SC2/OZlOT afapum        9yr.A          tp            YD    9ur.A      W             h     »nuleN             OSn    á1lltH                           o        0       0
 [E2[019t4LL     +egov0      AIOt/OZlOT    alapum     aAnH           .oel          Mt    au+nH      Moat          nV    00410N9            din    LCOOtldAl                   652      01        6p2
 iEZ[oiptdAl     +.o1°       Ntpa.,'7l02/02/01        unH            Moal          nY    4.nH       uusal         AY    »nuwN              OSn    2U/9H                            0    0          0
 tEii0i91-dAt    ug0u0       7102/02/01 7lwoO         aA             Il            Sn    utA        n             sn    aanuiag            OSn    L000Vd41                    6s2      OT        672
 Zi2t0'1pidM     M017O       Putt/CU01 Nslu.7         usA            Il            Sn    wA         n             SA    »40.N              °SA    2UItH                            O    0          0
 EtLt0l91dLL     .g4770      p10L/OS/0t N.pwoa        unA            17y2          1N    unA        NQ            li    »nupg              ene    L00-0tldA1                  652      OT        6pZ
 EE2L0[91-d41 ngPUO          pIO2/OZ/OS    a7ptw,     uni,           ne            1N    unA        .2            1N    »nuwg              Iii    LIAIDH                        0       0          0
 9E210S91-d61 n4070                        amies=     azo/
                             910Z/02/0i                              Aitl          AV    NPI        A48           MI    le/MO Pi>pue[i     ASP    C004Yd4                     65Z      01        sit
 9E2t0T97dAl     41,70       pIO2/02/0I    nepudo     asw            AOV           Mi    o/ »       Ait           Y
                                                                                                                  (IV        p4eWnti
                                                                                                                        IedAed             OSn    214.                           0      0          0
 LEZtOlpl-441    +a111i17o   9ICZ/100T     ataldum    9A,/4          aA            1N    9AIM       aA            1N    aanuNp             OSn    9000Yd11                    65Z      OL        602
 LEZtOT71d/LL    uW.°        p[OZ/tZ/ot    e1ed.4,    9u,M           urA           1N    8wM        urA           1N    »nurg              OSA    ZU10H                            0    0          0
 8EZIOTVTdl1 1a4770          pTCi/IUOS e.IPUdP        !tll%          DNO!          SA    LVA        OHM           sn    »nulW              OSA    L00-0tldAl                  65Z      Ot        6PZ
 BEZ[01V1aAl s.P170          7[02/[2101 nleum         LtlIX          tNOA          Sn    !VIN       tN0!          Si    »nuN+g             OSA    Z.I.                             0    0          0
 6i2I0191dA1 147t7°          pICU[U01 nalOw4O         uW¡            Md            Si    eApf       i/d           Sn    1»AM pxpwlti       QSA    0000tldAl                   OSL      01        06e
 6í2t0t9tdAL ngosaO          9IOi/li/0u alapum        uyo/           4Ad           Sn    .AIPf       Aid          Sn    pxpumil»Ab         OSA    t!lIOH                           0    0          0
 09Z[0171dAl +a47170
 tro2[OlpidM »qolap
 712I0S01-44l +agoi>p
                             970ShZ/OS
                             A70L/tUOS
                             p[o2/tL/OS
                                           ri
                                           naldum
                                           aladum
                                                      .1ad
                                                      n4Y
                                                      »IIY
                                                                     uoya
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                                                                                                                                                  2111DH
                                                                                                                                                                             66'62
                                                                                                                                                                              65L
                                                                                                                                                                                   0
                                                                                                                                                                                        0
                                                                                                                                                                                       OL
                                                                                                                                                                                            0
                                                                                                                                                                                                66'6Z
                                                                                                                                                                                                 6EL
                                                                                                                                                                                                    0
 StZIDieI-dA! +a47t70        At01/tUOS     ndA+a                     uni           Sn    une        wn            Sn    aanwNg             OSn    L00.0YdA1                   652      O2        6EL
 Se2t0[9IdAl +a9Pi7p         Ptot/SUOS     napum      une            Pt3           Sn    PM         wn            sn    »aAing             OSn    2U17H                            0        0
 9e2101t1dA! s.P170          9102/92/01    lapu,      euuV           90nay0        sn    80W         1unu0        Sn    »nu,ng             OSA    b00.OYdA1                   652      OT        6e2
                                                                                                                                                                                                    O



 9pZt0Te[dA1 se47170         PtC2/SUOI     etaleu,    .wtl           8unayJ        Sn    eu!W       1unNJ         SA    »PU,mt             OSA    WISH                             o    o          o
 29210I91641 n00170          9IO2/I2/01 4440470       IIn            A.V           BD               A.e           9D    aanule+a
                                                                                         I111
                                                                                                                                           OSA    9000Vd41                    6S2      ot        692
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 105 of 147 Page ID




                                                                                   TW14101247 October                 10/21/2014 complete          /III         Rong         2B    Lill         Roy               GB    bunte                USC     HGIFT2            0
                                                                                   1,44101248 October                 10/21/2014 complete          Elizabeth   Shen          US    Shu          Shen              US    breimatt             USD     7,00-007        250
                                                                                   TV0- 14101248 October              10/21/2014 comolete          Elizabeth   Shen          US    5hu          Shen              US    haha.                USO     OGIFT2            0
                                                                                                                                                                             US                 Chen              US    bamtree              OSO     15000.004       259
                                                                                   TVP14505229 October                10/22/2014     template      Blse,       LO                  /Mg
                                                                                                                                                                                                                        baunett                      521072            0
                                                                                   T9114101249 October                10/22/2014     complete      BIN.        LO            US    ling         Chen              US                         OSO
                                                                                   79.14101250             Oct..       10/21/2014    complete      Yoy         Park          AE    Yong         Park              AE    hemmen               USD     7520-004        259
                                                                                   1,- 14101250            October     10/21/2014    complete      Yong        Perk          AE    Yo,          Park              AE    banes.               U50     HGIF12            0
                                                                                   19.14101251 October                10/21/2014 complete          Yuan        Sr.           US    Yuan         Soto              US    brainy**             USD     T50AD004        259
                                                                                                                                                                                                Seat.                   bNntree                      11GIFT2           0
                                                                                   11.14101291 October                10/21/2014 complete          Yuan        Sau           US    Yuen                           US                         USO
                                                                                                                                                                                                                        brainy.                      IWAD004         259
                                                                                   750 14 1012 5 2 October            10/21/2014 complete          E.          K0            US    Eun          Kim               US                         USO
                                                                                   1,44101252 October                 10/21/2014 complete          E.          Klm           US    E.           Kim               US    brainy.              USO     .F12              0
                                                                                   IW- 14101253 October                10/21/2014 templet*         JoY         5H            US     Joy         Ste               US    wyw!standard         USD     1,00.004        259
                                                                                                                                                                                                                                                                       0
                                                                                   TW- 14101253 October               10/202014 complete           Joy         5N            US     Joy         Sol               US    paywl rundend        USO     150572
                                                                                   TW- 14101255 October               10/21/2014 complete          N.          Curt'         US     Nhan        Cung              US    bramtre*             USO     TOPAS-004       259
                                                                                   1,14101255   October               10/21 /2014 ample.           NW          Cory          US     NMn         Cung              US    ...tree              USO     121072            0
                                                                                   TW14101256 October                 10/21/2014 complete          Rosanna     Kw.           AU     Rosanna     Kook              AU    wywl   standard              TWAD004         259
                                                                                   1W- 14101256 October               10/21/2014 complete          Rosana      Kwok          AU     Rosanna     Kwok              AV    wywl   Standara      AUD     NGIFT2            0
                                                                                   79.14101257 October                10/21/2014 complete          ken         men           US     ken         man               US    bar..                USO     750ÁD-004       259
                                                                                                                                                                                                man               US    b00000               USO     0551572           0
                                                                                   1W- 14101257 October               10/21/2014 complete          ken         man           US     ken
                                                                                                                                                                             92     bethael     Chan              50    Walen.               USO     750ÁD-004       250
                                                                                   0W- 14101258 October               10/21/2014 complete          Mid1«I      Chan
                                                                                                                                                               Chan                 Michael     Chan                    Weintee*                     NGIFT2            0
                                                                                   IW- 74101258            October    10/21/2014 complete          Midleel                   NO                                   NZ                         USO
                                                                                   1W-70011317 Osloher                10 /21/2004    complete      Kale        Lee           AU     Kate        Lee               AU    peyo1 staMard        AUD     750ÁD-004       259
                                                                                                                      10 /22/2014                  76aahun     Wu            CA     02.005.     Wu                CA    bronco*              CAD     TWAD-007        259
                                                                                   150.14101259            October                   complete
                                                                                   1W14000259 October                 10/22/2014 complete          /Geothun    Wu            CA     OUOdSUn     Wu                CA    boos.                CAD     1,01072           0
                                                                                                                                                                             IE     Janet       Jan               IE    brainy.              OUR     TWAD -ÁC-004   29.99
                                                                                   TOP-   14101260 October            10/22/2014 complete          Janet       Tan
                                                                                                                                                   IIN         SUE           CA     /IN         WE                CA    breinuee             CAD     TWAO-007        259
                                                                                   1VP- 70011318 October              10 /22/2014    complete
                                                                                                                                                                                                                                                     021002            0
                                                                                   150.70011318            October    10/22/2014 complete          NN          SUE           CA     RN          SUE               CA    benote               CAD
                                                                                                                                                                             US     OM          Zhao              US    braln0.              USO     05000-004       259
                                                                                   150 1410   72   0   1   October    10/22/2014 complete          00          Zhao
                                                                                   7,44101261              October    10 /22/2014    complete      OM          21.a0         US     OM          Zhao              US    brainy.              USO     HGIFT2            0
                                                                                   79.14101262 October                10/22/2014     complete      Wmle        So            AU     WnUe        Su                AU    breint.              USO     TOPAS-001       159
                                                                                   TW- 14101202 October               10/22/2014     complete      Winnie      So            AU     Winnie      Su                AU    brain..              USO     HGIFT2            0
                                                                                   1,44101263              October    10/23/2014     templets      lengdaw     Yu            US     Dan         Yu                US    bahn.                USO     09500-004       259
                                                                                                                                                               Yu            US     OM          Yu                US    balmyee                      HGIF12            0
                                                                                   150. 14101263 October              10/23/2014     complete      lengdew
                                                                                                                                                                             US     Hulistng    Very              US    bern0ee                      750ÁO-007       259
                                                                                   11.14101264             October    10/22/2014 complete          haul-Twng   Llery
                                                                                   IW14101264 October                 10/22/2014 complete          NWTwng      11x99         US     Hullstng    Us,               US    Walnute              USO     121572            0
                                                                                   IW14101265 October                 10/22/2014 dosed             uo          Choi          US     Ise         Cool              US    brain.                       WOAD-007        259
                                                                                                                                                                                                                        branun                       HGIFT2            0
                                                                                   791.14101265 October               10/22/2014 dosed             ere         Ghee          US     loo         Chol              US
                                                                                   750.14101266 October                                            k«          Milh          US     kn          Mills             US    Walnut.                      75000.007       259
                                                                                                                      10/22/2014 complete
                                                                                                                                                                                                                                                                       0
                                                                                   1,14101266 October                 10/22/2014 matelot.          k.          Milk          US     lee         MOls              US    Wafnuee                      H50F72
                                                                                   N1,14101268 October                00/23/2014 complete          ll99yu      Wu            US     Yryyu       Wu                US    haha.                        791ÁD-004       259
                                                                                                                                                               Wu            US     Yingyu      Wu                      bralnhe<                     OG1012            0
                                                                                   1,14101268              October    10/23/2014 complete          Yingyu                                                         US
                                                                                   75014101269 October                10/23/2014 complete          Yen         N.            NL     Yen         Ngo               NL    bony.                EUR     7900-004        259
                                                                                   11/P44101269 October                                            Yen         eigo          NL     Yen          NO               NL    Walode*              EUR     000012            0
                                                                                                                      10/23/2014 complete
                                                                                   750.70011320 October               10/23/2014 complete          leonine     wan,          NL     Ranm+ng     wary              HL    brain.               OUR     I50A0-0D4       259
                                                                                                                                                                             NL                 wan,              NL    bann.                (UR     HYR0T2            0
                                  #:20632




                                                                                   11.70011320 October                10 /23/2014    complete      lknmMg      wane                 Mendry
                                                                                                                                                   cho         then                 chap        don                     brainun                      750ÁD-004       259
                                                                                   1,14107270 October                 10/23/2014     complete                                GB                                   GB
                                                                                   791.14101270 October               10/23/2014     complete      chao        don           GB     Chao        then              GB    brainy.                      leGi0T2           0
                                                                                                                                                                                    Cleo                                                             I,AD-004        209
                                                                                   T914101271 October                 10/23/2014     complete      Chao        U             US                 Li                US    wowlyteMard
                                                                                                                                                   QUO         U             US     Ne0                           US    peypal standoll              121572            0
                                                                                   TW- 14001271 October               10/23/2014     complete                                                    U
                                                                                                                                                                                    chute                                                            /50ÁD-004       259
                                                                                    T9- 70011321 October              10/23/2014      complete     dev0        wer           GB                  wer              GB    paywl sunOaed
                                                                                                                                                   dOoO                      GB     d.wd         wu               GB    wypel OuMard                 HGIFT2                0
                                                                                    TVP70011321 October               10/23/2014     complete                  SOS
                                                                                                                                                                                                                  CU    ballmatt                     19900.007       259
                                                                                    TW14501272 October                10/23/2014 complete          CHI         U             CA     OSI          U
                                                                                    T9 .14101272           October    10 /23/2014 complete         CHI         U             CA     CHI          U                CA    braman                       HGIFT2            0
                                                                                                                                                                             US     ken          Yeu0             US    brainy.                      1,05-007        259
                                                                                    591.14101273 October              10/23/2014  complete         kevin       Vorm
                                                                                    7W- 14107273 October              10/23/2014     complete      kein        yews          VS     ken          yeuem            US    bolny.                       leGI012               0
                                                                                    1W-14101274 October               10/23/2014     complete      Hongbo      thou          U5     Hongbo       thou             US    besinnet                     1,0.004         259
                                                                                                                                                                             U5                  thou             US    brauteee                     HGIFT2                0
                                                                                    T9.14101274 October               10/23/2014     complete      Hongbo      thou                 Hongbo
                                                                                    T9.14101275 October               10/23/2014     complete      L199        HOyfan        BE     1199         099í09           BE    hem..                        TVPAD-007       259
                                                                                    7,14101275 October                10/23/2014     complu        Ling        Hoy -Jan       BE    1199         Hoien            BE    bran.*                       501572                0
                                                                                    799.14001276 October              10/24/2014     complete      Rachel      Chang         US     Redo!        Chang            US    brainy.                      05900-007       259
                                                                                    0VP- 14701276 October             10/24/2014     complete      Rech.I      Champ         US     Radall       Chang            US    brims.                       HOIFT2            0
                                                                                    1W- 14101277 October              10 /24/2016    complete      Lavkl        OR           GB     dell         lens             GB    wYw! suMard                  TWAO.007        259
                                                                                    TW14101277 October                10/24/2014     complete      davki       lam           GB     david        Ian              GB    paywl suSard                 HGIF72                0
                                                                                                                                                                              US    Josephine    Lal              US    balmsee                      79004107        259
                                                                                    7,14107278 October                10/24/2014     complete      0050059.    Lid
                                                                                                                                                                              US                 UI               US    hemmte.                      HGIFT2            0
                                                                                    T9.14101278 October               10/24/2014     compete       lae4Nne     Lai                  Josephine
                                                                                                                                                                                                                        baintr«                      1PÁ0 -007       259
                                                                                    19.14107279 October               10/24/2014     complete      5199        um            CH     hi,          tam              CH
                                                                                                                                                                um                  5lry         um                     braMUee                      09/572                0
                                                                                    1,14101279 October                10/24/2014     complete      hing                      CH                                   CH
                                                                                                                                                                                    Sul          LOU              US    brsIntree            050     1\0Á0.004       259
                                                                                    1W-70011323 October               10/24/2014     corms.        Sul          Lau          US
                                                                                    0W-70011323 October               10 /24/2014    complete      Si           Lau           US    sui          Lau              US    b,000.               USO     021012                0
                                                                                                                                                   An                               An           U99              IE    balms.                       T50Á0-007       259
                                                                                    11.14101280 October               00 /24/2014    Complete                   L199          IE
                                                                                                                                                                                                                  IE    bunteee                      HGIFT2                0
                                                                                    750.14101280 October              10/24/2014     complete      An           Ung           IE    An           U99
                                                                                    11.14101281 October               10/24/2014     complete      Cam Phu      U.           AI     Phu          U.               49    wyw! suMard                  TVPAS-007       259
                                                                                    IW14101281 October                10 /24/2014    c000t0le      Cron Phu     Lleu         AT     Phu          U.               AT    wyw! suMard                  021012                0
                                                                                                                                                   Tlm Chal    Teo           SG     019          loo              5G    Wainer.              050     1PÁ0-004        259
                                                                                    19.14101282 October               10/24/2014     compete
                                                                                    19.14101282 Oct.,                 10 /24/2014    complete      Tien Chat   Teo           SG     1m           Too              SG    bteIRO«              USO     OU/R02                0
                                                                                                                                                                                                 ui                                                                  259
                                                                                    1,-70011320            October    10/26/2014     complete      yucMO        M.            US    oh. Slang                     US    wyw! rundend         050     750ÁD-004
                                                                                    150-70311325           October     10/26 /2014   50.995/0      yucMO       ten.           US    lote*,       al               US    wyw! steràard        USD     00012                 0
                                                                                                                                                                L.                                                US     Weinte.             USO     T,Á0-004        259
                                                                                    190.14101283 October              10/24/2014     o   emplat2   Silvia                     US    511Wa        Let
                                                                                                                                                                              US    SOW.         Lee              US     S,USO22             OSO     HGIFT2                0
                                                                                    1,-14107283 October               10 /24/2014    complete      Silvia       Let
                                                                                                                                                               So             N2    David        5o               NZ     brain..             USD     T9Á0-004        259
                                                                                    1,14101284             October     10/24/2014    complete      David
                                                                                                                       10 /24/2014                 Dev4d       So             N2    David        So               NZ     beinte.             OSO     021072                0
                                                                                    11/.14101284 October                             complete
                                                                                    79.14101285 October               10/25/2014     oampleu       Jeffrey      U             CA    Jeffrey      U                CA     brain**             USO     150ÁD-004        259
                                                                                                                                                                                                                                                     HGIFT2                0
                                                                                    1,- 14107285           October     00/25/2014    compete       J.Hrey       U             CA    Jeffrey      U                CA     SNnuee              USD
                                                                                                                                                                Klm           US                 Klm              US     boron.              USO     750ÁD-004        259
                                                                                    TW- 14101286 October               10 /29/2014   complete      Joseph                           Joseph
                                                                                    11.14101286 October               10 /23/2014    complete      Joseph       Kfm           US    Joseph       Kim               US    bonne.              USD     051072                0
                                                                                                                                                                                                 Wu                US    Weinre*             USO     15005-007        259
                                                                                    1,70011326             October     10 /25/2014   complete      Areal       Wu             US    Jun/
                                                                                                                                                                                    local        Wu                      baMiree                     001572                0
                                                                                    7,70011326             October     10 /25/2014   ccm /050      LOOM         Wu            US                                   US                        USO
                                                                                                                                                                                                                         5,200.                       19ÁD-004        259
                                                                                    TW14101287 Cctobee                 10/25/2014    oomph.*       Allow        Aldridge      GB     Andrew      Aidoidg.          GB                        GBP
                                                                                    19.14101287 October                10 /25/2014   complete      Andrew       Aldridge      GB     MO..        Á1901/g*          GB    baron.               GBP     HGIFT2               0
                                                                                    IW- 14101288            October    10/25/2014    mrnplete      lay          Chung         US     lay         Chung             US    brainy.              USD     1PÁ5-004        259
                                                                                    I,- 14101288            October    10 /25/2014   complete      lay          Chung         US     Jay         0999              US    braiooe              USO     051001
                                                                                                                                                                                                                                                      750Á04J07       259
                                                                                                                                                                                                                                                                           0
                                                                                    IW- 14101289            October    10 /29/2014   dosed         1999900      LEE           US     IN50EOP     LOO               US    banne.               USO
                                                                                                            October                  dosed                                                                         US    beim.**              USD     HGIFT2               0
                                                                                    1,14101289                         10/25/2014                  INS455OP     LEE           US     INS0EOP         LEE
                                                                                    1W14101290 October                 10/25/2014    complete      Alex         Cen           AW     Alex        Cen               AW    peypel rundend       USO     T9Á5-004        259
                                                                                    1P- 14101290 October               10/25/2014 complete         Alex         Cen           AW     Alex        Cam               AW    wyw!steMaed          USO     HGIFT2                0
                                                                                    1,14101291 October                 10 /25/2014   complete      00           Chu           US     An          Chu               US    Want.                USD     /50ÁO.004       259
                                                                                    TW- 14101291            October                                An           Chu           US     00          Chu               US    bointr00             USO     HGIFT2            0
                                                                                                                       10/25/2014    complete
                                                                                                                                                                              N2                                   NZ    00Ywl sandard        USO     190AD-004       250
                                                                                    1W- 14101292 October               10/26/2014     complete     AMy          Lear.                Andy            Leta,
                                                                                                                                                                              NZ     Andy            Leung         N2    pay001 o0o.U.        USO     021052                0
                                                                                    TOP-14101292            October    10/26/2014     complete     AMY          Leung                                                                    d
                                                                                    TVP. 54101294           October    10/26/2014     complete     AN.          Chan          AU     Grace       Olen              AU    ...wee               USO     7,ÁO004         259
                                                                                    7444101294 October                 10/26/2014 complete         Alex         Chen          AU     Grace       Osao              AU    bonnet               USO     FIG012                0
                                                                                                                                                                              US     Doris       Zha               US    brainy«              USO     T50AD-007       259
                                                                                    19.14101295 October                10/26/2014 complete          Doris       Dung
                                                                                                                                                                              US     Doris       2neng             US    beanoee              USO     005012                0
                                                                                    11.14101295 0050020                10/26/2014 complete          Dote        25099
                                                                                    PIP14101296 October                10/26/2914 complete         lohn         Sidebat000    US     John        Std..       oo    US    berenn.              USO     T9AD-004        259
                                                                                    190.14101296 October               10/26/2014 complete         John         SJdebottan    US     John        SU25509om         US    brain.               950     HUFT2                 0
                                                                                    I,- 14101297            October    /0/30/2014 complete          HEESEOK     YOCH          VS     he<xok      goon              US    bUnoee               950     T50Á0404
                                                                                                                                                                                                                                                      050072
                                                                                                                                                                                                                                                                      259
                                                                                                                                                                                                                                                                            0
                                                                                    TUO. 14101297           October    10/30 /2014    complete      0009000/    SOCS          US     hen0UU      goon              US    Weiner.              LIS0
                                                                                    IW- 14101298            October    10/26/2014     complete      Martin      Coleman       AU     Martin      Coleman           AU    Wonr.                VSO     /50ÁP004        259
                                                                                    150.14101298            October    00/26/2014     compete       Mee.        Coleman       AU     Martin      Coleman           AU    boaree               USD     061572                0
                                                                                                                                                                                     Dote        TOS                     Wont00                       1O00-004        259
                                                                                    1,14101299 October                 10/27/2014     comp.         Dods        Teoh          AU                                   AU                         SSO
                                                                                    1,14101299 Octob20                 10/27/2014     complete      Dods        0eoh          AU     Dock        Teoh              AU    ó000e.               050     HGIFT2                0
                                                                                    1W- 14101300 October                                                        Hoe99         G8     Lang            Hw99          GB    wyw!standard         GBP     19ÁD-007        259
                                                                                                                       10/27/2014     complete      Long
                                                                                                                                                                                                                                                                            0
                                                                                    TVP-14101300            909050r    10 /27/2014    compete       Long        Hang          G8     Lone            Hary          GB    29000!standoll       GBP     09572
                                                                                                                                                    Peter       Choi          US     Peter       Choi              US    OMny.                USD     1PAD -004       259
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Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 107 of 147 Page ID




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                                                                                                                          21JID6                       ea4u5q       IN        5anA           15M^1        IN          u6nA            15M      i51    e660wm      51 05/9/55    5590^09 89651555d1
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                                                                                           01       650               00005dM         480              5600559      89         011              A159      89            um                   A459      65010.     5555/5/11     55906506 5,011557-dA1
                                                                                                                                                       a010159      Sy        oW5              SuO1       AV           0045             AO.1           .5r1d50) 510055/51        5M065o9 E9011151-OIL
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                                                                                           OS           655            500010dM        050             5w5eq        ny        oo4M                        AV           0041
                                                                                           0            0                  LUID6         OSA            ...um       Sn        or1O             5005\          Sn       uso                     51      m.o..      510055/11      +agOanoN 590111b1ó1
                                                                                           OZ           050            ¿0005490          1559           0005559     555       5500             05506          Sn       6543                    51      65500. St0/S/5 i          +69065056 59051505d90
                                                                                                                           SOLIDO        050            00u16q      SA      650n0.           0090609          55     50nLi            0665658             W665 5105/5/15         5691L5509     140t5551dM
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                                                                                           o            0                  ALLAS         050
                                                                                                                                                                                                                     tulg)              450rp          650000 555Z/9/I5          +55055055     0r0TI591-dAl
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 108 of 147 Page ID
                                  #:20635


 IW14111115 November          11/10/2014      complete    W,          LEUNG       GB   Wing         LEUNG         GB    wypel standard            GBP    1WAD007         259        20
 TW14111115 November          11/10/2014      complete    Wirte       LEUNG       68   Win          LEUNG         GB    ....standard              GBP    HGIFT2            0         0
  W
 í14111116       November     11/10/2014      dosed       Guawn       Cuan        AU   Guowen       Duale         AU    Valium                    USD    TWAO-004        259        10
 1W14111116 November          11/10/2014      dosed       Guovven     Dunn        AU   Guowen       Dunn          AU        bam.*                 050    HO F72            0         0
 1W- 14111117 November        11/10/2014      complete    Vo          Tran        US   V0           Tram          US        braintree             USD    161ÁD-007       259        10
 16114111117 November         11 /10/2014     complete    Vo          Tran        US   Vo           Tran          US        Pair..                USD    5GLF12             0        0
 720.14111119 November        11/10/2014      complete    Zen         lie,        US   en           Veng          US        paypal stendard       USO    TWAD-007        259        10
 761.14111119 November        11/10/2014      compete     J.          Rene        US   Mn           Rune          US    paypa!standard            USD    HGIFT2            0         0
 í61l4111120 November         11/10/2014      eonplete    Ruby        Huang       AU   Ruby         Huang         AU    braMOee                   USD    TWAO-007        259        10
 161.14111120 November        11/10/2014      compete     Ruby        Nang        AU   Ruby         Hue,          AU    broUtree                  USD    1101512           0         0
 íW-14111121 November         11/10/2014      complete    CNne        K.          AU   James        Kim           AU    balnttee                  USD    TWAD -007       209        20
 T20.14111121 November        11/10/2014      camerae     C.,         Kkn         AU   lames        Kim           AU    bO0Ur.                    USD    HUFT2             0         0
 1W. 14111120 November        11/10/2014      complete    W.P.        He,         US   Wonpyo       Hone          US    baMVee                    USO    TS/PAD-004      259        10
 1VP- 10111122 November       11/10/2014      complete    W.P.        Hon         US   Wonpyo       Hong          US    bran*                     USD    HGIFT2            0         0
 TW- 14111123 November        11/10/2014      complete    Hon         Gong        NO   Hone         Gone          NO    brain,.                   0000   7WÁ0.004        259        10
 Top- 14111123 November       11/10/2004      complete    Hone        Go+g        NZ   Hon          Gong          NZ    drawee                    USD    HGIF12            0         0
 íW14111124 November          11/10/2014      complete    Joni        KOÇO        GB   SOS          Knight        GB    NOn0o                     USC    7WAD-004        245        10       1
 T61.14111124 November        11/10/2014      compete     JOGA        Keg.        GB   lohn         Knight        GB    balnV*                    USO    HOIFT2                      0       1
 1W- 14111136 November        11/11/2014 complete         Paul        S           US   Paul         Shorn         US        Pa                    USO    TS/PAD-007        "
                                                                                                                                                                         250        10
 TOP.14111126 November        11/11/2014 complete         Paul        Shun,       US   Paul         5.rn                    ...tree                      N61FT2
 1.
 61 14111127     November
 1W- 14111127 November
                              11/11/2014 campen
                                              condor
                                                          gen         naWmura
                                                                      n.kamo.
                                                                                  GB   gen          maker    ..   US
                                                                                                                  GB        Paint,*
                                                                                                                                                  USO
                                                                                                                                                  GBP    í61A0-007       259
                                                                                                                                                                            0        0
                                                                                                                                                                                    20
                               11/11/2014                 gen                     GO   gen          nakam.a       GB        Perim.*               GBP    HGIFT2             O        0
 161.14111128 November         11/11/2014     complete    Bing        LI.n        US   Bing         Ua,           US    brims*                    USD    WIND-004        259        10
 161. 14111128 November        11/11/2014     complete    Bing        Ilan«       US   Bin          Ung           US    bainb*                    USD    $101012           0         0
 íW14111129 November           11/15/2014         et
                                              complete    Sook        Lee         OB   Kow          Fong          MY    Paint,*                   GBP    í61A6004        259        10
 TW- 14111129 November         11/15/2014     complete    Soak        lee         GB   kow          Fon           MY    brainU*                   GBP    HAFT2             0         0
 NP- 70011337 G0Onber          11/11/2014     complete    11nan       Lon         AU   Shen         long          AU    baint.                    AUD    TWAD007         259        10
 TOP- 70011337 November        11/11/3014     complete    Shen        Lon         AU   Shen         Lag                 bain°*                    AUO    561112            0
                                                                                                                  AU                                                                 0
 161.70011338 November         11/11/2014     complete    Horn        wir         US   Hu.          wu            US    P.r.I standard            USO    TAPAD-004       209        10
 1W- 70011338 November         11/11/2014     come..      Hun         wu          US   Ho..         wu            U5    ....standard              USD    HGIF12            0         0
 161 14 111130 November        11/20/2014     complete    Chow        Ling        HO   009y         Yuan          US    b..AOee                   USO    IWAN004         159        10
 161- 14111130 November        I1/20/2014     complete    Chow        Ling        HK   Tony         Yuan          US    braMOee                   USO    HGIFT2            0         0
 WVO- 14111131 November        11/11/2014     compete     Ming        Cul         NZ   Ming         CJ            N2    Ira.UC.                   USD    TWAD0A4         159        10
 TAP- 14111131 November        11 /11 /2014   complete    MA          CA          N2   MI,          Cul           N2    baMace                    USO    .F12               0        0
 í14111132 November            11/12/2014     compete     RONrd       Lam         GB   Ached        Um            GB        Pablo*                USO    TWADAC-001     29.99        0
 TW- 14111133 November         11/11/2014     compete     Stew        Stem        US   Steve        Stem          US        brainyee              USD    7y946004        150        10
 TW- 14111133 November         11/12/2014      complete   Stew        Stem        US   Stew         S.m           US        bralntree             USO    /161FT2            0        0
 NP- 14111134    Nov..,       11/12 /2014     complete    Yuen        Seetotal    CH   Yuen         S..coLai      CH    baineree                  AUD    í61A6007        259        10
 TW- 14111134 November        11/12/2014      compute     Yuen        Seetotal    CH   Yuan         510UI         CH    brainy.<                  AUO    HGIFT2            0         0
 161.14111135 November         11/12/2014     compete     Sally       Mitchell    US   Sally        Mitdull       US    Pamir.                    USO    7VPAD007        259        10
 íW14111135 November           11/12/2014     complete    Sally       MitclIH     US   Sally        Mitchell      US    baiMree                   USD    HGIFT2            0         0
 1-
  61 04 1 1113 7 November      11/18/2014     complete    ]Rang       bin         LA   Jeo,         An            LA    teamsee                   USO    7/.AO007        250        20
 TOP- 14111137 November        11/18/2014     complete    Jeong       bin         SA   loon         bin           LA    baUUee                    USO    MGIFT2            0         0
 7W- 14111140 November         13/12/2014     tonen.*     A,..        Chen        US   Angela       Chen          US    Peewee                    USO    T61Á0.004       259        20
 1VPI4111141 November          11/12/2014     complete    Hear        IA          VS   Ao.y         1M            US    paypel stendard           USD    NPAD404         250        10
 161- 14111141 November        11/11/2014     complete    Hen(        /in         VS   Hen.         Jim           US    paypel standard           USO    HGIFT2             0        0
 TW14111143 November           11/12/2014     aompet.     Fred        W4,         SG   Fred         Wong          SG    P3003 I9IAA2rd            USO    TVPAD-004       250        30
 íW14111143 November           11/12/1014     3O   200e   Fred        Won         SG   Fred         Won           SG    prop.! standard           USO    500012             0        0
 íW14111144 November           11/12/2014     c0ndete     5.444       Derbys..    AU   SNWka        CObyahIre     AU        Wyq! snndard          USO    TWAD407         259        10
 NP- 14111144 November         11/12/2014     complete    Shud1J      09.50 4,1   AU   Shu-HU        Derbyshire   AU        payp.! sunderd        0050   HGUT2              0        0
 T20.14111145 November         11/13/2014     complete    Tat         CO,         NL   Tat          0,00          NL        Abra       <          USO    TWAD-004        259        10
 16114111145 November          11/13/2014     complete    Tat         Choi        NL   Tat          Doi           NL        I   NnO*              USC    HOIFT2             0        0
 II/P.14111146 November        11/13/2014      compete    SIMON       TAM         VS   SIMON        TAM           US        Palm.                 USD    161ÁD004        259        20
 1W1111214V November          11/13/3014      compete     SIMON       TAM         US   SIMON        TAM           US    bain9ee                   USO    HGIFT0            0         0
 TOP-14111147 November        11/20/2014      complete    slpn
                                                            M         crews       G8   Mph.         crews         GB    broV08e                   USO    TVPAO007        259        10
 0W- 14111147 Norton          11 /20/2014     complete    Stephen     crews       OB   Mellen       any;          GB    brems*                    USO    5G10í2             0        0
 16114111148 November         11/13/2014      compete     David       Wo,         US   David        Wong          US    brain.*                   USD    í61A0.004       259        10
 1W14111143 November          11/13/2014      coniNte     David       Won         US   Deal         Wag           US    brala.                    1/50   HGIFT2             0        0
 TVP- 10111150 November       11/13/2014      complete    Carmen      Chen        GB   Carmen       Chang         GB    Perm.                     GOP    í20A0-007       259        10
 W1,14111ISO November          11/13/2014     complete    Clem.       Chen        GB   Carmen       Chen          GB    PNmr*                     GOP    H61F71             0        0
 TOP. 14 11 1 15 1 November    11/13 /2014    complete    sewn        lum         US   maven        em            US    Pain93                    050    NPÁD-007        259        10
 161.14111151 November         11/13/2014     complete    Hewn        lum         US   stews        ter           US        breinaee              USO    500012             0        0
 TVP-14111152 November
                   Nov         11/13/2014     complete    Rub    y    Huang       AU   Ruby         Huang         AU        Peewee                USD    TVP40-004       250        10
 OW.14111152 November          11/13/2014     complete    Ruby        Huang       AU   Ruby         Kea,          AV        Paint,.               USC    HOIFT2             0        0
 IW 70011339 November          11/13/2014     complete    POAen       Lee         US   PoMan        Lee           US        braintree             USD    TVPAD007        259        20
 í70011339 Noember             11/13/2014      complete   POMan       Lee         US   PoMan        Lee           US        balntree              USO    1061972            0            0
 TW1A1111SI Horember           11/13/2014      complete   Ow,         Perk        US   Chug         Park          U$        brain.*               USO    1WAD-007        159        20
 TUO.   14111054 November      11/13/2014      complete   Ow,         Pa.         US   Chug         Park          US    braln0*                   OSO    HGIFT2             0        0
 í61141111S5 November         L1/13/2014      compel.     Han         Wang        US   Han          We,           US    brand°*                   OSO    1WÁ0-004        259        10
 TOP-   14111155 November     11/13/2014      complete    Han         Wan         US   Ham          Wang          US    Draht.*                   USD    0G10í2             0        0
 TW. 14111156 November        11/10/7014      complete    VIGLO       Alm         US   stew         Me            US    Painlr*                   OSO    7/.40-004       259        20
 í14111156       November     11 /20/2014     carpi..     yell*       kiln        US   stew         Ne            US    Pam **                    USO    HGLFT2             0        0
 W1,14111161     November     11/13/3014      complete    her         How         MY   Ben          Mow           MY    Pelmet                    USD    TWAD-007        250        20
 WP-14111161     November     11713/2014      con..       Ben         HOw         MY   Ben          How           MY    Polniree                  050    000912             0        0
 WO- 14111162    November     11/13/2014      complete    Jae         Kim         SG   Jae          Rlm           SG        P.m.                  GIG    TWAO.000        259        10
 í14111162       November     11/13/2014      compete     Jae         Kim         SG   He           Kim           SG        brain     °*          USO    HOFT2              0        0
 í14111163       November     11/13/2014      complete    Denial      Chen        US   Daniel       Chen          US        paypal snnAard        USO    NPAO-007        259        20
 W744111163      Novenlb r    11/13/2014      complete    Daniel      Chen        US   Daniel       Chen          US        o.ypel snrdard        USD    HGFT2              0        0
 TW10111166      November     11/13/2014      complete    Mark        Doran       GB   Mark         Oran          ON        Paint,*               GBP    161ÁD-004       259        10
 761.14111166    November      11/13/7014     camper.     Mark        Doan        GB   Mark         Doran         GB        PalnV*                OOP    0160192            0        0
 161.14111167    November      11/14/2014     complete    Vkto        Shen        US   Victor       Shen          US        00000l_0000040        USO    TVPA0004         245       SO
 TOP. 14111167   November      11/14/2014     complete    Victor      Shen        US   VUOI         Shen          US        pawl standard         USD    HGIF72             0            0
 TOP.00111163    November      11/14/2014     complete    04000       Dee         VS   Ronald       Ora           US        Maire*                USO    TWAD004          250       20
 OVO.04171163    November     11/14/2014      complete    Ronald      Go.         US   ROUId        O*            US        brain]..              USD    H61072             0        0
  W
 í14111169       November     11/14/2014 cano.te          Bonny       MO          GB   Bawl         Mo            GB        Paint.*               GBP    1WÁ0007         259        20
 1W- 14111169    November     11/14/2014 complete         Bonny       Mo          GB   Bonny        Mo            GB        brains*               GOP    HG10T2             0        0
 NP.04111170 November         11/14/2014 complete         Khan        Ng          AU   Kuen         Ng            AU        br3Imree              AUD    í61A6004        259        00
 TYP-14111170 November        11/14/2014      complete    Kum         Ng          AU   Kuan         Ng            AU        Pair,*                AUO    HGIF72             0        0
  761.14111171 November       11/14/2014      complete           g                Cl   90ug         p                       baln0*

                 NowmStevenson
                                                          oG          lo                                          CL                              USO    TWAD404         259        10
  161.14110171 November       11/14/2014      complete    ]bung       lo          Cl   you".        p             Q         1,1190ee              USO    HGIFT2             0        0
  761- 14111172     b.r       11/14/2014      complete    Ryan        Stevens     AU   Ryan         Stevenson     AU        kearot.   *           AUO    TWAD-007        259        10
  TW- 14111172 November       11/14/2014      oompl.t.    Ryan        Stevenson   AU   Ryan         Stevenson     AU        Weiner.*              AUD    HGIFT2             0            0
  161.70011340 November       11/14/2014      complete    junoi,      also        US   I   ooUg     eiao          US        briny*                USO    í4PÁ0004         2S9       20
  7W- 14111173 November       11/14/2014      complete    Chung       Tam         US   Drag         Tam           US        Pram*                 USO    NPA6004          259       10
  í14111173 November          11/14/2014      complete    Own         Tam         US   Chug         Tam           US        briaree               USO    14GIFT2            0            O
 1VP14110174 November         11/14/2014      ca9dete     KIM         NG          US   OWEN         CHOY           US       ...tee                USO    1140004          209       20
 TUO-   14111174 November      11/14/2014     0000ete     KIM         NG          US   CHUM         0109           US       brain°*               U50    001Fí1             0            0
 NP- 14111175 November         11/14/2014     complete    chap        chOg        BE   0heo         .brag          BE       paypa!sundar4         USD    IWADAC-001     29.99            0
 W.70011341 NOwmber           11/14/2014      complete    TUOaAN      LANG        IE   TU           LANG          IE        Paint.*               USO    1WÁ6004         159        10
 P07.70011341 November        11/14/2014      complete    TU CHAN     LANG        IE   TU           LANG          IC        Paln0.                USG    14G19T2            0
 TW- 04110176 November        11/14/1014      complete    ray         oho,        US   ray          en,           US        Pun.*                 UM     TWAD -AC-001   2919
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 TVP- 14011177 November       11/14/2014      complete    t1Nel       0a,         US   Me9el        n,            US        brain..               USO    T1Á0.007         259       30
 íW14111077 November          11/14/2014      complete    lelei       tang        US   Heel         as,           US        Phan.*                USD    H01 12             0
 T.61 14111178 November
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  IW. 14111178 November
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  íW14111179 November         11/15/2014      complete    Jeremy      Wo,         CA   Jeremy       Won           G         ....standard          CAD    TWA0 -007        259       20
  1W- 14111179 November       11/15/2014      complete    Jeremy      Won         CA   Jeremy       Wag           CA        P.yo.!stend.rd        GD     H00F72             0            0
  161.74111180 November       11/16/1014      complete    Yong           g
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  761.14111180 November       11/16/2014      complete    Yug         Wo,         US   Yung         Wen,          US        bnaina*               USO    HGIF72             0            0
  íW14111181 November         11/15/2014      comes*      Tnuu        Ngo         MY   Tew          ergo          MY        02093900              USD    í61A0.007        259       20
  íW14111181 November         11/15/2014      complete    Taw         Ngo         MY   Tew          Ngo            MY       GOAntrec              050    0441072            0            0
 íW14111182 Gomm.,             11/15/2014     complete    Yong        Klo         US   Yong         Klo            US       Paint*                050    TVPAD004         159       10
 í14111182       November      11/19/2014     can0090     906         Klm         US   YOg          Klm            US       PalUV*                USO    1001972            0            0
 íW14110183 November          11/15/2014      compete     ON          lung        US   Dick         rang          US        brim°*                USO    76140004         259       10
 76114111183 November         10/15/2414      complete    Okk         lung        US   Cr.          tun           US        bralntree             USD    HGIFT2             0            0
 761.14111184 November        00/00 /X114     tonplan     lean        Yoke        MY   Leone        Yoke          MY        P.N.                  030    TVPASAC-001    2999             0
 TN- 14110185 November        11/15/2014 complete         Loh         Mee         MY   loh          M*            MY        balms*                USO    0VPAO.007        259       20
 NP. 14111185 November        11/15/2014 compete          Loh         Mee         MY   Loh          Mee           MY        brintree              USO    1e31910            0            0
 757.04011136 November        11/15/2014 complete         011093      You         N2   Haoyu        You            NZ       prop.]standard        USD    TWAD004          299       00
 1VP14111186 November         11/15/2014 < onplen         Heo(u       You         N2   GoUoo        You            NZ       gyps] standard        1150   A01í13             0        0
 961- 14111187 November       11/15/2014 candela          Ohne        Iran        US   Diana        Tran           US       Palm.*                USO    1WÁ6004          259       10
 íW.10111187 November         10/13/2014 complete         Olae        Tran        US   Diana        Iran           US       Pain.*                USO    IWI0T1             0            0
 íW14110188 Novemb.           11/16/2014 complete         Aryl        Ne          N2   Daryl        Ng             NZ       bran.*                USD    NPAO-004         259       30
 í61.1d111188 November        11/16/2014 complete         NM          Ng          N2   Daryl        Ng             N2       bainb.                USD    HGIFT2             0            0
 NP. 14111190 November        11/16/2014 complete         lady        Tao         US   lady         Tso            US       paal yp    standard   UUU     TUPAO-007       259       20
 1W- 14111190 November         11/16/2014 complete        Hoy         T.          US   lady         Tso            US       p... sundud           USO     1161F12               0        0
 WP. 14111191 November         11/16/2014 compete         Kal         Shan        DE       Ku       Shen           DE       PLntem                FUR     í61A0004        259       10
 íW.04111191 November         I1/16/.14       complete    K41         Shen        DE       Km       Shen           DE       brain.*               EUR     .00972                0        0
 7W- 14111191 November         11/16/2014     complete    Itumi       Sanp        AU       Ihn°     Sanjo          AU       Pages!snm4ard         AUG     TOPAD-004       259       20
 íW00111192 Govember          11/16/2014      50mpkte     Ituml       San.        AU   Ituml        5anJo         AU        payo.! standard       050    11ú1F12            0            0
 íW14111194 November          01/16/2014      complete    Miraiu      Ille        US   Mew.         tin            US       beam*                 USD    TWAOAC-001     29.99            0
 NV.14111195 November         11/16/2014      complete    Yn          Chen        CA   YIn          Own            G        brain.*               USO     76140407        259       10
 761- 14111195 Na4mber        10/16/2014      complete    Ting        Chen        CA   YIn          Chen           CA       b..iy*                USO     1061812           0            0
  720.70011342 November       11/18/2014      compete     lst0wn      Ho          US   Tsayua9      Ho             US       Drein.*               USD     1VPA0-007       259       10
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  íW14111196 November         11/16/2014      compete     Stephanie   Wu          US   Stephanie    Wu             US       bran.*                USD     IVPA0004        259       10
  161. 14111196 November      11/16/2014      complete    Stephaaml   Wu          US   5tephanle    Wu             US       Pelmet                USD     001812                0    0
 íW14111197 November          11/17/.14 compete           LJs         Chen        US   Luis         Own            US       propel stendard       USO     161ÁD-004       259       20
 IVP14111197 November         11/17/2014 complete         Ns          Chen        US   los          Chen           US       paypal s*ndard        USO     HGOTO                 O    0
 7W- 14111198 November        11/16/2014 complete         Kevin       Tran        AU       Kevin    loon           AU       Paint.*               050     161ÁD004        259        10
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                                                                                       TW- 14121182 December            12/12/2014 complete      XIU          ZHEN       US    XIU          ZHEN       US   bralntree          USD   TVPAD004       259            249
                                                                                       TW- 14121182 December            12/12/2014 compete       XU           ZHEN       US    XIV         ZHEN        US   balnuee            USD   HGIFT2              0              0
                                                                                       1,14121142           December    12/12/2014 complete      XIU          ZHEN       US    XIU         ZHEN        US   baintree           USD   HGIFT1              0
                                                                                       T1.14121184 December             12/17/2014 complete      Lise         Mlnerd     US    Lisa         Mined      US   bramtree           USD   TVPAD-004      2.             239
                                                                                       1,14123184           December    12/17/2014 complete      Uta          MIned      US    Lise         Minero     US   brain.             USD   HGIFT2
                                                                                       1W.14121184 December             12/17/2014 compete       Usa          Mined      US    Lisa         Mi.rd      US   braintree          USO   HGIFT1              0              0
                                                                                       1W.14121185          December    12/12/2074 complete      MC           Lee         CA    MC          tee        CA   paypel standard    USO   TWAD-004       250            490
                                                                                       1114121185 December              12/12/2014 compete       MC           Lae        CA     MC          Lee        CA   wvoal_standad      VSO   HGIf72
                                                                                       T,14121185           Occember    12/12/2014 complete      MC           Lee        CA    MC           Lee        CA   P.Yp0_1tMdard      USC   HGIFT1
                                                                                       1W- 14121186 December            12/12/2014 compete       Caesar       Che,       CA    Caesar                  U    brainuee
                                                                                                                                                                                            Chang                              USD   1WAD-004       25             24
                                                                                       T1- 14121186         December    12/12/2014 complete      Caesar       Chary      CA    Caesar       Chang      CA   brelnoee           USD   1161F72
                                                                                       Tw.14112186 December             12/12/2014 complete      C.           Chary      CA    Caesar       Chen&      U    On..a              USD   .GIFTS
                                                                                       3,14321187           December    12/12/2014 complete      Haesook      Hsieh      US    Haesook      Hsieh      US   brelnuee           USO   1WAO-004       25             24
                                                                                       7,14121187           December    12/12/2014 arnelete      H.sook       Hund       US    Haem.        Hsieh      US   t a rat.           USO   HOFT2
                                                                                       1W- 14121187 December            12/12/2014 complete      Haesook      Hsieh      US    Ham.         Hsieh      US   Omar.              USO   HGIFT1
                                                                                       TW- 14121148 December            12/12/2014 complete      Pan          Duo,       US    Chte        Thai        US   bralntree          USO   TWAO.W4        25             23
                                                                                       71.14121188 December             12/12/2014 compete       Phan         Duey       US    Owe          Thai       US   braMtree           USO   HGIFT2
                                                                                       TW14121188 December              12/12/2014 compete       Phan         Cam,       US    Owe          Thal       US   braintree          USO   HGIF11
                                                                                       TVP14121139 December             12/12/2014 compete       VINCENT      W          CA    VINCENT      LAI        CA   bratmatt           UO    TWAD-004       25             24
                                                                                       11.14121189 December             12/12/2014 compete       VINCENT      LAI        CA    VINCENT      LAI        CA   beinreg            CAD   HGIFT2
                                                                                       TW- 14121189 December            12/12/2014 complete      VINCENT      LJU                           W
                                                                                                                                                                         CA    VINCENT                 CA   brainy.            CAD   HGIFT1
                                                                                   TW. 14121190             December   12/12/2014 complete       Stephen      Ho         CA    Stephen      Ho         CA   bramtree           USD                  25
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                                                                                   T1.14121190              December    12/12/2014 complete      Stephen      Ho         CA    Stephen      Ib         CA   brainy.            USO   HGIFT2
                                                                                   TW14121190               December   12/12/2014 compete       kephen       Ho          CA    Stephen     Ho          U    bnlntree           USO   HGIFTL
                                                                                   TW14121191               December   12/12/2014 complete      WIII                           WA
                                                                                                                                                             LM          AU                Un          AU   paypal standard    USD   TWADOCU        25             23
                                                                                       1,14121191           December   12/12/2014 Tom..         WA           Un          AU    WA          Un          AV   Pendel stendand    USD   HGIFT1
                                                                                       TW- 14121192 December           12/13/2014   complete     Denny       CTWT        US    Danny       Ow          US   keimeng            USD   TWAD-004       25             24
                                                                                   1W- 14121192 December               12/13/2014   complete     Decoy       Chen,       US                            US
                                                                                                                                                                               Danny       chug             Drainer.           USD   HGIFT2
                                                                                   T1.14121192 December                12/13/2014 compete       Danny        Chang       US    Danny                   US   brainy.
                                                                                                                                                                                           Chary                               USD   HOIFTA
                                                                                   TW14I21194 December                 12/13/2014 compete       TekWei       Wan         US    TakWA       Wan         US   brain.             VSD   TWAD-004       25             23
                                                                                   TAP.11121194 December               12/13/2014 compete       TekWei       Wan         US    TaAWH       Wan         US   bamttee            USD   HGIFT2
                                                                                   TW. 14121194 December               12/13/2014   compete     TekWei       Wan               TekWei      Wan
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                                                                                   1,14121195               December   12/15/2014   complete    Derek        Dru         SG    Dente       C.          SG   braMY.             USD                  25
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                                                                                   TW- 14121195 December               12/15/2014   compere     Denk         Diu         SG    Dal.        Au          SG   .Intree            USO   HUATA
                                                                                   TW- 14121195 December               12/15/2014   complete    Deckle       ON          SG    Daalà       OM          SG   briny.             USA   HOIFTA
                                                                                   TYP- 14 1   2   119 6    Deember    12/15/2014   compete     PETER        UM          N2    PETER       UM          NZ   Omaree             USO   TW40-0CA       25             24
                                                                                   TVP- 14121196 December              12/15/2014   complete    PETER        UM          N2    PETER       LIM         NU   MAAVee             USO   HGUT2
                                                                                   TW- 14121196 December               12/15/2014   complete    PETER        UM          NO    PETER       UM          NZ   MACU               USO   HUATA
                                                                                   TW. 14121197 D.embr                 12/15/2014   compete                                                lee
                                                                                                                                                Kwok         Lee         US    KOCH                    US   balmy.             USD   TWAD-004       25             24
                                                                                   1,14121197               December   12/15/2014   compete     Kw.          Lee         US    Kwok        L.          US   balmy.             USO   HGIF72
                                                                                   11.14121197 December                12/15/2014   compete     Kwok         Lee         US    CHAU        M           US   behage             ASO   H61F71
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                                                                                   TW- 14111199 December               12/15/2014   compete                  DICKINSON                                      bra..
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                                                                                   TW.14121200 December                12/15/2014   complete    Qiiun        Lin         US    OJMn        tin         US   Drainer.           USD   TWAD-004       259            24
                                                                                   TW- 14121200 December               12/15/2014 complete                   Un
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                                                                                   TW- 1A111200 December               12/15/2014 complete      Ogun         Lin         US    Oqun        tin         US   braintree          USD   HOITT1
                                                                                   TW-14121201 December                12/15/2014 complete      ANION/       TRINH       FR    ANTONY      TRINH       FR   brainy.            USD   TWAD-004       259            23
                                                                                   1VP- 14121201 December              12/15/2014 eoroMte       ANION/       TRINH             ANTONY      TRINH
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                                                                                   TW. 14121201 December               12/15/2014 corn..        ANTONY       TRINH       FR    ANTONY      TRINH       FR   braintrae          USD   HGIFT1
                                                                                   1W- 14121202 December               12/15/2014 complete      David        Earn        US    David       Earn        US   brainy.            U.    1WAD-004       259            24
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                                                                                   TW.14121202 December                12/15/2014 complete      David        Earn        US    David       Earn        US   brainy.            ASO   HGIFT1
                                                                                   TW- 14121203 December               12/15/2014 compete       Elton        Chen        AU    Elton       Chen        AU   brainy.            USD                  259
                                                                                                                                                                                                                                     TWAD-004                      24
                                                                                   TW- 14111203 December               12/15/2014 complete      Elton        Chen        AV    Elton       Chen        AU   brainy.            USD   HOIFT2
                                                                                   1W.14121203 December                12/15/2074 compete       Elsas        Chen        AU    Elton       Caen        AU   brain..            ASO   HWf71
                                                                                   11. 14121204            December    12/15/2014 complete      Scott        wensor      VS    Scat        warnor      US   ..WI    standard   USO   iWAO.004       259            24
                                                                                   TW14121204 December                  12/15/2014 complete     Scott        waluer      US    Scat        wane.                    standard
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                                                                                   7VP. 70011374 December              12/15/2014 complete      Joan         weng        N2    tuen        rang        NO   brainy.            U50   11A0.004       259            24
                                                                                   TVP-   70011374 December            17/15 /2014 complete     Juen         wary        N2    loan                    NZ   brainy.
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                                                                                   TW.70011374 December                2/2/15/2014 complete     Aran         rang        N2    loan                    NZ   brainy.            USO
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                                                                                   11.14121205 December                12/15/2014 complete      Ann          H9eh        NZ    Ann         Hsieh       NZ   Aktre              AUD   TWAD-004       259            2d
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                                                                                   71.14111208 December                11/15/2014   complete    DAMN         Chu         VS    Daniel      Chu         US   Dnintree           USO   TWAD-00.       259      20    23
                                                                                   1,14121208              December    12/15/2014   compete     Danel        Chu         US    Daniel      Chu         US   bramtree           USD   HGIFT2              0
                                                                                   T1. 14121200            December    12/15 /2014 compete      OAN,         Chu         US    Daniel      Chu         US   brainy.            USD   KIM.
                                                                                   1,14121209              December    12/15/2014 complete      3MUY         Yang        N2    Tobey                   N2   brainyet
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                                                                                                                                                                                           Wong                                USD   HGIFT1
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                                                                                   1114121215 December                 12/15/2014   complete    Jason       Kwan         U     lasers      Kwan        CA   pey.l   standard   USD   HUATA
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                                                                                   T    T- 14121211 December
                                                                                   IW- 14121221 December
                                                                                                                       12/15/2014 compete       I.ITOU      Ko           US    /avow       Ko          US   bro..              USO   TWA0.004       25       SO    2
                                                                                                                       12/15/2014 complete      laymAe      Ko           US    laymse      Ko          US   DOAIny.            VS0   HGIFT2
                                                                                   11.14121221 December                12/15/2014 complete      laymle      Ko           US    /ay.        Ko          US   Drably.            USD   HOF71
                                                                                   114121222               December    12/15/2014 complete      steven      tang         BE    steven      tang        BE   WY.I standard      EUR   TWAD-004       25       10    24
                                                                                   TW- 14121222 December               12/15/2014 compete       steven      tang         BE    steven      talg        BE   Oy.l    standard   OUR   H61F72
                                                                                   TW- 14121221 December               12/15/2014 complete      steven      lang         BE    eleven      tang        BE   .opal sundrd       EAR   HOIF71
                                                                                   IW- 14121223            December    12/15/2014   complete    AT          :ans         US    Hng                     US   bramyee
                                                                                                                                                                                           sang                                USD   TAPAD-004      25       10    24
                                                                                   TW- 14121213 December               12/15/2014 compete       RK          aang         US    lfng        she,        US   brain.             USD   HGIrT2
                                                                                   TW7A321223 December                 12/15/2014 complete      Reg         :Tung        US    ling        Mang        US   brainHee           USD   HGIFT1
                                                                                   1,14121224 Oeamber                  12/15/2014 complete      Kevin       Leung        US    Kevin       leuy        US   brain.             USD   TWAD-004       25       20    23
                                                                                   TW- 14121224 Oaember                12/15/2014 complete      Kevin       Leung        VS    Kevin       Leung       US   brain.             ASO   HGIFT2
                                                                                   71.14121224 December                12/15/2014 complete      Kevin       Leu,         US    Kevin       Leung       US   brainy.            USD   HGIFT1
                                                                                   TW14121225 December                 12/15/2014 compete       Brian       Chen         US    Mien        Own         US   DTAlnOee           USD   TWAO-004       2              24
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  66AILt9TML            061u0.     PI02/6T/LL    >upu.         100s10.     yMN          50     100um          y>IAI       Sn    »AU!rg           000    900.OVdü         6SZ   CL
   66LFLS.S-dAl 0101010            9102/6t/ZT aladu.           100....     4060          Sn    l0psam         y?1         Sn    11nulr+g         050    2üOJH              0
   86L[LFttdAL 0Mu0M               0tOL/6T/FI 771o000          loos0t.     mom           Sn    10tam         4a1g1        50    100000           osn    SUIDH              0
  dAl tin 00EIL AMPO.              b102/6t/Lt oLndu.       u11eN           Aton         11V    01100         A+0!n        AV    000u1e11         OSn    P000VdAL        6nt
  IO61.10.00E1LFFtdAl              O[OL/6T/LI    a»pu.     IN1tN           mn           ny     uNL.N         AtOfn        ny    ..aka            OSA    nLLl90             0
  00EíZTD-dAl 0g0a0a0
  MIMI-WI ,a900a0
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  [0£i2i9idAl 09w»a0               OLOL/ZL/LT    *Hr..     9NIA            LO           50     ONO           n            S0    MAU,.            OSO    LOADO              n
  LOEtZIPTMl +.W,aa.               otOZ/ELlZT    l0pw=         Hit         uay)         50     u.            ua0          50    00AU1tq          Lsn    Sn-Tal          au
  ZO£[LSDdA1 09w0M                 9í02/f2/ZF    supu.         ur11        ualp         50     Hp            ua10         Sn    1000.0           OSn    LU19H              0
  F0£1FI9t-dAl 00u+a000            O1O2/6t/Z1    alapu.        1.0074IL    011          50     AutNLL        01.1         nn    NM0 WapuOS       000    P0O0tlM1         6SL
  EOEILIbIdAl dOwuM                9[02/61/LI    *.100.        AurNN       ou           Sn     AurN1         oH           Sn    led0 G+epuni     OSA    ZLL19N             0        0
  E0E[LtPtdAL 0910f..              KOL/61/FI asad0o,                       0H           S0                                                       Osn
                                                               AueN!1                          AurNll        0H           Sn    itdt0 Wepuni            1ü10H              0        0
  POETLIDdAl 01110...0             9102/EZlLT asalOU.      nl3             9ue1         CW     0Wm03         90t1.        OW    a*Lmrg           OSn    Smtd1           6ZE    OT
  90EIZIDdAl 0110000               FtOL/EUZT nalou.        n13             9ut1         OW     09enP3        91e1         OW    61AU1eq          OSO    Tü191             0         0
  S0E[2I91Ml            0900.      O1C2/EL/Lt *HduroO      l3`M)1W         3318911YS    50     1301)110      3318311V5    Sn    IOAed Wtpunt     on     SmVdl           OLE    OT
  60E1LtPTdAl           dMuO.      91Ot/0Z/Zt    MN..      unf             LOOM         DS     unf           uooAN        DS    00nmrq           000    [CO-JYOYdAl    66'62
  60E1ZFVt.dAL          0Mu00      ALUM/LT       alada.    3M              811          Sn     many          IM           ,n    It0Aa0pnpuns     000    501d1           6Z     OL
  60E1ZF71dAl           0W+0p      VtOLEZ/ZI     naldw=    3N.             In1          5n     many          Inn          9n    pOAadPHpuni      050    S14I014            0        0
  OIEILiFídAL           a0wn.      MAULS vi asapuc0        I1a45           AP           Sn     IIa1S         aof          Sn    mum,             OSO    SM..            ALE    OL
  LTETLt9TdLL 0MU0110              010t/EL/St *pwoa        uuwyl           uN)          S0     5.w0u1        LOO          0n    00AUleg          OSA    SmP41           6ZE    OL
  1LETLIrI-dLL aaa00M              OVUM At MAO..           teu+pll         AN)          Sn     aa1o41        ua.          Sn    00+wieg          a5n    11l19H                      0
  ZLETLt9101A1          0g0010     9L02/ELZt .101du00      00Y7101         9N310        Sn     DNVMNIa       00310        Sn    00nu144          OSO    street          6Z6
  LIE[2IFtdAl           d90n.      D02/ELZL alald10do      DNYM-NIa        ow.          Sn     DNYMNIa       ON3N1        Sn    Nnuleq           OSO    11d10N             o
  E1£12SPtdAl d9m0>O              VIOF/ZZ/ZT alHdwoa       um0f            lugs         Sn    umylf                       Sn                     0S0
  dAl 1st Et£I2 IOquma0                                                                                      Mol                1000 Wepuni             90000dA1        6S2    OT
                                  PIOL/ZZ/ZI alapu.        umy8            Suos         50    ueWlf          1u0.                                       L14ID.
                                                                                                                          Sn    Ie0Ae0 POWnt     OSO                       0        0
  EtE[ZS9tdA1 06100.0             9FO2/2Z/Zt *N.uroO       um1Af           Sucs         SO    uenyN          foot         Sn    10Aed pdpuns     050    T1419N             0    0
  AI£1LI9F-dAl 091u0aO            0[OL/EZ/LF .upw00        AuurO           9uOM        ny                                 0V                     any
                                                                                               3uuM          wont               aa001e0                 SmAdl           62E    Ot
  StEtLtPtdLL AMAO.               9LOZ/12/Lt    **du.      fua0            nl           AV     9uHw          IN           0V    aanulW           can    900.00M1        65L    O[
  SFE[L1DdAl 090+00               9102/FZ/Z1 01010n1       9uow            n1           AV     9u.0          nl           ny    00nu1.0          OSA    Lü10H              0        0
  SSES21P7dAl          09m00       DOF/12/L1 u0p00a        9.00.1          nl           AV     9w10          nl           ny    10nulag          OSA    tüIDH              0
  9IEIZT9tdAl 0.100010             P102/£Uit eIepw=        u0w'S           9uoNa        Sn     IAN'S                      Sn                     050
                                                                                                             9uOMa              Nnmrg                   SA-1,11         6ZE    OF
  9IEILt9LdAl 0900.                VIOL/EMI .0700.         u40'S           Suo,         Sn     U61ulÇ        fug,         50    11nuNg             OS   tUOJN              0
  LFEIFIOIdAL          090010      KOZ/IUZS *.pmao         pswM            uayO         50     10auM         LA.          Sn    11001e14         can    9000VdA1        6SZ    OZ
  L1EtLt9t.Ml AOw010              DOZ/tLtt nadu.           pw1M           IW)           T0     !001AA        uay)         Sn    oa4uleg          can    FLASH              0
 LIEIZIAídAL           04w0.      DOL/[UtI 0uowo,          PAPS           uW)          S0     ptu1M          uas,         Sn    oOAUpLO          n OS   two.               o
 61EF2ttldAL ,ag10n.              ALOL/LULF     nap....    9001           ANf          50     knot           AIN          50    00nuNq           0011   P000YM1         60i
 6tETZIPtMl            0900.      DOLKL/LI *apuroa         Hot            Avo          Sn     Nwl            AIY          SO    00AU+g           OSn    Lü19H              0
 6LELFI9t-MI +0g00a0              9tOL/Eint nnduroo        0n01           A81f         50     01a1                        50                     Dsn
                                                                                                             km                 00nuKg                  1111011            O
 OLE121FtdA1           dgu00M     010t/t2/21 *apua0        NqLS            D.I.O.      Sn     uN*5           9u011        50    004u1e0          000    P00GYdAl        66Z
  OZEI2tD-dAl ,o400a0             b102lLZ/2L    alapw=     vans,           9u0N        SO     011015         AwoH         SO    »4u100           000    Fü1OH              0
  OZEIZtatdAl 09N0aO              OIOULZ/Zi     alaldu.    uaAaK           aum11       Sn     uw05           Sum.         Sn    11AU1tLO         OSn    IüIDN
  TL6LFL91Ml           09u+0.     OtOLZLZT      aupu,d0    APOf            9uOM        Sn     APnf           9uOM         50    00410q           OSn    900-0YdAl       OSL
  IZEíLI9T-dAl         0.0.00     at02h2/in     ....w=     APM             fkroM        50    APnf           'atom        Sn    mummy            OSn    LLLM.N             0
  LIK-dLL LEI+a4wm.0
                   1
                                  *rpl.9t0L/LLLI           APnf            SuOM         5n    APnf           SuOM         Sn    r19   Wit        OSA    ILI.
  ZZE1LT9tMl +.00000
 z2EtitVT-dA1 ANA,
                                  VIOL/E2/Zt    ...es      )W              am          Y)      )Y.           Nl           n     IrOAtd Plepuns   C,n    Midi            6Z£
                                                                                                                                                                           0


                                  EI/LS 9[02 alapY,Oa      )W             ml           V]     )V1            001          NO    WeP1mil.dAee     OSA    TüOH               0
 £F£121OTM1 +a0u+a0a0             OLOF/EZ/LI    02.10..    In100.         Np           50     Vr1Id11        ND           S0    11+Lmeg          050    Sm9A1           6L£
 £LEFZI9IdAl. 011100.             910Z/EZ/Z1 .1ap1u0o      urwdH          109          Sn     uaudN          aaD          Sn    00Au!eq          OSA    SLLOJN            0
 PLEtZtOidAl 0gw0a0               P102/EZ/Ln    alapw=     APuV           am           SO     ANY            0aA          Sn    1140010          OSA    Smfd1           6ZE    OZ
 DEFLtPL-dAl           090.00     9102/ELLS     NOW.       M.,            am           S0     Huy            10A          SO    N00eq            000    tU.N               0
 SLEFZTPT'dA,          0qu1a>.    D0[/EL/tI *opuc0         tam            aal          Sn     PM             aal          5n    aaAuRO           OSO    Sm9dL           6Zf    OL
 SLELLIPIdAl           d90+0.     alOt/EULI     aupu.      IN,            N1           SO     NM             aal          SO    NAUIeO           OSO    USN                0       O
 92£IZI97Ml aHM1aM                PIOL/Et/FI 0a10u+m       Wm+            !040         50     Pdm+           1W0          SO    N,141tq          OSA    SI1-td1         6LS    OS
 9LEILFPt-dAl          dguw0.     PT02/EZ/Lt OHpU.         pm.            040          S0      PdsPP         1040         50    001WIrg          050    t141DN             n        0
 9ZEIL[ttdLL           d6100.     VIOZ/ELLt o1adN=         Plap           ur4)         Sn      P9t.          1a1)         Sn    001wNq           OSO    Smtdt           62E    OS
 9L£L2f9t-ML ,a9w.»O              DOZ/EZ/Lt *aducl         pA.            u.y)                               u0.
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 6LEIZtet.dAl 0Pu.0a0                           *adum
 62Et219FdAl
 OEEFL1f1-dAl 090+0+0
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 OfETFt9Id1LL          Ho...      VíOL/fLZt     alapu.    Ianu1K          Nl           50     ff.,           N7           Sn    awu!00           050    TU1011          ants
                                                                                                                                                                               OS

                                                                                                                                                                                   0
 zFPt-dLL Eft í IO9u+000                                   trwW1          I41          87
 IfE12tKM1 09u10a0
                                  O16Z/f2/LS n61410oo
                                  0102/EZ/ZS a1nN.         +O=WL          In           80
                                                                                              4e1$c4L
                                                                                              t0wW1
                                                                                                             Iry

                                                                                                             In
                                                                                                                          OP
                                                                                                                          80
                                                                                                                                Ie0Ae0Wtpuns     d90    Sm9d1           6ZE    «
                                                                                                                                ItOAedDdPuni     asp    L13I9H             0       0
 LE£1FS9idAl           arm....    Z1 EZ OIO2    Amps.     1,430           IY51         Sn     NM             VOL          5n    00m109           050    Sm9d1           62E    Oi
                                                alai..
                                                                                                                    1




 LfEFn19T.M1           040000     PI02/FZ/2T               N39            1Y51         Sn     N39            rest         SO    Maul.,           O50    1.19.4             0       0
 EE£[ZIPLMl 000000                iT EZ 9i02    alapu.     alga           uooç         AS     l+rd           ug105        DS    11uule0          OSO    Sm9d1           6ZE    OL
 EFEFLI9IM1 0g00M                 9IOZ/E2/L1 a»pu+0o       lnd            uooS         9S     AM             u00S         OS    11nult4          OSO    TLNDH             0
 D6LL1P1dAl                       91OZ/EL/LT    *apwo,     NMI            um           7a     ANN            Alf          OS    00AU1eg          OSA    sm9d1           OZI    OL
 9fE1LT9T-dA1          09u+0a0    P[0F/FL/L7    nap0o0    wa              uy           7'a    10!a           AA          OS     00AUing          OSLO   I141@1            0        0
 NIA' LIPS SEES dgu0>10           DOL/SL/LI     *op0c0    a+!Ined         PP           S0     a0ned          am           Sn    NAuIeLO          050    Sm9411          6ZE    OL
 5E£ILIPTdAl 0MIa000              VIOL/SC/21    alapll.   Nllned          lW           SO     NOPAL          leW          Sn    10nule0          050    SLLIDN             0
 9EEILS91ML            0..000     KOZ/f2/ZI     DN..      9uN0Su0VT       M            SO     91e1119u0t11   M            SO    I.MN 9lrWeri     050    SmAdl           62E
                                                                                                                                                                               0
                                                                                                                                                                               OI
 LEEIZI91d/LL          0Mu010     P1O2/ELLI 9as0P         Du0wP3          SwtN         AY     P0003          91.111N     AV     Popurs-...       OSA    S111d1
 LEEIZIPIdAl
 SEETZL9tdAL
                       d9w0.
                       d0100.
                                  9IOZ/EL/ZT Pa00P
                                  9IOZ/EULI     PIP
                                                          Pu00P3
                                                          uWa
                                                                          S1.11-1
                                                                          9umH
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                                                                                              urn,
                                                                                                             Sun.        nV     Ir6tNWPUrlt      OSn    tit.            6FE    01


                                                                                                             A1m.        vo     aOAulrp          OSO    SmFdl           6LE    OL
 9EETLIbt-dAl 09u+0a0             PIOL/EL/LI PatOP        u!Aea           SumH         V)     uy.0a                                              OSn
                                                                                                             SumN               NAmaq                   Sü191              0       0
 6£ELZteT-dLL          0.0000     VIOL/EZ/LT *sou.        VtA             fuel         38     1nA            T+.1         39    NA01019          803    Sr..            6ZE
 6tE1ttlt-dA1 aeM.a»0
 116FLL9tdAL 0M0000
                                  .....0Z/EZ/Z1
                                  910L/£Z/ZL
                                  DOZ/ELLt      *adum
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                                                                          mom
                                                                                       38     ALA

                                                                                              NA
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                                                                                                             mom
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                                                                                                                                444              003    SLL19H             0   COT
                                                          11A                          AV
                                                                                                                                11Mrd PdPUrls    any    9001111dAl      65F
 11£12F91dAl 09u+0aO              KOZ/EZ/Lt 00p1u0o       NA              AV»A         AA     NA             a.*         ny     Ir01.dParPUesi   0OV    ZIA.              0    '01
 L161Z19tdAt 090000               DOL/EUZS na11100o       11A             At0>A        ny     a.A                                                any
                                                                                                             A`0a1,      AV     IeMO P0Wt1t             1141DN            0
 APEI2L91dA1 +0u0010              VTOL/EL/LI    0aidu.    e1ss1al90       ePeAttL      14     elesap9tl      egaf2       L      1011U1e4         on     f00-0VdA1       6SZ    OT
 9f£t2T9t-dAl 0gw0aO              rLCF/EL/LI asapwo0      Ma8udd9         111          Sn                    a*
                                                                                              nA9.9uooB                  Sn     leOMd WrpuOi     OSO    Snidi           6ZE    0[
 9fE[LLOI-ML           10w0.      PIOC/FL/Lt naldum       M99udPe         111          SO     1utXA1dP8      a*          on     W.punCladAad     OSn    1UI0N             0
 S1fI2191dA! 090000               91CZ/EZ/ZL    *Homo,    ArO             Onl          SO     9ua45          anl         SO     Nnm.q            OSO    700OVdAl        65Z    OZ
 $KILT91-Ml d611»M                MUM/ZS >laoum           Ae9             Onl          Sn     9ua45          dnl         Sn     114u1rq          OSO    LUIDH              0       0
 SK1Z1PldAL            d.uc00     OIO2/EL/L1 *ap10go      Ae9             onl          S0     9u1,           Onl          Sn    11nuleq          OSn    11119N             0
 9fZ1DdAl              090+000    9102/EZ/LT a1.00m       IayM            SuoM         V)     04M            9uoM         V)    104u1e0          Oin    Sm9dl           6ZE
 9>ETLTPídAl HgwnaO               VIOF/E2/Zt a1a11/uroa   104M            MOM          V)     1NM            SuoM         V)    NAm,eg           aso     1U19N            0
 OCT..-A, 0S100.                  VIOL/EL/LT    ...co     t0e1O           na1101       50     uaOa+.nA       an          Sn     pdta W.Puni      OSn    SO-tedi         KE
                                                                                                                                                                               '01

 LPEIFFOIdAl +a9waa.0             OLOF/EMS asapuro0       Nep             nallaT       Sn                    a*
                                                                                              uot.1t11A                  Sn     Irdrd Pltpunf    OSO    1141DN            0    '01
 91E[Lt9IdAl 09wa0a0              OIOL/.LLI *.o0ro0       IaM             0a4)         Ml     9=}!aM         ua0         30     111Wng           OSO    Sf11,d1         6LE    OL
 BfEIZIPTdAl 04u0aM               P[OLPZ/ZI     *a1at.    IyV,            uay)         Ml     9011wM         ua4         30     00nu!rq          DSn    TU191             o        0
 69£1Z191dnl           ',wag      9102/EZ/Lt    MOW.      aal1Y           MN           ZN     r011Y          M.          ZN     aaAUNq           OSO    gram            6FE    OS
 69£1ZI9[-dAL dMANOM              EZlLl A[OL    *nOU.     aalltl          xuar.        ZN     011Y           9uenH       ZN     NAUHq            Dsn    1141DH            0        0
 OSEILIFIdALL 0g0.00              PtOM9F/F1     osapu.    0n,9            u.N          Sn     am+8           um          Sn     Nnu1t0           OSO    90O0YdAt        6SZ    OZ
 OSEFLI9I-Ml           000000     9102/9L/t1 i10WIro0     an19            uro          Sn     *n,8           u1          SO     Nnuwg            OSO
 OSEttt9F-dA,          000000     91oi/9UL1 *9M.          On,B            L.           Sn     92,            um           Sn    10AuIr+9         o50
                                                                                                                                                        214190
                                                                                                                                                        lUIDH
                                                                                                                                                                           0
                                                                                                                                                                           0
                                                                                                                                                                                   0

  15EIZF.tML 0611w.0              9t01/9L/ZI ....mg       ',rug           Ir.          Sn     am             um           Sn    10+WNq           OSn    900.0tl611      6SL    OZ
  1SE[ZTPTdAl 061++a.             fí0t/9Utt >upu.         axu8            arm          S0     am             um           SO    00+W7eq          can    Lü1DN              0
 tS£IZLPidAl 1eM10.               at0U92lL1     napu.     m+u8            ueN          50     eH             um          Sn     00nuNq           non    TUIDN             0
 25£IL191-dAl          090000     *apu..t0i/EULT          O1,3            SuarsO       S0     0P3            Sua+O       SO     HHAU7Y11         050    Sn-Ad!          Kt     OZ
 LSElltet-dAl          OMu0.0     PIOZ/ELLI 0ap00         not             SuOnO        50     0113           T+e1Yl      Sn     Noues            050    514191            0        0
 £S£tZtPtdA1           NAPA.      PtOF/ELLt *0p10.1       Fau+Oyl         11.1F        ny     sawWl          nm          fly    I.aLOd W.WOi     OSO    Sn-9d1
 ESFILttt.dAl          0M0a000    PIOZ/EL/Lt    n.pl.     ...NI           1Al          fW     t0uc41         ma,         ny     IeaLOd We9uni    OSO    t141t1N
                                                                                                                                                                        62E
                                                                                                                                                                           0
                                                                                                                                                                               OL


 .SE[Zt9tdAl           0g10n.     PtOZ/EL/ZS    *oldum    Ou0r0           u.4)         Sn     nW1e.          u00         SO     104uKq           400    Sm941           6ZE    0[
 95E[EIPLdA            ,a900a0    ALDA/EZ/LS    *AO..     muas,           ur4)         5n     OM.,           ua0         Sn     aanu!0q          OSO    UPON              0        0
 SS£12191-dAl 0400100             AIOUEULT      0apuro0   AaN1of          nm           Sn     M1N*           nM          SO     00A1Ar0          OSO    S11-9A1         6ZE    OL
 SSE[LIFI-dAl 011...<1            PIOL/FZ/Lt    A.M."     MAP(            nM           Sn     AHNf           nm          50     Hour,            050    11.11.1            0
 9S£ILI9tdA1 0g0000               VI02/FL/Zt    *e7du.    A09             SuoM         ZN                                 IN
                                                                                              AAe9           SuOM               »AUlrq           OSA    Sm9d1
  9S£[L19IdAl 00w0aO              bIOZ/EZ/Lt    *al0u.    Ales            9uoM         ZN     AAeB           9u0M         1N    00+lumg          OSA    1141D4          *IRE
 LS£tZIVIdAl 090000               P102/EZ/Zt    *Hpu.     PIAtO           u111         ZN     WM             N11         21.1   WM.,             OSO    SmPdl           6FE
                                                                                                                                                                        LE
 LS6[LTOTdAl           040000     91OZ/£LZ1     ....ma    p!ap            w1l          ZN     Plap           1uNl        2N     amNlaq           Lsn                      6o

 9SE12IbLdAl           041u00     9tOF/K/iT     *ap0.     +r0!aM          uN)          Ml     9uo}0M         ua0         30     11+Wleq          OSA    Sm9d1           6ZE
 95ETii9tdN 1a00d0.0              9IOt/9L/LI alapw00      0M .0           ue4)         Mi     9uoYNM         lag)        30     11AUNq           OSA    TüIDN             0
 F9ETLI7IdA1 +a9100.              9LOLlK/ZT     00p00a    9uln!O          On7          50     9uPs0          oN          $n     aanmrg           050    LO0)V-OYdAl    66'6L
 Z9EFZI91-dAl          +a11wa0.   VIOF/K/ZI al.ldwoa      Pc1uP3          Sun.         50                                Sn
                                                                                              11u010P3       wrn0               00nmeq           OSA    900OYdM1I       65L
 19ELL19IdA1           01111000   VIOL/eZ/ZI    *aiau=    P+0w03                       5n
                                                                          9un13               Pc10P3         aura.       Sn     ...Hun           OSn    211191
 19EtntP[dAl 000000               O102/9UZF     *e1du.    Puoug3          9sn0         50     Pu01+P3        'unto       50     000000           OSA    I1419H             0
 E9EILI9T.M1 n61u010              9[02/fZ/ZL aOp1u00      ura.            or           Sn     unV)           U           Sn     110muq           OSA    VO00tldAl       65L
 E9E1219FdAl           Jog...     0102/9Z/21 .1.1.1.10    urn0            IA           SO     1.0            IA
                                                                                                                          SO      aal
                                                                                                                                4uaq             OSA    IDN ZLL            o
 E9ETZ111ML            0gw000     V102/KKT al.pw=         0rn0            1A
                                                                                        5n    um0            U            Sn    N4m.0            OSn    TUIDH
 19EI21FtdLL           ..w0.      9L02/A2/LS    aul0um    4A.             on           Sn     010            nn          Sn     NAm.g            OSn    Sfh9d1          02E
 t9ETL19I-dAL 09000O              VIOL/KM       alapu.    460             nn           50     440            nn          50     NAmrO            OSn    tU1DH              0
 59ETLTPIdAL ae90aaa0             O[OZ/K/Zt     *ao0=     ur0101          SuOL         99     ueur.ol        Sue1        BD     W.punflteted     ono    TO0)V0YdA1     661L
 99£LZIPTdAl           0gw000     9tOZ/K/Lt *INN.         lard            zu,          ny     l+d            rt.,        ny     POPunfleated     OSO    t00.13V111      65L
 99E[ZTPSdAl           d9wn00     9t02/9L/21 0opwoo       11td             wann        ny     isd                 on     ny     IaMO D+eWns      OSO    2141011            0
 99£[ZittML 0.0010                0102/92/27    alapu.    11ad            9uoM         ny     lOd            9uoN        ny     IrMtd Wlpuns     000    IüIDN              0
 99612191d1 sagw010               9[02/.2/ZI    ...um     uyof            WIN          Sn     uydf            um         Sn     weWnfladAt1/     Osn     t00)V-OVM1    6662
 69E7ZtttdAl 0M00M                FILL/PFlFS >lalowoo     in              9ooM          5n    in             9u0M        Sn     aonuRq           0Sn    0O00YdA1        finn
 69FI2191-dAl 1>9wnM              OtOL92/LT asap00o       In              9uoM          Sn    .e1            9uoM         S0    auw.g            OSO    LUIOH              0
 69Et2SFL-ML AQw*.                OtOF/9ZlFl asap0=       1n              9udM          Sn    In                                                 OSn
                                                                                                             swan         SO    Nnmrq                   TüIDN              0
 OLEIZIFI-dAl Ogu100              9f0Z/92lC1 asaldw=      Hi              A+oM          Sn    +rl            9uoM         5n    00nmrq           OSO    900.OtldAl      65L
 OLf[LtVt-dA! 0W1m.               9[oF/DUFF dpNPO         1a1             9uoM         Sn     1f1            SuOM        Sn     00AUlrg          OSO    ZLLI9H             0
 OL£[Lt91dAl 0.0a110              9102lPZ/L1 alHpucO                      auoM         Sn     1n                         5n
                                                          1e1                                                9uoM               aa4uieg          OSn    ILLIDN
 LL£IZI91dA1           090000     7LO2/9UZI alapwoo       aeA             uayJ         Sn     uG             ua.         Sn     000004           OSO    SMdI            6ZE
 2IFtdA1 /St   L       090a0.     PIOL/PZ/LI    napu+.    uaA             uW)          Sn     au,            ua0         Sn     11n0.q           osn    [141D.             0
 ZL£tLL9IdA1 +a901100             9t02/92/LS asapulao     A>araH          uml          Sn     Anum           WM          Sn     NW..             OSn    900-0YdAl       6SZ
 LLELDM0               10000      9t02/9L1 aao00          A.A..           unl          Sn     Aaum           urn,        $n     as0a9            OSn    LL317H
 FLEt2FP1-ML           090000     D009L11 asnduro0        Amr.            anl          Sn     Hum            unl         Sn     NAu!n9           OSn    LUO)o              0
 £L£[ZTOF-dAl          090000     910L/9ZlLF *.p4+00      ytA1            slnol        ny     4aA1           Ncl         nn     ItMO 91rWOi      on     S00)tl-0VdA1   661Z
 9LE[LI9TdAl 09N*.                9[02/9LZ1 Hupl.         woo             90A          Sn     9N.3           SurA        Sn     a0nmrq           CSn    tOP)0-OYdA1    66'6Z
 SLEIZI9IdAL OgwnM                7í02/9Z/ZS aupwOP                       n            a0                    n
                                                          Il                                  11
                                                                                                                          aO    11nurtg          OSn    S11-9d1         6ZE
 SLEIZI9IdAl +>9w1100             DOUK/LF asapu.                          n             1b                                a0                     OSn
                                                          11                                  Il             LO
                                                                                                                                NAmeq                   tüOJN              D
 9LEIZ1VIdA1           090000     9102/SZ/ZT .1.71/0=     aa+PuY          9011         Sn     As>+PuY        9u11        Sn     ...mg            0Sn    Sm/dL           6ZE    I
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OrderNo       InvoiceCreateDate OrderStatus   PaymentMethod Total Base Refunded Amount
TVP-13121587            1/1/2014 complete     authorizenet                           224
TVP-14011042            1/3/2014 complete     paypal_standard                     238.99
TVP-14011097            1/5/2014 closed       paypal_standard                      29.99
TVP-14011098            1/5/2014 complete     paypal_standard                        232
TVP-14011105            1/6/2014 complete     authorizenet                            48
TVP-14011131            1/7/2014 complete     authorizenet                           116
TVP-14011146            1/7/2014 complete     authorizenet                            10
TVP-14011149            1/7/2014 canceled     paypal_standard                      15.99
TVP-14011154            1/8/2014 complete     authorizenet                            58
TVP-14011166            1/9/2014 closed       authorizenet                           259
TVP-14011193           1/10/2014 complete     authorizenet                           224
TVP-14011201           1/10/2014 closed       authorizenet                           249
TVP-14011202           1/10/2014 complete     authorizenet                           116
TVP-14011207           1/10/2014 complete     paypal_standard                     241.48
TVP-14011226           1/11/2014 processing   paypal_standard                      15.99
TVP-14011240           1/12/2014 processing   authorizenet                           249
TV P-14011244          1/12/2014 complete     paypal_standard                         10
TVP-14011253          1/13/2014 complete      authorizenet                           116
TVP-14011281          1/15/2014 complete      paypal_standard                         58
TVP-14011309           1/16/2014 complete     authorizenet                            10
TVP-14011340           1/18/2014 closed       authorizenet                           480
TV P-14011366          1/20/2014 complete     authorizenet                           116
TVP-14011396          1/20/2014 canceled      paypal_standard                      15.99
TVP-14011469          1/25/2014 complete      authorizenet                           116
TVP-14011477          1/26/2014 closed        authorizenet                           239
TV P-14011504         1/27/2014 closed        authorizenet                           249
TVP-14011519          1/28/2014 complete      authorizenet                           224
TV P-14011571           2/1/2014 closed       paypal_standard                        249
TVP-14021011            2/2/2014 closed       paypal_standard                      15.99
TVP-14021035            2/3/2014 processing   paypal_standard                      15.99
TVP-14021058            2/4/2014 closed       paypal_standard                        244
TV P-14021162           2/9/2014 complete     paypal_standard                      15.07
TV P-14021165           2/9/2014 complete     authorizenet                           234
TVP-14021309          2/20/2014 complete      authorizenet                            10
TA/P-14021329         2/21/2014   closed      paypal_standard                        249
TVP-14021369          2/24/2014   closed      authorizenet                           259
TV P-14021406         2/28/2014   complete    braintree                               10
TVP-14031039           3/3/2014   complete    braintree                            26.38
TVP-14031091           3/5/2014   closed      braintree                              249
TV P-14031180         3/12/2014   closed      braintree                              249
TV P-14031250         3/17/2014   closed      braintree                              224
TV P-14031251         3/17/2014   closed      braintree                              224
TVP-14031263          3/17/2014   complete    braintree                              224
TVP-14031362          3/25/2014   complete    paypal_standard                         20
TVP-14031372          3/26/2014   closed      braintree                              224
TV P-14031409         3/29/2014   closed      braintree                              490
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TVP- 14031415    3/29/2014    complete   paypal_standard             20
TVP- 14041059     4/4/2014    complete   braintree                    5

TVP- 14041121     4/8/2014    closed     braintree                  244
TVP- 14041192    4/13/2014    complete   paypal_standard         238.99
TVP- 14041207    4/14/2014    complete   braintree                  224
TVP- 14041232    4/16/2014    closed     braintree                  249
TVP- 14041284    4/20/2014    closed     braintree                  249
TVP- 14041297    4/21/2014    closed     braintree                  249
TVP- 14041334    4/23/2014    closed     braintree                  249
TVP- 14041428     5/1/2014    closed     braintree                  224
TVP- 14051020     5/2/2014    closed     paypal_standard            490
TVP- 14051037     5/4/2014    closed     braintree                  204
TVP- 14051083     5/7/2014    closed     braintree                  219
TVP- 14051197    5/16/2014    closed     braintree                  224
TVP- 14051206    5/17/2014    closed     paypal_standard            249
TVP- 14051213    5/18/2014    complete   braintree                  194
TVP- 14051331    5/27/2014    complete   braintree                   10
TVP- 14051343    5/28/2014    closed     braintree                  224
TVP- 14051402     6/1/2014    complete   paypal_standard             10
TVP- 14061058     6/3/2014    closed     braintree                  249
TVP- 14061120     6/5/2014    complete   paypal_standard            224
TVP- 14061129     6/6/2014    closed     braintree                  249
TVP- 14061132     6/6/2014    complete   braintree                   10
TVP- 14061137     6/6/2014    closed     braintree                  224
TVP- 14061161     6/7/2014    complete   braintree                  219
TVP- 14061178     6/7/2014    closed     braintree                  490
TVP- 14061200     6/8/2014    closed     braintree                  224
TVP- 14061201     6/8/2014    complete   braintree                  481
TVP- 14061218     6/9/2014    closed     braintree                  249
TVP- 14061225     6/9/2014    closed     braintree                  249
TVP- 14061228     6/9/2014    closed     braintree                  249
TVP- 14061237    6/10/2014    closed     braintree                  249
TVP- 14061260    6/11/2014    closed     braintree                  249
TVP- 14061286    6/12/2014    closed     braintree                   224
TVP- 14061333    6/14/2014    canceled   paypal_standard          241.48
TVP- 14061369    6/15/2014    complete   braintree                    10
TVP- 14061415    6/17/2014    complete   braintree                    10
TVP- 14061436    6/18/2014    complete   braintree                  225
TVP- 14061493    6/21/2014    closed     braintree                  224
TVP- 14061499    6/21/2014    closed     braintree                  224
TVP- 14061561    6/25/2014    closed     braintree                  249
TVP- 14061562    6/25/2014    complete   paypal_standard          189.04
TVP- 14061622    6/28/2014    closed     paypal_standard            249
TVP- 14061629    6/29/2014    closed     braintree                  249
TVP- 14061674      7/1/2014   complete   braintree                  224
TVP- 14071024      7/2/2014   closed     braintree                   224
TVP- 14071028      7/2/2014   complete   braintree                     5
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TVP-14071046       7/3/2014   closed     braintree                 29.99
TV P-14071060      7/5/2014   canceled   braintree                   249
TV P-14071080      7/6/2014   complete   paypa l_sta nda rd          219
NP-14071093        7/7/2014   complete   braintree                   214
NP-14071181       7/11/2014   canceled   braintree                  249
TVP-14071229      7/15/2014   canceled   braintree                  249
NP-14071238       7/16/2014   closed     paypal_standard            224
TVP-14071275      7/19/2014   closed     braintree                  239
TVP-14071319      7/22/2014   complete   paypal_standard             224
TVP-14071332      7/22/2014   closed     paypal_standard             249
NP-14071340       7/23/2014   complete   braintree                    10
TVP-14071349      7/25/2014   closed     paypal_standard            214
TVP-14071453      7/30/2014   complete   braintree                    20
NP-14081012        8/2/2014   complete   braintree                  475
TVP-14081142       8/9/2014   closed     paypal_standard          241.27
NP-14081194       8/13/2014   complete   braintree                    10
TVP-14081222      8/15/2014   closed     braintree                 29.99
TVP-14081334      8/21/2014   closed     braintree                  224
NP-14081340       8/21/2014   complete   paypal_standard            6.03
TVP-14081342      8/22/2014   complete   braintree                    10
TVP-14081427      8/29/2014   complete   braintree                    10
TV P-14081447     8/30/2014   closed     paypal_standard             249
TVP-14091026       9/2/2014   complete   braintree                  224
TV P-14091082      9/8/2014   complete   paypal_standard            224
TVP-14091142      9/11/2014   complete   paypal_standard            6.15
NP-14091161       9/13/2014   closed     braintree                 29.99
TVP-14091167      9/14/2014   complete   braintree                   214
NP-14091208       9/17/2014   complete   braintree                   224
TV P-14091346     9/27/2014   complete   paypal_standard            224
TV P-14101026     10/3/2014   complete   braintree                  214
TVP-14101265     10/22/2014   closed     braintree                  224
TVP-14101285     10/24/2014   complete   braintree                    10
TVP-14101289     10/25/2014   closed     braintree                   224
TVP-14101370     10/31/2014   complete   braintree                 29.99
TVP-14101374     10/31/2014   complete   braintree                    10
TVP-14111116     11/10/2014   closed     braintree                  249
TVP-14111144     11/12/2014   complete   paypal_standard          238.99
TVP-14111155     11/13/2014   complete   braintree                    19
NP-14111218      11/18/2014   complete   braintree                   214
TVP-14111247     11/20/2014   closed     braintree                   224
TVP-14111257     11/21/2014   closed     braintree                   465
TVP-14111283     11/23/2014   complete   braintree                   224
TVP-14111304     11/24/2014   complete   braintree                    25
NP-14111353      11/28/2014   complete   braintree                     5
TVP-14111377     11/29/2014   complete   paypal_standard          231.77
NP-14111395      11/29/2014   closed     braintree                   229
TVP-14111430      12/1/2014   closed     paypal_standard          231.77
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TVP-14121041      12/2/2014   closed     braintree                 239
TVP-14121046      12/2/2014   closed     braintree                 239
TVP-14121066      12/4/2014   complete   braintree                 214
TVP-14121075      12/4/2014   closed     braintree                 239
TVP-14121131      12/8/2014   closed     paypal_standard           239
TVP-14121230     12/15/2014   closed     braintree                 249
TVP-14121234     12/15/2014   closed     braintree                 249
TVP-14121248     12/16/2014   complete   braintree                   5

TVP-14121251     12/16/2014   complete   braintree                  10
TVP-14121274     12/17/2014   closed     braintree                29.99
TVP-14121295     12/19/2014   complete   braintree                 294
TVP-14121305     12/19/2014   complete   paypa l_sta nda rd        294
TVP-14121309     12/19/2014   complete   paypal_standard            284
TVP-14121326     12/21/2014   closed     braintree                  319
TVP-14121333     12/22/2014   complete   braintree                  70
TVP-14121334     12/22/2014   complete   braintree                  45
TVP-14121337     12/22/2014   complete   paypal_standard         306.26
TVP-14121338     12/22/2014   closed     braintree                  309
TV P-14121344    12/22/2014   complete   paypal_standard            294
TV P-14121388    12/25/2014   closed     braintree                  319
TVP-14121392     12/26/2014   closed     braintree                  319
TVP-14121452     12/30/2014   closed     braintree                  309
TVP-14121463     12/30/2014   closed     braintree                  214
TVP-14121466     12/30/2014   closed     braintree                  319
TVP-14121478     12/31/2014   closed     braintree                  249
TV P-70011115     1/17/2014   closed     authorizenet               249
TV P-70011134      2/3/2014   complete   authorizenet               116
TV P-70011140      2/6/2014   complete   paypa l_sta nda rd         116
TVP-70011160      3/22/2014   complete   braintree                  224
TVP-70011263       9/5/2014   complete   braintree                  224
TVP-70011268      9/10/2014   complete   paypal_standard            224
TVP-70011363     11/30/2014   closed     braintree                  239
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  OrderNo         InvoiceCreateDate    OrderStatus   PaymentMethod       OrderCurrencyCode   Total Base Refun PurchasedWebsite
  TVP-15011019                1/2/2015 complete      braintree           USD                              10 TV Pad Website - TV Pad Store       -   English
  TVP-15011042                1/4/2015 complete      braintree           USD                             294 TV Pad Website - TV Pad Store       -   English
  TV P-15011045               1/4/2015 closed        braintree           USD                             309 TV Pad Website - TV Pad Store       -   English
  TV P-15011072               1/5/2015 closed        paypal_standard     USD                             319 TV Pad Website - TV Pad Store       -   English
  TVP-15011103                1/8/2015 closed        braintree           USD                             319 TV Pad Website - TV Pad Store       -   English
  TVP-15011116                1/8/2015 closed        braintree           USD                             284 TV Pad Website - TV Pad Store       -   English
  TVP-15011128                1/9/2015 complete      braintree           USD                              10 TV Pad Website - TV Pad Store - English
  TVP-70011390              1/13/2015 closed         braintree           GBP                           29.99 TV Pad Website - TV Pad Store       -   Chinese
  TVP-15011192              1/14/2015 closed         braintree           USD                             249 TV Pad Website   -   TV Pad Store - English
  TVP-15011209              1/16/2015 closed         braintree           USD                             319 TV Pad Website   -   TV Pad Store - English
  TVP-15011215              1/16/2015 closed         brai ntree          USD                             249 TV Pad Website - TV Pad Store       -   English
  TVP-15011241              1/17/2015 closed         paypal_standard     USD                             319 TV Pad Website - TV Pad Store       -   English
  TVP-15011334              1/23/2015 complete       paypal_standard     USD                          241.48 TV Pad Website - TV Pad Store       -   English
  TVP-15011364              1/26/2015 closed         braintree           USD                             319 TV Pad Website - TV Pad Store       -   English
  TVP-15011368              1/26/2015 closed         braintree           USD                             249 TV Pad Website   -   TV Pad Store - English
  TVP-15011405              1/28/2015 complete       braintree           USD                              70 TV Pad Website   -   TV Pad Store   -   English
  TVP-15011428              1/29/2015 closed         braintree           USD                             249 TV Pad Website   -   TV Pad Store   -   English
  TVP-70011411                2/3/2015 closed        braintree           USD                             224 TV Pad Website   -   TV Pad Store   -   Chinese
  TV P-15021034               2/4/2015 closed        braintree           USD                             319 TV Pad Website - TV Pad Store       -   English
  TV P-15021075             2/13/2015 complete       paypal_standard     USD                              10 TV Pad Website - TV Pad Store   English
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  TVP-15021114              2/17/2015 complete       braintree           USD                              10 TV Pad Website - TV Pad Store - English
  TVP-15021119              2/18/2015 canceled       braintree           USD                            249 TV Pad Website - TV Pad Store - English
  TV P-15021129             2/20/2015 closed         paypal_standard     USD                             309 TV Pad Website   -   TV Pad Store   -   English
  TV P-70011419             2/20/2015 closed         braintree           USD                             249 TV Pad Website   -   TV Pad Store   -   Chinese
  TV P-15021138             2/22/2015 complete       braintree           GBP                              10 TV Pad Website   -   TV Pad Store   -   English
  TVP-15021147              2/22/2015 complete       braintree           USD                             245 TV Pad Website - TV Pad Store       -   English
  TVP-15021150              2/23/2015 closed         paypal_standard     USD                             249 TV Pad Website   -   TV Pad Store   -   English
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  TV P-15021165             2/24/2015 closed         braintree           USD                             249 TV Pad Website   -   TV Pad Store   -   English
  TVP-15021170              2/24/2015 canceled       braintree           USD                             319 TV Pad Website   -   TV Pad Store   -   English
  TVP-15021174              2/24/2015 closed         braintree           USD                             249 TV Pad Website   -   TV Pad Store   -   English
  TVP-15021175             2/24/2015 closed          braintree           USD                             249 TV Pad Website   -   TV Pad Store   -   English
  TVP-15021177             2/24/2015 closed          paypal_standard     USD                             249 TV Pad Website   -   TV Pad Store   -   English
  TV P-15021191            2/26/2015 canceled        paypal_standard     USD                             319 TV Pad Website   -   TV Pad Store   -   English
  TVP-15021193             2/26/2015 closed          braintree           USD                             249 TV Pad Website   -   TV Pad Store - English
  TVP-15021196             2/26/2015 closed          braintree           USD                             249 TV Pad Website   -   TV Pad Store - English
  TVP-15021199             2/27/2015 closed          paypal_standard     USD                              25 TV Pad Website - TV Pad Store - English

  7VP-15031047               3/9/2015 closed         braintree           USD                             319 TV Pad Website - TV Pad Store - English
  TVP-15031051               3/9/2015 closed         braintree           USD                             319 TV Pad Website - TV Pad Store - English
  TVP-15031053             3/10/2015 closed          braintree           USD                             319 TV Pad Website - TV Pad Store - English
  TVP-15031060             3/11/2015 canceled        paypal_standard     USD                              40 TV Pad Website   -   TV Pad Store   -   English
  TVP-15031064             3/12/2015 complete        braintree           USD                              40 TV Pad Website   -   TV Pad Store - English
  TVP-15031066             3/13/2015 closed          braintree           USD                             249 TV Pad Website   -   TV Pad Store - English
  TVP-15031069             3/13/2015 closed          braintree           USD                          278.99 TV Pad Website   - TV Pad    Store - English
  TVP-15031071             3/13/2015 canceled        paypal_sta nda rd   USD                             239 TV Pad Website   -   TV Pad Store   -   English
  TVP-15031074             3/13/2015 closed          braintree           USD                             249 TV Pad Website   -   TV Pad Store   -   English
  TVP-15031094             3/17/2015 closed          braintree           USD                             249 TV Pad Website   -   TV Pad Store   -   English
  TVP-15031095             3/18/2015 closed          braintree           USD                             289 TV Pad Website   -   TV Pad Store   -   English
  TVP-15031097             3/18/2015 complete        paypal_standard     USD                          290.03 TV Pad Website - TV Pad Store - English
  TVP-15031098             3/18/2015 closed          braintree           USD                             249 TV Pad Website - TV Pad Store       -   English
  TVP-15031099             3/18/2015 closed          braintree           USD                             249 TV Pad Website - TV Pad Store       -   English
  TVP-15031109             3/18/2015 closed          braintree           USD                             249 TV Pad Website - TV Pad Store       -   English
  TVP-15031118             3/19/2015 closed          braintree           USD                             299 TV Pad Website - TV Pad Store       -   English
  TVP-15031153             3/24/2015 complete        paypal_standard     EUR                          268.62 TV Pad Website - TV Pad Store       -   English
  TVP-15031157             3/26/2015 closed          braintree           USD                             289 TV Pad Website   -   TV Pad Store   -   English
  TVP-15041015               4/3/2015 canceled       braintree           USD                             608 TV Pad Website - TV Pad Store       -   English
  TVP-15041036               4/6/2015 complete       braintree           USD                             274 TV Pad Website - TV Pad Store       -   English
  TVP-15041043              4/7/2015 closed          braintree           USD                             299 TV Pad Website - TV Pad Store       -   English
  TVP-15041087             4/13/2015 complete        braintree           USD                             274 TV Pad Website   -   TV Pad Store - English
  TVP-15041143             4/25/2015 canceled        braintree           USD                           29.99 TV Pad Website - TV Pad Store       -   English
  TVP-15051012              5/1/2015   closed        braintree           USD                             289 TV Pad Website - TV Pad Store       -   English
  ïVP-15051057              5/7/2015   complete      paypal_standard     USD                             279 TV Pad Website - TV Pad Store       -   English
  TVP-15051058              5/8/2015   canceled      braintree           USD                             289 TV Pad Website - TV Pad Store       -   English
  TVP-15051089             5/11/2015   canceled      braintree           USD                             289 TV Pad Website - TV Pad Store       -   English
  TVP-15051097             5/12/2015   canceled      braintree           USD                             289 TV Pad Website - TV Pad Store       -   English
  TVP-15051182             5/23/2015   canceled      paypal_standard     USD                             289 TV Pad Website - TV Pad Store       -   English
  TVP-15051225             5/27/2015   canceled      braintree           USD                             289 TV Pad Website   -   TV Pad Store - English
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 142 of 147 Page ID
                                  #:20669


 TVP- 15051249   5/31/2015 closed     braintree   USD   289 TV Pad Website   -   TV Pad Store   -   English

 NP- 15061010     6/1/2015 canceled   braintree   USD   289 TV Pad Website   -   TV Pad   Store - English
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 143 of 147 Page ID
                                  #:20670
          From: Help Scout notifications @helpscout.net
        Subject: [#10265] erroe code 1
           Date: January 05, 2015 at 7:03 AM Asia /Calcutta
             To: Charles Franco tvboxplayer @gmail.com
            Cc:

                                                        -- Please reply above this line --



          TVpad Awesome Customer Support: Abby Zhou replied to customer ( #10265)
          Customer: Tommy Emterby         I   tommy_emterby @hotmail.com                     Notification Settings   I   Email Commands




    Abby Zhou replied                                                                                                                 Jan 4
    Status: Closed                                                                                                                  11:50am


    Dear Tommy,


    Thank you for contacting the TVpad Store Awesome Customer Support. We appreciate you as                   a
    customer and are delighted to serve you!:-)

    For cable network,pls to network setting,change       it to   manual and move to the DNS,change to 8.8.8.8 or 61.139.54.66
    Then save it.


    if you are using wifi now,you need to go to wifi setting,and there is a network type,please choose manual and click on OK
    and it will show the DNS and the others,then you could change it to 8.8.8.8 or 61.139.54.66 and comfirm to save it.


    Regards,
    Abby Zhou (Your Awesome Customer Support Agent                 )




    Tommy Emterby started the conversation                                                                                            Jan 4
    Assigned: Anyone     Status: Active                                                                                             9:02am


    Hallo
    I have got my typed 4 now but cant make it work dont get typed conected with internet. have
                                                I                         I                                                     I

    tested to turn of my modem and also teted to restart my modem but it still show error code 1 Can
                                                    I


    you help me?
    Regards Tommy Emterby
    +46767667370



    Thanks so much for using Help Scout. You are the best!
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 144 of 147 Page ID
                                  #:20671

          From: Tommy Emterby via Help Scout notifications @helpscout.net
        Subject: [#10265] erroe code 1
           Date: January 05, 2015 at 6:45 AM Asia /Calcutta
            To: Charles Franco tvboxplayer @gmait.com
            Cc:

                                                       -- Please reply above this tine   -

          TVpad Awesome Customer Support received a new conversation ( #10265)
          Customer: Tommy Emterby        i   tommy_emterby @hotmail.com                      Notification Settings   I   Email Commands



    Tommy Emterby started the conversation                                                                                           Jan 4
    Assigned: Anyone    Status: Active                                                                                              9:02am


    Hallo
    I have got my tvpad 4 now but cant make it work dont get tvpad conected with internet. have
                                               I                        I                                                       I

    tested to turn of my modem and also teted to restart my modem but it still show error code 1 Can
                                                   I

    you help me?
    Regards Tommy Emterby
    +46767667370



    Thanks so much for using Help Scout. You are the best)
Case 2:15-cv-01869-SVW-AJW Document 201-2 Filed 09/22/16 Page 145 of 147 Page ID
                                  #:20672


    Subject:     TVpad Inquiry Request            -


    From:        TVpad Awesome Customer Support (support@tvpad.com)

    To:          shuklau555 @yahoo.com;

    Date:        Tuesday, June 3, 2014 9:52 AM




Conversation started by Charles                                                                                                 Jun   3   9:52am


Hello Shuk,
I   hope you're having    a   good day.       I   was given your name and email address from Amit        (   one of our account managers     )

and mentioned
that you were needing some information. My name is Charles and it's                    a   pleasure to help you.

Attached is the Channel Guide which you can review.

Here are some overall benefits of the TVpad:
- Live Chinese, Korean and Japanese Channels

- More Channels Compared to other services.

- Timeshift Live TV playback
- Video On Demand of TV Shows, Dramas and Sports.
- No Monthly Fees

- Educational Learning for Kids
- and much more....


Some benefits of shopping with us:
- Free and Fast Shipping Worldwide

- Full 1 Year Warranty Support ( If we can't fix             it,   we replace   it )
- 7 Day Return Period ( 100% Satisfaction )

- Lifetime Customer Support




Please let me know if you have any questions as I'm here to serve you.


Regards,
Charles Franco




Ask me about our new Reseller Program and how you can partner with us -)                       :




Thank you!
TVpad Awesome Customer Support
http: / /www. tvpad .corn


Read more About us here: http / /www.tvpad.com /en/about -us
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                                                                                                                               EXHIBIT
Become          TVpad Reseller: http: // www. tvpad .com /en/tvpad- reseller- program
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 Check our latest blog posts:
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 here.html
 "Why is TVpad3 Even More Awesome? - http://www.tvpad.com/en/tvpad- store -blog /tvpad3- reviews -why -is -it -more-
 awesome.html
 "Why Shop with us ?" - http: / /www.tvpad.com /en/tvpad- store -blog /where- can -you- buy- a- tvpad.html
 "Why Buying a Cheap TVpad can Cost you more" - http://www.tvpad.com/en/tvpad- store -blog /where- can -you -buy -a-
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